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                           IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION
  PAUL SCHROTH WOLFE,                                             )
  YORKVILLE INVESTMENT I, LLC.,                                   )
  a Delaware limited liability company                            )
  GREEN SAPPHIRE HOLDINGS, INC., a Delaware corporation,          )
  ALPHA CARTA, Ltd., a foreign corporation,                       )
  BREAKERS BEACH CLUB, Ltd., a foreign corporation,               )
  NORTHSEA, LLC, a Wyoming limited liability company, and         )
  PRAIRIE PRIVATE TRUST COMPANY LTD.,                             )
  a Cayman Islands company,                                       )
                                                                  )
                                     Plaintiffs,                  )
                                                                  )
  v.                                                              ) Case No: 24-cv-01538
                                                                  )
  STEVEN E. LOOPER,                                               ) Hon. John F. Kness
  PAUL WHINNERY (a/k/a Paul Schlieve a/k/a Schmidt)               )
  CYBER APP SOLUTIONS Corp. f/k/a Proton Green, LLC,              )
  a Nevada corporation,                                           )
  PROTON GREEN, LLC, a Wyoming limited liability company,         )
  ROBERT G. BROWNELL (a/k/a Robert Bigelow),                      )
  BNW FAMILY OFFICE, LLC, a Delaware limited liability company, )
  NATHAN SMITH,                                                   )
  ROCKWATER CAPITAL LTD, a Cayman Islands company,                )
  DAVID HOLDEN,                                                   )
  MARK MATTHEWS,                                                  )
  CHARLES MACK,                                                   )
  DALLAS SALAZAR,                                                 )
  ROBERT J. BROWNELL,                                             )
  SASAGINNIGAK, LLC (f/k/a Overall Builders, LLC),                )
  a Texas limited liability company,                              )
  GLOBAL CAPITAL PARTNERS, LLC, a Cayman Islands Company, )
  GLOBAL CAPITAL PARTNERS, LLC,                                   )
  a Delaware limited liability company,                           )
  DUSTIN SPRINGETT,                                               )
  TAILWIND, LTD., a Cayman Islands Company,                       )
  ENDEAVOR REAL ESTATE GROUP, LLC.,                               )
  a Texas limited liability company,                              )
  ENDEAVOR OPPORTUNITY PARTNERS III LP,                           )
  a Texas limited partnership,                                    )
  CERCO DEVELOPMENT, INC., a Texas corporation,                   )
  OP III ATX Highridge, LP, a Texas domestic limited partnership, )
  THE KATUNIGAN COMPANY, a Texas corporation                      )
  and JOHN DOE(S),                                                )
  UNIDENTIFIED CO-CONSPIRATOR(S),                                 )
                                                                  )
                                     Defendants.                  )

                                  THIRD AMENDED COMPLAINT

       Plaintiffs Paul Schroth Wolfe (“Wolfe”), Yorkville Investment I, LLC (“Yorkville”), a

Delaware limited liability company, Green Sapphire Holdings, Inc. (“Green Sapphire”), a

Delaware corporation, Alpha Carta, Ltd. (“Alpha Carta”), a foreign corporation, Breakers Beach

Club, Ltd. (“Breakers”), a foreign corporation, NorthSea, LLC (“NorthSea”), a Wyoming limited

liability company, Prairie Private Trust Company, Ltd. (“Prairie Trust”), a foreign corporation

(collectively, “Plaintiffs”), by and through their attorneys, Trent Law Firm, P.C., and Patterson
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Law Firm, LLC, for their Third Amended Complaint against Defendants Steven E. Looper

(“Looper”), Paul Whinnery a/k/a Paul Schlieve a/k/a Paul Schmidt (“Whinnery”), Robert G.

Brownell a/k/a Robert Bigelow (“R.G. Brownell”), BNW Family Office, LLC (“BNW”), a

Delaware limited liability company, Cyber App Solutions Corp. (“Cyber App”), a Nevada

corporation, Proton Green, LLC (“Proton Green”), a Wyoming limited liability company, Nathan

Smith (“Smith”), Charles Mack (“Mack”), Dallas Salazar (“Salazar”), Robert J. Brownell (“R.J.

Brownell”), Sasaginnigak, LLC f/k/a Overall Builders, LLC (“Sasaginnigak”), a Texas limited

liability company, Global Capital Partners, LLC (“Global Capital Cayman”), a Cayman Islands

Company, Global Capital Partners, LLC (“Global Capital Delaware”), a Delaware LLC,

Rockwater Capital Ltd. (“Rockwater”), a Cayman Islands Company, Tailwind, Ltd (“Tailwind”)

a Cayman Islands Company, Endeavor Real Estate Group, LLC (“Endeavor Real Estate”) a

Texas Limited liability Company, Endeavor Opportunity Partners III, LP (“Endeavor

Opportunity”) a Texas limited liability company, OP III ATX Highridge, LP (“OP Highridge”) a

Texas domestic limited partnership, Cerco Development, Inc (“Cerco”) a Texas corporation, The

Katunigan Company (“Katunigan”) a Texas corporation, David Holden (“Holden”), Mark

Matthews (“Matthews”), Dustin Springett (“Springett”), and John Doe(s) Unidentified Co-

Conspirator(s) (“Doe”) (collectively, “Defendants”), state as follows:

                                   NATURE OF THE ACTION

         This case epitomizes an intricate scheme of orchestrated fraud, marked by an egregious

intersection of unbridled greed, calculated corporate espionage, and the strategic use of third-

party agents to mask and perpetuate a vast fraudulent scheme. Spanning unauthorized financial

diversions, property misappropriation, calculated defamation, and cyber intrusions, Defendants—

including corporate insiders and individuals with a history of documented criminal misconduct—

engaged in repeated acts of wire fraud, mail fraud, other forms of fraud, embezzlement, bribery,

extortion, money laundering, and obstruction. Central to this conspiracy was the dissemination of

a fraudulent complaint (the “Susan Essex Complaint”), leveraged through cyber harassment

platforms, violating both civil and criminal statutes. This sustained pattern of predicate acts

forms the basis for the Racketeer Influenced and Corrupt Organizations (RICO) claims detailed

below.

         From 2021 to 2024, Defendants—comprising corporate insiders, career criminals, and

accomplices with histories of professional and documented criminal misconduct—engaged in a

systematic, organized pattern of racketeering activity. This enterprise, motivated by a collective
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ambition to defraud Plaintiffs and obstruct their ability to recover assets, operated under the

framework of the Racketeer Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. §

1962(c) and (d). The conspiracy encompassed acts of loan fraud, bank fraud, money laundering,

obstruction of justice, defamation, and violations of the Computer Fraud and Abuse Act (CFAA).

       Defendants R.G. Brownell, the mastermind, a career criminal with a lengthy history of

fraud, including a conviction for conspiracy to commit wire fraud for which he was sentenced to

twenty (20) years in prison in connection with a scheme perpetrated by Bielinski Brothers

Construction Company, Inc. in Wisconsin, and Whinnery a/k/a Schlieve, who carries a record of

methamphetamine trafficking, played leading roles in executing these schemes. They were joined

by Defendant Smith, despite prior removals from positions of trust for misconduct, who

facilitated unauthorized financial transactions and leveraged corporate espionage to further the

scheme. The enterprise was also aided by Defendant Looper, known for his criminal activities,

and complicit corporate entities like Defendants Rockwater, Endeavor, and Proton Green, which

lent an air of legitimacy to the fraud.

       The Defendants' misconduct extended to the manipulation of IOLTA accounts by

attorney Mack, who facilitated the rerouting and laundering of funds under the guise of

legitimate legal work. By disguising transactions through multiple jurisdictions and employing

shell entities, Defendants systematically obscured the origins of funds, deprived Plaintiffs of

rightful ownership, and evaded oversight. This multi-layered deception was evident in the

fraudulent transfer of property worth tens of millions of dollars, sham real estate transactions, and

unauthorized pledges that bypassed consent and undermined Plaintiff’s financial security.

       Furthermore, the Defendants’ scheme was punctuated by unauthorized digital intrusions,

including the manipulation of Plaintiffs’ protected systems and the dissemination of defamatory

material to discredit key individuals. The fraudulent Susan Essex Complaint was not merely a

standalone act; it was part of a broader campaign designed to coerce settlements and damage

reputations, serving as a tool for economic extortion.

       This lawsuit seeks not just restitution, but justice—holding all conspirators accountable for

their roles in a calculated, multi-year scheme that has inflicted financial losses exceeding




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        $75 million on Plaintiff, disrupted operations, damaged business relationships, and led to

extensive investigatory and security costs. Only through judicial intervention can the pattern of

racketeering be halted, assets be reclaimed, and justice be served.

                                            PLAINTIFFS

        1.       Wolfe is an experienced financial services professional and citizen of DuPage

County, Illinois, with a decades-long professional association with Co-Plaintiffs. Wolfe is a

primary victim of Defendants’ coordinated racketeering enterprise, suffering significant

financial and reputational damage due to fraudulent schemes, defamation campaigns, and

unauthorized digital intrusions orchestrated by Defendants.

        2.       Yorkville is a Delaware limited liability company with its principal place of

business in Wheaton, Illinois, owned by the Prairie Trust, as trustee of Prairie Trust II, a

Cayman Islands Trust. The beneficiaries of this entity, identical to those of the Petro Carta

Trust, suffered extensive financial losses due to Defendants’ fraudulent financial transactions

and real estate schemes. It was targeted by Defendants in schemes involving unauthorized

financial diversions and asset misappropriation, leading to severe financial harm.

        3.       Green Sapphire is a Delaware corporation based in Delaware, created to facilitate

investment and property acquisition for the benefit of the Petro Carta Trust. It was targeted by

Defendants in schemes involving unauthorized financial diversions and asset misappropriation,

leading to severe financial harm.

        4.       NorthSea is a Wyoming limited liability company that serves as the Trustee of the

Petro Carta Trust, which benefits a U.S. family. NorthSea’s integrity was undermined by

fraudulent loans, unauthorized financial arrangements, and concealment strategies deployed by

Defendants to control and misappropriate assets.

        5.       Alpha Carta is a Cayman Islands corporation with its principal business location

in Georgetown, Grand Cayman, and serves as an investment and property management entity for

the Alpha Carta Trust. It was directly affected by fraudulent asset transfers, sham real estate

dealings, and unauthorized transactions that were part of the Defendants’ coordinated scheme.

        6.       Breakers is a Cayman Islands company formed to hold title to the valuable

beachfront property in Grand Cayman. It suffered significant losses due to Defendants’

unauthorized financial maneuvers, fraudulent invoices, and concealment of funds meant to deprive

Plaintiff of rightful asset control.


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        7.         Prairie Trust is a Cayman Islands company that serves as the trustee for the Prairie

II Trust and Alpha Carta Trust. Prairie Trust is responsible for managing significant assets held

for the benefit of U.S. family beneficiaries and is essential to the financial oversight and fiduciary

management within the Plaintiff group.

                                            DEFENDANTS

        8.         Looper is a convicted felon and resident of Travis County, Texas. Looper is

alleged to have engaged in fraudulent schemes and racketeering activities aimed at financial

gain through deceptive means.

        9.         Whinnery, also known as Paul Whinnery or Paul Schmidt, is a resident of

Williamson County, Texas. Whinnery has a criminal record, including drug-related offenses,

and is implicated in orchestrating fraudulent schemes alongside other Defendants to defraud

Plaintiffs.

        10.        R.G. Brownell, also known as Robert Bigelow, the mastermind of the

racketeering enterprise, resides in Travis County, Texas. Brownell is a known felon with a

history of financial crimes, who utilized corporate entities and schemes to unlawfully divert

funds and property from Plaintiffs.

        11.        BNW is a Delaware limited liability company with its principal place of business

at Northbrook, Illinois, controlled by R.G. Brownell, serving as a vehicle to facilitate the

fraudulent activities central to the claims against Defendants.

        12.        Cyber App, formerly known as Proton Green, is a Nevada corporation and a

corporate entity used by Defendants to lend legitimacy to their fraudulent operations.

        13.        Smith is a U.S. citizen residing in Georgetown, Grand Cayman. Smith has been

linked to unauthorized financial transactions and corporate espionage, leveraging access to

sensitive information to further Defendants' schemes.

        14.        Mack is an attorney licensed in Illinois, who misused an IOLTA trust account to

conceal fraudulent transactions, aiding Defendants’ efforts to launder funds and obscure their

illicit origins.

        15.        Salazar is a resident of Kendall County, Texas, implicated in aiding the fraudulent

activities and asset misappropriations conducted by the Defendants.

        16.        R.J. Brownell, the son of R.G. Brownell, and a resident of Cook County, Illinois,

is involved in the coordination and execution of fraudulent schemes directed at Plaintiffs.


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        17.      Sasaginnigak, formerly known as Overall Builders, is a Texas limited liability

company co-managed by Whinnery and R.G. Brownell, which was used to facilitate

Defendants’ fraudulent schemes.

        18.      Global Capital Delaware is a Delaware limited liability company involved in the

misappropriation of funds and facilitation of fraudulent transactions central to Defendants'

schemes.

        19.      Global Capital Cayman is a Cayman Islands limited liability company involved in

the misappropriation of funds and facilitation of fraudulent transactions central to Defendants'

schemes.

        20.      Rockwater, based in the Cayman Islands, is used by Defendants to lend

legitimacy and facilitate international aspects of the fraudulent enterprise.

        21.      Endeavor Real Estate is a Texas-based real estate development company

implicated in fraudulent transactions tied to multi-family and mixed-use projects.

        22.      Endeavor Opportunity is a real estate investment fund organized as a Texas

limited partnership serving as an investment vehicle used by Defendants to obscure ownership

interests and facilitate fraudulent real estate deals.

        23.      Cerco is a Texas corporation controlled by Endeavor Real Estate, engaged in

development management services allegedly used to further Defendants’ fraudulent schemes.

        24.      Springett, a Canadian citizen and a resident of Cayman Islands, upon information

and belief, is a principal of Tailwind and represented Global Capital Cayman and Global Capital

Delaware in schemes related to the Defendants’ enterprise.

        25.      Tailwind is a Cayman Islands company used by Defendants to obscure the origins

and facilitate the transfer of funds as part of the scheme.

        26.      Holden is a resident of Grand Cayman, Cayman Islands, implicated in

Defendants’ coordinated efforts to defraud Plaintiffs.

        27.      Matthews is a resident of Grand Cayman, Cayman Islands, involved in the

fraudulent enterprise through his association with other Defendants.

        28.      OP Highridge is a Texas limited partnership implicated in transactions designed

to misappropriate assets and execute sham real estate deals as part of the Defendants' larger

scheme.

        29.      Katunigan, identified as the alter ego of Whinnery, is a Texas corporation that

played a role in concealing Defendants' fraudulent activities and diverting funds from Plaintiffs.
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       30.       John Doe(s) Unidentified Co-Conspirator(s) will be identified through discovery

as additional parties involved in furthering the RICO enterprise. These unidentified co-

conspirators contributed to the continuity of Defendants' fraudulent activities and their

concealment from regulatory and legal oversight.

                                  JURISDICTION AND VENUE

       31.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331, as Plaintiffs’ claims arise under federal law, specifically the Racketeer Influenced and

Corrupt Organizations Act (RICO), 18 U.S.C. §§ 1961–1968, and the Computer Fraud and Abuse

Act (CFAA), 18 U.S.C. § 1030. These federal statutes provide private rights of action for

damages, including treble damages under RICO, and authorize this Court to exercise its

jurisdiction to redress the harm caused by racketeering activity and unauthorized computer

access. Pursuant to 18 U.S.C. § 1964(a), this Court has the authority to prevent and restrain

violations of the RICO Act, while 18 U.S.C. § 1964(c) empowers individuals injured in their

business or property by racketeering activity to bring claims in federal court. Supplemental

jurisdiction is proper under 28 U.S.C. § 1367(a) because Plaintiffs’ state law claims, including

fraud, unjust enrichment, conversion, and tortious interference, are so closely related to the

federal RICO and CFAA claims that they form part of the same case or controversy under Article

III of the U.S. Constitution. Additionally, this Court has diversity jurisdiction pursuant to 28

U.S.C. § 1332(a), as Plaintiffs and Defendants are citizens of different states and foreign

jurisdictions, and the amount in controversy exceeds $75,000, exclusive of interest and costs.

Plaintiffs, including Illinois-based individuals and entities, are diverse from Defendants, who are

domiciled in other states, including Texas, and foreign entities operating in the Cayman Islands

and elsewhere.

       32.       Venue is proper in the Northern District of Illinois under multiple statutory

provisions. First, under 28 U.S. § 1391(b)(2), a substantial part of the events or omissions

accounts in this district and employing an Illinois attorney to structure and document financial

transactions, launder money through his IOLTA account and to provide a false veneer of

legitimacy to their schemes. They also orchestrated fraudulent real estate transactions affecting

Illinois property, including the Hale Property in Wheaton, Illinois, and disseminated

defamatory statements expressly intended to damage the reputation and financial standing of

Illinois-based Plaintiffs. Defendants’ wire fraud, bank fraud, money laundering, and cyber

harassment caused significant harm in Illinois, and their use of Illinois-based financial
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institutions and employment of an Illinois attorney constitutes purposeful availment of the

privilege of conducting activities in the state of Illinois. Venue is also proper under 28 U.S.C. §

1391(b)(3), as at least one Defendant is subject to personal jurisdiction in this district, and there

is no other district in which this action could be brought against all Defendants. Furthermore,

venue is proper under the RICO-specific provisions of 18 U.S.C. § 1965(a) and (b). Section

1965(a) permits venue in any district where a Defendant resides, is found, has an agent, or

transacts business, and Defendants, including without limitation, Looper, Whinnery, R.G.

Brownell, and Mack, transact substantial business or conduct activities in this district. Under §

1965(b), the ends of justice require that all Defendants, including those outside Illinois, be

brought before this Court for a comprehensive resolution of their coordinated racketeering

enterprise. Given the interconnected nature of Defendants’ conspiracy and the substantial harm

inflicted within this district, consolidating all claims and parties here is necessary for an

efficient and fair adjudication of Plaintiffs’ claims.

       33.       This Court has personal jurisdiction over Defendants under Rule 4(k)(1)(A) of the

Federal Rules of Civil Procedure and constitutional due process principles. Defendants

purposefully directed their activities toward Illinois, causing substantial harm to Plaintiffs in this

forum. Defendants engaged in predicate acts of racketeering, including wire fraud, bank fraud,

money laundering, and defamation, that directly targeted Illinois residents and entities. They

intentionally used Illinois-based financial institutions and professionals to perpetrate their

fraudulent schemes, demonstrating purposeful availment of this forum’s laws and protections.

They also manipulated transactions involving Illinois real estate and directed defamatory

communications toward Illinois-based Plaintiffs, including Wolfe, with the express intention of

causing harm in this district. These activities establish specific jurisdiction under International

Shoe Co. v. Washington, 326 U.S. 310 (1945), and its progeny, as Defendants’ conduct was

expressly aimed at Illinois and gave rise to Plaintiffs’ claims. Certain Defendants, including R. G.

Brownell, engaged in continuous and systematic business activities in Illinois, subjecting them to

general jurisdiction here. Additionally, 18 U.S.C. § 1965(b) permits nationwide jurisdiction over

all Defendants in a RICO action where the ends of justice so require, allowing this Court to

exercise jurisdiction over Defendants located outside Illinois.

       34.       The harm inflicted by Defendants’ actions is substantial and concentrated in

Illinois. Plaintiffs suffered financial losses, reputational harm, and business disruptions in this

district as a direct result of Defendants’ racketeering activities. Defendants orchestrated
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fraudulent financial transactions involving Illinois accounts, manipulated property transactions

affecting Illinois real estate, and disseminated defamatory content aimed at Illinois residents and

businesses. Their use of Illinois-based attorneys, financial institutions, and professionals further

ties their conduct to this district. Illinois has a compelling interest in adjudicating this dispute to

protect its residents, businesses, and property from harm caused by out-of-state and international

actors who intentionally directed their fraudulent activities into this state.

          35.    The exercise of jurisdiction and venue in this district comports with traditional

notions of fair play and substantial justice under Burger King Corp. v. Rudzewicz, 471 U.S. 462

(1985). Illinois provides a convenient forum for the resolution of this dispute, as key witnesses,

documents, and assets are located here. Judicial efficiency supports consolidating all claims and

Defendants in this Court, given the multi-jurisdictional nature of Defendants’ racketeering

enterprise. The ends of justice, as emphasized by 18 U.S.C. § 1965(b), necessitate the joinder of

all Defendants, regardless of their physical location, to address the coordinated nature of their

racketeering enterprise and to ensure a comprehensive resolution of the issues.

                       Global Capital Delaware and Global Capital Cayman

          36.    Global Capital Delaware was created on September 9, 2022, by BNW and R.G.

Brownell from their Northbrook, Illinois headquarters approximately three weeks after the filing

of the fraudulent Susan Essex Complaint in Illinois Circuit Court in DuPage County. This timing

aligns with the Defendants’ orchestration of a broader enterprise to misappropriate Plaintiffs’

assets and avoid liabilities.

          37.    The use of the name Global Capital Delaware demonstrates their intent to

impersonate Global Capital Partners Fund LLC, a legitimate private investment fund to facilitate

fraudulent transactions, obscure the role of R.G. Brownell, and evade detection by creditors and

courts.

          38.    Between September 2022 and February 2023, Global Capital Delaware

deliberately engaged Mack, an Illinois-based attorney, to draft and finalize fraudulent loan

agreements, including the Loan and Security Agreement with Green Sapphire, and the fraudulent

loan settlement agreement.

          39.    Mack’s services included drafting, revising, and transmitting key documents from

his Illinois office. His billing records indicate extensive time spent on these transactions during

this period, underscoring Global Capital Delaware’s reliance on Illinois-based legal infrastructure

to execute its schemes.
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       40.      On February 17, 2023, Global Capital Delaware’s Miami attorneys facilitated a

wire transfer of $8.86 million to a Chase Bank IOLTA account in Illinois controlled by Mack.

These funds were subsequently laundered and redirected by Mack in furtherance of the fraud.

       41.      Global Capital Cayman and Global Capital Delaware knowingly misrepresented

the terms and execution of the Loan and Security Agreement with Green Sapphire. These

misrepresentations included:

                       a.      Claiming that $10 million in loan proceeds would be used to

                               support Green Sapphire's legitimate business operations; and

                       b.      Falsely asserting that all loan proceeds were disbursed to

                               Green Sapphire, when in fact the funds were funneled into an

                               IOLTA account controlled by Mack and thereafter used in

                               furtherance of the association-in-fact criminal enterprise

                               consisting of R.G. Brownell, Mack, Global Capital Delaware

                               and their co-conspirators.

       42.      Global Capital Delaware collaborated with Mack and other Defendants in Illinois

to fabricate documents, including a fraudulent Stock Pledge Agreement and associated UCC-1

financing statements, which further facilitated the theft of funds and Green Sapphire’s interest in

the shares of Access Management S.A.S., Inc.

       43.      Global Capital Delaware actions form part of a pattern of racketeering activity

involving predicate acts of identity theft, bribery, mail fraud, wire fraud, money laundering, and

misrepresentation, in pertinent part, as follows:

                       a.      Global Capital Delaware, as an alter ego of BNW, conspired with

                               R.G. Brownell and Mack to impersonate officers of Green Sapphire

                               in communications with attorneys and financial institutions to

                               mislead stakeholders and secure unauthorized transfers; and

                       b.      Global Capital Delaware’s transactions involved complex layering

                               of funds through offshore accounts to obscure their origins and

                               evade scrutiny.

       44.      Global Capital Delaware’s reliance on Illinois-based resources included:

                       a.      Utilizing Mack’s Illinois office for the drafting, revision,

                               and execution of fraudulent loan documents which was

                               central to the scheme; and
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                            b.   Completing electronic transfers of immediately available funds

                                 through Mack’s Chase Bank in Illinois-based IOLTA account,

                                 including the initial receipt and redistribution of immediately

                                 available funds in the amount of approximately $8.86 million on

                                 February 17, 2023.

        45.       Global Capital Delaware’s direct engagement with Illinois residents and

institutions establishes sufficient jurisdictional ties under Illinois’ long-arm statute and supports

claims of purposeful availment.

        46.       On or about May 7, 2024, Global Capital Delaware was converted into Global

Capital Cayman with the intent to manufacture a pretext for claiming lack of specific personal

jurisdiction in Illinois.

        47.       Global Capital Delaware’s and Global Capital Cayman’s actions directly caused

the following damages:

                            a.   Financial Losses that Plaintiffs suffered causing over $1 million in

                                 damages;

                            b.   Reputational Harm that Plaintiffs’ standing in the business

                                 community was significantly harmed by the fallout from Global

                                 Capital Delaware’s and Global Capital Cayman’s fraudulent actions;

                            c.   The attempted conversion of Access Management SA into a Florida

                                 corporation named Access Management S.A.S., Inc. and the defective

                                 strict foreclosure of the alleged secured interest in Green Sapphire’s

                                 shares of Access Management S.A.S., Inc. created confusion over the

                                 identity of the true owner of the real property located in St. Barth that

                                 until April 2022 was clearly owned by Green Sapphire; and

                            d.   Operational Disruption that Plaintiffs faced substantial operational

                                 and legal costs to investigate and address Global Capital Delaware’s

                                 and Global Capital Cayman’s fraudulent activities and confirm Green

                                 Sapphire’s continuing ownership of the shares of Access

                                 Management S.A.S., Inc.

                                                 Looper

        48.       Looper, who was the CEO of Proton Green, orchestrated and participated in

fraudulent schemes that relied on Illinois-based attorney Mack, and his office in Illinois to draft
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and execute key documents. These documents include the fraudulent Susan Essex Complaint and

Loan and Security Agreement between Global Capital Delaware and Green Sapphire.

        49.         Looper’s action in setting up the cyber harassment website which republished the

Susan Essex Complaint directly injured and damaged Plaintiffs with significant ties to Illinois,

including Wolfe, NorthSea, and Green Sapphire, which conducted substantial business operations

within the state.

        50.         Looper, acting in concert with Whinnery, Mack, R.G. Brownell, and other

defendants, purposely availed himself of the privilege of conducting activities in Illinois

including using Mack’s IOLTA account to launder money for the benefit of Proton Green, and

legal services to establish the cyber harassment websites in order to help facilitate the fraudulent

transactions involving Proton Green and Alpha Carta.

        51.         Upon information and belief, Looper and Salazar participated in communications,

including teleconferences and email exchanges with Mack and R.G. Brownell to conspire among

themselves and conceive a scheme to form an association-in-fact criminal enterprise designed to

defraud and extract assets from Illinois-based Plaintiffs and related parties.

        52.         Between May 2023 and September 2023, Looper attended or facilitated

discussions with Mack and R.G. Brownell in Illinois and Smith and Rockwater in the Cayman

Islands to engineer the fraudulent loan settlement agreement between Proton Green and Alpha

Carta that was central to the racketeering enterprise.

        53.         Looper played a direct role in authorizing and coordinating the transfer of funds

obtained from Matthews and Holden through the Illinois-based IOLTA account managed by

Mack, including an approximately $2.9 Million wire transfer on or about August 19, 2023, which

was laundered and misappropriated by Mack for the benefit of Proton Green on August 23, 2023.

        54.         These fraudulent electronic transfers of funds were deliberately directed towards

Illinois and depended on the abuse of an IOLTA account at Chaser Bank in Illinois controlled by

Mack and were falsely represented as a loan to Breakers but were instead diverted by Mack to an

offshore account to further the fraudulent loan settlement scheme.

        55.         Looper’s activities directed to Illinois furthered the broader conspiracy by collaborating

with other Defendants to create and operate cyber harassment websites as part of the racketeering

conspiracy. These actions involved predicate acts tied to the use of Chase Bank in Illinois and the IOLTA

account controlled by Mack. Specifically, Looper was involved in drafting and filing the Susan Essex

Complaint, publishing defamatory statements on the websites, and orchestrating the creation, execution,

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and enforcement of fabricated loan settlement agreements between Proton Green and Alpha Carta, along

with related documents.

       56.      Looper purposely directed his activities to Illinois by participating in a conspiracy

to defame Illinois-based entities and officers of Illinois-affiliated organizations through the cyber

harassment website described below. Looper’s actions also included conspiring with Mack in

making misrepresentations to Chase Bank in Illinois regarding the source and ownership of funds

credited to the IOLTA account controlled by Mack, intending to defraud Breakers, Alpha Carta,

and related parties.

                                                    Mack

       57.      Mack is a licensed attorney and a resident of Illinois. He operates a law office in

Northbrook, Illinois, and which, upon information and belief, also was the office of BNW and

served as the operational hub for the racketeering enterprise that is the subject of this complaint.

       58.      Mack drafted and executed key documents from his Illinois office, including:

                       a.      The Loan and Security Agreement between Global Capital

                               Delaware and Green Sapphire;

                       b.      Associated documents such as UCC-1 financing statements and

                               Stock Pledge Agreements;

                       c.      The loan settlement agreement between Proton Green and Alpha

                               Carta;

                       d.      The loan settlement agreement by and among Breakers,

                               Matthews, and Holden; and

                       e.      The documents relating to the attempted conversion of

                               Access Management SA into a Florida corporation

                               named Access Management S.A.S., Inc.

       59.      These documents were intentionally designed to defraud Plaintiffs and

misappropriate funds and assets in furtherance of the racketeering enterprise.

       60.      Mack, while intentionally creating the false appearance and was portraying

himself as the attorney for Green Sapphire, Yorkville, Alpha Carta, and Breakers, Ltd., was in

fact representing multiple Co-Defendants, including R.G. Brownell, BNW, Looper, Proton

Green, Global Capital Delaware and Global Capital Cayman, Smith, Springett, Holden,

Matthews, Rockwater, and Tailwind. Using his Illinois office, Mack facilitated fraudulent

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schemes orchestrated by these parties and misappropriated funds, further exacerbating the harm

to the Plaintiffs in furtherance of the racketeering enterprise.

        61.      Mack participated in frequent teleconferences, emails, and meetings with R.G.

Brownell, Salazar, Looper, Smith, Springett, Whinnery, and other co-conspirators to finalize and

execute fraudulent agreements.

        62.      Mack's Illinois-based office served as the location for:

                        a.     Drafting, revising, and transmitting fraudulent documents; and

                        b.     Conducting communications with Illinois-based financial institutions,

                               by issuing wire transfer payment orders to Illinois Chase Bank

                               Branch.

        63.      Mack maintained consistent communication with other conspirators, facilitating

the planning and coordination of fraudulent activities, and played a significant role in devising

and implementing fraudulent agreements and wire transfers for the purpose of, in pertinent part,

laundering money critical to the enterprise’s operations.

        64.      From his Illinois office, Mack utilized his attorney license and IOLTA account to

draft, revise, and transmit fraudulent transaction documents and wire transfers, coordinating with

financial institutions to further the racketeering conspiracy. As a licensed attorney, Mack’s

deliberate and calculated actions, including advising co-conspirators on structuring and

documenting fraudulent transactions to give them an appearance of legitimacy, were pivotal in

advancing the enterprise’s common purpose to deceive and defraud the Plaintiffs.

                                                 BNW

        65.      BNW, through its sole member R.G. Brownell, orchestrated a conspiracy with

Salazar, Endeavor, Mack, Looper, Proton Green, Global Capital Delaware and Global Capital

Cayman, Smith, Springett, Rockwater, and Tailwind to carry out a series of unlawful acts using

Northbrook, Illinois, as the operational hub of their racketeering enterprise.

        66.      Operating from its shared headquarters with Mack in Northbrook, BNW

leveraged Mack’s legal expertise and Illinois-based resources to draft fraudulent agreements,

execute financial transactions, and coordinate communications critical to advancing the

enterprise’s illegal objectives.

        67.      Upon information and belief, BNW was the owner of one hundred percent

(100%) of the LLC membership interests of Global Capital Delaware from September 9, 2022,

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until January 29, 2023, when BNW assigned one hundred percent (100%) of the membership

interest of Global Capital Delaware to Hi-Point SPV Ltd.

       68.       Under R.G. Brownell’s control, BNW, alongside its co-conspirators, convened

regularly by phone in Mack’s conference room in Northbrook to strategize and finalize fraudulent

contracts, including the formation of Global Capital Delaware, the Loan and Security Agreement

dated February 2, 2023, UCC-1 financing statements, Stock Pledge Agreements, and Loan

Settlement Agreements.

       69.       R.G. Brownell was the mastermind of and directed these efforts, just like he did in

the fraud scheme he perpetrated against Bielinski Brothers Construction Company in the early

2000s for which he received the maximum sentence of twenty (20) years in prison. Attached as

Group Exhibit A is a True and Correct Copy of Brownell’s Superseding Information, signed Plea

Agreement in United States v. Brownell, and Sentencing Minutes.

       70.       R.G. Brownell ensured that the fraudulent documents were carefully constructed

to facilitate the money laundering and the misappropriation of funds while providing an air of

legitimacy to the enterprise’s activities. Upon information and belief, Salazar and Endeavor

collaborated with BNW in these activities, working with Mack and R.G. Brownell to draft and

transmit agreements that furthered the racketeering conspiracy.

       71.       Upon information and belief, Looper, Proton Green, Global Capital Delaware and

Global Capital Cayman, Smith, Springett, Rockwater, and Tailwind played supporting roles,

coordinating additional aspects of the fraud under R.G. Brownell’s direction.

       72.       From Northbrook, Illinois, BNW also engaged in fraudulent communications

targeting Illinois-based Plaintiffs and financial institutions. Acting through R.G. Brownell and

Mack, BNW conducted teleconferences, emails, and in-person meetings designed to misrepresent

the legitimacy of financial transactions, falsify inspection reports, and fabricate critical dates

memoranda. These communications were integral to the enterprise’s ability to defraud Plaintiffs,

including Yorkville and Green Sapphire.

       73.       BNW’s operations from Northbrook, Illinois, were central to its targeting of

Illinois-based Plaintiffs. Under R.G. Brownell’s direction, the enterprise misrepresented the

condition of assets, such as the Hale Property, through fabricated inspection reports, causing

significant financial harm and reputational damage to Illinois-based Plaintiffs. These actions,

coordinated and executed from Illinois, underscore BNW’s intentional use of Illinois as the


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geographical and operational center of this association-in-fact racketeering enterprise.

                                   Cyber App and Proton Green

       74.      Cyber App, as the successor and parent company of Proton Green, retained

Illinois-based attorney Mack to draft and finalize documents essential to fraudulent loan

agreements and related financial transactions. Acting through its subsidiary, Proton Green, Cyber

App exploited Illinois-based legal and financial resources to orchestrate and facilitate its

racketeering enterprise.

       75.      Mack’s Illinois office served as the operational hub for preparing and transmitting

fraudulent agreements on behalf of Cyber App and its subsidiary, Proton Green, including the

Forbearance Agreement with Alpha Carta. These agreements were deliberately structured to

conceal the fraudulent nature of the enterprise’s activities.

       76.      Cyber App and its subsidiary, Proton Green, misused Mack’s Illinois-based

IOLTA trust account to launder, misappropriate, and redirect funds, including $2.9 million in

loan proceeds funneled through the account specifically to include:

                       a.      Cyber App and Proton Green orchestrated the diversion of $2.75

                               million of the $2.9 million, of which at least $2 million was

                               transferred to offshore accounts controlled by co-conspirators for the

                               benefit of Proton Green; and

                       b.      These transactions were fraudulently portrayed as legitimate business

                               dealings while being executed to further the broader fraudulent

                               scheme.

       77.      The actions of Cyber App and Proton Green, as parent and subsidiary entities,

were specifically designed to target and defraud Illinois-based Plaintiffs, causing significant

financial harm and reputational damage to their businesses.

       78.      Acting through Mack and other Illinois-based co-conspirators, Cyber App and

Proton Green fabricated documents, misled Illinois-based Plaintiffs, and orchestrated fraudulent

transactions and fund transfers under false pretenses.

       79.      Cyber App relied on its subsidiary, Proton Green, as well as Illinois-based

resources, including Mack’s legal expertise and Illinois financial systems, to execute and obscure

the enterprise’s fraudulent activities. The Northbrook, Illinois office served as the central location

for drafting, transmitting, and concealing fraudulent agreements and transactions.

       80.      Mack’s role as an Illinois attorney was indispensable to Cyber App’s ability to
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formalize, coordinate, and conceal the fraudulent transactions executed by itself and Proton

Green as part of the broader scheme.

                                            R.G. Brownell

        81.      R.G. Brownell, operating from Northbrook, Illinois, retained Illinois-based

attorney Mack to draft and execute fraudulent documents related to the Hale Property

transaction. These documents included fabricated inspection reports and falsified purchase

agreements that misrepresented the property’s condition and value, with the specific intent to

deceive Illinois-based Plaintiffs, including Yorkville.

        82.     R.G. Brownell actively participated in teleconferences and email exchanges with

Mack and Illinois-based Plaintiffs to perpetuate the fraud. From his Illinois headquarters, he

directed communications that misrepresented the structural integrity and market value of the

Hale Property. These communications were central to inducing Plaintiffs to rely on the

fraudulent agreements.

        83.     Acting in concert with Mack, R.G. Brownell authorized the diversion of funds

through Mack’s Illinois-based IOLTA trust account. These funds, which included proceeds from

the fraudulent Hale Property transaction, were disguised as consulting fees and subsequently

laundered through offshore accounts controlled by R.G. Brownell’s co-conspirators. The use of

Illinois financial institutions was instrumental in facilitating these transactions. R.G. Brownell’s

actions mirror those for which he was convicted earlier in Bielinski.

        84.     R.G. Brownell worked closely with Mack to draft and finalize false agreements

and filings from Mack’s Illinois office. These documents, including fraudulent UCC-1 financing

statements, Stock Pledge Agreements, and Loan and Security Agreements, were designed to

create a façade of legitimacy while enabling the misappropriation of funds owed to Illinois-based

Plaintiffs.

        85.     R.G. Brownell’s orchestration of these fraudulent activities from Illinois caused

direct and substantial harm to Illinois-based Plaintiffs. This harm included:

                       a.      Financial losses resulting from the misappropriation of funds

                               routed through Mack’s Illinois-based trust account;

                       b.      Reputational harm to Illinois-based businesses due to R.G.

                               Brownell’s misrepresentations and fraudulent actions;

                       c.      Operational disruptions, as Plaintiffs expended significant

                               resources investigating and addressing the fraud; and
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                       d.      Consequential damages in the form of attorney’s fees incurred

                               in litigation caused by R.G. Brownell’s conduct.

       86.       By directing fraudulent transactions, coordinating the preparation of false

documents in Illinois, and targeting Illinois-based Plaintiffs, R.G. Brownell purposefully availed

himself of Illinois’s legal and financial infrastructure. His deliberate reliance on Illinois

resources establishes sufficient minimum contacts for this Court’s jurisdiction.

                                        Smith and Rockwater

       87.       Smith and Rockwater played pivotal roles in the racketeering enterprise,

collaborating with Illinois-based co-conspirators, including attorney Mack, BNW, and R.G.

Brownell to execute fraudulent financial transactions and fabricate documents that directly

targeted Illinois-based Plaintiffs. Their actions were intentionally directed at Illinois, leveraging

the state’s legal and financial infrastructure to facilitate the enterprise’s fraudulent schemes.

       88.       Smith, acting on behalf of Rockwater was intimately involved with Mack who

prepared fraudulent filings including UCC-1 financing statements and the Pledge and Security

Agreement dated February 16, 2023 (Stock Pledge Agreement), targeting Illinois-based

Plaintiffs, including Yorkville and Green Sapphire. These documents were prepared at Mack’s

Illinois office and were critical to misrepresenting Plaintiffs’ financial obligations and concealing

the fraudulent nature of the transactions.

       documents were specifically directed to Illinois-based Plaintiffs and ensure the

misappropriation of funds.

       89.       Upon information and belief, between May 2022 and September 2023, Smith and

Rockwater actively participated in the fraudulent restructuring of debts owed to Proton Green and

Alpha Carta. These transactions relied on false agreements, fabricated in Mack's Illinois office,

that misrepresented the source and use of funds credited to Mack IOLTA’s Account. The

documents were specifically directors to Illinois-based Plaintiffs and ensure the misappropriation

of funds.

       90.       On Smith’s and/or Rockwater’s instructions, immediately available funds in the

amount of $2.9 million were electronically transferred from an account controlled by the

attorneys for Matthews and Holden at a bank in the Cayman Islands to Chase Bank in Illinois for

credit to Mack’s IOLTA account. This transfer demonstrates their deliberate use of Illinois

financial systems to launder and misappropriate funds. Smith and Rockwater were fully aware

that the funds would be laundered and diverted to an offshore account controlled by Smith’s and
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Mack’s co-conspirators.

        91.     Rockwater, acting through Smith, relied on Mack’s Illinois office for the drafting,

execution, and transmission of key documents necessary to further the fraudulent scheme. These

included fabricated Loan and Security Agreements, the Stock Pledge Agreement, and Loan

Settlement Agreements.

        92.     Smith and Rockwater engaged in regular communications with Mack, originating

from Illinois, to coordinate the flow of funds, and the drafting and execution of fraudulent

agreements. These communications, including email correspondence and teleconferences,

targeted Illinois-based Plaintiffs and financial institutions. By directing these communications to

Illinois, Smith and Rockwater established ongoing and purposeful contacts with the state.

        93.     The funds central to this dispute were transferred into and managed through

Mack’s Illinois-based IOLTA account. This account served as the conduit for the

misappropriation and laundering of proceeds tied to the fraudulent activities of Smith and

Rockwater. By relying on Illinois-based financial systems, they tied their actions directly to

Illinois.

        94.     The fraudulent activities orchestrated by Smith and Rockwater caused substantial

harm to Illinois-based Plaintiffs, including:

                       a.      Financial losses exceeding $2.9 million, routed through

                               Illinois financial institutions;

                       b.      Reputational harm to Illinois-based businesses due to

                               misrepresentations about the legitimacy of financial

                               transactions; and

                       c.      Operational disruptions, as Plaintiffs were forced to

                               expend resources investigating and mitigating the effects

                               of the fraudulent scheme.

        95.     By wiring funds to Illinois, directing the preparation of fraudulent documents in

Illinois, and engaging in communications targeting Illinois-based Plaintiffs, Smith and

Rockwater purposefully availed themselves of Illinois jurisdiction. Their use of Illinois’s legal

and financial infrastructure, as well as the harm they caused to Illinois-based Plaintiffs,

establishes sufficient minimum contacts to subject them to this Court’s jurisdiction.

                                                Salazar

        96.     Salazar was an integral participant in the racketeering enterprise, knowingly
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benefiting from and facilitating fraudulent financial transactions that relied on Illinois-based

legal and financial systems.

         97.     Salazar directly received from Mack’s Chase Bank IOLTA account $750,000 of

the $2.9 million in funds that Matthew’s and Holden’s attorney funneled through Mack’s

Illinois-based IOLTA trust account at Chase Bank. By using Illinois financial infrastructure to

access and misappropriate these funds, Salazar purposefully directed his actions toward Illinois.

         98.     Salazar actively engaged in communications with Mack and other co-conspirators

to coordinate the transfer, concealment, and misappropriation of funds targeting Illinois-based

Plaintiffs. These communications included emails and teleconferences involving Mack’s Illinois

office, further tying Salazar’s activities to Illinois.

         99.     Acting in concert with Mack, R.G. Brownell, BNW, Looper, Proton Green, and

other Defendants, Salazar participated in the creation, execution, and transmission of fabricated

agreements and documents designed to mislead Illinois-based stakeholders and financial

institutions. These fraudulent agreements, prepared and transmitted through Mack’s Illinois

office, including the false Loan and Settlement Agreement between Proton Green and Alpha

Carta.

         100.    By benefiting from funds processed through Illinois financial institutions,

participating in fraudulent communications targeting Illinois-based Plaintiffs, and relying on

documents drafted and transmitted from Illinois, Salazar purposefully availed himself of the

privilege of conducting business in Illinois jurisdiction. His use of Illinois’s legal and financial

infrastructure establishes sufficient minimum contacts to subject him to this Court’s jurisdiction.

         101.    Salazar’s fraudulent activities caused significant harm to Illinois-based Plaintiffs,

including:

                        a.       Financial losses resulting from the misappropriation of

                                 $750,000 of the loan proceeds;

                        b.       Reputational damage to Illinois-based businesses caused by

                                 fraudulent filings and communications; and

                        c.       Operational disruptions and costs incurred by Plaintiffs to

                                 investigate and address the fraudulent transactions.

         102.    Through his deliberate participation in the racketeering enterprise, Salazar played

a critical role in orchestrating and benefiting from fraudulent activities that depended on Illinois-


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based resources. His actions, in conjunction with Mack and other co-conspirators, underscore his

direct and substantial connection to Illinois, making Illinois the appropriate jurisdiction for this

matter.

                                              R.J. Brownell

          103.   R.J. Brownell was a key participant in the racketeering enterprise, directly

engaging in fraudulent activities from Illinois and in coordination with Illinois-based co-

conspirators, including Mack. From his shared operational base in Northbrook, Illinois, Brownell

facilitated the preparation and execution of fraudulent documents and the misappropriation of

funds targeting Illinois-based Plaintiffs, establishing his jurisdictional ties to Illinois.

          104.   Acting under the direction of his father, R.G. Brownell, and alongside Mack, R.J.

Brownell participated in the drafting and execution of critical fraudulent documents, including

the Guaranty of Payment by BNW dated February 2, 2023. These documents, upon information

and belief, were prepared in Mack’s Illinois office, misrepresented material facts and were

integral to the fraud.

          105.   Upon information and belief, R.J. Brownell actively participated in

teleconferences and email correspondence with Mack and other Illinois-based co-conspirators to

coordinate the flow of funds and execution of fraudulent agreements. These communications,

originating from Illinois, included false representations about the need for asbestos remediation

of the Hale Property.

          106.    R.J. Brownell also worked with Mack to fabricate inspection reports and

property-related documents targeting Illinois-based assets, including the Hale Property owned by

Yorkville. These fabricated reports, transmitted from Mack’s Illinois office, were used to

misrepresent the condition of the Hale Property, facilitating the misappropriation of funds and

causing significant harm to Illinois-based Plaintiffs.

          107.    The fraudulent actions of R.J. Brownell caused substantial harm to Illinois-based

Plaintiffs, including:

                         a.     Financial losses exceeding $50,000 due to misappropriated funds

                                routed through Illinois-based accounts;

                         b.     Reputational harm to Illinois-based businesses caused by false

                                filings and misrepresentations;

                         c.     Operational disruptions and significant costs incurred by Plaintiffs

                                to investigate and address the fraudulent transactions; and
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                         d.       Consequential damages in the form of attorney’s fees incurred in

                                  litigation arising out of and related to the Hale Property.

                                Sasaginnikak f/k/a Overall Builders, LLC

        108.      Sasaginnigak played a significant role in the racketeering enterprise, actively

participating in fraudulent financial transactions and fabricating documents designed to target

Illinois-based Plaintiffs. Through its direct reliance on Illinois legal and financial resources,

Sasaginnigak purposefully tied its actions to Illinois, making this state the appropriate

jurisdiction for this matter.

        109.     Sasaginnigak engaged in frequent communications with Mack and other Illinois-

based co-conspirators to coordinate the execution of fraudulent agreements and financial

transactions. These communications, including email correspondence and teleconferences,

targeted Illinois-based Plaintiffs and financial institutions, further embedding the fraudulent

activities within Illinois.

        110.     Sasaginnigak was directly involved in fabricating inspection reports and related

property documents targeting Illinois-based assets, including the Hale Property. These

documents, transmitted from Mack’s Illinois office, misrepresented the condition and value of

the property, causing substantial financial harm to Illinois-based Plaintiffs, such as Yorkville.

        111.     Sasaginnigak’s fraudulent actions caused significant harm to Illinois-based

Plaintiffs, including:

                         a.       Financial losses exceeding $50,000, misappropriated through

                                  Mack’s Illinois trust account;

                         b.       Reputational harm to Illinois-based businesses caused by

                                  fraudulent filings and misrepresentations;

                         c.       Operational disruptions and costs incurred by Plaintiffs to

                                  investigate and mitigate the fraudulent activities; and

                         d.       Consequential damages in the form of attorney’s fees incurred in

                                  litigation arising out of and related to the Hale Property.

        112.     By directing funds to Illinois, utilizing Mack’s Illinois office for the preparation

and transmission of fraudulent documents, and engaging in communications targeting Illinois-

based Plaintiffs, Sasaginnigak purposefully availed itself of Illinois jurisdiction. Its reliance on

Illinois resources and the harm caused to Illinois Plaintiffs establish sufficient minimum contacts

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to subject it to this Court’s jurisdiction.

           Endeavor Real Estate, Endeavor Opportunity, Cerco, and OP Highbridge

        113.     In January 2022, Cerco entered into a development agreement with Terra Carta

being paid $80,000 per month, to facilitate the development of approximately 334 acres of real

property located in Cedar Park, Texas (“Cedar Park Property”).

        114.     In March 2023, upon information and belief, these Defendants engaged in a

scheme involving a fraudulent $98 million purchase agreement drafted by Illinois-based attorney

Mack. The agreement, which facilitated the purported purchase of the Cedar Park Property by

TRT Capital Group LLC, a Delaware limited company, demonstrates significant ties to Illinois

through the use of Illinois-based legal services and resources to perpetrate the fraudulent

enterprise. This use of Illinois resources constitutes predicate acts of wire fraud under 18 U.S.C. §

1343, as Mack transmitted fraudulent documents and communications originating in Illinois to

further the scheme.

        115.     In March 2023, Mack drafted the fraudulent $98 million purchase agreement of

which the Cedar Park Property was to be purchased by a Delaware limited company named TRT

Capital Group LLC for the price of approximately $98 million. As the developer for the Cedar

Park Property, Endeavor Real Estate knew or should have known about the $98 million purchase

agreement and that it was fraudulent. Between April 2023 and August 31, 2023, this fraudulent

purchase agreement was terminated without notice to the beneficial owners of Green Sapphire

and Terra Carta, further exemplifying the Defendants’ concealment of material facts and

participation in a racketeering enterprise.

        116.     In August 2023, Endeavor entered into a letter of intent agreement with Terra

Carta relating to the purchase of Cedar Park Property for the price of $45 million. This

substantial undervaluation was based on fabricated reports and communications involving

Illinois-based co-conspirators, including Mack, and constitutes further acts of wire and mail

fraud under 18 U.S.C. §§ 1341 and 1343.

        117.     In January 2024, Endeavor Real Estate acquired this property for approximately

$39 million, which constitutes about one-third of its fair market value, underscoring a pattern of

fraudulent activity that leveraged the initial development agreement and purchase framework. This

transaction was facilitated by the use of fraudulent documents drafted and transmitted from Mack’s

Illinois office, directly tying the Defendants to Illinois.

        118.     This conduct directly connects the Defendants to Illinois, demonstrating a
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deliberate exploitation of Illinois resources in furtherance of their fraudulent enterprise. The use

of Illinois-based legal services to draft and transmit fraudulent agreements constitutes predicate

acts of wire fraud under 18 U.S.C. § 1343 and supports jurisdiction under 18 U.S.C. § 1965(b).

        119.     By utilizing Illinois-based legal services to structure and document fraudulent

transactions, the Defendants established a clear nexus with Illinois. This connection forms a

sufficient basis for jurisdiction over the Defendants in Illinois courts, as their actions

intentionally involved Illinois resources and facilitated harm extending beyond state boundaries.

        120.     Endeavor Real Estate, Endeavor Opportunity, Cerco , and OP Highbridge were

active participants in the racketeering enterprise, working in coordination with Illinois-based co-

conspirators, including Mack and R.G. Brownell, to execute fraudulent financial transactions and

fabricate documents. Their actions relied extensively on Illinois legal and financial infrastructure,

directly targeting Illinois-based Plaintiffs and establishing this Court’s jurisdiction.

        121.     The fraudulent actions orchestrated by these entities caused substantial harm to

Illinois-based Plaintiffs, including:


                       a.      Financial losses exceeding $50 million;


                       b.      Reputational damage to Illinois-based businesses due to

                               misrepresented property values and financial obligations; and


                       c.      Operational disruptions and substantial costs incurred by Illinois

                               Plaintiffs to investigate and mitigate the effects of the fraudulent

                               transactions.


        122.     The negotiation, amendment, signature collection, approval, and processing of

contracts from Illinois were integral to the execution of the fraudulent scheme. These intentional

activities targeting Illinois-based Plaintiffs establish sufficient minimum contacts with Illinois.

By wiring funds to Illinois, utilizing Mack’s Illinois office to prepare and transmit fraudulent

documents, and targeting Illinois-based Plaintiffs with misrepresentations and fraudulent

agreements, Endeavor Real Estate, Endeavor Opportunity, Cerco , and OP Highbridge

purposefully availed themselves of Illinois jurisdiction. Their direct use of Illinois legal and

financial systems and the harm they caused to Illinois Plaintiffs support this Court’s exercise of

jurisdiction.

                                        Springett and Tailwind

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           123.   Springett and Tailwind were central participants in the racketeering enterprise,

working in coordination with Illinois-based co-conspirators, including Mack and Smith, to

execute fraudulent financial transactions and fabricate documents that targeted Illinois-based

Plaintiffs. Their purposeful engagement with Illinois resources establishes a clear basis for

jurisdiction in Illinois.

           124.   Springett, acting on behalf of Tailwind directed Mack to prepare and execute key

fraudulent documents, including fabricated UCC-1 financing statements, Loan and Security

Agreements, and Stock Pledge Agreements. These documents were drafted and finalized in

Mack’s Illinois office and were instrumental in concealing the fraudulent nature of the

enterprise’s transactions while misrepresenting the financial obligations of Illinois-based

Plaintiffs, such as Yorkville and Green Sapphire. This conduct constitutes predicate acts of wire

fraud under 18 U.S.C. § 1343, as the fraudulent documents were transmitted through interstate

electronic communications to further the racketeering enterprise.

           125.   Between June 2022 and August 2023, Springett and Tailwind participated in

multiple financial transactions processed through Mack’s Illinois-based IOLTA trust account at

Chase Bank. These transactions included a $2.9 million wire transfer that was disguised as

legitimate loan proceeds but was, in reality, laundered and misappropriated for the benefit of

Springett, Tailwind, and other co-conspirators. These acts also constitute predicate acts of money

laundering under 18 U.S.C. § 1956(a), as the funds were transferred to conceal their illicit

origins.

           126.   Springett and Tailwind relied on Mack’s Illinois office to draft and transmit

fabricated agreements necessary to facilitate the fraudulent restructuring of debts owed to

Illinois-based Plaintiffs. These agreements misrepresented loan terms, disbursement schedules,

and repayment obligations. By utilizing Illinois-based legal services, Springett and Tailwind

directly availed themselves of Illinois resources. This conduct demonstrates a calculated effort to

perpetuate mail and wire fraud under 18 U.S.C. §§ 1341 and 1343.

           127.   Both Springett and Tailwind engaged in frequent communications with Mack and

other Illinois-based co-conspirators to coordinate fraudulent transactions. These communications,

including email correspondence and teleconferences, targeted Illinois-based Plaintiffs and

financial institutions. The correspondence included specific misrepresentations designed to

induce reliance on fraudulent agreements, further tying Springett and Tailwind to Illinois. These

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actions constitute predicate acts of wire fraud under 18 U.S.C. § 1343, as they were conducted

through electronic means to execute the racketeering scheme.

       128.      Springett, acting on behalf of Tailwind played a direct role in authorizing and

overseeing the transfer of funds into and through Mack’s Illinois-based IOLTA account. These

transfers were central to the misappropriation and laundering of loan proceeds. By directing these

funds into Illinois financial systems, Springett and Tailwind deliberately tied their activities to

Illinois. The use of Illinois-based financial systems for laundering funds also constitutes predicate

acts under 18 U.S.C. § 1956(a).

       129.      Tailwind under Springett’s direction, collaborated in the creation of fabricated

inspection reports and related documents that targeted Illinois-based assets, including the Hale

Property. These reports, prepared and transmitted from Mack’s Illinois office, misrepresented the

condition and value of the property, resulting in financial harm to Illinois-based Plaintiffs,

including Yorkville. This conduct constitutes predicate acts of mail fraud under 18 U.S.C. § 1341,

as false documents were distributed in furtherance of the fraudulent enterprise.

       130.      The fraudulent activities of Springett and Tailwind caused substantial harm to

Illinois-based Plaintiffs, including:

                       a.      Financial losses exceeding $2.9 million, routed through

                               Mack’s Illinois trust account;

                       b.      Reputational damage to Illinois businesses, stemming from

                               the dissemination of fraudulent documents and

                               communications; and

                       c.      Operational disruptions and significant costs incurred by

                               Illinois-based Plaintiffs to investigate and address the

                               fraudulent transactions.

       131.      By wiring funds to Illinois, utilizing Mack’s Illinois office for the preparation and

transmission of fraudulent documents, and engaging in communications targeting Illinois-based

Plaintiffs, Springett and Tailwind purposefully availed themselves of Illinois jurisdiction. Their

reliance on Illinois resources and the harm caused to Illinois-based Plaintiffs firmly establishes

this Court’s jurisdiction over their actions.

                                        Holden and Matthews

       132.      Holden and Matthews deliberately directed their actions toward Illinois as part of

their roles in the racketeering enterprise. Operating from the Cayman Islands, they engaged in
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transactions and communications purposefully tied to Illinois legal and financial systems,

establishing a substantial connection to the state. Their actions included predicate acts of wire

fraud under 18 U.S.C. § 1343 and money laundering under 18 U.S.C. § 1956, as their fraudulent

activities relied heavily on Illinois-based resources.

       133.     Holden and Matthews were involved in the authorization and facilitation of wire

transfers directed to an Illinois-based IOLTA account held by Mack at Chase Bank in Illinois.

On or about August 19, 2023, they approved the transfer of $2.9 million in purported loan

proceeds to Mack’s account. The choice of an Illinois-based financial institution as the

destination for these funds demonstrates their purposeful availment of Illinois’s financial

infrastructure. These funds were subsequently misappropriated and laundered for the benefit of

Holden, Matthews, and other co-conspirators, constituting predicate acts of money laundering

under 18 U.S.C. § 1956(a)(1).

       134.     Matthews and Holden engaged in direct email correspondence with Mack in

Illinois to coordinate the use and distribution of the loan proceeds. These communications

included specific requests for confirmation regarding the application of funds held in Mack’s

Illinois-based trust account. By engaging in repeated communications with an Illinois attorney

regarding Illinois-based transactions, they created direct and ongoing interactions with the state.

This conduct also constitutes predicate acts of wire fraud under 18 U.S.C. § 1343.

       135.     In response to inquiries from Matthews and Holden, Mack provided Illinois-based

responses that further tied the transactions to Illinois. This correspondence, facilitated through

Mack’s Illinois office, was critical in enabling the flow of funds into Illinois and their subsequent

diversion as part of the fraudulent scheme. These acts further establish a pattern of racketeering

activity involving Illinois under 18 U.S.C. § 1961.

       136.     Both Holden and Matthews relied on Mack’s Chase Bank IOLTA Account in the

Illinois office to draft and transmit key documents essential to the racketeering enterprise. These

documents, including fabricated loan agreements, were executed to misappropriate funds and

conceal the fraudulent nature of the transactions. By utilizing Illinois-based legal services,

Holden and Matthews ensured that Illinois resources were integral to the enterprise’s operations.

This conduct constitutes predicate acts of wire fraud under 18 U.S.C. § 1343 and mail fraud

under 18 U.S.C. § 1341.

       137.     Holden and Matthews also directed fraudulent communications targeting Illinois-

based Plaintiffs. These communications, which included false representations regarding the
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purpose and disbursement of loan proceeds, were aimed at inducing reliance by Illinois-based

Plaintiffs, including Yorkville and Green Sapphire. These misrepresentations directly contributed

to the Plaintiffs’ financial losses and further embedded the scheme in Illinois, constituting

predicate acts of wire fraud under 18 U.S.C. § 1343.

        138.     The funds at the center of this dispute were managed through Mack’s Illinois-

based IOLTA account, making Illinois a central locus of the fraudulent activity. By directing

funds to Illinois and engaging in repeated communications with Mack, Holden and Matthews

purposefully availed themselves of Illinois jurisdiction, creating the minimum contacts required

under Illinois’s long-arm statute. Their use of Illinois financial institutions also supports claims

under 18 U.S.C. § 1965(b).

        139.     The actions of Holden and Matthews caused significant harm to Illinois-based

Plaintiffs, including:

                         a.      Financial losses exceeding $2.9 million diverted through

                                 Mack’s Illinois trust account;

                         b.      Reputational damage within Illinois’s business community due

                                 to the fraudulent transactions; and

                         c.      Operational disruption as Plaintiffs were forced to expend

                                 resources investigating and addressing the fraudulent scheme.

        140.     By wiring funds to Illinois, engaging in correspondence with Illinois-based

attorneys, and directing harm to Illinois-based Plaintiffs, Holden and Matthews purposefully

availed themselves of Illinois as a forum. Their use of Illinois’s financial infrastructure and legal

resources establishes sufficient minimum contacts for jurisdiction, and the harm they caused to

Illinois Plaintiffs further solidifies Illinois as the proper jurisdiction for this matter.

                                       Whinnery and Katunigan

        141.     Whinnery and Katunigan were principal participants in a coordinated racketeering

enterprise, leveraging Illinois-based co-conspirators, including attorney Mack, to execute

fraudulent financial transactions and fabricate documents targeting Illinois-based Plaintiffs. Their

deliberate and systematic use of Illinois’s legal and financial infrastructure establishes a clear

connection to this jurisdiction for legal and adjudicatory purposes, forming part of a pattern of

racketeering activity under federal and state law. This conduct constitutes predicate acts of wire

fraud under 18 U.S.C. § 1343 and money laundering under 18 U.S.C. § 1956.

        142.     Whinnery, acting on behalf of Katunigan, was part of the racketeering enterprise
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whereby Mack drafted and executed fraudulent agreements, including UCC-1 financing

statements, Stock Pledge Agreements, and fabricated Loan and Security Agreements. These

documents, prepared at Mack’s Illinois office, intentionally misrepresented financial obligations

to deceive Illinois-based Plaintiffs, such as Yorkville and Green Sapphire. These acts constituted

predicate offenses of wire fraud under 18 U.S.C. § 1343 in furtherance of the racketeering

enterprise.

        143.    Katunigan, under Whinnery’s direction, was part of the racketeering enterprise

whereby Mack processed multiple financial transactions through his Illinois-based IOLTA trust

account at Chase Bank. These transactions included laundering approximately $2.9 million in

purported loan proceeds through Illinois’s financial systems. This use of Illinois’s banking

infrastructure facilitated the concealment of fraudulently obtained funds, directly benefiting

Whinnery, Katunigan, and other co-conspirators, in violation of 18 U.S.C. § 1956(a)(1).

        144.    Between June 2022 and September 2023, Whinnery and Katunigan engaged in

frequent and coordinated communications with Mack and other Illinois-based co-conspirators,

including email chains and teleconferences, to orchestrate fraudulent transactions and distribute

misappropriated funds. These communications targeted Illinois-based Plaintiffs and financial

institutions, evidencing the ongoing and organized nature of the racketeering enterprise, which

meets the continuity requirement under 18 U.S.C. § 1961(5).

        145.    Whinnery and Katunigan relied extensively on Mack’s Illinois office to draft and

transmit fabricated agreements as part of a fraudulent restructuring of debts owed to Illinois-

based Plaintiffs. These agreements, including misrepresented Loan and Security Agreements,

concealed the true fraudulent nature of the transactions and were critical in deceiving Plaintiffs

into acting on false information. This conduct constituted predicate acts of mail and wire fraud

under 18 U.S.C. §§ 1341 and 1343.

        146.    Katunigan, at Whinnery’s direction, was part of the racketeering enterprise

whereby it fabricated inspection reports created and transmitted at Mack’s Illinois office. These

reports misrepresented the condition and value of Illinois-based assets, including the Hale

Property, causing significant financial harm to Illinois-based Plaintiffs such as Yorkville. This

deliberate misrepresentation furthered the fraudulent enterprise and constituted predicate acts of

fraud under RICO.

        147.    Whinnery and Katunigan utilized Mack’s Illinois-based IOLTA trust account as

the central hub for laundering and misappropriating funds obtained through fraudulent
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transactions. By funneling the proceeds of these transactions through this account, the co-

conspirators deliberately relied on Illinois’s financial infrastructure to obscure the illicit nature of

their actions, forming part of the enterprise’s pattern of racketeering activity under 18 U.S.C. §

1962.

        148.     The fraudulent actions of Whinnery and Katunigan directly harmed Illinois-based

Plaintiffs in multiple ways, including:

                        a.      Financial losses exceeding $2.9 million, resulting from the

                                misappropriation of funds through Illinois-based financial

                                systems;

                        b.      Reputational damage to Illinois businesses caused by falsified

                                property valuations and misrepresented financial transactions,

                                impairing their credibility and operations; and

                        c.      Operational disruptions, as Illinois-based Plaintiffs were forced

                                to divert significant resources to attempt mitigate the impact of

                                the fraudulent activities, which further perpetuated the harm

                                caused by the racketeering enterprise.

        149.     Through its involvement with the racketeering enterprise that directed funds to

Illinois, engaged in frequent communications targeting Illinois-based Plaintiffs, and exploited

Illinois’s legal and financial systems to draft and execute fraudulent documents, Whinnery and

Katunigan purposefully availed themselves of this jurisdiction. Their deliberate and systematic

actions demonstrate sufficient minimum contacts with Illinois and establish a direct connection

to the harm caused to Illinois-based Plaintiffs, satisfying jurisdictional standards under Illinois

law and federal RICO statutes.


                                                FACTS

                                 I. The 2022 Complaint & Websites

        150.     In furtherance of the overall fraudulent schemes, Defendants conspired to enact

upon Plaintiffs as described herein, in August of 2022, an anonymous party (the “Complainant”)

using the alias “Susan Essex” filed a complaint against Plaintiff Wolfe in DuPage County, Illinois

(the “2022 Complaint”), raising a series of scurrilous, denigrating, and disparaging allegations

regarding Plaintiff Wolfe, including that he engaged in criminal activity and adultery.

        151.     After filing the 2022 Complaint, the Complainant made no efforts to serve—or


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even notify—Plaintiff Wolfe of the case brought against him, nor did “she” make any other

efforts to otherwise litigate the case.

        152.     On or about October 31, 2022, the case was dismissed for want of prosecution. At

no point thereafter did the Complainant seek to reinstate the matter. In other words, the

Complainant was not even interested in appearing before the Court regarding their case. In

essence, the Complainant filed the false 2022 Complaint, which was devoid of substance other

than spurious and scandalous allegations and immediately abandoned the claim.

        153.     Even though this case was entirely obscure, having undergone no responsive

pleadings, discovery, motions practice, or even initial case management, during October of

2023, an anonymous party obtained and published the 2022 Complaint in this case on a website

(the “First Website”), which was registered on September 11, 2023, and is dedicated entirely to

“doxing,” defaming, and otherwise harassing Plaintiff Wolfe and his colleagues.

        154.     Upon further investigation, the address the Complainant listed on the 2022

Complaint is a women’s shelter without permanent residents, no response to communications

was received from the email address listed on the 2022 Complaint, and the phone number is

fictitious or otherwise disconnected.

        155.     Given the foregoing, “Susan Essex” is an assumed name under which the

responsible individual filed the 2022 Complaint.

        156.     Pursuant to information produced by the registrars of the First Website and the

email address used to file the 2022 Complaint, the same Internet Protocol (IP) Address was

used to access/maintain the First Website and to access the email account from which the

responsible individual(s) filed the 2022 Complaint.

        157.     Likewise, pursuant to information produced by the registrars of the First Website

and the email address used to file the 2022 Complaint, the same phone number was used to

register both the First Website and the email account from which the responsible individual(s)

filed the 2022 Complaint.

        158.     Given the foregoing, the individual(s) responsible for filing the 2022 Complaint

are one and the same as the individual(s) responsible for creating and/or posting on the

aforesaid First Website; the 2022 Complaint was filed under false pretenses, in bad faith,

without basis in fact whatsoever, as fodder by which the individual(s) responsible might

disparage Plaintiff Wolfe and the performance of his duties with the Family Office Trust

Structure on their First Website.
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       159.     The entry on the First Website dedicated to republishing the 2022 Complaint had

generated 20 “comments” as of December 2023.

       160.     Upon information and belief, given Plaintiff Wolfe’s status as a generally obscure

private citizen rather than a public figure, and the anonymous nature of the “comments” on the

First Website, the aforesaid “comments” were generated by the individual(s) responsible for

filing and republishing the 2022 Complaint.

       161.     The entry on the First Website dedicated to republishing the 2022 Complaint

contained personally identifiable information regarding Plaintiff Wolfe without his consent,

including his name, telephone number, home address, and employment information.

       162.     The entry on the First Website dedicated to republishing the 2022 Complaint

encouraged the general public to stalk, harass, and harm Plaintiff Wolfe, variously encouraging

the public to call his phone number and contact him at his home.

       163.     Furthermore, the entry on the Website dedicated to republishing the 2022

Complaint contained extensive inflammatory language and accusations against Wolfe, intended

and likely to cause rash and unwarranted action against him including harassment, stalking, and

bodily injury to Plaintiff Wolfe and his family.

       164.     After discovering the First Website and the 2022 Complaint published thereon,

Plaintiff Wolfe immediately moved to vacate the dismissal entered on October 31, 2022, and

sought to have the case sealed to prevent the further dissemination of the 2022 Complaint.

       165.     Because of the false, vile, scurrilous, defamatory, disparaging, and doxing

allegations and website comments, on November 27, 2023, the Court granted Plaintiff Wolfe’s

Motion to Vacate the dismissal entered on October 31, 2022, ordered the case sealed, and set the

matter for the status of Defendants’ answer to the 2022 Complaint on January 3, 2024. See Order

dated November 27, 2023, a true and correct copy of which is attached hereto as Exhibit B.

       166.     The Complainant received notice of the November 27, 2023, Order via email—

delivered to the account used to file the 2022 Complaint—on November 29, 2023. See Email

from Christine Marte to Plaintiff, a true and correct copy of which is attached hereto as Exhibit C.

Still, “Essex” failed to appear, and the case was again dismissed.

       167.     The individual(s) responsible for maintaining/accessing the email account used to

file the 2022 Complaint logged in to the email account at 11:57 P.M. on November 29, 2023, as

well as on 14 occasions thereafter.

       168.     Thereafter, on or about January 9, 2024—6 weeks after the Court ordered the
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entire 2022 case sealed—an anonymous party created a second website (the “Second Website,”

collectively, the “Websites”), hosted out of Lithuania, dedicated to republishing the 2022

Complaint.

       169.     On or about that same date, the individual(s) responsible for maintaining the

content of the First Website removed the 2022 Complaint from the First Website.

       170.     The Second Website was apparently created to be “linked” and published on the

First Website, where it is currently republished and appears.

       171.     Given the foregoing, upon information and belief, (a) the individual(s) responsible

for creating the First Website and republishing the 2022 Complaint thereon received notice of the

developments in the 2022 case, despite its status as being sealed; (b) the individual(s) responsible

for filing the 2022 Complaint are one and the same as the individual(s) responsible for creating

and/or posting on both Websites; and (c) the individual(s) responsible for creating the Websites

republished the 2022 Complaint on the Second Website in an effort to remove themselves from

the jurisdictional reach of the Court.

       172.     The Second Website, as of the date of this filing, includes 21 false, defamatory,

and disparaging “comments.”

       173.     In addition, the Second Website flagrantly and egregiously misappropriates

Plaintiff Wolfe’s name and likeness for its own use and benefit. Specifically, the Second

Website misappropriates Plaintiff Wolfe’s name and likeness solely to further the responsible

individual(s)’ apparent vendetta or animosity against Plaintiff and the Family Office Trust

Structure.

       174.     Pursuant to a subpoena from Wolfe, on or about February 2, 2024, the First

Website’s registrar—Newfold Digital, Inc. (“Newfold”)—produced documents to Wolfe

related to the identity of the individual(s) responsible for creating and maintaining the First

Website.

       175.     The production from Newfold revealed the First Website was registered by an

individual purportedly named “David Xanthan.”

       176.     Plaintiffs are unaware of an individual named “David Xanthan,” and subsequent

investigation has revealed no individual by the name of “David Xanthan.”

       177.     Upon information and belief, “David Xanthan” is yet another alias under which

the responsible individual(s) have sought to conceal their misdeeds.

       178.     However, the production from Newfold also revealed the First Website was
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registered under a mailing address of 4531 Park Lane, Dallas, TX 75220.

       179.     Subsequent investigation revealed that 4531 Park Lane, until January 10, 2023,

was the residence of Defendant Looper— whose company is indebted to Alpha Carta, for over

$20 million as described herein.

       180.     Therefore, upon information and belief, Defendant Looper is one of the

individuals responsible for creating, maintaining, and publishing the content on the Websites

and one of the individuals responsible for filing the 2022 Complaint.

       181.     Upon information and belief, Defendant Looper participated in the creation,

maintenance, and publication of the content on the Websites, as well as the filing of the 2022

Complaint, in an effort to discredit, defame, and disparage Plaintiffs in furtherance of the

fraudulent schemes he and his co-conspirators enacted as alleged above.

       182.     Likewise, documents provided by Google, LLC—the registrar and host of the

email address used to file the 2022 Complaint—revealed a recovery email address associated

with the email address used to file the 2022 Complaint that apparently belongs to Defendant

Whinnery.

       183.     The recovery email address was given to create the account from which the 2022

Complaint was identified as PLSchlieve@gmail.com.

       184.     Whinnery, through his company, Katunigan, registered and maintained a website

used as a central tool for the criminal enterprise. This website was designed and operated to

facilitate acts of stalking, blackmail, and extortion, consistent with the enterprise’s ongoing

racketeering activity.

       185.     During the course of discovery, it was revealed that the website in question was

accessed and controlled through an IP address registered to and used by Katunigan. The

specific IP address, 216.188.236.237, was tied to both the website’s administrative activities

and the operation of the extortionate scheme.

       186.     Records indicate that the aforementioned IP address originates from a physical

address known to be associated with Whinnery. This physical address, located at 3400 Kyle

Xing, Kyle, Texas 78640-3025, is the subscriber address or business location of the Katunigan

Company and a personal residence or workspace of Defendant Whinnery, 3875 E Whitestone

Blvd., Cedar Park, Texas 78613.

       187.     Evidence establishes a clear nexus between the website, the IP address, and

Whinnery, as follows:
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                        a.      Katunigan registered and maintained ownership of the website;

                        b.      The IP address used to administer and operate the website was linked

                                to the physical address associated with Whinnery; and

                        c.      The time logs and usage records from the IP address correspond to

                                dates and times when Whinnery was documented to be at the

                                associated address.

        188.      The use of the website and the linked IP address demonstrates the instrumental

role played by Whinnery and Katunigan in the commission of the predicate acts of extortion

and stalking. This pattern of activity constitutes racketeering under 18 U.S.C. § 1961 et seq.,

and the integration of the website into this criminal scheme is evidence of the defendant’s

control and operation of the enterprise.

        189.      The aforementioned allegations establish a clear chain of evidence linking

Whinnery, Katunigan, the website, the IP address, and the physical address to both Whinnery,

Katunigan, and the racketeering enterprise.

        190.      Whinnery is an individual with whom both Plaintiff Wolfe and Defendant Looper

are acquainted.

        191.      Following his incarceration, Defendant Whinnery was employed as a legal

assistant at the firm of Clayborne, Sabo and Wagner in Bellville, Illinois.

        192.      Given the foregoing, Defendant Whinnery is sufficiently knowledgeable

regarding pleadings to have drafted or significantly aided in drafting the 2022 Complaint.

        193.      While incarcerated, Defendant Whinnery met R.G. Brownell. During 2016,

Defendant Whinnery and R.G. Brownell began providing limited “litigation consulting”

services to an entity affiliated with one of the Plaintiffs.

        194.      On or about July 3, 2023, Plaintiff Wolfe received an anonymous letter (the

“Letter”) threatening Plaintiff Wolfe in connection with a corporate transaction with which

Plaintiff Wolfe and his employer were associated.

        195.      The Letter echoed baseless accusations similar to those expressed by the

individual(s) creating the Websites, including but not limited to allegations that Plaintiff Wolfe:

                        a.      “personally caused [the Corporation] to conduct its

                                operations contrary to affirmative statements in the offering

                                materials;”

                        b.      “personally withheld material information from the Board
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                                of Directors, which, had they known the information,

                                would have prevented the failure of [the Corporation] …;”

                                and

                        c.      “made material false statements to the Board of Directors,

                                who relied on [Plaintiff’s] false statements in repeating

                                those material false statements to investors.”

       196.       Given the foregoing, upon information and belief, the individual(s) responsible

for sending the Letter are one and the same as the individual(s) responsible for filing the 2022

Complaint and publishing the Websites.

       197.       The responsible individual(s) sent the Letter from a post office located in Drexel,

North Carolina.

       198.       Defendant Whinnery is or was the managing member of Overall Builders, the

company responsible for generating the fraudulent asbestos report discussed above, which is

also registered to do business in North Carolina.

       199.       Overall Builders has a registered address in North Carolina of 3402 Deal Avenue,

Valdese, NC—located only four miles from the post office from which the Letter was sent.

       200.       The transmission of the Letter constitutes a predicate act of mail fraud under 18

U.S.C. § 1341, as it was sent via the postal service with the intent to defraud and intimidate

Plaintiff Wolfe. This act, taken in conjunction with the defamatory content mirrored on the

Websites and in the 2022 Complaint, demonstrates a coordinated scheme to harm Plaintiff’s

business and reputation.

       201.       The use of mail in furtherance of this fraudulent scheme establishes a clear pattern

of racketeering activity, as required under the RICO statute. The Letter’s origin, in close

proximity to Defendant Whinnery’s operations, further implicates him in this unlawful enterprise.

       202.       Given the foregoing, upon information and belief, Defendant Whinnery

performed the actions described above at the behest of R.G. Brownell, his confederate, in

furtherance of the overarching fraudulent schemes enacted by R.G. Brownell and his co-

conspirators as alleged herein.

       203.       In addition to seeking to damage Plaintiff Wolfe personally and thereby attack his

fitness to serve as a Trustee and/or Director of entities in the Family Office Trust Structure

through the 2022 Complaint and Websites’ publication, Defendants acted in a broader effort to

intentionally harm Plaintiffs and other people associated with the Family Office Trust Structure in
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their abilities to work as financial professionals and to depress the value of property the Family

Office Trust Structure owned.

       204.     Defendants filed the 2022 Complaint and published the Websites in a concerted

effort to damage Plaintiff Wolfe and his co-Plaintiffs’ reputation and business relationships,

including but not limited to their reputation and relationships with banks and other lenders, in

order to artificially create adverse market conditions and attack Plaintiff Wolfe’s fitness to

serve as Trustee and/or Director of the Family Office Trust Structure’s related entities, and to

perpetuate the fraud described above.

       205.     Defendants engaged in a conspiracy to create the impression that Wolfe was unfit

to serve within the Family Office Trust Structure, in order to enrich themselves through the

above-described misconduct. This was inextricably included in their fraud schemes alleged above

to prevent Wolfe’s interference, causing him to be removed as Trustee and/or Director within the

Family Office Trust Structure or otherwise bypassed. It also hampered the Plaintiffs’ ability to

investigate, discover, and rectify the Defendants’ misconduct.

       206.     By January 2022, BNW infiltrated Terra Carta, where 100% of its LLC

Membership Interests were owned by Green Sapphire, Inc.

       207.     In furtherance of the conspiracy to commit fraud and conversion which evolved

into a racketeering enterprise, in August 2021, Cicoski became the sole Director of Green

Sapphire. Around the same time Cicoski became the "Vice President" of TCP Managers, LLC in

its capacity as the Manager of Terra Carta (in late January 2022 Ryan as "Vice President" of

Terra Carta signed the Development Agreement with Cerco).

       208.     Cicoski allowed BNW to infiltrate Terra Carta and BNW arranged for Whinnery

to become the "administrator" of Terra Carta website and corporate email account.

       209.     Terra Carta is an entity related to the property subject to the larger fraud schemes

against the Plaintiffs described herein.

       210.     As of the date of this filing, the website for Terra Carta has been removed from

the web, and Plaintiff Wolfe’s access to his email account associated with Terra Carta has been

revoked.

       211.     Given Defendant Whinnery’s role as administrator of the Terra Carta website and

email accounts, and his control thereof, upon information and belief, Defendant Whinnery has

removed the Terra Carta website and revoked Plaintiff Wolfe’s email access in an ongoing


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          attempt to destroy evidence and obscure Defendants’ involvement in the conduct alleged

herein.

          212.    As the allegations in the 2022 Complaint published on the Websites are not only

baseless and untrue, but also particularly scandalous, offensive, and outrageous, Plaintiff Wolfe

has experienced, and continues to experience, damage to his reputation and mental well-being as

a result of the 2022 Complaint’s subsequent publication. Moreover, the website participants’

engagement in doxing and incitement of doxing represents a danger to Plaintiff Wolfe and his

immediate family.

          213.    Plaintiff brings to the Court's attention a series of false, defamatory, and harmful

statements published on the platforms outlined below. Notably, these statements were published

after the filing of Plaintiff's First Amended Complaint on April 14, 2024, demonstrating a clear

and retaliatory intent to harm Plaintiff's reputation, intimidate witnesses, and obstruct judicial

proceedings.

          214.    The timing of these publications, as well as their direct references to this Court

and ongoing litigation, make them particularly egregious. These statements not only lack any

basis in reality but are crafted to publicly discredit Plaintiff, undermine this Court's authority,

and intimidate potential witnesses by falsely alleging conspiracies, misconduct, and other

inappropriate behavior. Furthermore, these publications disclose Plaintiff’s personally

identifiable information (PII), including names, purported associations, and other private

details, further violating privacy rights.

          215.    The following statements, published under various pseudonyms, are submitted for

the Court's review with all personally identifiable names redacted. Plaintiff respectfully requests

that the Court take these facts into account as they reflect not only on the defamatory conduct but

also on the blatant attempts to interfere with the judicial process.

          216.    False and Defamatory Statements Published:

                        a.      Published under the pseudonym “Amazed” on May 9, 2024, at
                                9:38 PM

                                Published at: https://[REDACTED]

                                “I once saw a Neanderthal-looking [REDACTED] suck off

                                [REDACTED] in a boardroom, and then [REDACTED] took it in

                                the ass with [REDACTED] asking him to make weird pig sounds.

                                [REDACTED] also fucked a crack whore on a trip we took to

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                        Tokyo. [REDACTED] also had a weird homosexual relationship

                        with [REDACTED] at his private residence. They acted like they

                        were drunk, but I knew there was more to it.

                        That is why I find the story hard to comprehend—I also thought the

                        two were fags. But you never know.”

                 b.     Published under the pseudonym “Susan Essex” on May 9, 2024,
                        at 9:47 PM

                        “Hey everyone,

                        Thank you for your support. I would cut his dick off, but it brings me

                        pleasure to think that he and [REDACTED] can continue their

                        disgusting homosexual relationship.

                        I only feel sorry for [REDACTED]’s wife.”

                 c.     Published under the pseudonym “Sickening” on June 9,

                        2024, at 7:44 PM “Two lovers in a fond embrace. How nice.

                        https://www.wmagazine.com/culture/gay-pride-2016-two-men-

                        kissing”

    217.   Additional False and Defamatory Content:

                 a.     Published on January 14, 2024

                        Published by [REDACTED]

                        “After chasing after Metaverse (remember the Metaverse—ha ha),

                        [REDACTED] became the President of [REDACTED]’s second

                        failed SPAC—[REDACTED] Acquisition Company. Another

                        SPAC by the triumvirate [REDACTED], [REDACTED], and

                        [REDACTED] as CFO (amazing how those three names keep

                        appearing in sketchy investment initiatives).

                        Although it was organized to invest in specialized technology fields,

                        when it became apparent that [REDACTED] was a total failure,

                        [REDACTED] abandoned its proposed $130,000,000 public

                        offering and slithered away.”

                 b.     Published under the pseudonym “[REDACTED] Undone”

                        on January 20, 2024, at 1:56 PM

                        “Sketchy is right. Nothing was transparent. The board was the last to

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                        know anything. The investors were even worse off. The term

                        fiduciary responsibility did not exist in the [REDACTED] corporate

                        culture. There was only one sheriff in town, [REDACTED], and his

                        two deputies, [REDACTED] and [REDACTED].”

                 c.     Published under the pseudonym “DecisionDecision” on

                        January 22, 2024, at 9:37 AM

                        “It’s nice to see more information coming out on [REDACTED].

                        [REDACTED] is definitely in line for a lawsuit.

                        He was a failure and disappointment to the BOD and the investors.

                        Everyone involved knew that his decisions truly came from

                        [REDACTED]. He put himself in that position.”

    218.   Additional Defamatory Statements:

                 a.     Published under the pseudonym “Duncan” on May 17, 2024,

                        at 12:05 AM “I just want to say one thing: Thank God, I was

                        fucking his wife regularly, laying pipe as they say when he was

                        fucking off around the world. I was worried that he could have

                        an arsenal at home like that.”

                 b.     Published under the pseudonym “Searching” on May 20, 2024,

                        at 12:25 PM “Does anyone know where [REDACTED] is living

                        nowadays? I have heard so many places it is insane. Chicago,

                        Texas, California. It seems like he’s always hiding.”

                 c.     Published under the pseudonym [REDACTED] on May 10,

                        2024, at 2:43 PM “[REDACTED] had me pull over while driving

                        to Westchester airport in the Bronx so that he could fuck a lot

                        lizard at a truck stop/diner.

                        He got sloppy seconds after she took forever to finish up in a truck

                        cab. He screwed her in the men’s bathroom. I do not think the

                        claims he is gay are true.

                        I do think that [REDACTED] is a fag. He once went to the bathroom

                        together with the fat IT guy in their former NYC offices.”

                 d.     Published under the pseudonym “Jay Menton” on May 17,

                        2024, at 12:12 AM
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                       “So, I just have to say, there was weird shit going on in the ex-

                       church they bought and converted to an office. I saw orgies go

                       down in that place with both male and female escorts.

                       [REDACTED] was running around with a strap-on, and the large

                       steroid-head IT guy from New York was making sure that everyone

                       left their cell phones at the door. [REDACTED] was scared that

                       this stuff would get posted on the internet. That big doofy guy was

                       probably in the back jerking off while all of this was going down.

                       My name is [REDACTED], and that scum bag threatened me if I

                       didn’t participate, so I left the company. Look me up on LinkedIn.

                       I can tell you stories about [REDACTED] and what he did on the

                       Citation 10 they flew around with another guy they hired from

                       Berkshire Hathaway. [REDACTED] is a cock sucker in every

                       sense of the word—gay prostitutes, [REDACTED], and even other

                       employees.”

                 e.    Published under the pseudonym “MG Ifuku” on May 17, 2024,
                       at 12:29 AM

                       “From the Foreign Ministry of Somalia:

                       I just want to say that we would welcome [REDACTED], and our

                       citizenship is for sale. We even have coastal properties available in a

                       bundle deal. For the gold level, we make sure that the pirated

                       container ships will never be parked in a way to block your ocean

                       view.

                       For 1 million USD in maintenance fees, you and your family will be

                       accompanied by a tactical vehicle (late model Toyota pickup) with a

                       surplus

                       .50 Cal machine gun. And as you know, gayness is punishable by

                       death here, but for you, Mr. [REDACTED], we will look the other

                       way (we have heard about your gay love relationship with Mr.

                       [REDACTED]).

                       It would be an honor to host you. We can even discuss an

                       ambassadorship for the right kind of money. Your wife can take a

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                               BBC to service, so you don’t have to worry about having your

                               business associates lay pipe behind your back.

                               I have sent you my personal contact info. I look forward to hearing

                               from you.”

        219.      The statements outlined above lack any basis in reality and were made with the

intention of attacking, intimidating, and harming the Plaintiff. Furthermore, they disclose

sensitive and personally identifiable information, including names, locations, and associations,

which violate the Plaintiff’s rights to privacy and security. Plaintiff respectfully requests the

Court’s intervention to address these issues appropriately.

        220.      The Defendants’ creation and promotion of these websites was not a standalone

act. Instead, it was part of a broader coordinated strategy to inflict financial harm on the Plaintiffs

by tarnishing their reputations, undermining their assets, and provoking extensive and costly

litigation. This litigation, once instigated, was further publicized on the websites, ensuring

maximum reputational and financial damage. A key component of this strategy was the

fraudulent scheme involving Hale Street, which was designed to manufacture disputes and legal

actions that could feed the websites' defamatory allegations.

                                            II. Hale Street

        221.      The Hale Street scheme exemplifies the Defendants' strategy of deliberately

provoking litigation to advance their broader agenda. The fraudulent actions related to Hale

Street were carefully orchestrated to create disputes and legal challenges, which were then

leveraged to support the defamatory narratives disseminated on the websites. This cycle of

fraud and public defamation reveals the interconnected nature of the Defendants' schemes,

underscoring their intent to entangle the Plaintiffs in unrelenting legal and reputational harm.

        222.      Plaintiff Yorkville (“Yorkville”) owns the real property commonly known as 120

North Hale Street, Wheaton, Illinois 60187 (the “Hale Property”).

        223.      Mr. Russell Scott Armstrong (“Armstrong”), a close friend of Wolfe, claims to

hold a 52.99% equity interest in the Hale Property.

        224.      In September 2022, Defendant R.G. Brownell, with the knowing assistance of

Defendant Mack, set up a fictitious purchaser, submitted fictitious reports, and engineered a

fictitious termination of a purchase of the Hale Property and then, having infuriated Armstrong,

who demanded to be bought out, had Armstrong’s alleged interest purchased by Yorkville at an

inflated price.
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        225.     On or about September 23, 2022, R.G. Brownell wrote to Ryan Cicoski, the

director of the manager of Yorkville, and represented that Kissa would be making an offer to

purchase the Hale Property within the week, which would include a three-day period to review

and accept; that Hunton Andrews Kurth LLP (“HAK”) employed his brother, F. Willam

Brownell (“F.W. Brownell”); and that HAK had pension fund money to invest. R.G. Brownell

had frequently in the past invoked his brother’s name as backers/owners/participants in the

BNW, representing that it was worth hundreds of millions of dollars.

        226.     In late September 2022, R.G. Brownell intentionally misrepresented to Ryan

Cicoski and Scott Armstrong that a “Real Estate Purchase and Sale Agreement” (“PSA”) was

submitted by Kissa. This Purchase Agreement provided for a purchase price of $5 million, with an

earnest money deposit of $50,000. The PSA was ostensibly signed by Joseph Filberto.

        227.     Upon information and belief, R.G. Brownell forged the signature of Joseph

Filberto.

        228.     The PSA stated all notices, demands, requests, and other communications related

to the PSA were to be sent to Kissa, “Attn.: Joseph Filberto,” with a copy to HAK”, 200 Park

Avenue, New York, NY, “Attn.: Brett Gross.” Upon information and belief, Gross is the co-

chair of HAK’s real estate practice group.

        229.     On or about October 4, 2022, Ryan Cicoski, who had replaced Defendant Smith

acting as Manager of Yorkville as of January 2022, executed the PSA.

        230.     Defendants Mack and R.G. Brownell afterward represented to Cicoski that Kissa

had signed the PSA and had a genuine interest in purchasing the Hale Property.

        231.     Defendant Mack wrote to Yorkville attaching a “critical dates memorandum”

relating to the alleged transaction outlining key dates for due diligence and closing, including

but not limited to:

                       a.      A Contract date of October 4, 2022;

                       b.      An “earnest money” deposit date of October 7, 2022;

                       c.      Due diligence expiration date of November 18, 2022; and

                       d.      Closing date of January 2, 2023.

        232.     On or about October 26, 2022, Defendant Mack wrote to Armstrong and

represented that there was a PSA, that it provided for one due diligence period of 45 days, with

that period expiring November 18, 2022, and a closing date forty-five days thereafter, on January

2, 2023.
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       233.     On January 2, 2023, however, Defendant R.G. Brownell wrote to Armstrong and

represented that he had received an urgent letter from Kissa just prior to the close of business,

stating that Kissa had found “lead based paint, asbestos, and mold, in addition to the repair of the

ceiling…,” and threatening to terminate the contract unless Yorkville gave Kissa an extension to

finalize their estimates on correcting these alleged issues. R.G. Brownell forwarded this letter to

Armstrong, ostensibly written on Kissa stationary, listing the 1775 York Avenue Address, and

“signed” by “Joseph Filberto.”

       234.     The Letter attached a supposed building inspection report performed by “Weber

Group Management, Inc.,” (“Weber”) purportedly retained by Kissa to perform a limited

NESHAPS inspection of the Hale Property (the “Report”).

       235.     The Report indicated that inspector Michael Di Canio performed the asbestos

inspection for the Hale Property, and his inspection allegedly revealed asbestos-containing

building materials throughout the building and was submitted by asbestos inspector Michael D.

Herman.

       236.     Weber allegedly performed an additional lead-based paint inspection, submitting

a report by Drake Ottley, licensed lead inspector, on or about December 27, 2022, addressed to

“Brett Gross, Kissa Capital, LLC” at HAK’s 200 Park Avenue, New York, NY address.

       237.     The next day, on or about December 28, 2022, Weber purportedly submitted a

mold report, also addressed to Gross.

       238.     On or about January 10, 2023, Kissa purportedly wrote a letter to Defendant

Mack indicating that it had completed its inspection including the estimated cost of remediation.

In that letter, Kissa reportedly stated, “Now that we have a cost estimate of the rehab and

remediation the number is far more substantial than we originally estimated… Kissa Capital,

LLC is terminating the Agreement and requesting a return of the earnest money deposit…Kissa

Capital, LLC would consider purchasing the Property in its current condition for an amount

equal to $4,000,000.” This ended the “correspondence.”

       239.     All communications between “Kissa” and Yorkville regarding the proposed

“sale” of the Hale Property were relayed to Yorkville through either Defendants Mack or R.G.

Brownell.

       240.     To date, Yorkville’s investigation, which is ongoing, has been unable to

determine whether, from whom, or how the earnest money payment of $50,000.00 from Kissa

was deposited or, if deposited, its source and ultimate destination. Despite repeated requests,
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Defendant Mack has failed to supply the relevant information, although he has repeatedly

promised to do so at some future unstated date when he finds the time.

       241.     The “Kissa” Letter of January 10, 2023, attached an estimate for asbestos

remediation dated August 13, 2022, with a purported expiration date of August 27, 2022,

addressed to Yorkville from R.J. Brownell—R.G. Brownell’s son—of “Overall Builders.”

       242.     Therefore, the purported August 2022 remediation estimate was generated over

four months before Kissa’s alleged inspection, and several weeks before R.G. Brownell

introduced Kissa to Yorkville as a potential buyer for the Hale Property.

       243.     The Overall Builders report estimated remediation of asbestos, lead based paint,

and mold would cost $342,000.00.

       244.     Overall Builders’s registered agent is “Gammon Analytics, LLC.” Its managing

member is, upon information and belief, Defendant Whinnery.

       245.     Gammon Analytics, upon information and belief, is a subsidiary of Katunigan, the

President, Secretary, and Director of which is Defendant Whinnery.

       246.     Upon information and belief, R.G. Brownell is likewise associated with Overall

Builders as an employee or agent of Overall Builders.

       247.     Yorkville investigated Kissa. It is a Delaware limited liability company controlled

by a broker identified as Ariel Imas, Kissa’s managing member.

       248.     Mr. Imas previously lived at the 1775 York Avenue address provided in the PSA,

but no longer resided there as of February 2024.

       249.     Mr. Imas organized Kissa as a holding company for another corporation he co-

founded, and Kissa was only involved in one previous real estate transaction involving a

residence in Florida.

       250.     Mr. Imas has never heard of Joseph Filberto, and reported that Kissa has no

employees, and that he is its sole member.

       251.     Mr. Imas has never heard of Brett Gross or R.G. Brownell.

       252.     Kissa was never represented by HAK in connection with the PSA. Therefore,

upon information and belief, the signature of Joseph Filberto on the PSA, January 2, 2023,

Letter, and all communications with “Joseph Filberto” were forged by R.G. Brownell or at his

direction with the actual intent to steal the identity of Kissa in furtherance of a scheme to

defraud Yorkville and Scott Armstrong.

       253.     Yorkville similarly investigated “Weber Group Management, Inc.’s” inspection of
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the Hale Property.

       254.     Michael D. Herman, the asbestos inspector with Weber who purportedly

submitted the December 2022 Report, informed Yorkville that the report provided by “Kissa”

via Mack and R.G. Brownell had been significantly altered from the report Herman prepared.

       255.     The correct report Herman prepared found “NO Accessible ACM [asbestos-

containing materials] Was Found Observed in The Building” in any of the materials tested.

       256.     While Herman’s inspection also uncovered some lead paint in a stairwell of the

Hale Property, his correct report opined that it did not require remediation.

       257.     Herman stated that he had been retained by R.G. Brownell—upon information

and belief, Defendant R.J. Brownell—to perform an asbestos and lead paint inspection at the

Hale Property, though he was not asked to perform remediation if necessary.

       258.     After ‘Kissa” allegedly terminated the PSA, Armstrong was furious and

demanded that he be bought out of his interest in Yorkville. R.G. Brownell, Mack, and as yet

unknown John Does then pivoted to a scheme to engineer a deal that obligated Yorkville to

purchase Armstrong’s equity for an amount greater than the value of his equity interest.

       259.     Under the agreement engineered by R.G. Brownell, Mack, and as yet unknown

John Does, Yorkville was obligated to pay Scott Armstrong $1,258,341 plus accrued but unpaid

interest that is due and payable on May 1, 2024. See Stock Purchase Agreement, a true and

correct copy of which is attached hereto as Exhibit D.

       260.     The fraudulent scheme surrounding Hale Street did not exist in isolation. Rather,

it served as a foundation for a broader pattern of misconduct, with the intent to perpetuate harm

against the Plaintiffs. This strategy extended beyond Hale Street into subsequent fraudulent

ventures, including the Green Sapphire transactions. These transactions were integral to further

entrenching the Defendants' coordinated efforts to provoke litigation, defame the Plaintiffs, and

exploit legal processes for personal gain.

                                        III. Green Sapphire

       261.     The Green Sapphire scheme exemplifies the continuation and escalation of the

Defendants’ coordinated fraudulent activities. Building on the foundations laid by the Hale

Street transactions, the Defendants expanded their strategy to encompass new fraudulent




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       dealings. The Green Sapphire transactions further illustrated their intent to manipulate

legal processes, provoke disputes, and generate fodder for public defamation through their

websites, all while deepening the financial and reputational harm inflicted upon the Plaintiffs.

       262.     In or before December 2022, R.G. Brownell, Mack, Smith and Springett

concocted a predatory scheme to have Green Sapphire allegedly borrow money it could not

repay, pledging all stock in French Access, a company it owned, which in turn owned the St.

Barth’s Property. Using the name Bigelow and falsely claiming to represent Green Sapphire and

because French Access was a company subject to French law, R.G. Brownell engaged French

counsel to determine how to prepare a stock pledge and how to foreclose on it. Despite being

terminated, Defendant Smith actively communicated with R.G. Brownell and Mack and

conspired with them to steal the St. Barth’s Property.

       263.     Unhappy with the formalities required under French law for such a pledge, and

with the borrower-friendly procedures to foreclose on such a pledge, R.G. Brownell, in

consultation with Mack, Smith, and John Does, then asked Ryan Cicoski, Green Sapphire’s

General Counsel, to convert French Access to a Florida corporation. R.G. Brownell and John

Doe/s falsely claimed that a liquidity crisis necessitated the loan. On February 3, 2023,

Defendant Mack filed with the Florida Secretary of State “Articles of Domestication,” which

purport to transform French Access, into Access Management, S.A.S. (“Florida Access”), a

Florida corporation. See Articles of Domestication (“Domestication”), a true and correct copy of

which is attached as Exhibit E.

       264.     On or about the same day, Mack drafted and Cicoski, at the request of Mack, R.G.

Brownell, or John Does, executed a “Loan and Security Agreement” (the “Global Capital Loan”),

on behalf of Green Sapphire with an entity known as “Global Partners” a true and correct copy of

which is attached as Exhibit F.

       265.     Neither the Domestication nor the Global Capital Loan were authorized by two

directors of Green Sapphire. Cicoski signed both documents without notice to or consent of

Wolfe, the other Director of Green Sapphire, or notice to the Trustee or the UBOs of the Petro

Carta Trust. Under the bylaws of Green Sapphire, the absence of the approval of both directors

made the execution of the Domestication and the Global Capital Loan ultra vires.

       266.     Under the loan agreement, Global Partners agreed to loan Green Sapphire $10

million for 120 days with interest at the rate of 30% per annum, Green Sapphire agreed to borrow

$10 million and grant a security interest in its interest in certain shares of shares of French
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Access”—record titleholder of the St. Barth’s Property—or 100% of the shares of stock of Florida

Access, give a mortgage on the St. Barth’s Property, and to have R.G. Brownell and Petro Carta

Trust guaranty the loan.

        267.    To date, Ryan Cicoski and Global Partners have been unable or unwilling to

produce the fully executed Stock Pledge Agreement identified in the Loan and Security

Agreement. Plaintiffs have been unable to obtain a copy of it from any other source. No Stock

Pledge Agreement relating to the shares of French Access has been recorded in St. Barth’s in

the manner required by French law. Upon information and belief, Mack, an Illinois attorney

operating in Illinois, prepared and arranged from Illinois a filing of a UCC-1 financing

statement with the Secretary of States for Delaware and Florida purporting to perfect a UCC

Article 9 security interest in the shares of Florida Access in favor of Global Partners, but no

document that actually creates a security interest in any such shares has been located, despite

requests to Mack.

        268.    The term and interest rate under the Loan and Security Agreement was

unreasonable and unconscionable given that payment of the $10 million debt was secured by

guarantees of Petro Carta Trust and R.G. Brownell and, if the pledged stock agreement and the

related transactions are valid and legally enforceable, by a security interest on shares of a

corporation that holds title to real estate with a value of $30 million.

        269.    Under the Loan and Security Agreement, the proceeds of the $10 million loan to

Green Sapphire were scheduled to be disbursed to Green Sapphire in two tranches—the first

tranche of $3 million was to occur on January 31, 2023, and the second tranche in the amount of

$7 million “as soon as possible shortly thereafter,” following the Lender’s receipt of an opinion

of French counsel. No opinion of French counsel was ever obtained.

        270.    Neither Green Sapphire nor any of its related entities ever received any portion of

the $10 million loan that Global Partners “agreed” to make in connection with the Global Capital

Loan.

        271.    Upon information and belief, and based on Mack’s assertions, if any funds

belonging to Global Partners were transferred to anyone, they were transferred to Chase Bank in

Illinois for credit to the IOLTA account held in the name of Defendant Mack’s IOLTA Trust

Account.

        272.    Upon information and belief, this was done by direction of R.G. Brownell, Smith,

Springett, or John Does, and then some of all of the funds were transferred to or for the benefit of
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the BNW, by Mack.

       273.     Despite repeated requests, Mack has refused to produce the IOLTA account

statement, the wire transfer confirmations, emails or any other documents that could confirm

that $10 million was ever delivered to any one by Global Partners in connection with the

Global Capital Loan and would identify the transferees of any subsequent transfers of any

funds Mack received from Global Partners.

       274.     No one aside from R.G. Brownell, Mack, Smith, Springett, and John Does was

aware of whether any money was actually disbursed by Global Partners pursuant to the Global

Capital Loan and, if so, to whom any such funds were delivered. For these reasons, plus the fact

that no $10 million loan was ever recorded on the books and records of Green Sapphire and the

lack of any evidence that any such loan was ever made, Green Sapphire did not repay any such

loan on the claimed June 4, 2023, maturity date.

       275.     In November 2023, Cicoski drafted a “Written Action of Sole Shareholder”

purporting to remove Wolfe as co-director of Green Sapphire, without informing Wolfe, and

presented it to Mark Azzopardi, manager of NorthSea—the Trustee of Petro Carta—as an

“urgent” document requiring his signature immediately. Azzopardi signed it, believing it

necessary and proper, so Wolfe was removed as co-director of Green Sapphire. Wolfe had

discharged his duties faithfully and well. He had given no cause for his removal. As set forth

above, however, he had been the subject of vicious, vile, and false accusations posted on a

website Defendants created for that purpose.

       276.     Because of representations and directions of R.G. Brownell and John Does, Mack

was unwilling to oppose Global Partners’ attempts to enforce the Stock Pledge Agreement, and

did not notify Mark Azzopardi, Wolfe, or any of the UBOs of the Petro Carta Trust that Global

Partners was claiming ownership of 100% of the shares of Florida Access, in purported

satisfaction of the “debt” that Global Partners alleged that Green Sapphire owed it.

       277.     On or about December 15, 2023, Global Partners, on the direction of Springett,

filed a document with the Florida Secretary of State entitled “Amended Articles of

Incorporation” that identified Springett as the sole director of Florida Access, Inc. and stated

that it—not Green Sapphire—was the owner of 100% of its shares.

       278.     Upon information and belief, agents or brokers engaged by Global Capital, Smith,

Springett, and John Does have been marketing the St. Barth’s property and plan to sell it.

       279.     The St. Barth’s lawyer engaged by R.G. Brownell a/k/a “Bigelow” is currently
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demanding payment of 61,000 Euros from Green Sapphire based on an Engagement Letter that

“Bigelow” signed, fraudulently holding himself out as a representative of Green Sapphire.

       280.     The fraudulent Green Sapphire transactions were not the culmination of the

Defendants' scheme, but rather a continuation of their deliberate and escalating pattern of

misconduct. Building on the harm initiated through earlier schemes, the Defendants further

diversified their fraudulent strategies to include loan fraud involving Proton Green and the

Cyber App. These actions were similarly designed to generate legal disputes and financial

instability for the Plaintiffs, while serving the overarching goal of advancing the Defendants’

coordinated campaign of harm.

                      IV. Loan Fraud Involving Proton Green/Cyber App

       281.     The scheme involving Proton Green and the Cyber App represents a further

evolution of the Defendants’ fraudulent efforts. These actions were not only calculated to

exacerbate financial and reputational damage but were also integral to maintaining the

Defendants’ cycle of provocation and litigation. By orchestrating loan fraud tied to these

entities, the Defendants expanded their reach, compounding the Plaintiffs’ injuries while

ensuring their schemes fed into the broader defamatory campaign.

       282.     A certain Forbearance Agreement dated June 20, 2023 (“Forbearance

Agreement”), obligated Alpha Carta to forbear from exercising its rights and remedies against

Proton Green under three promissory notes issued by Proton Green (“Notes’) as long as Proton

Green paid $3 million to Alpha Carta on July 7, 2023, executed and delivered a Deed In Lieu of

Foreclosure, and paid $2 million per month each month starting August 7, 2023 until the total

debt of $25.2 million evidenced by the Notes was paid in full in cash. See Forbearance

Agreement, a true and correct copy of which is attached hereto as Exhibit G. Payment of the

debts evidenced by the Notes was secured by a first priority lien on real property (St. John’s Field,

from which Proton Green hoped to extract Helium) located in Apache County, Arizona with a fair

market value in excess of $25 million.

       283.     This Forbearance Agreement followed a series of events by which the Notes were

dishonored. In April 2022, after Proton Green dishonored the Notes, Alpha Carta investigated




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        the reasons why, and discovered that Defendant Looper, the CEO and Managing Member

of Proton Green, was a convicted felon, undisclosed to its investors. On the day Looper was

confronted with this fact, he dissolved Proton Green, but the next month set up a new LLC under

the old name, all without the knowledge of his non-insider investors.

        284.    As of May 1, 2023, a notice of default was served. On June 20, 2023, Alpha

Carta, and Proton Green then entered into the Forbearance Agreement. One condition of the

Forbearance Agreement was that Looper would reinstate the original Proton Green and Proton

Green would execute and deliver a Deed In Lieu of Foreclosure. This Deed in Lieu of Foreclosure

would have enabled Alpha Carta To take full ownership of Proton Green’s St. John Field in

satisfaction of some or all of the debts evidenced by the Notes in the event that Proton Green

breached the Forbearance Agreement. Upon information and belief, the Deed in Lieu of

Foreclosure was never delivered. In 2023 Defendant Mack represented that he had possession of

the Deed In Lieu of Foreclosure executed and delivered by Proton Green, but he has refused to

provide it.

        285.    Upon information and belief, Proton Green f/k/a/ Plateau Carbon, LLC (“Plateau

Carbon”) was reinstated in July 2023. On or about July 23, 2023, a reverse merger and share

exchange occurred between Proton Green and Cyber App, in which Cyber App was the

surviving entity, with the equity security interest holders, assets, and obligations of Proton Green

f/k/a Plateau Carbon.

        286.    However, as described above, notwithstanding the purported reverse merger,

Proton Green has at times continued to hold itself out as an entity.

        287.    Defendant Looper and Defendant Smith had equity interests in Plateau Carbon,

Proton Green and Cyber App that became the basis for Rockwell claim of millions of dollars of

“assets under management,” that were used to entice additional investors to purchase shares of

Rockwell Capital, Ltd.

        288.    Defendant Smith had actual knowledge that Plaintiff Breakers had borrowed $4

million in 2021 (“the 2021 loan”) from lenders Holden and Matthews (“Lenders”), each a

resident of Cayman Islands and each an associate of Smith. The 2021 loan agreement, signed by

Smith as the sole director of Breakers, contained a reasonable interest rate of 12%, later adjusted

to 12.5% per annum. Payment of the debt was guaranteed by Alpha Carta, the sole shareholder of

Breakers. Alpha Carta’s guaranty was expressly approved by the trustees of the Alpha Carta Trust

and supported by appropriate resolutions of Alpha Carta, Alpha Carta Trust, and signed by Smith,
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as one of two directors of Prairie Trust., in its capacity as the trustee of the Alpha Carta Trust.

Notice was given to the UBO of the Alpha Carta Trust. The Loan Agreement gave the Lenders

an explanation of how the loan proceeds would be used and how Breakers and Alpha Carta

received value in consideration for the loan. The loan proceeds were delivered in accordance with

the terms of the loan agreement and the loan obligation was recorded in the books of Breakers.

       289.     In August 2022, Smith’s replacement as the CFO of 60 Degrees told the Lenders

that Smith’s employment and affiliation with Breakers and Alpha Carta, had terminated.

       290.     The 2021 loan was paid in full on July 5, 2023.

       291.     Proton Green failed to make the $3 million payment that was due under the

Forbearance Agreement on July 7, 2023. The next day, on July 8, 2023, Smith asked the Lenders

for another loan to Breakers and promised that Green Sapphire instead of Alpha Carta, would

guarantee it, that it would bear interest at 30% per annum, with a 40% default rate, and would

mature on October 31, 2023, with the borrower having the right to one 90-day extension (the

“2023 Loan”).

       292.     Smith represented that he had a Green Sapphire management account bank

statement, which was confidential information that should not have been retained by him after

his termination, much less disclosed without authorization. Smith also represented that Green

Sapphire owned the St. Barth’s Property worth $12.5 million. Smith requested a 1% fee to be

paid by the borrower.

       293.     Smith represented to the Lenders and to Alpha Carta’s representative in July 2023

that the funds to repay the loan would come from the proceeds of a pending $96 million sale of

approximately 330 acres of real estate located near Austin, Texas that Green Sapphire owned and

was scheduled to close on October 6, 2023; that he knew the Purchasers; and that they were

legitimate buyers. Alpha Carta representatives that were not part of the conspiracy and fraudulent

conduct related herein relied on these representations in deciding to enter the transaction, and

Defendants R.G. Brownell, Mack, and John Does knew this representation was false but

intentionally prompted other Alpha Carta personnel to believe it.

       294.     The “Purchaser” Smith referred to, TRT Capital Group, LLC. (“TRT”) is

fictitious. There was a TRT formed in Delaware in March 2023, but it was later dissolved. The




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       person named “William White” (by coincidence or choice the name of the villain in

Casino Royale) who ostensibly signed the Purchase Agreement on behalf of TRT, is, if anyone, a

resident of a hospice in Delaware. The address given in the Purchase Agreement for the fictitious

TRT is the same address for Global Partners, the supposed “Lender” in the “Loan and Security

Agreement” between Green Sapphire and Global Partners, referenced in above paragraphs 127-

144.

       295.     Cicoski executed (a) the loan agreement for the 2023 Loan as the sole director of

Breaker without notice to Wolfe, the other director of Prairie Trust, trustee of Alpha Carta Trust,

or the UBO, and (b) the Deed of Guarantee as one of two directors of Green Sapphire as

Guarantor, again without notice to or consent of Wolfe, then still the co-director of Green

Sapphire, or any UBO. See 2023 Loan Agreement and Deed of Guarantee, true and correct

copies of which are attached hereto as Exhibits H and I, respectively.

       296.     At the time of the 2023 Loan and Deed of Guarantee, Green Sapphire’s corporate

bylaws required approval by a majority of the board of directors of (1) any guarantee of

indebtedness in excess of $500,000.00, (2) any encumbrance on or security interest in any asset of

Green Sapphire or its subsidiaries, and (3) any commitment that could result in payment of over

$50,000.00 without the approval of all members of Green Sapphire’s executive committee.

       297.     In August of 2023, the executive committee of Green Sapphire consisted of

Cicoski and Wolfe.

       298.     Cicoski did not seek, and Wolfe did not grant, approval for the execution of the

2023 Loan by Breakers or the Deed of Guarantee on behalf of Green Sapphire. Had Wolfe been

asked, he would not have approved either the 2023 Loan or its guaranty, and R.G. Brownell and

Smith knew this.

       299.     In early August 2023, Smith delivered “wire instructions” to the Lenders

instructing them to have the loan proceeds delivered to Mack’s IOLTA Account. Smith lacked

authority from Breakers to issue these wire instructions or, upon information and belief, they

were provided by him based on the instructions from R.G. Brownell or a John Doe defendant.

Mack lacked the authority to accept delivery of any funds that were ostensibly being “loaned” to

Breakers.

       300.     Upon information and belief, or about August 19th, 2023, the Lenders issued a

wire transfer payment order directing CIBC to electronically transfer immediately available

funds in the amount of $2,900,000.00 to Mack’s IOLTA account, knowing that the proceeds
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were not going to be used solely for the purpose of providing working capital to Breakers as

stated in the Loan Agreement. Upon information and belief, the funds in the amount of $2.9

million were credited to the IOLTA Account held in the name of Mack on August 19, 2023.

       301.     Mack has thus far refused repeated requests to provide all the documents and

bank records related to this transaction. But he admitted that on August 23rd, 2023, he issued a $2

million wire transfer payment order to Chase Bank directing it to transfer immediately available

funds in the amount of $2 million to CIBC in the Cayman Islands for credit to the account of

Alpha Carta, describing its purpose as a “loan payment” from Cyber App to Alpha Carta’s CIBC

account in Grand Cayman. See Wire Transfer Report, a true and correct copy of which is attached

hereto as Exhibit J.

       302.     Without providing the relevant records, Mack nevertheless has represented that he

disbursed:

                       a.      $7,231.11 for legal fees;

                       b.      $750,00.00 to Defendant Salazar; and

                       c.      $142,768.89 to Global Partners.

       303.     There is no legitimate business purpose, reasonable basis, or rationale for the

transfer of the $750,000.00 Mack made to Salazar or the $142,768.89 to Global Capital

Partners, and the purpose of the alleged transfer of $7,231.11 to an unidentified person

ostensibly for “legal fees” is under investigation.

       304.     The 2023 Loan included none of the earmarks of legitimacy that the 2021 Loan

exhibited, including but not limited to the following:

                       a.      The proceeds of the 2023 Loan were electronically transferred by

                               CIBC in the Cayman Islands to Chase Bank in the United States for

                               credit to Mack IOLTA account—a third-party non-borrower who was

                               not involved in the 2021 Loan— without any prior written direction

                               from Breakers.

                       b.      The interest rate on the 2023 Loan was exorbitant and was far higher

                               than market rates as opposed to the commercially reasonable rate of

                               the 2021 Loan;

                       c.      No formal authentic corporate resolutions were provided;

                       d.      Green Sapphire “guaranteed” the 2023 Loan despite lacking a formal

                               relationship with Breakers or ownership of any interest in the real
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                              property owned by Breakers, thereby deriving no benefit from the

                              2023 Loan;

                      e.      Smith informed the Lenders that the proceeds of the 2023 Loan

                              would not be used for Breakers even though the Loan Agreement

                              expressly provided that the proceeds would be used only for working

                              capital for Breakers “and for no other purpose,” whereas the

                              proceeds of the 2021 Loan were used for the purposes that were was

                              clearly stated in the Loan Agreement,

                      f.      Existence of any debt obligation and receipt of any proceeds of the

                              2023 Loan were not recorded on the financial books of Breakers,

                              Green Sapphire, or any of their related entities; and

                      g.      The proceeds of the 2023 Loan were not received by Breakers and

                              were not used for the benefit of Breakers, Green Sapphire, or any of

                              their related entities, but were, upon information and belief,

                              misappropriated by Defendants Smith, Cyber App, Rockwell,

                              Salazar, Global Partners and Looper, for their own benefit.

       305.     After the reverse merger, Cyber App breached the Forbearance Agreement by

failing to make the $2 million payment due on September 7, 2023.

       306.     On or about September 20, 2023, one or more of the John Doe Defendants

proposed a modification to the parties’ Forbearance Agreement. Alpha Carta’s sole director was

presented with a proposed draft loan settlement agreement between “Proton Green” (not Cyber

App) and Alpha Carta dated as of “September ___, 2023” under which “Proton Green” (not

Cyber App.) would promise to pay an additional $5 million in cash, to grant a 5% overriding

royalty interest in revenues derived from Helium production on its leaseholds up to $16 million,

and to promise for a second time to execute and deliver a deed in lieu of foreclosure in recordable

form with respect to existing leases then encumbered by the “Leasehold Deed of Trust” held by

Alpha Carta See Draft Loan Settlement Agreement, a true and correct copy of which is attached

hereto as Exhibit K. In exchange, Alpha Carta would agree to release the “Leasehold Deed of

Trust” it held on Cyber App’s valuable leaseholds of St. John’s Field in Apache County, Arizona,

forego payment of the remainder of the debt evidenced by the Notes that were the subject matter

of the Forbearance Agreement, and grant a mutual release of all claims. In the event of “Proton

Green’s” default under the proposed Loan Settlement Agreement, Alpha Carta’s obligation to
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release any claims or the Leasehold Mortgage would be suspended, and Alpha Carta would be

entitled to exercise of all remedies available by law under the Notes, the Forbearance Agreement,

and by law.

       307.     While Alpha Carta’s sole director was given a draft copy of the proposed Loan

Settlement Agreement on September 20, 2023, he was informed that neither party had agreed to it,

and Alpha Carta lacks an executed copy of any such “Loan Settlement Agreement.” To date,

Ryan Cicoski and Mack have been unwilling or unable to provide a fully executed version of this

agreement or any other settlement agreement between Alpha Carta and Proton Green or Cyber

App has refused to provide it despite requests for it and despite its oral assertion to Alpha Carta

representative Wolfe on February 8, 2024, that it owes no money to Alpha Carta, because all

matters between the parties were settled.

       308.     Upon information and belief, if there were any valid loan settlement agreement

between Cyber App and Alpha Carta, it was breached before November 2, 2023, by Proton

Green and/or Cyber App because Alpha Carta has not received the $5 million cash, any

overriding royalty revenue, or any deed in lieu of foreclosure.

       309.     In the alternative, if there were no signed settlement agreement, Cyber App owes

the full amount of the debt, now in excess of $30 million, as evidenced by the Notes.

       310.     Furthermore, Cyber App falsely recorded a Deed of Release and Reconveyance to

discharge the “Leasehold Deed of Trust” that it had previously granted to secure payment of the

Notes referenced in the Forbearance Agreement. The “Deed of Release and Reconveyance” was

signed in anticipation of and contingent upon the formation of a final, definitive loan settlement

agreement. No one from Alpha Carta, authorized the Deed of Release and Reconveyance to be

delivered or recorded until and unless a final settlement agreement was executed by both parties

and then delivered to Alpha Carta

       311.     As of February 2024, Defendants R.G. Brownell, Mack, and Whinnery

represented to other Alpha Carta representatives and its UBO that debts in the total amount of

more than $24 million were still owed by Cyber App. In the alternative, this shows either that

       (a) no loan settlement agreement replaced the Forbearance Agreement (also making the

recordation of the “Deed of Release” a fraud of Cyber App or any party that recorded it), or (b)

that R.G. Brownell, Whinnery, Mack, Looper and their John Doe coconspirators concealed a




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       settlement and the subsequent recording of the Deed of Release in November 2023 from

Alpha Carta and its UBO.

       312.     Cyber App reports that it reached a Loan Settlement Agreement with Alpha Carta

to settle the Notes for $8 million on July 31, 2023, months before the September 20, 2023,

proposal that was not executed or agreed to. It claimed that it paid $2 million to Alpha Carta in

August 2023 and in November 2023 it paid the remaining $6 million due under the terms of the

Loan Settlement Agreement that was allegedly formed on July 31, 2023, recognizing a gain from

the alleged forgiveness of debt of almost $18 million. Alpha Carta lacks any such Loan

Settlement Agreement. Alpha Carta believes to the contrary that the negotiations were unsettled as

of September 2023, and Alpha Carta has not received $8 million from Cyber App. If John Does

executed such a Loan Settlement Agreement, they did so fraudulently, and Alpha Carta, has

sustained damages of at least $18 million.

       313.     The loan fraud involving Proton Green and the Cyber App did not operate in

isolation but instead formed a critical component of the Defendants’ larger fraudulent scheme.

As the Defendants orchestrated these fraudulent loans, they relied on a network of manipulated

financial instruments and accounts to funnel illicit proceeds, obscure their actions, and perpetuate

their coordinated campaign of harm against the Plaintiffs. This broader misuse of financial

mechanisms served as the operational backbone for the Defendants’ fraudulent activities, tying

together the various schemes under the RICO enterprise.

                  V. Misuse of Financial Instruments and Accounts for Fraud

       314.     The misuse of financial instruments and accounts was not merely incidental to the

Defendants’ schemes but central to their execution. By manipulating these financial tools, the

Defendants facilitated the loan fraud tied to Proton Green and the Cyber App, concealed illicit

transactions, and extended the reach of their fraudulent enterprise. These practices underscore the

calculated and systemic nature of the Defendants’ operations, further entrenching the financial

and reputational harm inflicted upon the Plaintiffs.

       315.     To advance their scheme, Defendants manipulated financial instruments,

including IOLTA trust accounts, to obscure the source and purpose of transactions. Defendant

Mack used the IOLTA account to reroute Plaintiffs’ funds, further hiding the nature and origins of

the fraudulent transfers, allowing Defendants to maintain wrongful control over assets intended

for legitimate business purposes.

       316.     Plaintiff Yorkville is a Delaware corporation with its principal place of business
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in Delaware. It was organized for the purpose of investing money and acquiring property for

the ultimate benefit of the beneficiaries of the Petro Carta Trust.

       317.     Plaintiff NorthSea, a Wyoming LLC, is the Trustee of the Petro Carta Trust. The

Petro Carta Trust is an express trust organized and existing under the laws of the State of

Wyoming. The beneficiaries of the Petro Carta Trust are four U.S. citizens—a family consisting

of a 54-year-old woman and her three children. As of January 1, 2023, NorthSea had two

directors: Ryan Cicoski and Mark Azzopardi.

       318.     As of January 1, 2023, Green Sapphire had two directors--Wolfe and Ryan

Cicoski. Smith was removed as a Director of Yorkville, in August 2021 and replaced by Ryan

Cicoski; that was about the time when Ryan Cicoski discovered Smith’s self-dealing and other

misconduct.

       319.     As of January 1, 2023, Green Sapphire was the owner of all but one of the shares

of Access Management, S.A. (“French Access”), a French corporation headquartered in the

Territorial Collectivity of St. Barthelemy (“St. Barth’s”).

       320.     French Access, is the sole owner and record titleholder of two parcels of real

estate located in St. Barth’s, more particularly described as the AE 314 plot of 12,760 m2 in

Colombier and the AI 220 plot of 2,676 M2 in Saint-Jean (the “St. Barth’s Property”). The

estimated fair market value of the St. Barth’s Property is approximately $30 million.

       321.     Plaintiff Alpha Carta is a Cayman Islands corporation with its principal place of

business in Georgetown, Grand Cayman, Cayman Islands, owned by the Alpha Carta Trust. It

invests money and manages the property of the Alpha Carta Trust. The Alpha Carta Trust is an

express trust organized and existing under the laws of the Cayman Islands to hold legal title to

property separately from equitable title and to achieve related estate planning purposes for the

benefit of its ultimate beneficial owner (“UBO”). Prairie Trust is the trustee of the Alpha Carta

Trust. It is a Cayman Islands Company with its principal place of business in Georgetown,

Grand Cayman, Cayman Islands.

       322.     On January 4, 2023, R.G. Brownell, from his Illinois office, sent an online

meeting invitation to Charles-Huber Vanderoverberge, Springett (of Tailwind), Mack, and Smith

(of Rockwater) to discuss structuring a secured lending transaction involving a proposed




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       $10 million loan to Green Sapphire, secured by a pledge of Green Sapphire’s shares in

Asset Management SAS.

       323.     The online meeting on January 4, 2023, included a detailed discussion where

Charles-Huber Vanderoverberge explained the structure of the transaction and addressed

questions from Smith and Springett regarding the enforcement of the stock pledge (under

applicable French law) if Green Sapphire defaulted on the loan.


       324.     Later in January 2023, R.G. Brownell induced, by bribery, Green Sapphire to

enter into a loan arrangement fee agreement with his company, BNW, entitling BNW to receive

$2.6 million for facilitating the loan discussed in the January 4, 2023, online meeting.


       325.     On or about January 17, 2023, Mack, upon information and belief, transferred

$1,510,000 to BNW as partial payment of the $2.6 million loan arrangement fee outlined in the

agreement.

       326.     Defendants R.G. Brownell, Mack, Whinnery, and others systematically

embezzled Plaintiff’s corporate funds by submitting fraudulent invoices via email and directing

unauthorized interstate wire transfers.

       327.     Defendants’ actions in transferring corporate funds into personal or unrelated

accounts constitute unauthorized taking and exercise of control over Plaintiffs’ assets. This

wrongful control deprived Plaintiffs of their rightful possession and use of these funds, which

were intended for legitimate business operations.

       328.     By using Mack’s IOLTA account and other trust accounts to route and reroute

Plaintiffs’ funds, Defendants concealed their misappropriation, disguising the purpose and

ultimate destination of the funds. This manipulation demonstrates the Defendants' intent to

wrongfully possess and control the Plaintiffs’ assets without legal justification.

       329.     The Defendants leveraged complex financial instruments, including an IOLTA

trust account, to conceal the origins and purpose of illicit transactions. Defendant Mack and

others rerouted significant funds, notably a $2.6 million loan fee and $520,000 from an Illinois-

based account, to enable fraudulent transfers and bribes. These maneuvers allowed the

Defendants to maintain wrongful control over assets meant for legitimate business uses and

resulted in substantial financial harm to the Plaintiffs. These actions, involving unauthorized

transactions and the concealment of funds, exemplify the Defendants' calculated efforts to

misappropriate corporate resources for personal benefit, causing Stacey McHugh, then Plaintiffs’
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Chief Financial Officer, to violate fiduciary duties owed to Plaintiffs, and depriving Plaintiffs of

rightful asset possession.

       330.     The misuse of financial instruments and accounts not only facilitated the

concealment of fraudulent proceeds but also served as a foundation for additional schemes.

Building upon these manipulations, the Defendants expanded their fraudulent enterprise through

the systematic misuse of corporate entities. These entities were employed to issue fraudulent

invoices, further complicating financial records and perpetuating the harm inflicted upon the

Plaintiffs. This deliberate manipulation of corporate structures was critical to sustaining and

advancing the Defendants' overarching scheme.

                VI. Manipulation of Corporate Entities for Fraudulent Invoicing

       331.     The Defendants’ manipulation of corporate entities to generate fraudulent

invoices highlights the deliberate and calculated nature of their enterprise. By issuing falsified

invoices through these entities, the Defendants created a veneer of legitimacy while further

entrenching their fraudulent practices. This scheme not only obscured illicit transactions but also

compounded the financial and reputational harm suffered by the Plaintiffs, reinforcing the

interconnectedness of the Defendants’ actions within their RICO enterprise.

       332.     Defendants utilized entities such as BNW, Gold Dragon, and Katunigan to

generate fictitious invoices and submit fraudulent expenses, embezzling funds from Plaintiff’s

accounts. By orchestrating these invoicing schemes, Defendants were able to misappropriate

millions, systematically draining Plaintiff’s resources and concealing the true purpose of these

financial transactions.

       333.     Plaintiff Breakers is a Cayman Islands company formed as a single-purpose entity

to hold title to certain real property located in Grand Cayman, Cayman Islands. Alpha Carta owns

100% of the shares of Breakers. Breakers is the sole owner and record titleholder of four parcels

of beachfront real property located in Grand Cayman, Cayman Islands, more particularly

described as Breakers Block 56B, Parcels 14, 15, 16, and 17, totaling approximately 10 acres (the

“Breaker’s Property”). The current estimated fair market value of the Breakers Property is

approximately $12.5 million.

       334.     Defendant Looper is a convicted felon and citizen of Texas residing in Travis

County. As of October 1, 2022, Looper was the CEO of Proton Green f/k/a Plateau Carbon, a

Wyoming limited liability company. Proton Green engaged in a reverse merger and share


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          exchange on or about July 17, 2023, from which the surviving entity was Defendant

Cyber App, a Nevada corporation.

          335.    Notwithstanding the purported reverse merger, Proton Green has continued to

hold itself out as a separate entity. As a result, claims are brought both against Cyber App, as

successor by merger to Proton Green, and Proton Green, to the extent it remains an existing

entity.

          336.    Upon information and belief, Cyber App’s principal place of business is in

Houston, Texas.

          337.    Defendant R.G. Brownell is a convicted felon and a citizen and resident of Travis

County, Texas. In 2015, his twenty-year prison sentence for masterminding a complex

embezzlement and phony invoice scheme was reduced to ten years because he informed on (he

was an informant against) other inmates, with the sentencing Judge opining that he was a

changed man. The schemes alleged here, however, are strikingly similar to R.G. Brownell’s prior

criminal misconduct.

          338.    R.G. Brownell represented that he spoke for and helped manage the affairs of

BNW, and stated, falsely upon information and belief, that this “Family Office” organized as a

Delaware limited liability company was capitalized, owned, and guided by his brother, F.

William Brownell, brother of R.G. Brownell, a well-respected EPA lawyer from Hunton and

Williams, a law firm located in the District of Columbia. R.G. Brownell strategically positioned

himself in the scheme by using William Brownell as a prop. He presented himself as connected

to high-value clients, claiming these clients held billions of dollars ready for investment in select

Family Office Trust Structure (defined below) projects. This claim enabled Brownell to insinuate

himself into the arrangement, leveraging the allure of substantial financial backing. BNW

initially provided consulting services under an oral agreement with Alpha Carta in connection

with the management of property owned by entities in the Family Office Trust Structure that

were owned or controlled by Alpha Carta. He performed his early duties well. It is clear in

retrospect that for whatever reason, R.G. Brownell reverted to the type of fraud for which he

went to prison. He diverted money from the entities for his own benefit or to the detriment of the

entities. He falsified records. He bypassed personnel who might have noticed irregularities or

opposed transactions in which he was interested. He directed actions without approval from

proper authorities: the directors, trustees, and officers of the entities. He concealed critical facts

about finances, negotiations, and transactions. He conspired with other felons and wrongdoers to
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damage these entities and affiliated parties in the ways set forth below, with additional

investigations ongoing.

       339.     Defendant BNW is a Delaware limited liability company. While R.G. Brownell

represented to Plaintiffs that his brother owned or helped control this LLC, now Plaintiffs

believe that it is owned and controlled by Defendant R.G. Brownell.

       340.     BNW also served as an independent contractor for 60 Degrees Group SECZ, Ltd.

(“60 Degrees”) under Defendant Smith as CFO until January 2022, and thereafter for Ryan

Cicoski as director. 60 Degrees is a Cayman Islands corporation that provided administrative

services to the entities owned or controlled by the Alpha Carta Trust, Alpha Carta, the Petro

Carta Trust, NorthSea, Yorkville, Prairie II Trust and their affiliates (collectively, the “Family

Office Trust Structure”).

       341.     Defendants engaged in fictitious and fraudulent invoicing, using entities such as

BNW, Gold Dragon, and other affiliated corporations to submit false invoices. These invoices

misrepresented expenses and were designed to embezzle funds from Plaintiff entities under the

guise of legitimate business expenses.

       342.     R.G. Brownell, Whinnery, and others coordinated through entities such as BNW

and Katunigan to create and approve these fraudulent and/or inflated invoices. These invoices

were then batched to obscure the final destination of funds, adding layers of concealment to

their scheme.

       343.     Defendants used multiple corporate alter-egos, including Terrace Shores, Gold

Dragon, and BNW, as instrumentalities to conduct fraudulent activities. These entities acted as

shells to insulate the Defendants from liability and allowed them to continue their fraudulent

operations undeterred by legal repercussions.

       344.     Defendants exploited the complex Family Office Trust Structure by securing

unauthorized loans, knowing the financial instability and weakened state of entities such as

Green Sapphire.

       345.     R.G. Brownell submitted fraudulent and/or inflated invoices to McHugh totaling

millions of dollars for services that were largely never rendered and expenses that were never

incurred. These invoices were used to embezzle funds directly from the Plaintiffs’ accounts,

causing substantial financial damage and depleting resources intended for legitimate business

operations.

       346.     Defendants systematically executed a conspiracy, using entities like BNW and
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Katunigan, to siphon funds from Plaintiffs through fictitious invoicing and concealed transfers.

These actions directly resulted in millions of dollars of financial loss for Plaintiffs, highlighting

Defendants’ fraudulent strategy to drain assets from Illinois-based accounts.

         347.    By creating an environment of deceit, Defendants induced reliance from Plaintiffs

on fraudulent financial statements and invoices. As a result, the Plaintiffs incurred over $10

million in losses, encompassing misappropriated funds, business opportunity losses, reputational

harm, and the necessity for costly investigations.

         348.    Defendants received payments from entities within the Family Office Trust

Structure, such as 60 Degrees and Terra Carta (a limited liability company wholly owned by

Green Sapphire), due to submitting fraudulent invoices for expense reimbursements and other

charges. These invoices included amounts for services that were either not rendered, inflated, or

duplicated, creating a financial burden on Plaintiffs without any legitimate underlying contractual

basis.

         349.    The Defendants manipulated multiple corporate entities, including BNW, Gold

Dragon, and Katunigan, to generate fraudulent invoices and siphon funds from the Plaintiffs.

These false expenses facilitated embezzlement under the guise of legitimate business activities,

systematically depleting resources and inflicting severe financial damage. Key actors, including

         R.G. Brownell and others, exploited their positions within a complex Family Office Trust

Structure, concealing unauthorized transactions and financial risks from stakeholders. This

orchestrated conspiracy extended to the creation of shell companies, insulating Defendants from

liability while executing fraudulent transfers. Plaintiffs suffered substantial financial loss,

estimated at over $10 million, which encompassed misappropriated funds, lost business

opportunities, reputational damage, and costly investigations resulting from this pervasive

scheme.

         350.    The Defendants’ use of corporate entities to generate fraudulent invoices was a

pivotal mechanism within their broader scheme. This manipulation of corporate structures not

only facilitated the concealment of illicit transactions but also laid the groundwork for their

fraudulent activities to extend into other domains. Among these was the realm of real estate,

where the Defendants engaged in fraudulent transactions to further their enterprise, expand their

financial reach, and perpetuate harm against the Plaintiffs.

                             VII. Fraudulent Real Estate Transactions

         351.    The Defendants’ fraudulent real estate transactions represented yet another
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evolution in their broader scheme. By engaging in these transactions, the Defendants not only

expanded their financial misconduct but also exploited real estate as a vehicle to further conceal

their illicit activities. These actions were designed to amplify the financial and reputational harm

inflicted upon the Plaintiffs while solidifying the interconnectedness of the Defendants’ RICO

enterprise.

       352.     Furthering their enterprise’s objectives, Defendants engaged in fraudulent real

estate transactions. These actions included manipulated transfers and sham purchase

agreements aimed at deceiving third parties and unlawfully seizing control over properties.

Through these transactions, Defendants defrauded Plaintiffs of valuable assets, undermining

legitimate ownership claims and inflating their financial gain.

       353.     In late 2023, R.G. Brownell procured a written consulting agreement signed

between Alpha Carta and the BNW. The BNW abruptly terminated its consulting engagement

just as these frauds were being investigated, on or about February 8, 2024. The termination of

this consulting relationship did not dismantle the fraudulent enterprise but instead signaled a

transition where additional parties, including Whinnery and other entities, continued and

intensified the orchestrated schemes.

       354.     Defendant Whinnery, a convicted felon and resident of Williamson County,

Texas, met Defendant R.G. Brownell in prison. Following their release, Whinnery worked

closely with R.G. Brownell.

       355.     R.G. Brownell, as part of BNW’s consulting engagement with 60 Degrees and

Alpha Carta, conducted business through various entities and corporate alter-egos, such as

Katunigan. Upon information and belief, Katunigan is a Texas corporation that Whinnery used to

facilitate and obscure financial transactions related to the fraudulent real estate and asset

schemes.

       356.     Defendant Sasaginnigak, f/k/a Overall Builders, is a Texas limited liability

company. Upon information and belief, Whinnery and R.G. Brownell were key members of




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        Overall Builders. This entity was utilized to further the fraudulent transactions, including

deceptive real estate deals and misrepresented contracts.

        357.     Defendant Global Partners, a Delaware limited liability company, involved parties

including Springett and Tailwind. It was leveraged as a vehicle to move and conceal assets,

contributing to the layered financial maneuvering that supported the fraudulent schemes.

        358.     Defendant Smith, a United States citizen residing in Georgetown, Grand Cayman,

Cayman Islands, served as a director of various entities within the Family Office Trust Structure,

including Prairie Trust., Yorkville, and 60 Degrees Group SEZC, Ltd. He held fiduciary roles until

his removal in late 2021 for breach of trust and financial misconduct. Smith’s involvement did not

cease after his dismissal; instead, he shifted to managing Rockwater, a key player in continuing

fraudulent schemes that spanned multiple jurisdictions and reinforced the broader strategy to

misappropriate and conceal assets.

        359.     Smith engaged in embezzling trust funds within the Cayman Islands,

misrepresenting the nature of his financial maneuvers to conceal misconduct from the

beneficiaries and stakeholders. These actions included an unauthorized purchase of a luxury

vehicle and self-dealing incidents that benefited Smith's personal interests at the expense of

trust assets, violating his fiduciary obligations and eroding the trust's financial stability.

        360.     Smith’s employment with 60 Degrees was terminated, and he was removed as a

director from all of the entities in the Family Office Trust Structure for systematic self-dealing,

breach of trust, and financial misconduct on or about December 31, 2021.

        361.     In 2023, Smith orchestrated a sophisticated scheme under the guise of the

Rockwater initiative, deliberately inflating asset values and presenting fictitious high returns to

mislead investors and attract new investments. Concurrently, he engineered a fraudulent transfer

scheme related to the St. Barth’s Property, coordinating with other parties to misrepresent

ownership and conceal financial obligations, thereby misleading stakeholders about the property's

true financial status.

        362.     Smith employed social engineering tactics to manipulate corporate processes,

leveraging confidential information to deceive others and construct fraudulent financial

frameworks. This included fabricating and backdating key documents to legitimize unauthorized

transactions and secure personal gains, which undermined the integrity of internal controls and

misrepresented the financial standing of related entities.

        363.     Smith facilitated unauthorized high-interest loan arrangements, which were
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strategically structured to prompt defaults and eventual asset forfeiture, impacting the

beneficiaries' assets and defrauding Alpha Carta in its capacity as a creditor of other entities in the

Family Office Trust Structure. He also redirected funds from legitimate projects under false

pretenses, channeling them into complex transactions to benefit Rockwater and to obscure the

origins of misappropriated assets.

         364.   Smith played a central role in conceiving and executing unauthorized financial

transfers that spanned multiple jurisdictions, employing covert partnerships and unreported

interests in offshore entities to evade detection. These maneuvers supported a broader strategy of

misappropriating assets while leveraging international financial frameworks to shield fraudulent

gains.

         365.   Defendant R.J. Brownell is a citizen of the State of Illinois, a resident of Cook

County, and the son of Defendant R.G. Brownell.

         366.   Defendant Mack, an attorney licensed in Illinois, was a lawyer for BNW.

However, throughout these interactions, Mack knowingly misrepresented to others that he was the

attorney for Green Sapphire, Breakers, and Alpha Carta, in furtherance of the operations of the

racketeering enterprise, led by R.G. Brownell and involving the BNW, Whinnery, Smith, and

other associated wrongdoers.

         367.   In furtherance of this racketeering enterprise’s scheme, Mack misrepresented the

  status of negotiations, prepared documents to support fraudulent activities, obtained signatures

  that he knew or should have known were unauthorized, recorded documents improperly, and

  engaged in money laundering through his IOLTA account to conceal the proceeds of unlawful

  activities.

         368.   At all times relevant, Mack acted under the direct instruction of R.G. Brownell,

  maintaining his office in the same Northbrook, Illinois building as BNW to coordinate and

  further the activities of the racketeering enterprise.

         369.   Mack submitted fraudulent and/or inflated invoices to BNW, which facilitated

  payments and, through a complex scheme of invoice bundling, secured reimbursement from

  Terra Carta or related entities. This scheme often involved the unauthorized siphoning of funds

  from Mack’s IOLTA account, constituting a pattern of racketeering activity as defined under

  RICO statutes.

         370.   In furtherance of their racketeering enterprise, Defendants engaged in fraudulent

  real estate transactions, including a manipulated $250,000 transfer to Heritage Title Company
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as part of a sham purchase agreement. This transaction was intended to deceive third parties

and maintain control over property assets.

    371.      Defendants falsely claimed ownership and attempted to mortgage properties in

which they held no valid interest, using sham agreements to mislead Plaintiffs and other

stakeholders. This misrepresentation was part of a calculated strategy to create a façade of

legitimacy around their fraudulent activities.

    372.      Defendants used the extensive Family Office Trust Structure, including holding

companies and special purpose entities (SPEs), to funnel and conceal assets. By creating layers

of ownership and control, Defendants were able to shield assets from legal scrutiny, damaging

the financial integrity of 60 Degrees USA and its beneficiaries.

    373.      In January 2024, Cicoski caused Terra Carta and its subsidiary, High Ridge

Development LLC, to transfer 340 acres of Austin property, originally valued at over $78

million, to OP Highridge for approximately $39 million. This transfer, executed without

reasonably equivalent value, significantly impaired the financial solvency of Terra Carta and

the High Ridge Development LLC entities.

    374.      Defendant Mack drafted and facilitated the execution of a fraudulent release and

waiver on behalf of Terra Carta, relinquishing valuable claims against Defendants Endeavor

Real Estate and Cerco which further depleted Terra Carta’s financial resources and left it

insolvent. The waiver was executed without receiving adequate consideration, worsening Terra

Carta’s financial position.

    375.      Defendants, including Mack, orchestrated these transfers without the approval of

beneficial owners, making it impossible for Plaintiffs to recover owed amounts. This depletion

of assets left Terra Carta with insufficient capital to meet its obligations and maintain its

business operations.

    376.      Plaintiff Alpha Carta seeks to void the fraudulent transfers and recover the

transferred assets or their equivalent monetary value, arguing that the lack of fair consideration

and the resulting insolvency constitute grounds for recovery under the Uniform Fraudulent

Transfer Act (UFTA) as enacted in relevant states.

    377.      Defendants Whinnery, R.G. Brownell, and Mack knowingly executed a fraudulent

Purchase and Sale Agreement for the sale of 340 acres in Austin, Texas, to a shell entity,

Defendant OP Highridge, for significantly less than its market value. The purpose of this

transaction was to hinder, delay, or defraud Plaintiff Alpha Carta from collecting on its claims.
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    378.        The Defendants furthered their enterprise by engaging in fraudulent real estate

transactions, including manipulated property transfers and sham purchase agreements designed

to deceive stakeholders and unlawfully seize control of valuable assets. Notable examples

include a $250,000 manipulated transfer to Heritage Title Company and the undervalued sale of

340 acres of Austin property, worth over $78 million, for only $39 million. These actions,

executed without fair consideration, severely impacted Terra Carta's financial solvency. Key

individuals, such as Mack and R.G. Brownell, orchestrated these transactions, leveraging their

control over corporate governance and misrepresenting property ownership. The Defendants' use

of complex trust structures and layered entities concealed true ownership and shielded assets

from legal scrutiny, undermining the Plaintiffs’ ability to recover assets and maintain financial

integrity.

    379.        The Defendants’ fraudulent real estate transactions were not an isolated endpoint

but a significant element of their evolving enterprise. By leveraging these transactions to obscure

illicit financial activity, the Defendants set the stage for more sophisticated methods of fraud.

Their scheme expanded further into the realm of unauthorized access and digital fraud, where

they exploited technological vulnerabilities to misappropriate assets and perpetuate harm against

the Plaintiffs. This shift to digital misconduct reflects the adaptive and calculated nature of the

Defendants’ coordinated efforts.

             VIII. Misappropriation through Unauthorized Access and Digital Fraud

    380.        The Defendants’ activities involving unauthorized access and digital fraud

represent the latest evolution in their broader scheme. Utilizing advanced technological methods,

the Defendants infiltrated systems and gained unauthorized access to critical assets, enabling

them to misappropriate funds and further conceal their illicit operations. These actions not only

amplified the harm inflicted upon the Plaintiffs but also reinforced the interconnected nature of

the Defendants’ RICO enterprise by integrating digital fraud into their overarching strategy.

    381.        Defendants unlawfully accessed Plaintiffs’ computer systems to steal proprietary

information, disrupt operations, and further their fraudulent scheme. This unauthorized digital

access violated multiple provisions of the Computer Fraud and Abuse Act (CFAA), including 18

U.S.C. § 1030(a)(2)(C) for unauthorized access to obtain information and 18 U.S.C. §

1030(a)(4) for accessing with the intent to defraud. These acts are also predicate offenses under

the Racketeer Influenced and Corrupt Organizations Act (RICO), contributing to predicate acts

of wire fraud and digital fraud, thereby causing significant financial and operational harm to
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Plaintiff.

     382.      Defendant Whinnery accessed Plaintiffs’ protected computer systems without

authorization to obtain confidential and proprietary information. This unauthorized access

furthered fraudulent schemes, including the acquisition of business-critical data such as

customer information, internal communications, and financial records. These actions were part

of a sustained pattern from 2021 to 2024, supporting the continuous nature of racketeering

activity required under 18 U.S.C. § 1961.

     383.      Defendant R.G. Brownell a/k/a “Bigelow” directed activities utilizing stolen

digital credentials to facilitate unauthorized access to Plaintiffs’ systems. This access enabled

the manipulation of Plaintiffs’ business records and digital platforms, resulting in disrupted

operations and misrepresentations in Plaintiffs’ business dealings. These acts constitute

violations of 18 U.S.C. § 1030(a)(4) and contribute to wire fraud under 18 U.S.C. § 1343.

     384.      Defendant Mack provided technical support for unauthorized access and the

manipulation of Plaintiffs’ digital infrastructure. His involvement included configuring and

maintaining access channels for other Defendants, enabling them to exploit Plaintiffs’ computer

systems and gain unauthorized control over sensitive data without detection. This facilitation was

essential to the enterprise's scheme to disguise the source and purpose of their fraudulent

activities, directly linking to the RICO enterprise.

     385.      Defendants collectively accessed Plaintiffs’ computer systems with the intent to

defraud Plaintiffs and third parties. This included misappropriating digital credentials and using

stolen data to conduct unauthorized transactions and manipulate the Plaintiffs’ internal records.

These acts were part of the Defendants’ concerted effort to conceal fraudulent activities and the

true scope of their enterprise operations, further contributing to predicate acts of wire fraud

under RICO.

     386.      As a direct result of Defendants’ unauthorized access and related activities,

Plaintiffs incurred damages exceeding $5,000 within a single year, as detailed in 18 U.S.C. §

1030(c)(4)(A)(i)(I). These damages included costs associated with investigating the breaches,

implementing enhanced security measures, and recovering lost data. The disruption of

Plaintiffs’ business and the permanent loss of proprietary information constituted significant

financial harm, exacerbating Plaintiffs’ operational difficulties and impeding ongoing business

initiatives.

     387.      Defendants republished baseless allegations from the Susan Essex Complaint
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across multiple websites, including a site registered on September 11, 2023, and another

launched in January 2024. These websites prominently featured defamatory and false statements

about Plaintiff Wolfe, intending to damage his personal and professional reputation. This act of

digital fraud also served to mislead third parties, contributing to further financial and

reputational harm under 18 U.S.C. § 1962(c).

       388.   Defendants coordinated the dissemination of defamatory content with malicious

intent, employing techniques such as "doxing" to publish Plaintiff Wolfe's personal information

and incite harassment. This strategy aimed to tarnish Wolfe's professional image within the

Family Office Trust Structure and dissuade potential partners from engaging with Plaintiff,

further illustrating Defendants’ use of digital platforms for extortion and reputation damage as

part of their RICO activities.

       389.   Investigations linked the IP addresses and contact information used for the Susan

Essex Complaint and the defamatory websites to Defendants Looper and Whinnery. This

provided concrete evidence of their direct involvement in the publication and dissemination of

false statements, supporting claims of wire fraud and digital fraud under 18 U.S.C. §§ 1343 and

1962.

390.          Defendants engaged in unauthorized access to Plaintiffs’ computer systems,

violating the Computer Fraud and Abuse Act (CFAA) and contributing to predicate acts under

RICO. Key perpetrators, including Whinnery and R.G. Brownell, accessed confidential

information and manipulated business records, causing significant operational disruptions and

financial harm. Mack facilitated this digital breach by maintaining unauthorized access channels,

enabling continuous exploitation of the Plaintiffs’ systems. Additionally, Defendants

disseminated defamatory content through various online platforms, harming Plaintiff Wolfe’s

reputation and deterring potential partnerships. This coordinated effort, including doxing and

digital harassment, underscores the Defendants’ intent to use digital tools for fraud, extortion,

and reputation damage, resulting in substantial financial losses and operational setbacks for

Plaintiffs.

       391.   The Defendants’ use of unauthorized access and digital fraud underscored their

willingness to exploit vulnerabilities for personal gain. However, this digital misconduct was

not limited to external breaches; it also involved exploiting trusted positions within the

Plaintiffs’ organizational structure. A prime example of this is Smith’s breach of fiduciary

duties, where he leveraged his insider role to advance the Defendants’ schemes, enabling
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  further misappropriation and deepening the harm inflicted upon the Plaintiffs.

                               IX. Smith’s Breach of Fiduciary Duties

         392.   Smith’s breach of fiduciary duties was a critical component of the Defendants’

coordinated scheme. By exploiting his position of trust within the Plaintiffs’ organizational

framework, Smith facilitated unauthorized transactions, misused sensitive information, and

enabled further fraudulent activities. These breaches were not isolated incidents but integral to the

Defendants’ broader strategy to undermine the Plaintiffs’ financial stability and operational

integrity.

         393.   Plaintiffs entrusted Smith with fulfilling his fiduciary duties as Chief Financial

Officer of the Family Office Trust Structure and as a director for various entities within the

Family Office Trust Structure, including Green Sapphire and Breakers. Additionally, Smith

owed fiduciary duties to Plaintiff Prairie Trust, in its capacity as Trustee of the Alpha Carta

Trust.

         394.   Defendant Smith, as former Chief Financial Officer, trustee, and director within

the Family Office Trust Structure, held fiduciary and confidentiality obligations that extended

beyond the duration of his formal employment and roles. These duties, owed to the entities,

included the duty to refrain from disclosing or misusing any confidential, proprietary, or strategic

information acquired during his tenure. By virtue of his previous positions, Smith possessed

sensitive, non-public information regarding the entities’ assets, investments, and strategic plans,

entrusted to him with the expectation of continued discretion and loyalty.

         395.   Despite his removal as CFO, trustee, and director, Defendant Smith’s duties of

confidentiality, loyalty, and fiduciary responsibility did not cease upon his departure but remained

enforceable thereafter. The misuse and unauthorized disclosure of this information for Smith’s

pecuniary interest constitutes a breach of these enduring fiduciary duties, contributing to a pattern

of racketeering activity as part of a civil RICO enterprise, causing significant harm to the entities.

         396.   Defendant Smith, while acting in a position of trust, wrongfully used confidential

information obtained from his fiduciary position to facilitate the corporate infiltration of the

Family Office Trust Structure and related entities. Smith disclosed sensitive trust and financial

data to unauthorized third parties, including Matthews, Holden, R.G. Brownell, and Mack,

enabling them to manipulate internal structures and exploit weaknesses for their own benefit. This

disclosure constituted an act of corporate espionage that supported further misappropriation of

assets and was integral to the execution of the RICO scheme, which damaged the Plaintiffs'
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competitive standing.

       397.     Payments issued by Plaintiffs were made in response to Defendants' manipulation

of financial records and submission of false documentation, leading to unjust enrichment. This

manipulation was a component of the broader racketeering scheme aimed at extracting financial

benefits from Plaintiffs’ entities through deception and fraudulent invoicing.

       398.     Defendants continue to retain these financial benefits without providing any

lawful justification for the funds received. These benefits were obtained at Plaintiffs’ expense, and

the Defendants' retention of these amounts, gained through fraudulent conduct as part of the

racketeering enterprise, results in their unjust enrichment under the circumstances.

       399.     Manipulating financial records and submitting fraudulent invoices facilitated

embezzlement through entities such as BNW and Katunigan, resulting in significant financial

harm to Plaintiffs and reinforcing the continuity of the RICO enterprise.

       400.     Payments made by Plaintiffs to BNW were based on falsified documentation,

unjustly enriching the racketeering enterprise at the expense of Plaintiffs. The racketeering

enterprise retained these benefits without lawful justification, exemplifying a betrayal of trust that

has destabilized the financial foundation of the Family Office Trust Structure.

       401.     Smith’s breach of fiduciary duties was a key element of the Defendants’ broader

scheme, enabling them to exploit internal systems and relationships for personal gain. However,

this misconduct was further compounded by deliberate efforts to conceal assets and obstruct

financial recovery. By strategically hiding assets and impeding the Plaintiffs’ attempts to reclaim

misappropriated funds, the Defendants ensured that the harm caused by these breaches would

persist and escalate.

                  X. Asset Concealment and Obstruction of Financial Recovery

       402.     The concealment of assets and obstruction of financial recovery represents one of

the most insidious elements of the Defendants’ enterprise. By employing complex schemes to hide

misappropriated funds and hinder recovery efforts, the Defendants ensured the continued financial

harm of the Plaintiffs. These actions not only demonstrate their calculated intent but also

underscore the interconnected nature of their fraudulent activities, which combined to obstruct

justice and evade accountability.

       403.     Defendants employed additional corporate alter-egos such as Defendants

Katunigan and Terrace Shores to issue fictitious invoices and batch reimbursement requests,

creating a layered and obfuscated process for concealing misappropriated funds. This
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systematic use of corporate shells furthered the Defendants’ racketeering activities.

       404.     In an effort to intimidate and silence opposition, Defendants filed a fraudulent

lawsuit under the alias “Susan Essex,” aimed at discrediting a key Plaintiff’s director through

defamatory allegations. This lawsuit exemplifies the Defendants’ use of legal processes as tools for

extortion, seeking to coerce favorable settlements.

       405.     In August 2022, under the alias "Susan Essex," Defendant Whinnery filed a

fraudulent complaint in DuPage County, Illinois, falsely accusing Plaintiff Wolfe of engaging in

illicit and defamatory acts. This complaint was dismissed for want of prosecution but was later

used as a foundation for subsequent defamatory publications.

       406.     Defendants maintained a pattern of negligent supervision and lack of oversight by

employing individuals with known histories of fraud, including R.G. Brownell. By retaining

individuals with a demonstrated propensity for fraudulent conduct, Defendants enabled repeated

fraudulent acts within the Family Office Trust Structure, further harming Plaintiffs.

       407.     Plaintiffs are entitled to restitution from Defendants, requiring them to disgorge all

funds and assets obtained through the fraudulent activities described above. The establishment of a

constructive trust over wrongfully obtained assets is necessary to ensure the recovery of funds that

Defendants unjustly retain at Plaintiffs’ expense.

       408.     As a direct and proximate result of Defendants' actions, Plaintiffs suffered

financial harm, including significant business interruptions, investigatory expenses, and losses

exceeding $5,000,000. These losses arose from the conversion of both funds and critical business

records needed for operations and financial reporting.

       409.     Defendants utilized corporate alter-egos, such as Defendants Katunigan and

Terrace Shores, to conceal the misappropriation of funds through fictitious invoicing and complex

reimbursement processes. This deliberate obfuscation furthered their racketeering activities. To

silence dissent and intimidate key stakeholders, Defendants filed a fraudulent lawsuit under the

alias “Susan Essex,” accusing Plaintiff Wolfe of defamatory and illicit acts. Despite being

dismissed, this lawsuit fueled subsequent defamatory efforts to damage reputations and disrupt the

Plaintiffs’ operations. Additionally, negligent supervision and the employment of individuals with

known fraudulent histories, like R.G. Brownell, perpetuated these schemes. Plaintiffs seek

restitution and the establishment of a constructive trust to recover wrongfully obtained assets,

highlighting significant financial and operational losses exceeding $5 million due to the conversion

of critical funds and records.
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       410.     The concealment of assets and obstruction of financial recovery were not merely

independent acts of misconduct but integral components of the Defendants’ broader racketeering

enterprise. These deliberate efforts to obscure the origins and locations of misappropriated funds,

combined with the obstruction of recovery attempts, exemplify the calculated and continuous

nature of their unlawful activities. Together, these actions reveal a sustained pattern of

racketeering that underpins the Defendants’ overarching criminal enterprise.

                      XI. Pattern of Racketeering Activity and Predicate Acts

       411.     The Defendants’ pattern of racketeering activity is evident through the

interconnected and continuous nature of their fraudulent schemes. From asset concealment and

obstruction of financial recovery to a series of predicate acts encompassing fraud, extortion, and

digital misconduct, their actions demonstrate a deliberate and coordinated enterprise. This pattern

reflects a calculated strategy to defraud the Plaintiffs, evade accountability, and perpetuate the

harm inflicted upon them.

       412.     The Defendants’ activities, spanning from 2021 to 2024, demonstrate a consistent

and organized pattern of racketeering, with each act contributing to the enterprise’s goal of

defrauding Plaintiffs and obstructing lawful recovery. These actions, including loan fraud, escrow

misappropriations, unauthorized transactions, and defamatory publications, caused Plaintiffs

financial harm exceeding $10,000,000, substantiating a sustained RICO claim.

       413.     On or about December 28, 2022, Weber Group Management, Inc., (“Weber”)

purportedly submitted a supposed building inspection report and mold report on the Hale

Property (defined below).

       414.     On or about January 10, 2023, Kissa Capital, LLC (“Kissa”), a real estate

investment entity for the law firm of Hunton, Andrews, Kurth (“HAK”), 200 Park Avenue, New

York, NY, purportedly wrote a letter to Defendant Mack indicating that it had completed its

inspection of the Hale Property, including the estimated cost of remediation. In that letter, Kissa

reportedly stated, “Now that we have a cost estimate of the rehab and remediation the number is far

more substantial than we originally estimated…Kissa Capital, LLC is terminating the Agreement

and requesting a return of the earnest money deposit…Kissa Capital, LLC would consider

purchasing the Property in its current condition for an amount equal to $4,000,000.” This ended the

“correspondence.”


       415.     All communications between “Kissa” and Plaintiff Yorkville regarding the
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proposed “sale” of the Hale Property were relayed to Yorkville through either Defendants

Mack or R.G. Brownell.

       416.      To date, Yorkville’s investigation, which is ongoing, has been unable to

determine whether, from whom, or how the earnest money payment of $50,000.00 from Kissa

was deposited or, if deposited, its source and ultimate destination. Despite repeated requests,

defendant Mack has failed to supply the relevant information, although he has repeatedly

promised to do so at some future unstated date when he finds the time.

       417.      The “Kissa” Letter of January 10, 2023, attached an estimate for asbestos

remediation dated August 13, 2022, with a purported expiration date of August 27, 2022,

addressed to Yorkville from R.J. Brownell—R.G. Brownell’s son—of “Overall Builders.”

       418.      Therefore, the purported August 2022 remediation estimate was generated over

four months before Kissa’s alleged inspection, and several weeks before R.G. Brownell

introduced Kissa to Yorkville as a potential buyer for the Hale Property.

       419.      The Overall Builders report estimated remediation of asbestos, lead based paint,

and mold would cost $342,000.00.

       420.      Among other predicate acts, Defendants interfered with a project involving the U.S.

Tennis Association (USTA). Terra Carta (Green Sapphire’s subsidiary) had positioned itself to

secure a transformative business opportunity by potentially hosting the USTA Regional

Headquarters on its 300-acre property located near Austin, Texas (the “Austin Property”). This

project was critical to Terra Carta’s long-term strategy, offering substantial economic and strategic

benefits, including the creation of a national sports destination, a catalyst for local development, and

a hub for sports tourism.

       421.      Defendants, through a coordinated scheme of corporate espionage, engaged in the

theft of confidential trade secrets and business information belonging to Plaintiffs, including

critical GPS data and strategic information about the USTA Regional Headquarters project. This

proprietary information was essential for the Plaintiffs’ competitive positioning and future business

opportunities.

       422.      Defendants deliberately undermined Plaintiffs' USTA Regional Headquarters

project, a highly valuable business opportunity, by gaining control of the Austin Property using

fraudulently acquired information. This act deprived the Plaintiffs of the economic benefits that

would have arisen from establishing the property as a national sports destination, thereby causing

significant financial and reputational harm.
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        423.     Defendant Mack participated in drafting fraudulent letters of intent and contracts

from his Illinois office, which misrepresented the sale of the Austin Property to an unrelated third

party at a substantially lower value. This fraudulent transaction caused the Plaintiffs to lose not

only the property’s market value but also strategic business opportunities tied to its development.

        424.     In addition, Defendants engaged in creating defamatory websites and

disseminating false information about Plaintiff’s key business leaders, particularly targeting

Wolfe. This misinformation campaign aimed to damage Plaintiff's business relationships,

dissuade potential partners, and disrupt ongoing negotiations.

        425.     Defendants created counterfeit earnest money deposits to obscure the fraudulent

nature of the transaction and to misappropriate funds. This misrepresentation to third parties

enabled the sale of the property at a fraction of its appraised value, directly harming Plaintiff’s

financial interests.

        426.     Cicoski caused Terra Carta to grant a release and waiver of claims against

Endeavor Real Estate and related parties, knowing that Terra Carta was insolvent at the time or

became insolvent as a result. This release was granted without adequate compensation, depriving

Plaintiff of a valuable asset without receiving equivalent value in return.

        427.     As a direct and proximate result of these fraudulent transfers, Plaintiff Alpha

Carta suffered substantial financial losses, including the depletion of assets, loss of valuable

claims, and impairment of Alpha Carta’s ability to collect on its debt.

        428.     The Defendants’ actions from 2021 to 2024 exemplify a sustained and coordinated

pattern of racketeering activity aimed at defrauding Plaintiffs and obstructing lawful asset

recovery. This scheme included fraudulent property sales, unauthorized transactions, the

submission of counterfeit documents, and the misappropriation of funds. Key acts involved

falsified asbestos and mold remediation reports, misuse of corporate entities for asset diversion,

and the deliberate undermining of strategic business opportunities, such as the USTA Regional

Headquarters project. Defendants also engaged in defamatory campaigns and digital espionage,

stealing confidential trade secrets to gain competitive advantages. The culmination of these

predicate acts under RICO, including wire fraud and digital fraud, resulted in substantial financial

harm and asset depletion for Plaintiff Alpha Carta, exceeding $10 million in losses and impairing

its ability to recover debts.

        429.     The Defendants’ pattern of racketeering activity and predicate acts reveals a

meticulously coordinated effort to inflict widespread harm on the Plaintiffs. These interconnected
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schemes, marked by fraud, obstruction, and asset concealment, have collectively caused significant

financial, operational, and reputational damage. The cumulative impact of these actions

underscores the gravity of the harm inflicted upon the Plaintiffs and serves as a foundation for

quantifying the damages they have sustained.

                                XII. Summary of Damages to Plaintiff

        430.     The damages inflicted upon the Plaintiffs by the Defendants’ coordinated

racketeering enterprise are extensive and multifaceted. These include substantial financial losses,

operational disruptions, reputational harm, and the incurrence of significant investigative and

legal costs. This summary outlines the full scope of damages suffered by the Plaintiffs as a direct

result of the Defendants’ fraudulent activities, emphasizing the need for comprehensive

restitution and relief.

        431.     Financial Losses: Plaintiff suffered substantial financial losses as a direct and

proximate result of Defendants' coordinated fraudulent activities. These losses include the

misappropriation of funds, unauthorized wire transfers, and fraudulent loan arrangements,

which collectively amount to millions of dollars in damages.

        432.     Business Disruptions: Defendants' actions significantly disrupted Plaintiffs’

business operations. Unauthorized access to Plaintiffs’ systems, manipulation of records, and the

diversion of corporate funds hindered essential functions, causing operational delays, project

interruptions, and a substantial depletion of resources needed for ongoing and future business

ventures.

        433.     Reputational Harm: Defendants engaged in defamatory actions aimed at

damaging Plaintiffs’ reputations within the business community and with potential partners. This

reputational harm has not only strained the Plaintiffs’ relationships with key stakeholders but has

also limited future opportunities, reducing the Plaintiffs’ market competitiveness and business

standing.

        434.     Investigative and Security Costs: Plaintiffs incurred substantial costs to investigate

the breadth of Defendants' scheme, secure its digital infrastructure, and recover proprietary

information compromised by Defendants’ unauthorized access. These costs include expenses for

forensic analysis, legal investigations, and enhanced security measures to protect against future

misconduct.

        435.     Cumulative Impact on Plaintiffs: The collective impact of Defendants' actions has

had a devastating effect on Plaintiffs’ financial position, operational stability, and reputation.
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These damages are inextricably linked to the Defendants’ pattern of racketeering activity and other

predicate acts as described under RICO, and Plaintiffs seek compensation, including treble

damages, attorney fees, and injunctive relief, to remedy the extensive harm caused.

        436.    Plaintiffs suffered significant financial and operational harm due to Defendants'

coordinated fraudulent activities. Financial losses include the misappropriation of funds,

unauthorized wire transfers, and fraudulent loan arrangements, totaling millions of dollars.

Business operations were severely disrupted by unauthorized access, record manipulation, and

fund diversions, leading to project delays and resource depletion. Additionally, Defendants’

defamatory actions caused reputational damage, straining relationships with stakeholders and

limiting future opportunities. The Plaintiffs also incurred substantial investigative and security

costs to uncover the extent of the scheme and bolster defenses against future misconduct. The

cumulative impact of these actions has destabilized Plaintiffs’ financial position, operational

integrity, and market reputation, warranting compensation, including treble damages, attorney

fees, and injunctive relief under RICO provisions.

        437.    The extensive damages suffered by the Plaintiffs underscore the pervasive and

deliberate nature of the Defendants’ coordinated enterprise. These harms, encompassing financial,

operational, and reputational losses, did not arise from isolated incidents but from a carefully

orchestrated scheme. To fully understand the breadth of this enterprise, it is essential to examine

the overarching fraudulent framework through which the Defendants executed their unlawful

activities.

                 XIII. Overview of Defendants' Coordinated Fraudulent Scheme

        438.    The Defendants’ fraudulent scheme was meticulously planned and executed,

encompassing a range of interconnected activities designed to defraud the Plaintiffs and obscure

their misconduct. This overview provides a comprehensive analysis of the scheme, detailing the

methods employed, the coordination among the Defendants, and the overarching intent to

undermine the Plaintiffs’ financial and operational stability.

        439.    Defendants engaged in a systematic scheme involving coordinated acts of fraud,

encompassing loan fraud, escrow fraud, and defamation, among others. This network operated as a

continuous unit, organized to defraud Plaintiff and prevent lawful asset recovery. The enterprise’s

structure allowed each Defendant to contribute to a unified objective, using specialized roles to

execute their fraudulent schemes.

        440.    Beginning on or about February 2024, Plaintiffs discovered a series of fraudulent
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schemes in which Defendants R.G. Brownell, Smith, Rockwater, Springett, Tailwind, Looper,

Proton Green, Mack, Salazar, and Whinnery, as well as their related entities and others working at

their behest, conspired among themselves and conceived of a plan to systematically loot money and

property of Plaintiffs by means of fraud, money laundering, breach of fiduciary duty, abuse of

process, identity theft, cyber harassment, fraudulent sales, fictitious lawsuits, and other wrongful

conduct.

        441.     By these schemes, the Defendants (a) created a purchase contract with a fake

purchaser; (b) falsified an asbestos report related to this property; (c) filed a fictitious lawsuit

falsely alleging sex crimes filed with the Illinois Circuit Court; (d) published their fictitious

Complaint on multiple websites with the intent to weaponize the Illinois judicial system; (e) set up a

false claim for control of two parcels of real estate located in St. Barth’s; and (f) set up false loans

or loans whose proceeds were received by one or more of the Defendants.

        442.     This is an integrated, ongoing scheme orchestrated by ex-convicts, officers

terminated for misconduct, and their allies working in concert for a common purpose.

        443.     Plaintiff Wolfe is an experienced financial services professional and citizen of

DuPage County, Illinois, with a decades-long professional association with Co-Plaintiffs.

        444.     Plaintiff Yorkville, is a Delaware limited liability company with its principal

place of business in Wheaton, Illinois. It is owned by the Prairie II Trust, a Cayman Islands

Trust. Its beneficiaries are the same as the beneficiaries of the Petro Carta Trust. Plaintiff

Prairie Trust is the Trustee of the Prairie II Trust.

        445.     Defendants engaged in a coordinated scheme involving multiple acts of fraud,

including loan fraud, escrow fraud, bank fraud, assignment fraud, mortgage fraud, money

laundering, obstruction of justice, and defamation. Each of these acts constituted a predicate act

under 18 U.S.C. § 1961(1) and was part of a broader effort to defraud Plaintiff and prevent lawful

recovery of assets.

        446.     On or about March 15, 2023, Defendant R.G. Brownell, using his position within

BNW, orchestrated an interstate wire transfer of more than $500,000.00 from an Illinois-based

account under the control of Yorkville to an offshore account in the Cayman Islands. This transfer,

facilitated without board authorization or legitimate business purpose, was intended to obscure the

funds’ origin and deprive Plaintiffs of rightful control over assets. Through email communications

on March 10, 2023, R.G. Brownell misrepresented the nature of this transaction as a 'consulting

fee,' providing false invoices to conceal the misappropriated funds. This illustrates the bribery and
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inducement scheme orchestrated by R.G. Brownell, who used various corrupt tactics to achieve his

aims. R.G. Brownell's methods included offering bribes and engaging in illicit inducements such as

property theft and arranging kickbacks, all carefully designed to manipulate outcomes in his favor.

       447.      Defendants utilized an IOLTA trust account to facilitate their scheme, routing and

rerouting funds through it to obscure their fraudulent origins and disguise the nature of

transactions. Defendant Mack's use of the IOLTA account served to conceal the financial activities

of the enterprise and prevent detection.

       448.      The Defendants’ coordinated actions, including communication, coordination

meetings, and systematic execution of their roles, allowed the enterprise to operate as a

continuous, organized unit. The Defendants’ cooperation and directed resources enabled them to

execute fraudulent acts with precision, furthering their scheme to defraud Plaintiff and obstruct

lawful financial recovery efforts.

       449.      The Defendants’ activities spanned from 2021 to 2024, demonstrating a sustained

pattern of racketeering activity as defined under 18 U.S.C. § 1961(5). This pattern of related

predicate acts, all committed in furtherance of the enterprise’s fraudulent objectives, shows a

deliberate and coordinated scheme aimed at defrauding Plaintiff, obstructing lawful collection

efforts, and protecting the enterprise’s assets.

       450.      The predicate acts, including fraudulent loan arrangements, escrow

misappropriations, unauthorized transactions, and defamatory lawsuits, were causally

connected to Plaintiff’s injuries. These actions contributed to Plaintiff’s financial losses

exceeding $10,000,000, which included reputational damage, business disruption, and a

substantial loss of goodwill.

       451.      The Defendants orchestrated a complex and continuous scheme from 2021 to

2024, marked by systematic acts of fraud, including loan fraud, escrow manipulation, and

defamation. This sophisticated operation, involving ex-convicts and individuals with professional

misconduct records, aimed to defraud Plaintiffs and obstruct lawful asset recovery through an array

of fraudulent practices, such as falsified legal documents and unauthorized financial transactions.

Utilizing an IOLTA trust account to obscure financial activity, the Defendants effectively

concealed the origins and destinations of misappropriated funds. This pattern of coordinated

racketeering activity led to over $10 million in damages for Plaintiffs, encompassing financial

loss, reputational harm, and significant business disruption.

                       COUNT I - FEDERAL CIVIL RICO (18 U.S.C. § 1962(c))
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                                             All Defendants

        452.      Plaintiff incorporates by reference each and every preceding paragraph as though

fully set forth herein.

        453.      This claim arises under the Racketeer Influenced and Corrupt Organizations Act

(RICO), 18 U.S.C. § 1962(c), which prohibits conducting or participating, directly or indirectly, in

the conduct of an enterprise’s affairs through a pattern of racketeering activity. Defendants

engaged in a scheme involving multiple, continuous acts of fraud, including loan fraud, escrow

fraud, bank fraud, assignment fraud, mortgage fraud, money laundering, obstruction of justice, and

defamation—all of which are predicate acts under 18 U.S.C. § 1961(1).

        454.      At all relevant times, each Defendant qualifies as a "person" within the meaning

of 18 U.S.C. § 1961(3) and was capable of holding a legal or beneficial interest in property.

        455.      Defendants R.G. Brownell, Whinnery, Mack, BNW, Global Capital, Proton

Green, Smith, Rockwater, and other known and unknown co-conspirators formed an enterprise

under 18 U.S.C. § 1961(4). This enterprise operated as an association-in-fact, structured with

distinct roles, a hierarchy, and defined functions that allowed the Defendants to collectively

execute and maintain their fraudulent scheme. The shared purpose of this enterprise was to

defraud Plaintiff and other victims through complex financial maneuvers, deceptive property

transfers, and digital impersonations, thereby obstructing Plaintiff’s ability to collect on claims and

recover losses.

        456.      The enterprise functioned with a clear structure and designated roles among

Defendants, which allowed for coordinated and sustained criminal activity. Specifically:

                          a.    Defendant R.G. Brownell acted as the financial coordinator,

                                overseeing the direction of funds within the enterprise and

                                organizing multiple fraudulent loan agreements. His role included

                                fabricating terms and orchestrating misrepresentations to financial

                                institutions to induce reliance and secure fraudulent financing;

                          b.    Defendant Whinnery, using various aliases, managed the transfer

                                and concealment of funds through layers of transactions. He was

                                responsible for falsifying documents and providing misleading

                                information to escrow agents and investors, which concealed the

                                enterprise’s activities from oversight and accountability;

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                        c.      Defendant Mack served as the intermediary and logistics manager

                                for the enterprise’s financial operations. He facilitated the

                                obscuring of identities and the movement of funds through layered

                                and circular transfers, providing a crucial mechanism for the

                                Defendants to disguise the true nature and destination of

                                fraudulent proceeds; and

                        d.      Defendants BNW, Global Capital, Proton Green, and other

                                affiliated entities acted as instrumental vehicles for laundering the

                                proceeds of the fraudulent schemes and concealing the

                                enterprise’s operational reach. These entities were strategically

                                established and utilized to ensure a seamless flow of illicit gains

                                while shielding Defendants from direct liability.

          457.   To further their fraudulent objectives, the Defendants engaged in regular

communication, coordination meetings, and systematic execution of assigned roles. The enterprise

operated as a continuous, organized unit that presented an ongoing threat of future racketeering

activity. By consistently directing resources, generating false documentation, and coordinating

complex transfers across jurisdictions, the enterprise was able to execute each fraudulent act with

precision and evade detection. The Defendants exhibited clear cooperation, with each member

acting in furtherance of the enterprise’s unified purpose to defraud Plaintiff and undermine lawful

financial recovery efforts.

          458.   Between 2021 and 2024, Defendants engaged in a sustained pattern of racketeering

activity as defined under 18 U.S.C. § 1961(5), involving numerous related predicate acts, all of

which were committed in furtherance of the enterprise’s fraudulent objectives. This pattern,

spanning multiple years, demonstrates a deliberate and coordinated scheme aimed at defrauding

Plaintiff and protecting the enterprise’s assets from lawful collection efforts. The Defendants’

actions were not isolated incidents but rather part of a continuous, interconnected series of

fraudulent activities intended to hinder, delay, and obstruct Plaintiff’s ability to recover its rightful

claims.

          459.   The predicate acts constituting this pattern include:

                        a.      Loan Fraud: Defendants, led by R.G. Brownell and Whinnery,

                                executed multiple fraudulent loans, including a $2.9 million loan (the

                                Breakers Loan) in September 2023 by fabricating terms to induce
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                       default, a $4 million loan with falsified financials on July 26, 2023,

                       and a $10 million loan (the Green Sapphire Loan) in February 2023

                       backed by falsified collateral, all designed to facilitate control over

                       Plaintiff’s assets.

                 b.    Escrow Fraud: Whinnery and Mack coordinated the misappropriation

                       of escrow funds by disguising these funds as consulting fees in July

                       2024, diverting funds for unauthorized purposes in April 2023, and

                       falsifying account statements in January 2024, deceiving stakeholders

                       and concealing the true financial state of the enterprise.

                 c.    Money Laundering and Fund Transfers: Mack oversaw complex,

                       multi-layered fund transfers, including a $7.1 million circular

                       transaction in February 2023 and a $520,000 routing through

                       offshore accounts in July 2024. These transactions further concealed

                       the origins and flow of funds within the enterprise, ensuring the

                       continuity of fraudulent activities while obscuring the paper trail.

                 d.    Kickbacks and Bribes (18 U.S.C. § 1341, 18 U.S.C. § 1343, 18

                       U.S.C. § 1956): Defendants funneled disguised bribes as “consulting

                       fees” from 2021 through 2024, securing cooperation in the

                       enterprise’s illicit schemes.

                 e.    Money Laundering (18 U.S.C. § 1956): Defendants conducted

                       complex, multi- layered transfers, including a $7.1 million circular

                       transaction in February 2023, a $332,000 follow-up through BNW,

                       and a $520,000 routing through offshore accounts in July 2024 to

                       obscure the origin and nature of funds.

                 f.    Wire Fraud (18 U.S.C. § 1343): Defendants repeatedly misclassified

                       and falsified wire transfers, including a $7.1 million transfer in

                       February 2023 as consulting fees and falsified loan applications in

                       June 2023 to secure financing under fraudulent pretenses.

                 g.    Bank Fraud (18 U.S.C. § 1344): Defendants misrepresented

                       transaction details to financial institutions, including a manipulated

                       bank transaction in September 2023 and fraudulent financial records

                       in April 2024 to secure loans.
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                       h.     Obstruction of Justice (18 U.S.C. § 1503, 18 U.S.C. § 1512):

                              Defendants tampered with ownership records on August 7, 2024,

                              filed false court documents on September 13, 2024, and executed a

                              forbearance agreement in June 2024 to delay enforcement actions

                              against the enterprise.

                       i.     Defamation and Extortion (18 U.S.C. § 875, 18 U.S.C. § 1513):

                              Defendants initiated a baseless lawsuit under the alias "Susan Essex"

                              on January 3, 2024, disseminating defamatory allegations and sent

                              defamatory emails in September 2024 to coerce settlements.

                       j.     Interstate and Foreign Travel in Aid of Racketeering (18 U.S.C. §

                              1952): Defendants executed cross-border fraudulent transactions,

                              including a $10 million loan transaction with Green Sapphire on

                              February 16, 2023, and additional international transfers in 2024 to

                              support laundering schemes.

                       k.     Additional Wire Fraud and Money Laundering: From 2023 to 2024,

                              Defendants created circular transfers totaling $8.6 million to hinder

                              investigation efforts and obscure illicit proceeds.

       460.     Defendants directly participated in the conduct of the enterprise’s affairs by

directing, managing, and facilitating fraudulent acts. Each Defendant’s participation involved

coordinating financial transfers, document falsification, and obstructive actions to ensure a

steady flow of illicit gains to enterprise members.

       461.     The fraudulent acts listed were causally connected to Plaintiff’s injuries, as each

type of predicate act contributed to Plaintiff’s financial losses exceeding $10,000,000. These

losses stemmed from fraudulent loan arrangements, escrow misappropriations, and unauthorized

transactions, causing substantial reputational damage, business disruption, and loss of goodwill.

       462.     Plaintiff was directly and proximately harmed by Defendants’ conduct as outlined

in 18 U.S.C. § 1964(c) and seeks treble damages for financial harm, recovery of reasonable

attorney fees and costs, and injunctive relief prohibiting Defendants from further fraudulent

conduct. Plaintiff also requests any additional relief the Court deems just and proper to prevent

further harm.

          COUNT II - FEDERAL CIVIL RICO CONSPIRACY (18 U.S.C. § 1962(d))

                                            All Defendants
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        463.     Plaintiff incorporates by reference each and every preceding paragraph as though

fully set forth herein.

        464.     This action arises under the Racketeer Influenced and Corrupt Organizations Act

(RICO), 18 U.S.C. § 1962(d), which makes it unlawful for any person to conspire to violate the

provisions of 18 U.S.C. § 1962(c). Defendants Whinnery, R.G. Brownell (also known as Robert

Bigelow), Mack, BNW, Global Capital, Proton Green, Smith, Rockwater, and others conspired to

engage in a pattern of racketeering activity, including loan fraud, escrow fraud, bank fraud,

assignment fraud, and mortgage fraud, among other predicate acts, all aimed at defrauding

Plaintiffs and others through a coordinated enterprise.

        465.     Beginning no later than August 2021 and continuing through at least June 2024,

Defendants knowingly and willfully entered into an agreement to facilitate the operations of a

fraudulent enterprise. The purpose of the conspiracy was to violate 18 U.S.C. § 1962(c) by

conducting or participating, directly or indirectly, in the affairs of the enterprise through a pattern

of racketeering activity. Defendants agreed to collaborate to achieve their unlawful objectives by

concealing the true ownership of assets, executing fraudulent financial transactions, falsifying

corporate records, and using digital impersonations to deceive third parties.

        466.     In furtherance of the conspiracy, Defendants committed numerous overt acts,

including but not limited to:

                          a.    Fraudulent Loan Transactions: On September 21, 2021, Defendants

                                orchestrated a fraudulent loan from Kips Bay Select LP to Plateau

                                Carbon, employing misrepresentations and falsified documents to

                                induce reliance by financial institutions. In July 2023, Defendants

                                submitted falsified financial information to secure a $2.9 million loan

                                (Breakers Loan), misrepresenting financial conditions to induce the

                                loan. On February 16, 2023, Defendants executed a sham $10 million

                                loan (the Green Sapphire Loan) secured by fabricated collateral in

                                the St. Barths Property, aiming to control and misappropriate

                                Plaintiff’s assets.

                          b.    Manipulation of Corporate Records: On August 13, 2021,

                                Defendants manipulated corporate records to replace directors of

                                Yorkville, disguising their control over corporate assets. Throughout

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                              2023 and 2024, Defendants continued to falsify corporate filings to

                              mislead creditors and regulatory authorities, masking true ownership

                              and control.

                         c.   Creation of False Legal Documents: In February 2023, Defendants

                              prepared sham collateral documents related to the $10 million Green

                              Sapphire Loan for the St. Barths Property, intending to deceive

                              financial institutions regarding the security of the loan. Defendants

                              repeatedly prepared falsified escrow account statements and legal

                              documents, misleading stakeholders regarding fund balances and

                              collateral security.

                         d.   Digital Impersonation: Defendants engaged in digital impersonation

                              of Plaintiff’s business operations, misrepresenting their roles and

                              authorities in digital Communications to third parties to manipulate

                              business relationships and fraudulently gain control over Plaintiff’s

                              assets.

       467.     Each Defendant was aware of and knowingly participated in the conspiracy to

violate 18 U.S.C. § 1962(c). Defendants understood that their coordinated actions were part of a

broader scheme to defraud Plaintiff and utilize the enterprise for illegal activities. Each Defendant

knowingly performed or aided in committing multiple predicate acts in furtherance of the

conspiracy, including:

                         a.   Extortion, Defamation-Related Acts, Interstate Mail Fraud, and

                              Hobbs Act Violations (18 U.S.C. §§ 875, 1341, 1513, 1951):

                              Defendants engaged in a systematic and coordinated campaign of

                              extortion and coercion aimed at undermining Plaintiff’s business

                              operations and extracting financial concessions. This scheme

                              included filing a fictitious "Susan Essex" lawsuit in August 2022,

                              with the intent to harass, defame, and inflict reputational damage

                              upon Plaintiffs to force settlements under duress. On September 3,

                              2024, Defendants escalated these efforts by transmitting defamatory

                              and threatening communications through fraudulent accounts,

                              including emails and phone calls that explicitly stated intentions to

                              disseminate false information about Plaintiffs’ business dealings
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                       unless substantial payments or compliance with their demands were

                       made. These threats were bolstered by two defamatory websites and

                       an anonymous letter sent to Wolfe in July 2023, the content of which

                       was echoed in posts made on the websites, further amplifying the

                       pressure on Plaintiffs and supporting the scheme’s credibility.

                 b.    Furthermore, Defendants utilized interstate mail to circulate

                       defamatory and fraudulent materials that reached third parties across

                       state lines, amplifying the pressure on Plaintiffs and extending the

                       damaging reach of their extortionate tactics. These actions were part

                       of a calculated strategy to induce fear and compliance, violating the

                       Hobbs Act (18 U.S.C. § 1951), which prohibits robbery, extortion,

                       and conspiracies to commit those crimes that affect interstate or

                       foreign commerce, by seeking to obtain property and financial

                       concessions through coercive means. The conduct demonstrates the

                       coordinated and malicious intent of the racketeering enterprise to

                       exploit Plaintiff’s vulnerability, disrupt business stability, and gain

                       unjust financial advantage. The interstate nature of the

                       communications and threats underscores the far-reaching impact on

                       the Plaintiffs’ ability to conduct business, fulfill contracts, and

                       maintain a reputable standing across the country.

                 c.    Loan Fraud (18 U.S.C. § 1344, 18 U.S.C. § 1014): Defendants

                       orchestrated fraudulent loans, including a $2.9 million loan

                       involving Proton Green on September 7, 2023, intended to induce

                       default and enable asset seizure. They also submitted false financial

                       information to secure a $4 million loan in July 2023 and executed a

                       sham $10 million loan (the Green Sapphire Loan) with falsified

                       collateral in February 2023.

                 d.    Escrow Fraud (18 U.S.C. § 1343, 18 U.S.C. § 1956): Defendants

                       conspired to disguise misappropriated escrow funds as consulting

                       fees in July 2024, diverted escrow funds for unauthorized purposes

                       in April 2023, and provided false escrow account balance

                       information in January 2024 to deceive stakeholders.
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                 e.    Assignment Fraud and Interstate Mail Fraud (18 U.S.C. § 1341, 18

                       U.S.C. § 1343): In March 2023, Defendants fraudulently assigned

                       interests in Florida Access without proper authorization, using

                       interstate mail to transmit false documents to stakeholders. These

                       mailings misrepresented the ownership and control of assets,

                       deceiving creditors and investors. In June 2024, Defendants engaged

                       in further fraudulent activity by mailing reassigned promissory notes

                       across state lines. In September 2023, they also transferred a lien on

                       the St. Barths Property using mailed documents with fraudulent

                       information to mislead stakeholders.

                 f.    Kickback Payments (18 U.S.C. § 1341, 18 U.S.C. § 1343, 18 U.S.C.

                       § 1956):

                 g.    Between 2021 and 2024, Defendants issued and accepted disguised

                       kickbacks totaling approximately $580,000 to secure cooperation and

                       approvals necessary for the enterprise’s fraudulent operations,

                       including payments masked as consulting fees.

                 h.    Money Laundering (18 U.S.C. § 1956): Defendants engaged in

                       circular fund transfers to obscure funds' origins, such as the $7.1

                       million transfer in February2023, followed by a $332,000 transfer

                       through BNW. From July 27-31, 2024, they routed $520,000 through

                       offshore accounts to further conceal illicit proceeds.

                 i.    Wire Fraud (18 U.S.C. § 1343): Defendants employed wire

                       communications to misrepresent and conceal the nature of

                       transactions. On February 23, 2023, Defendants misclassified a $7.1

                       million transfer as consulting fees, and on February 24, 2023,

                       provided false wire instructions, concealing the fraudulent purpose.

                       In June 2023, they electronically falsified loan applications to secure

                       financing.

                 j.    Bank Fraud (18 U.S.C. § 1344): Defendants provided false

                       transaction descriptions to banks in September 2023 to mislead

                       financial institutions and obtained fraudulent loans using misleading

                       financial statements in April 2024.
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                       k.      Obstruction of Justice (18 U.S.C. § 1503, 18 U.S.C. § 1512):

                               Defendants altered ownership records on August 7, 2024, to conceal

                               the enterprise's interests in certain assets and filed false amended

                               court documents on September 13, 2024, to delay and interfere with

                               legal proceedings. In June 2024, they executed a forbearance

                               agreement to obstruct enforcement actions.

       468.     As a direct and proximate result of the Defendants' conspiracy and their violations

of 18 U.S.C. § 1962(d), the Plaintiffs suffered significant financial and reputational damages,

including financial losses exceeding $10,000,000 due to fraudulent loans, diversion of funds, and

unauthorized transactions. Plaintiffs’ business goodwill and reputation were further damaged due

to Defendants' ongoing misrepresentations and interference with Plaintiffs’ control over assets.

       469.     Pursuant to 18 U.S.C. § 1964(c), Plaintiffs seek treble damages for the financial

harm caused by Defendants’ conspiracy to engage in racketeering activity, recovery of reasonable

attorney fees and costs, injunctive relief to prevent Defendants from continuing their fraudulent

practices, and any additional relief deemed just and proper by the Court.

        COUNT III - VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT
                             (CFAA) (18 U.S.C. § 1030)
                           Whinnery, R.G. Brownell, Mack

       470.     This action arises under the Computer Fraud and Abuse Act (CFAA), 18 U.S.C. §

1030, which prohibits unauthorized access to protected computers and using such access to further

fraudulent schemes, obtain information, or cause damage. Defendants Whinnery, R.G. Brownell,

and Mack knowingly accessed Plaintiffs’ protected computer systems without authorization or

exceeded authorized access, resulting in significant damage and loss to Plaintiffs.

       471.     At all relevant times, Plaintiffs operated a business that utilized computer systems,

servers, and data storage devices for legitimate business purposes. These systems contained

confidential, proprietary, and business-critical information, including, but not limited to, customer

data, business operations, financial records, and internal communication platforms. The computer

systems are "protected computers" within the meaning of 18 U.S.C. § 1030(e)(2)(B) as they are

used in or affecting interstate or foreign commerce or communication.

       472.     Defendants accessed Plaintiffs’ protected computer systems without authorization,

or exceeded their authorized access, for purposes not permitted by Plaintiffs, including but not

limited to: Whinnery accessing systems to steal confidential information, R.G. Brownell directing

activities that utilized stolen digital credentials, and Mack providing technical support for
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unauthorized access and manipulation of Plaintiffs’ digital infrastructure.

        473.    Defendants engaged in the unauthorized access and use of Plaintiffs’ computer

systems with the intent to defraud Plaintiffs and third parties, and to benefit from the stolen

information and misappropriated digital credentials. Defendants’ actions were undertaken with the

aim of misrepresenting Plaintiffs’ business through unauthorized websites, conducting

unauthorized transactions, and manipulating business records to conceal their fraudulent activities.

        474.    As a direct result of Defendants’ violations of 18 U.S.C. § 1030(a), Plaintiffs

suffered damages and losses exceeding $5,000 within a one-year period, including but not limited

to: costs of investigating the unauthorized access, expenses for implementing enhanced security

measures, disruption of business operations, and the permanent loss of confidential and proprietary

data.

        475.    Defendants’ conduct constitutes a violation of multiple subsections of 18 U.S.C.

§ 1030(a), including: § 1030(a)(2)(C) for unauthorized access to obtain information, §

1030(a)(4) for access with intent to defraud, § 1030(a)(5)(A) for causing damage through

transmission of code, and § 1030(a)(5)(B) and (C) for recklessly causing damage through

unauthorized access.

        476.    Pursuant to 18 U.S.C. § 1030(g), Plaintiffs seek compensatory damages for

economic losses resulting from Defendants’ violations, injunctive relief to prevent further

unauthorized access, punitive damages to deter similar conduct, reasonable attorney fees and

costs, and such other relief as the Court deems just and proper.

         COUNT IV - UNJUST ENRICHMENT (ALTERNATIVE TO RESCISSION)

                                             All Defendants

        477.    This claim arises as an alternative to other remedies, including rescission (see

Claim XXVI below). It seeks to recover benefits unjustly obtained by Defendants, which cannot

be adequately addressed through contractual remedies alone. Defendants have wrongfully

gained financial and other benefits at the expense of Plaintiffs through fraudulent transactions

and manipulative conduct.

        478.    Defendants, including Whinnery, R.G. Brownell, and Mack, received substantial

benefits through fraudulent transfers, financial transactions, and the improper use of Plaintiffs’

business identity and resources. These actions included orchestrating unauthorized transfers of

funds and misusing the Plaintiff’s digital credentials to conduct activities that resulted in financial

enrichment.
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        479.      The benefits received by Defendants were obtained without a valid legal basis and

in violation of equitable principles. Defendants’ actions have resulted in significant financial loss to

Plaintiffs, while Defendants have retained the profits, funds, and assets gained through their

misconduct. Retention of these benefits by Defendants would result in their unjust enrichment

under the circumstances, as they were gained through fraudulent means and unauthorized use of

Plaintiffs’ resources.

        480.      As an alternative to the remedies sought in other claims, Plaintiffs seek restitution,

requiring Defendants to disgorge all benefits and funds obtained at Plaintiffs’ expense, the

imposition of a constructive trust over any funds or property wrongfully obtained by Defendants,

and such other equitable relief as the Court deems just and appropriate to remedy the harm suffered

by Plaintiffs.

                                      COUNT V - CONVERSION

                                              All Defendants

        479.     This claim arises from Defendants' wrongful taking and control over Plaintiffs’

property and funds without consent or legal justification. Defendants have exercised dominion and

control over Plaintiffs’ assets, including money, confidential data, real property, and personal

property, thereby depriving Plaintiffs of their rightful ownership and use of these assets.

        481.      Defendants, including Whinnery, R.G. Brownell, and Mack, took possession of or

exerted control over Plaintiffs’ property through the misappropriation of funds, seizure of

confidential business data, and control over physical assets. These actions included directing

unauthorized transfers of funds, accessing and taking proprietary data, and withholding property

despite the Plaintiffs’ demands for its return.

        482.      Defendants' actions constitute conversion because they wrongfully exercised

dominion and control over Plaintiffs’ property, deprived Plaintiffs of their right to possession of its

funds, data, and physical property, and refused to return or account for the property after demands

for its return were made by Plaintiffs.

        483.      As a direct and proximate result of Defendants’ acts of conversion, Plaintiffs

suffered significant damages, including but not limited to: financial loss exceeding $5,000,000

from the converted funds, impairment to business operations due to loss of business records and

data, and substantial costs incurred in efforts to recover the converted property and investigate

Defendants' actions.

        484.      Plaintiffs seek compensatory damages for the full value of the converted property,
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punitive damages due to the willful and malicious nature of Defendants’ actions, an order

compelling the return of all converted property, and such other relief as the Court deems just and

appropriate, including costs and attorney fees associated with the prosecution of this claim.

      COUNT VI – TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC
                          ADVANTAGE (DETAILED)
                                All Defendants

        485.     This claim arises from Defendants’ deliberate and wrongful interference with

Plaintiffs’ specific business relationships and opportunities, which would have resulted in

significant future economic benefits. The Defendants' actions were intended to disrupt the

Plaintiffs’ economic interests and to gain an unfair competitive advantage for themselves and

entities under their control.

        486.     Plaintiffs had legitimate expectations of maintaining and developing valuable

business relationships and contracts with third parties, including ongoing negotiations with

investors and business partners for potential contracts and collaborations that would have

significantly contributed to its revenue and growth. These opportunities included negotiations for

real estate developments, financing arrangements, and strategic alliances, as well as efforts to

maintain and expand its customer base.

        487.     Defendants, including R.G. Brownell and Mack, engaged in intentional and

wrongful conduct designed to interfere with Plaintiffs’ business relationships and economic

opportunities. The conduct encompassed making misrepresentations, as well as disseminating

false, disparaging, and defamatory statements that significantly undermined the trust and

reputation of the Plaintiffs. It further included establishing fraudulent websites to divert business

opportunities and offering misleading information during contract negotiations and contract

performance to disrupt Plaintiffs’ business dealings.

        488.     Defendants’ interference with Plaintiffs’ prospective economic relationships was

unjustified, malicious, and undertaken solely to harm Plaintiffs’ business interests and to secure

economic advantages for themselves and their controlled entities. Defendants acted without any

legitimate business reason and with knowledge of the probable disruption to Plaintiffs’ business

activities.

        489.     As a direct and proximate result of Defendants’ tortious interference with

Plaintiffs’ prospective economic advantage, Plaintiffs suffered substantial damages, including the

loss of business contracts and partnerships, a diminished market share, and harm to Plaintiffs’

reputations, making it more difficult to engage with potential business partners and investors in
                                                    92
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the future.

        490.    Plaintiffs seek compensatory damages for the loss of business opportunities,

punitive damages due to the willful and malicious nature of Defendants’ conduct, injunctive

relief to prevent further interference, and such other relief as the Court deems just and

appropriate, including attorney fees and costs associated with the prosecution of this claim.

                 COUNT VII – CONSTRUCTIVE FRAUDULENT TRANSFER
                        Endeavor Real Estate, Cerco, OP Highridge

        489.    This claim arises under applicable fraudulent transfer statutes, including the

Uniform Fraudulent Transfer Act (UFTA) as enacted in Illinois, Texas, or other relevant state

law, based on the premise that certain transfers made by Defendants were fraudulent as to

Plaintiff Alpha Carta because they were made by the transferor without receiving reasonably

equivalent value in return while the transferor was insolvent or which caused the transferor to

become insolvent.

       491.     Defendants, including Whinnery, R.G. Brownell, and Mack, engaged in several

  transfers of assets, including the sale of 340 acres of land in Austin, Texas (the Austin

  Property), owned by subsidiaries of Terra Carta known as the Highridge Development LLCs.

  This property was valued at over $78 million, yet it was sold for $39 million to Defendant OP

  Highridge, resulting in the insolvency of the Highridge Development LLCs and deepening the

  insolvency of Terra Carta and Green Sapphire.

       492.     In addition to the fraudulent transfer of the real property owned by the Highridge

  Development LLCs, Cicoski caused Terra Carta to execute and deliver an unconditional release

  and waiver of certain claims against Defendant Endeavor Real Estate and related parties (“the

  Release”).

       493.     Terra Carta was insolvent at the time of the granting of the Release or it became

  insolvent as a result of the granting of the Release.

       494.     At the time it granted the Release, Terra Carta possessed meritorious and valuable

  claims against Endeavor Real Estate and related parties, including Defendant Cerco arising out

  of and related to the development agreement between Terra Carta and Cerco dated January 2022.

       495.     Terra Carta received less than the equivalent value in exchange for granting the

  release.

       496.     At the time of the transfers, the High Ridge Development LLCs and the

  transferors became insolvent or were left with unreasonably small capital to continue their

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  business operations. The transfers caused a significant depletion of assets, directly impairing

  the Plaintiffs’ ability to recover the amounts owed.

       497.     Plaintiff Alpha Carta seeks an order avoiding the fraudulent transfers of real

  property and the Release, and directing that the transferred assets or their equivalent value in

  money be recovered by Alpha Carta.

                  COUNT VIII – INTENTIONALLY FRAUDULENT TRANSFER

                             Endeavor Real Estate, Cerco, OP Highridge

       496.    This claim arises under applicable fraudulent transfer statutes, including the Uniform

Fraudulent Transfer Act (UFTA) or other relevant state law, based on the premise that Defendants

were the recipients of certain transfers of interest and property that were made with the actual intent

to hinder, delay, or defraud Alpha Carta in its capacity as a creditor of the transferor.

       498.     Defendants, including Whinnery, R.G. Brownell, Mack, and others, engaged in a

deliberate scheme to transfer assets with the intent to defraud Plaintiffs. These actions included

executing a sham Purchase and Sale Agreement to sell 340 acres of land in Austin, Texas (the

Austin Property), to a shell company, creating counterfeit earnest money deposits to

misappropriate funds, and misrepresenting Plaintiffs’ business to third parties to facilitate the sale

of the property below its appraised value.

       499.     Defendants’ actions were taken with the actual intent to hinder, delay, or defraud

Plaintiffs by transferring assets in a manner that concealed the true nature of the transactions,

obstructed Plaintiffs’ ability to recover its claims, and enriched Defendants at Plaintiffs’ expense.

Defendants employed a pattern of concealment through the use of shell entities and false

documents, timing their actions to prevent Plaintiffs from recovering their rightful assets.

       500.     Defendants Cero Development, Endeavor Real Estate, and OP Highridge

knowingly participated in the fraudulent transfer, but the transferors received the real property

from the Highridge Development LLCs and the release with actual intent to hinder, delay, or

defraud Alpha Carta in its capacity as creditor of Green Sapphire and Terra Carta.

       501.     Plaintiffs seek an order voiding the fraudulent transfers and restoring the assets or

their equivalent value, the imposition of a constructive trust over the fraudulently transferred

assets, compensatory and punitive damages due to the willful and malicious nature of Defendants'

actions, injunctive relief to prevent further transfers, and such other relief as the Court deems just

and appropriate, including costs and attorney fees.

                       COUNT IX – COMMERCIAL DISPARAGEMENT
                                                      94
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                               Whinnery, R.G. Brownell, Smith, Looper

        502.     Plaintiff incorporates by reference each and every preceding paragraph as though

fully set forth herein.

        503.     This claim arises under Illinois law, which recognizes commercial disparagement

(also known as trade libel) as a cause of action to remedy harm caused by false statements made

about a business or an individual’s business reputation with the intent to damage their economic

interests and standing in the professional community. The elements of commercial disparagement

include:

                          a.    Publication of disparaging statements to a third party;

                          b.    Falsity of the statements made;

                          c.    Malice or Negligence by the Defendant in making the statements

                                without regard for their truthfulness; and

                          d.    Special Damages suffered by the Plaintiff as a result of the

                                disparagement.

        504.     Defendants Looper and Whinnery, along with other co-conspirators, engaged in

the publication of false and disparaging statements about Plaintiff Wolfe to third parties through

multiple channels:

                          a.    The Filing of the Susan Essex Complaint: In August 2022, an

                                anonymous individual under the alias “Susan Essex” filed a

                                complaint in DuPage County, Illinois against Plaintiff Wolfe. This

                                complaint contained baseless, scandalous accusations, including

                                allegations of criminal activity and adultery, calculated to damage

                                Plaintiff Wolfe's personal and professional reputation and collect an

                                unlawful debt.

                          b.    Website Publications: In October 2023, these false allegations were

                                republished on the First Website, registered on September 11,

                                2023. This website was specifically designed to defame, harass,

                                and “dox” Plaintiff Wolfe, publishing personal information,

                                including his name, telephone number, home address, and

                                employment details, all without consent.

        505.     The statements made by Defendants Whinnery, R.G. Brownell, Smith, and

Looper were entirely false and unsubstantiated, including:
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                      a.      Fabricated Allegations: The Susan Essex Complaint, filed by

                              Defendants under the false name “Susan Essex,” alleged

                              Plaintiff Wolfe engaged in criminal conduct and adultery.

                              These allegations were baseless, intended solely to malign

                              Plaintiff Wolfe’s reputation, and had no factual support.

                      b.      Malicious Intent in Content Creation: The First Website,

                              followed by the Second Website in January 2024, republished

                              these false allegations in detail, adding inflammatory language

                              and comments designed to incite harassment and harm against

                              Plaintiff Wolfe.

       506.     Defendants Whinnery, R.G. Brownell, Smith, and Looper acted with actual

malice, intending to harm Plaintiff Wolfe’s professional reputation and standing, or, at

minimum, demonstrated a reckless disregard for the truth:

                      a.      Anonymous and Deceptive Filings: The Susan Essex Complaint was

                              filed using a fictitious address linked to a women’s shelter, a non-

                              functional phone number, and a fake email address. The investigation

                              linked these to Defendants Looper and Whinnery, showing

                              deliberate concealment of their identities to avoid accountability.

                      b.      Coordination Between Filing and Website: Investigation revealed

                              that the IP address and phone number associated with the Susan

                              Essex Complaint were also used to create and maintain the First

                              Website, linking Defendants Looper and Whinnery to both the

                              defamatory filing and its publication.

                      c.      Bad Faith in Republishing False Claims: In January 2024, after the

                              court sealed the Susan Essex Complaint, Defendants Looper and

                              Whinnery created the Second Website, hosted internationally, to

                              evade jurisdictional oversight and continue their defamatory

                              campaign against Plaintiff Wolfe.

       507.     As a direct and proximate result of Defendants Whinnery, R.G. Brownell, Smith,

and Looper’s false statements and disparaging publications, Plaintiff Wolfe suffered substantial and

measurable harm:

                      a.      Damage to Professional Reputation: The repeated publication of
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                             defamatory content and Plaintiff Wolfe’s association with alleged

                             criminal conduct severely harmed his standing within the Family

                             Office Trust Structure, affecting his role as Trustee and Director.

                     b.      Loss of Business Relationships: The defamatory publications

                             impacted Plaintiff Wolfe’s professional relationships with banks,

                             lenders, and other business partners, who viewed the fabricated

                             allegations as credible and damaging, leading to the loss of

                             business opportunities and harm to his professional network.

                     c.      Mental Distress and Safety Concerns: The websites, through

                             doxing tactics, encouraged the public to contact, harass, and

                             potentially harm Plaintiff Wolfe, exposing him and his family to

                             serious security risks and psychological distress.

       508.    Defendants Looper and Whinnery are directly implicated in this disparagement

scheme based on the following evidence:

                     a.      The IP address and phone number used to file the Susan Essex

                             Complaint were traced to the same source as the First Website’s

                             registration.

                     a.      Defendant Looper’s former residence was listed as the registration

                             address for the First Website, and investigation revealed that

                             Defendant Whinnery provided the email address used in connection

                             with filing the Susan Essex Complaint.

                     b.      Following Plaintiff Wolfe’s subpoena, records produced by the

                             website registrar and email host confirmed Defendants’ association

                             with the alias “David Xanthan,” used to register the First Website.

       509.    Plaintiff Wolfe respectfully requests that the Court award:

                     a.      Compensatory damages for the economic harm and reputational

                             damage caused by Defendants' false statements and defamatory

                             publications;

                     b.      Punitive damages to deter Defendants Whinnery, R.G. Brownell,

                             Smith, and Looper from engaging in similar harmful and malicious

                             conduct in the future;

                     c.      Injunctive relief to prevent further publication of defamatory
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                               statements by Defendants; and;

                       d.      Any additional relief deemed just and proper by the Court.


                 COUNT X – INTENTIONALLY FRAUDULENT TRANSFER
                  Against Holden, Matthews, Salazar, Tailwind, Proton Green

       510.     Plaintiff Alpha Carta, a secured creditor of Plaintiff Breakers, brings this claim for

the avoidance of intentional fraudulent transfer under applicable Illinois law, alleging that

Defendants Holden, Matthews, Salazar, Tailwind, and Proton Green orchestrated a scheme to

fraudulently transfer assets from Breakers with the actual intent to hinder, delay, or defraud Alpha

Carta in collecting on its $3.5 million secured claim.

       511.     As of July 5, 2023, Alpha Carta held a $3.5 million secured claim against

Breakers. Shortly thereafter, Defendants Matthews and Holden initiated a series of asset transfers

designed to divert Breakers’ valuable assets and funds beyond Alpha Carta’s reach. Defendant

Holden, Matthews, Salazar, Tailwind, and Proton Green’s actions were strategically aimed at

depleting Breakers’ assets to frustrate Alpha Carta’s efforts to recover its debt, with key elements

of this scheme facilitated by Proton Green, Smith, Mack, R.G. Brownell, Salazar, and Looper.

       512.     The facts evidencing Defendants’ actual intent to hinder, delay, or defraud Alpha

Carta include the following. Around June 23, 2023, Cicoski manipulated or coerced Breakers’ sole

director, Wolfe, into appointing him as the new sole director. This shift in control provided Cicoski

with direct authority over Breakers’ assets, enabling him to orchestrate transfers intended to impair

Alpha Carta’s secured position. This change occurred shortly before Alpha Carta’s $3.5 million

payment to Matthews and Holden in satisfaction of Breakers’ antecedent debt, making Alpha Carta

a secured creditor by means of subrogation under applicable Cayman Islands law.

       513.     The facts demonstrating Defendant Holden, Matthews, Salazar, Tailwind, and

Proton Green’s actual intent to hinder, delay, or defraud Alpha Carta include the following. On or

around June 23, 2023, a shift in Breakers’ management occurred when Wolfe, the sole director,

appointed a new director, effectively altering the control over Breakers' assets. This transition

facilitated decisions that enabled asset transfers intentionally designed to destroy the value of

Alpha Carta’s subrogation rights. This change in directorship took place shortly before Alpha Carta

made a $3.5 million payment to Matthews and Holden, which satisfied Breakers’ antecedent debt

and established Alpha Carta as a secured creditor through subrogation under applicable Cayman

Islands law.

       514.     Defendants Holden, Matthews, Salazar, Tailwind, and Proton Green orchestrated a
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fraudulent loan and diversion scheme, involving a $2.9 million “loan” ostensibly made to

Breakers. This transaction, dated around August 19, 2023, was part of a coordinated effort among

Smith, R.G. Brownell, Mack, Looper, and Salazar. The $2.9 million was received by Mack, who

quickly redirected it to or for the benefit of Proton Green, thereby stripping Breakers of the

resources necessary to satisfy its obligations to Alpha Carta. Smith facilitated this fraudulent

transfer by issuing wire instructions to Matthews and Holden, directing them to move the funds

into Mack's IOLTA account. Mack subsequently distributed these funds by transferring $750,000

to Salazar, approximately $200,000 to Tailwind, and $2 million to or for the benefit of Proton

Green, effectively diverting Breakers’ funds to these Defendants.

        515.     In August 2023, Breakers fraudulently granted charges on their real property in the

Cayman Islands to Matthews and Holden to secure the $2.9 million loan, with the specific intent of

depriving Alpha Carta of the value of its first priority charge obtained by subrogation on July 5,

2023.

        516.     Defendants Holden, Matthews, Salazar, Tailwind, and Proton Green systematically

depleted Alpha Carta of valuable assets by imposing encumbrances and transferring interests in

critical properties to affiliated entities, thus demonstrating multiple “badges of fraud” commonly

recognized in fraudulent transfer cases. One such example is Defendant Holden, Matthews,

Salazar, Tailwind, and Proton Green’s imposition of a lease on Breakers’ Buda Property, which

obstructed Alpha Carta’s ability to access or liquidate this asset to satisfy its claim. In addition,

Defendants compelled Green Sapphire to pledge its shares in Florida Access and directed Florida

Access to mortgage its St. Barth Property, thereby impairing Alpha Carta’s collateral and

diminishing Alpha Carta’s recovery prospects. Furthermore, additional entities linked to Breakers,

were encumbered, further diminishing Alpha Carta’s ability to recover on its debt through related

entities.

        517.     Breakers, with clear, premeditated intent to hinder, delay, or defraud Alpha Carta

transferred charges on its real property to Matthews and Holden. Its actions were calculated to

place the real property beyond Alpha Carta’s reach as a subrogor, deliberately impairing the value

of Alpha Carta’s subrogation rights.

        518.     The scheme exhibits multiple well-recognized “badges of fraud,” serving as

circumstantial evidence of Breakers’ actual intent to hinder, delay, or defraud Alpha Carta as a

creditor by subrogation:

                       a.      Breakers transferred assets to Matthews and Holden without
                                                    99
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                                 any legitimate business justification.

                         b.      This transfer was deliberately concealed from Alpha Carta.

                         c.      At the time of the transfer, Breakers was either already

                                 insolvent or rendered insolvent as a result.

                         d.      Breakers did not receive any value in return for the transfer.


          519.     As part of the racketeering enterprise, Defendants imposed encumbrances on

Breakers’ property to obstruct Alpha Carta’s ability to collect and liquidate Breakers’ assets,

thereby satisfying its secured claim. This obstruction further impaired Alpha Carta’s cash flow,

limiting its ability to finance litigation and preserve its legal rights.

          520.     Under Cicoski’s direction, Defendants Matthews and Holden diverted Breakers’

real estate and monetary assets through nominal loans, which were subsequently redirected to

parties affiliated with the racketeering enterprise, thereby obstructing Alpha Carta’s access to these

assets.

          521.     Through these actions, Defendants directly obstructed Alpha Carta’s ability to

collect on its claim by depriving it of access to assets essential to recovery, thereby impairing

Alpha Carta’s position as a secured creditor.

          522.     Plaintiff Alpha Carta seeks the following relief. Alpha Carta seeks a court order

voiding the fraudulent transfers and encumbrances placed on Breakers’ assets, restoring those

assets to Breakers to satisfy Alpha Carta’s secured claim. Additionally, Alpha Carta seeks

compensatory damages equal to the value of the fraudulently transferred and encumbered assets,

along with any additional relief deemed just and proper by the Court.

             COUNT XI – ILLINOIS TRADE SECRETS ACT MISAPPROPRIATION
                                        Against All Defendants
          523.  Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

  set forth herein.

          524.     Plaintiffs have confidential and proprietary information that constitutes trade

  secrets under the Illinois Trade Secrets Act, 75 ILCS 1065 et. seq. (“ITSA”). Plaintiffs possess

  highly sensitive and proprietary information, including business strategies, financial forecasts,

  and operational processes, all of which qualify as trade secrets under the Illinois Trade Secrets

  Act. This information, central to Plaintiffs’ competitive advantage in the Illinois market, was

  safeguarded through stringent internal policies and access restrictions.

          525.     Defendants, including Smith, unlawfully accessed, disclosed, and misused

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Plaintiffs' trade secrets for personal and competitive gain, leveraging positions within the

corporate structure to gain unauthorized access. Smith, in particular, exploited his prior fiduciary

role as Chief Financial Officer and director within entities of the Family Office Trust Structure

to facilitate this misappropriation. His actions involved the dissemination of sensitive business

strategies, financial projections, and operational processes for the benefit of Defendant

Rockwater and related entities, violating both contractual and statutory obligations.

    526.      Smith's unauthorized use and disclosure of these trade secrets enabled the

association-in-fact-criminal enterprise to replicate Plaintiffs' business methodologies to loot

assets from the Family Office Trust Structure causing substantial business losses.

    527.      Plaintiffs have undertaken reasonable efforts and instituted reasonable precautions to

protect the confidentiality of its proprietary, confidential and trade secret information.

    528.      Defendants have misappropriated trade secrets in violation of ITSA. Defendants’

misappropriation has endangered Plaintiffs and exposes Plaintiffs to immediate and irreparable

harm for which there is no adequate remedy at law.

    529.      Defendants’ misappropriation has also caused and will continue to cause Plaintiffs to

suffer monetary damages and legal costs to be determined at trial.

                    COUNT XII – DEFALCATION IN A FIDUCIARY CAPACITY
                                      Against Smith

    530.      Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

    531.      At all relevant times, Defendant Smith held fiduciary roles by virtue of his

positions within entities related to Plaintiffs, including as a director and financial overseer,

thereby owing fiduciary duties of loyalty, care, and good faith to the Plaintiffs.

    532.      As a fiduciary, Smith had a legal obligation to act in the best interest of the

Plaintiffs, manage assets prudently, and avoid conflicts of interest.

    533.      Smith breached his fiduciary duties by engaging in defalcation, specifically by:

                      a.     Facilitating and enabling the misappropriation of substantial trust

                             assets, including redirecting funds for unauthorized use;

                      b.     Manipulating and orchestrating high-interest loan agreements

                             structured to benefit him personally while jeopardizing the Plaintiffs’

                             financial standing;

                      c.     Falsifying or backdating documentation to legitimize unauthorized

                                                   101
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                            transactions and conceal misappropriated funds; and

                     d.     Engaging in covert agreements with creditors of Alpha Carta and

                            Breakers to further misappropriate assets and compromise

                            Plaintiffs' interests.

    534.      Smith’s actions constitute defalcation, involving willful and intentional

mismanagement, concealment, and unauthorized diversion of assets which were under his

fiduciary control.

    535.      As a direct and proximate result of Smith’s breaches of fiduciary duty and acts of

defalcation, Plaintiffs have suffered substantial damages, including financial losses, erosion of

asset value, and lost business opportunities.

    536.      Plaintiffs are entitled to compensatory damages in an amount to be determined at

trial, representing the financial harm caused by Smith’s defalcation.

    537.      Plaintiffs also seek punitive damages due to Smith’s willful and intentional breach

of fiduciary duties, to punish Smith and deter similar future misconduct.

                                     COUNT XIII – FRAUD
                                    Yorkville v. R.G. Brownell
    538.      Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

    539.      R.G. Brownell knowingly made numerous false statements to Yorkville including,

but not limited to, the following:

                     a.     That Kissa was a potential buyer of the Hale Property;

                     b.     That Weber Group Management reported asbestos, lead-based

                            paint, and mold requiring remediation at the Hale Property; and,

                     c.     That remediation of the alleged asbestos at the Hale Property would

                            cost nearly $400,000.00.

    540.      These intentional misrepresentations by R.G. Brownell were made with the intent

to induce Yorkville to act in reliance on the truth of the matters asserted:

                     a.     As part of a calculated scheme to deprive Yorkville of its assets

                            and resources, constituting a predicate act under the Racketeer

                            Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. §

                            1961(1);

                     b.     To facilitate and conceal the broader enterprise’s goal of creating

                            problematic financial obligations for Plaintiff Yorkville,
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                                  demonstrating the enterprise's pattern of racketeering activity;

                          c.      To generate additional controversy that could be weaponized and

                                  publicized, furthering the objectives of the enterprise and causing

                                  reputational damage to Yorkville and its affiliated entities in the

                                  Family Office Trust Structure.

        541.        Yorkville reasonably relied on R.G. Brownell’s intentional misrepresentations of

material fact, including but not limited to the misrepresentation that Kissa had executed the PSA

and was ready, willing, and able to purchase the Hale Property for a price of $5 million as set forth

in the PSA.

        542.        As a result of its reliance on these intentional misrepresentations of material facts

by R.G. Brownell, Yorkville suffered significant damages. These include expenses incurred on the

fabricated Kissa purchase and a debt obligation under the agreement to buy out Armstrong’s

equity interest in the Hale Property at an inflated price. This debt obligation exemplifies the harm

and financial loss that constitute injury due to the RICO enterprise, emphasizing the proximate

cause between R.G. Brownell’s fraudulent acts and the damages suffered by Yorkville.

        543.        The foregoing actions of Defendant were and continue to be willful, wanton,

intentional, reckless, and/or done in bad faith in violation of Plaintiff’s rights. These acts align

with the pattern of predicate activities outlined in the broader RICO enterprise, demonstrating

continuity, coordination, and the intent to maintain the enterprise’s unlawful financial advantage.

        544.        The fraudulent acts by Defendant R.G. Brownell were part of an ongoing scheme

to defraud and conceal, supporting the elements of racketeering by showing how such acts

facilitated the enterprise’s operations. The coordination of these misrepresentations with other acts

of fraud and financial manipulation within the RICO framework underscores the interconnected

nature of the predicate acts.

                     COUNT XIV – AIDING AND ABETTING FRAUD
      Yorkville v. Mack, Whinnery, Sasaginnigak f/k/a Overall Builders, & R.J. Brownell

        545.        Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

        546.        At all relevant times herein, Defendants Whinnery, Sasaginnigak, and R.J.

Brownell had actual knowledge that R.G. Brownell had engaged in, or was intending to engage in,

a scheme to misrepresent material facts regarding the intended purchase of the Hale Property by

Kissa. This scheme included false representations about the asbestos-related property defect status,

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purported remediation needs, and inflated remediation costs, all intended to deceive Plaintiff

Yorkville and further the broader racketeering enterprise.

        547.        Defendant Mack knew, or was willfully blind to the fact, that the documents

concerning the property defects and remediation were fraudulent. He substantially assisted the

RICO enterprise by transmitting these fabricated documents and sending the "critical dates"

email, thereby facilitating R.G. Brownell's scheme to misappropriate funds from Yorkville

through deceptive and fraudulent means.

        548.        Defendants Whinnery, Overall Builders, Mack, and R.J. Brownell provided

substantial and knowing assistance in R.G. Brownell's fraud and the creation of the fictitious

purchase arrangement involving the Hale Property. Their actions were integral to advancing the

racketeering scheme, directly and proximately causing Plaintiff Yorkville to suffer significant

financial and reputational harm, as alleged above. These defendants are therefore jointly and

severally liable with R.G. Brownell for the damages incurred as a result of the fraudulent

enterprise.

        549.        Defendants Mack, Whinnery, Overall Builders, and R.J. Brownell knowingly and

intentionally assisted R.G. Brownell's racketeering enterprise, engaging in conduct that was

vexatious, deliberate, and calculated to harm Plaintiff Yorkville. This aiding and abetting directly

contributed to the enterprise's broader scheme to defraud and obscure the true nature of the Hale

Property transaction, all in furtherance of the RICO enterprise's illicit objectives.

                     COUNT XV – CONSPIRACY TO COMMIT FRAUD
   Yorkville v. R.G. Brownell, Mack, Whinnery, Sasaginnigak, f/k/a Overall Builders, & R.
                                             J. Brownell
      550.     Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

        551.        Defendants R.G. Brownell, Mack, Whinnery, Sasaginnigak, and R.J. Brownell

knowingly and voluntarily entered into a scheme and agreement to engage in a combination of

unlawful acts and misconduct, as described herein, including, among other acts and omissions,

fraudulent conduct regarding the Hale Property owned by Plaintiff. These acts constitute predicate

acts of wire and mail fraud under 18 U.S.C. § 1343, which fall within the scope of racketeering

activities prohibited by 18 U.S.C. § 1961(1).

        552.        The intent and purpose of the conspiracy, and the underlying combination of

unlawful acts and misconduct committed by Defendants R.G. Brownell, Mack, Whinnery,

Sasaginnigak, and R.J. Brownell, was to operate as a structured and organized enterprise with the

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common goals of (a) driving down the perceived market price of the Hale Property for subsequent

purchase, (b) generating publicized litigation to damage reputations, and (c) placing additional debt

obligations on Yorkville to destabilize its financial standing. Defendants R.G. Brownell, Mack,

Whinnery, Sasaginnigak, and R.J. Brownell accomplished these goals by repeatedly executing

coordinated fraudulent acts, illustrating a "pattern of racketeering" activity as defined under 18

U.S.C. § 1961(5).

        553.     Each of Defendants R.G. Brownell, Mack, Whinnery, Sasaginnigak, and R.J.

Brownell played a crucial role in furthering the enterprise's objectives, with each understanding

and accepting the scheme to achieve the shared goal of financial and reputational gain through

fraudulent means. This coordination demonstrates that Defendants R.G. Brownell, Mack,

Whinnery, Sasaginnigak, and R.J. Brownell knowingly participated in an enterprise that required

collaboration for mutual benefit.

        554.     Defendants R.G. Brownell, Mack, Whinnery, Sasaginnigak, and R.J. Brownell

had a financial motive and incentive to accomplish the foregoing conspiracy. Their actions

included overt predicate acts involving wire and mail fraud to facilitate the coordinated

objectives, constituting a pattern of related acts that are causally connected to Plaintiff's injuries.

        555.     Defendants R.G. Brownell, Mack, Whinnery, Sasaginnigak, and R.J. Brownell

committed numerous overt acts in furtherance of their conspiracy, including but not limited to the

creation and delivery of the fictitious Purchase and Sale Agreement ostensibly signed by Kissa to

Yorkville for signature in early October 2022 by Ryan Cicoski as its manager, and the subsequent

fabrication of the counterfeit report stating that hazardous asbestos was present in the Hale

Property. These acts were intended to create market distrust and devalue the property unlawfully.

        556.     The enterprise orchestrated by the Defendants R.G. Brownell, Mack, Whinnery,

Sasaginnigak, and R.J. Brownell caused direct and proximate harm to Plaintiff. The counterfeit asbestos

report, fraudulent Purchase and Sale Agreement, and publicized litigation caused unwarranted devaluation

of Yorkville's assets and increased debt obligations. These coordinated efforts injured Plaintiff's

financial standing and reputation, directly aligning with RICO's requirement of injury by reason of

a racketeering violation under 18 U.S.C. § 1964(c).

        557.     This conspiracy to commit fraud involved a structured enterprise where

Defendants R.G. Brownell, Mack, Whinnery, Sasaginnigak, and R.J. Brownell each played a

distinct role, collaborating to harm Plaintiffs through a continuous pattern of racketeering

activity, as further evidenced by the use of corporate entities such as Sasaginnigak, f/k/a Overall
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Builders, to obscure fraudulent transactions and misrepresentations, thus frustrating Plaintiff

Yorkville's ability to recover assets and to obtain market value for its properties.

                              COUNT XVI – ABUSE OF PROCESS
                        Wolfe v. R.G. Brownell, Whinnery, Looper, & Does

       558.     Plaintiffs reallege and reincorporate each preceding paragraph as if specifically set

forth herein.

       559.     Defendants R.G. Brownell, Whinnery, Looper, and Does engaged in an abuse of

legal process by filing the Susan Essex Complaint with an ulterior motive, not to resolve a

legitimate legal dispute, but to “dox,” intimidate, defame, and economically harm Plaintiff Wolfe.

This conduct served to advance Defendants R.G. Brownell, Whinnery, Looper, and Does

overarching scheme under the Racketeer Influenced and Corrupt Organizations Act (RICO), 18

U.S.C. § 1962(c), to injure Plaintiff’s professional and economic standing, interfere with his

business relationships, and consolidate Defendants R.G. Brownell, Whinnery, Looper, and Does

control within the Family Office Trust Structure. The misuse of legal proceedings as an instrument

of harassment and extortion, rather than for a valid breach of contract claim, is evidenced by,

without limitation:

                       a.      the scandalous and inflammatory nature of the allegations in the

                               Susan Essex Complaint, specifically designed to humiliate and

                               harm Plaintiff Wolfe’s reputation in both personal and

                               professional circles;

                       b.      Defendants R.G. Brownell, Whinnery, Looper, and Does’ filing of

                               the Susan Essex Complaint under an assumed name and with

                               knowingly false allegations, intending to mislead the Court and

                               Plaintiff Wolfe as to the origin and credibility of the accusations,

                               thereby obstructing justice—a predicate act under RICO;

                       c.      Defendants R.G. Brownell, Whinnery, Looper, and Does’ use of

                               false contact information in the filing, including fictitious

                               addresses and disconnected phone numbers, further evidencing

                               their bad faith and fraudulent intentions;

                       d.      Defendants R.G. Brownell, Whinnery, Looper, and Does’ complete

                               disinterest and lack of diligence in prosecuting the claim,

                               abandoning the case immediately after filing, showing that the

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                              action was intended solely to damage Plaintiff’s reputation rather

                              than pursue a legitimate legal remedy;

                       e.     Defendants R.G. Brownell, Whinnery, Looper, and Does’

                              participation in a coordinated conspiracy involving breaches of

                              fiduciary duties, digital harassment, and fraud as described herein, in

                              furtherance of their racketeering scheme and as predicate acts under

                              18 U.S.C. § 1961(1);

                       f.     Defendants R.G. Brownell, Whinnery, Looper, and Does’

                              republication of the Susan Essex Complaint—including

                              republication on a Second Website after a court order sealing the

                              case—in a blatant violation of judicial authority. This republication

                              was intended to damage Plaintiff Wolfe’s reputation and

                              economically extort him by tarnishing his professional image across

                              state lines, impacting Plaintiff Wolfe’s business interests in interstate

                              and foreign commerce.

       560.     Defendants R.G. Brownell, Whinnery, Looper, and Does’ filing and subsequent

actions concerning the Susan Essex Complaint were intended to exploit the legal process not for

the legitimate prosecution of any claim but as a tool of harassment, extortion, and defamation,

causing Plaintiff Wolfe significant economic harm, emotional distress, and reputational damage.

This abuse of process aligns with the Defendants' broader pattern of racketeering activity,

leveraging litigation as a weapon to further their control over the Family Office Trust Structure,

and constitutes an unlawful predicate act in violation of 18 U.S.C. § 1962.

       561.     Indeed, the Court’s processes themselves have been weaponized as a mechanism

through which Defendants R.G. Brownell, Whinnery, Looper, and Does sought to orchestrate

character assassination, defame Plaintiff with extreme malice and prejudice, and disrupt his

business relationships, far exceeding the legitimate scope of judicial proceedings.

       562.     As a direct and proximate result of Defendants R.G. Brownell, Whinnery, Looper,

and Does’ abuse of process, Plaintiff has suffered, and will continue to suffer, substantial damages,

including but not limited to loss of business opportunities, reputational harm, and legal expenses, in

an amount to be proven at trial.

       563.     Plaintiff Wolfe further seeks treble damages under RICO, injunctive relief, and

punitive damages due to the malicious and calculated abuse of process executed by Defendants
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        R.G. Brownell, Whinnery, Looper, and Does, who conspired to manipulate the legal system

in furtherance of their fraudulent and racketeering enterprise.

                            COUNT XVII – MALICIOUS PROSECUTION
                           Wolfe v. R.G. Brownell, Whinnery, Looper, & Does

        564.        Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

        565.        Defendants instituted the Susan Essex Complaint as alleged herein and as

evidenced by their publication of the Susan Essex Complaint—which was entirely obscure and had

not even been served on Plaintiff Wolfe, let alone litigated in any fashion—on the First Website.

The publication occurred shortly after the complaint’s filing and before any legal action had been

taken to notify or serve Plaintiff Wolfe, underscoring Defendants R.G. Brownell, Whinnery,

Looper, and Does’ lack of intent to prosecute the complaint in good faith.

        566.        Defendants R.G. Brownell, Whinnery, Looper, and Does lacked probable cause

for the institution of the Susan Essex Complaint as alleged herein. This lack of probable cause is

evidenced by the fact that Defendants R.G. Brownell, Whinnery, Looper, and Does:

        a.          Filed the Susan Essex Complaint under a false name, containing allegations that

were knowingly fabricated and not grounded in fact or existing law, in furtherance of their

malicious scheme;

        b.          Used false contact information in filing the Susan Essex Complaint with the court,

including fictitious addresses and disconnected phone numbers, further obstructing justice—a

predicate act under RICO;

        c.          Demonstrated a lack of genuine interest or intent to prosecute the claims alleged

in the Susan Essex Complaint, abandoning the case immediately after filing, which highlights the

ulterior motives behind the Susan Essex Complaint’s initiation;

        d.          Created the First and Second Websites, specifically dedicated to defaming,

harassing, and damaging Plaintiff Wolfe’s reputation. These websites served as tools to republish

the defamatory content of the Susan Essex Complaint in blatant violation of court orders, further

extending the Defendants’ malicious scheme.

        567.        Defendants R.G. Brownell, Whinnery, Looper, and Does acted with malice in

instituting the Susan Essex Complaint as alleged herein, evidenced by the following:

        a.          Defendants R.G. Brownell, Whinnery, Looper, and Does attempted to enforce a

claim under an unlawful contract and then immediately abandoned the claim without pursuing any

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legitimate resolution, instead using the Susan Essex Complaint as a pretext for public defamation

through republication on the First Website;

        b.          After the Susan Essex Complaint was removed from the First Website in

compliance with the Court’s Order sealing the case, Defendants R.G. Brownell, Whinnery,

Looper, and Does registered and launched the Second Website in Lithuania to republish the Susan

Essex Complaint in direct, knowing, and contumacious violation of the Court’s November 27,

2023 Order sealing the case. This republication was intended to damage Plaintiff Wolfe’s personal

and professional reputation across multiple jurisdictions, impacting his business interests in

interstate and foreign commerce.

        568.        The Susan Essex case terminated in Plaintiff Wolfe’s favor when it was dismissed

on January 3, 2024, due to Defendants R.G. Brownell, Whinnery, Looper, and Does’ abandonment

and failure to prosecute, further evidencing that the Susan Essex Complaint was never intended to

serve a legitimate legal purpose but was rather a vehicle for extortion, harassment and defamation

in furtherance of Defendants’ RICO enterprise.

        569.        As a direct and proximate result of Defendants R.G. Brownell, Whinnery, Looper,

and Does’ malicious prosecution, Plaintiff Wolfe has suffered special injury well beyond the

common incidents of most lawsuits. Defendants R.G. Brownell, Whinnery, Looper, and Does’

institution of the Susan Essex Complaint was intended not to resolve a legal dispute but to defame,

damage, and interfere with Plaintiff Wolfe’s professional and personal life. This malicious

prosecution was part of the Defendants’ broader racketeering scheme, involving coordinated

harassment, reputational damage, and interference with the Plaintiffs’ economic interests and

business relationships.

                                    COUNT XVIII – DEFAMATION
                           Wolfe v. R.G. Brownell, Whinnery, Looper, & Does

        570.        Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

        571.        Defendants R.G. Brownell, Whinnery, Looper, and Does’ malicious and

intentional defamation of Plaintiff Wolfe through the filing, publication, and transmission of the

Susan Essex Complaint, as well as subsequent republication on the Websites, constitutes

defamation per se, as the allegations therein impute to Plaintiff Wolfe the commission of adultery,

the commission of a crime, and an inability to perform and/or a lack of integrity in the discharge of

his employment duties. These defamatory statements were made with the intent to irreparably

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damage Plaintiff Wolfe’s personal and professional reputation.

        572.        Defendants R.G. Brownell, Whinnery, Looper, and Does made the foregoing

defamatory statements with knowledge of their falsity and with actual malice, justifying an award

of punitive damages. Defendants R.G. Brownell, Whinnery, Looper, and Does, as the individuals

responsible for filing the Susan Essex Complaint, knew Plaintiff Wolfe had never interacted with

“Susan Essex” and had never engaged in the conduct they alleged. The defamatory statements were

made as part of Defendants’ ongoing scheme to advance their racketeering enterprise under the

Racketeer Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. § 1962(c), by engaging in

a coordinated effort to discredit Plaintiff Wolfe, interfere with his business relationships, and

undermine his position within the Family Office Trust Structure.

        573.        Defendants R.G. Brownell, Whinnery, Looper, and Does’ acts of defamation,

including their republication of the Susan Essex Complaint on the Second Website in violation of a

court order sealing the case, demonstrate a clear intent to amplify the reputational harm to Plaintiff

Wolfe and were executed as part of a pattern of racketeering activity. The use of digital platforms

to republish these false allegations also constitutes predicate acts of wire fraud under 18 U.S.C. §

1343, as Defendants R.G. Brownell, Whinnery, Looper, and Does transmitted defamatory

statements across state lines and international boundaries, seeking to harm Plaintiff Wolfe’s

economic and professional standing on a wide scale.

                                  COUNT XIX – DISPARAGEMENT
                           Wolfe v. R.G. Brownell, Whinnery, Looper, & Does

        574.        Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

        575.        Defendants R.G. Brownell, Whinnery, Looper, and Does published false and

demeaning statements regarding the quality of Plaintiff Wolfe’s professional services on the

Websites, in furtherance of the conspiracy, breaches of fiduciary duties, and fraud as alleged

herein. These statements were made as part of Defendants R.G. Brownell, Whinnery, Looper, and

Does’ racketeering enterprise, with the intent to damage Plaintiff Wolfe’s reputation and

economic interests within the Family Office Trust Structure.

        576.        Upon information and belief, Defendants R.G. Brownell, Whinnery, Looper, and

Does made the aforesaid false and demeaning statements in an effort to influence the public

visiting the Websites not to engage Plaintiff Wolfe’s professional services due to Plaintiff Wolfe’s

alleged lack of professional competency and integrity. Defendants R.G. Brownell, Whinnery,

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Looper, and Does sought to create a false crisis of solvency and marketability relating to Plaintiff

Wolfe, intending to harm Plaintiff Wolfe and the entities in the Family Office Trust Structure. This

conduct furthered Defendants’ RICO enterprise by inflicting economic harm through a pattern of

disparaging statements transmitted across state and international lines, constituting predicate acts

of wire fraud under 18 U.S.C. § 1343.

        577.        Defendants R.G. Brownell, Whinnery, Looper, and Does made the aforesaid false

and demeaning statements with malice, as evidenced by the fact that Defendants R.G. Brownell,

Whinnery, Looper, and Does have no known connection to or experience with the transactions

they disparaged. Rather, Defendants R.G. Brownell, Whinnery, Looper, and Does acted in

furtherance of the conspiracy, breaches of fiduciary duties, and fraud described herein, and

therefore made the statements with, at minimum, conscious disregard of whether the statements

were true or false. This disparagement was intended to disrupt Plaintiff Wolfe’s business

relationships and economic standing in furtherance of Defendants’ racketeering scheme.

        578.        As a direct and proximate result of Defendants R.G. Brownell, Whinnery, Looper,

and Does’ disparagement, Plaintiff Wolfe has suffered, and will continue to suffer, damages in an

amount to be proven at trial.

      COUNT XX – INVASION OF PRIVACY; PUBLIC DISCLOSURE OF PRIVATE
                                      FACTS
                  Wolfe v. R.G. Brownell, Whinnery, Looper, & Does

        579.        Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

        580.        Defendants R.G. Brownell, Whinnery, Looper, and Does gave unwarranted

publicity to private facts concerning Plaintiff Wolfe by, inter alia, publishing Plaintiff Wolfe’s

home address, telephone number, and other sensitive personal details on the First Website. This

disclosure was conducted as part of Defendants R.G. Brownell, Whinnery, Looper, and Does’

coordinated scheme under the Racketeer Influenced and Corrupt Organizations Act (RICO),

intended to harm Plaintiff Wolfe by exposing him to public harassment, intimidation, and threats to

his personal safety.

        581.        The facts published on the First Website were private, confidential details

regarding Plaintiff Wolfe, which were not of legitimate public concern and were intended

solely to harm Plaintiff’s personal and professional reputation.

        582.        The publication of these private facts regarding Plaintiff Wolfe would be highly

offensive to a reasonable person, given that the disclosure was carried out in a context where
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Defendants R.G. Brownell, Whinnery, Looper, and Does actively encouraged the public to use this

information to “dox,” harass, and cause harm to Plaintiff Wolfe and his family. This act was not

an isolated incident but part of a broader, malicious campaign by Defendants R.G. Brownell,

Whinnery, Looper, and Does to intimidate and coerce Plaintiff Wolfe, advancing the goals of the

RICO enterprise by destabilizing Plaintiff Wolfe’s personal and professional life.

        583.        Defendants R.G. Brownell, Whinnery, Looper, and Does' coordinated actions in

disclosing Plaintiff Wolfe’s private information reflect a deliberate pattern of conduct that served

the RICO enterprise’s objective of inflicting harm and exercising control over Plaintiffs. By

facilitating widespread dissemination of Plaintiff Wolfe's private information, Defendants

        R.G. Brownell, Whinnery, Looper, and Does engaged in a continuous scheme of

intimidation and harassment, constituting predicate acts under RICO aimed at economically and

reputationally damaging Plaintiff Wolfe.

        584.        As a direct and proximate result of Defendants R.G. Brownell, Whinnery, Looper,

and Does’ invasion of privacy, Plaintiff Wolfe has suffered, and will continue to suffer, significant

emotional distress, reputational harm, and other damages in an amount to be proven at trial.

                                       COUNT XXI – FALSE LIGHT
                            Wolfe v. R.G. Brownell, Whinnery, Looper, & Does

        585.        Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

        586.        Defendants R.G. Brownell, Whinnery, Looper, and Does placed Plaintiff Wolfe in a

false light before the public when they knowingly advanced false accusations against him via the

Susan Essex Complaint and subsequent publication on the Websites as alleged herein, including

but not limited to accusations that Plaintiff Wolfe is an adulterer and a criminal. These publications

were made as part of the Defendants’ coordinated scheme under the Racketeer Influenced and

Corrupt Organizations Act (RICO), designed to harm Plaintiff’s reputation and interfere with his

business interests within the Family Office Trust Structure.

        587.        Defendants’ statements were made to the public at large given the Websites are

freely accessible to every individual with internet access throughout the world, as is the 2022

Complaint itself and the accusations therein. This broad dissemination amplified the harm to

Plaintiff’s reputation, furthering the RICO enterprise’s goal of using defamation as a tool to

damage Plaintiff's professional standing.

        588.        The false light in which Defendants placed Plaintiff is highly offensive to a

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reasonable person given the allegations specifically accuse Plaintiff of “preying” on and “stalking”

vulnerable individuals for sexual services, of being a danger to the community, of unethical and

immoral conduct regarding his employment, of adultery, and of criminal conduct. Such allegations

were made not for a legitimate purpose but to coerce, intimidate, and discredit Plaintiff as part of

Defendants’ racketeering scheme, targeting Plaintiff’s reputation and professional relationships.

        589.        As alleged herein, Defendants filed the 2022 Complaint and republished the same,

along with the accusations on the Websites, with actual knowledge that the statements were false

and with actual malice. Defendants’ use of a false name and fictitious contact information when

filing the 2022 Complaint, combined with their immediate abandonment of the claim and

subsequent republication online, demonstrates a deliberate intent to harm Plaintiff by placing him

in a false light as part of a sustained pattern of racketeering activity.

        590.        This pattern of placing Plaintiff in a false light through false accusations was

instrumental to Defendants’ RICO enterprise, serving to damage Plaintiff’s reputation and

business interests and to exert control over assets and influence within the Family Office Trust

Structure. Defendants’ repeated false publications constitute predicate acts under RICO,

evidencing a continuous scheme aimed at economically harming Plaintiff and advancing

Defendants’ unlawful objectives.

       COUNT XXII – VIOLATION OF THE ILLINOIS RIGHT OF PUBLICITY ACT
                  Wolfe v. R.G. Brownell, Whinnery, Looper, & Does

        591.        Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

        592.        Defendants R.G. Brownell, Whinnery, Looper, and Does’ unauthorized use of

Plaintiff Wolfe’s identity for commercial purposes is a violation of the Illinois Right of Publicity

Act, 765 ILCS 1075/1-60, and was executed as part of Defendants’ broader scheme under the

Racketeer Influenced and Corrupt Organizations Act (RICO). This misuse of Plaintiff Wolfe’s

identity was a deliberate act designed to exploit Plaintiff Wolfe’s reputation for Defendants R.G.

Brownell, Whinnery, Looper, and Does’ financial and strategic gain within their racketeering

enterprise.

        593.        Specifically, Defendants R.G. Brownell, Whinnery, Looper, and Does made

unauthorized use of Plaintiff Wolfe’s identity, including but not limited to using his name in the

domain of the Second Website, in connection with Plaintiff Wolfe’s professional services, with the

purpose of damaging Plaintiff Wolfe and reducing the value of the assets owned by the Plaintiff

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entities to facilitate their extraction by the Defendants. Defendants R.G. Brownell, Whinnery,

Looper, and Does sought to harm Plaintiff Wolfe’s business relationships and reputation, including

but not limited to his standing with banks and other financial institutions. This misuse of Plaintiff

Wolfe’s identity was integral to the Defendants' overarching scheme to defraud and to convert

funds and other property from the Family Office Trust Structure to further their racketeering goals.

       594.        Defendants R.G. Brownell, Whinnery, Looper, and Does’ use of Plaintiff Wolfe’s

identity was unauthorized because Defendants R.G. Brownell, Whinnery, Looper, and Does did not

obtain Plaintiff Wolfe’s consent to use his identity in connection with the domain name of the

Second Website. In fact, Defendants R.G. Brownell, Whinnery, Looper, and Does actively sought

to conceal their involvement in the publication of the Websites to evade accountability and to

protect the continuation of their racketeering enterprise.

       595.        Defendants R.G. Brownell, Whinnery, Looper, and Does’ use of Plaintiff Wolfe’s

identity was willful, as they acted with full knowledge that the use was unauthorized and intended

to harm Plaintiff Wolfe’s professional standing. The entire purpose of filing the Susan Essex

Complaint, publishing defamatory content, and associating Plaintiff Wolfe’s identity with illicit

activities was to damage Plaintiff Wolfe’s reputation and to advance Defendants’ unlawful

objectives within the RICO enterprise.

       596.        Plaintiff Wolfe has been damaged by Defendants R.G. Brownell, Whinnery,

Looper, and Does’ unauthorized use of his identity, suffering harm to his reputation, financial

losses, and business disruptions as a result of Defendants R.G. Brownell, Whinnery, Looper, and

Does’ actions. These damages are a direct and proximate result of the Defendants R.G. Brownell,

Whinnery, Looper, and Does' efforts to misappropriate Plaintiff Wolfe’s identity as part of a

coordinated scheme aimed at achieving financial control and influence within the Family Office

Trust Structure.

         COUNT XXIII – VIOLATION OF 15 U.S.C. § 1125(d)(1); CYBERPRIVACY
                  Wolfe v. R.G. Brownell, Whinnery, Looper, & Does

       597.        Plaintiffs reallege and reincorporate each preceding paragraph as if specifically set

forth herein.

       598.        Defendants R.G. Brownell, Whinnery, Looper, and Does, with bad faith intent to

profit from the unauthorized use of Plaintiff Wolfe's name in the Second Website, engaged in

cyberpiracy, constituting a violation of 15 U.S.C. § 1125(d)(1). Defendants R.G. Brownell,

Whinnery, Looper, and Does’ actions were further executed as part of an organized pattern of

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racketeering activity under the RICO Act, designed to tarnish Plaintiff Wolfe’s reputation and

disrupt his business interests.

       599.      Defendants R.G. Brownell, Whinnery, Looper, and Does’ bad faith intent to profit

from the use of Plaintiff Wolfe’s name on the Second Website is demonstrated by the following:

       a.      Plaintiff Wolfe’s established trademark and intellectual property rights in the use of

his personal name in commerce, which Defendants exploited without authorization to increase

traffic and revenue for their website;

       b.      The use of Plaintiff Wolfe’s full legal name in the domain name of the Second

Website, misleadingly associating Plaintiff Wolfe with the defamatory and disparaging content

published thereon;

       c.      Defendants R.G. Brownell, Whinnery, Looper, and Does’ lack of any legitimate

noncommercial or fair use of Plaintiff Wolfe’s name, demonstrating that the website's sole

purpose was to defame and harm Plaintiff Wolfe’s reputation for Defendants R.G. Brownell,

Whinnery, Looper, and Does' own gain;

       d.      Defendants R.G. Brownell, Whinnery, Looper, and Does’ demonstrated intent to

damage Plaintiff Wolfe's goodwill and reputation by associating his name with false and

defamatory accusations, thereby furthering their racketeering enterprise under RICO to exert

influence over Plaintiffs’ business and financial affairs; and

       e.      Defendants R.G. Brownell, Whinnery, Looper, and Does’ provision of materially

false contact information when registering the domain name, concealing their identities and

preventing Plaintiff Wolfe from pursuing legitimate recourse, indicative of an attempt to obstruct

justice within the racketeering scheme.

       600.      Defendants R.G. Brownell, Whinnery, Looper, and Does’ registration, trafficking

in, and use of Plaintiff Wolfe’s personal name as a domain name on the Second Website

constitutes a violation of the Cyberpiracy Prevention Act, 15 U.S.C. § 1125(d)(1), further

perpetuating the fraudulent objectives of the RICO enterprise.

       601.      As part of this racketeering enterprise, Defendants R.G. Brownell, Whinnery,

Looper, and Does' cyberpiracy actions directly contributed to the pattern of fraudulent and

injurious acts intended to undermine Plaintiff Wolfe’s business credibility and standing within his

industry. Defendants R.G. Brownell, Whinnery, Looper, and Does’ repeated and coordinated use

of digital platforms to disseminate defamatory content underscores their intent to misuse Plaintiff

Wolfe’s identity as part of an ongoing scheme of cyber harassment and intimidation.
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                       COUNT XXIV – BREACH OF FIDUCIARY DUTY
           Breakers, Green Sapphire, Alpha Carta, Prairie Trust, and NorthSea v. Smith

          602.      Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

          603.      As a former director of Breakers, Green Sapphire, Alpha Carta, Prairie Trust in its

capacity as Trustee of the Alpha Carta Trust, and NorthSea in its capacity as the Trustee of the

Petro Carta Trust (collectively, the “Family Office Trust Entities”), Defendant Smith owed a

fiduciary duty to the Family Office Trust Entities requiring him to act in the interest of these

entities and not for personal gain or the benefit of the RICO enterprise of which he was part.

          604.      Defendant Smith’s misuse and disclosure of confidential information concerning

the assets, structure, bank accounts, and financial dealings of the Family Office Trust Entities were

not isolated incidents but were part of a broader, systematic pattern of racketeering activity designed to

advance a fraudulent enterprise. Smith’s breaches of fiduciary duty— including the unauthorized brokering

of a $2.9 million loan to a third-party entity and arranging a fictitious $10 million loan to Green

Sapphire—were predicate acts consistent with fraud and embezzlement, serving the goals of the

RICO enterprise.

          605.      Defendant Smith’s access to and misuse of privileged information was integral to

his role in furthering the fraudulent scheme operated by the enterprise. By exploiting his insider

position and knowledge of the Family Office Trust Entities, Defendant Smith advanced

unauthorized financial transactions that unjustly enriched himself, Defendant Rockwater, and other

co-conspirators, while actively harming the Family Office Trust Entities and violating his fiduciary

duties.

          606.      Defendant Smith was obligated by his fiduciary duties to refrain from

acting in his own self-interest to the detriment of the Family Office Trust Entities.

Instead, Defendant Smith’s actions directly supported the RICO enterprise’s objectives,

establishing a clear pattern of racketeering activity by misappropriating trust assets and

financial data to further an ongoing fraudulent scheme.

          607.      Defendant Smith breached these duties by, without limitation:

                          a.      Engaging in a sustained pattern of confidential financial

                                  disclosures to unauthorized third parties as part of the

                                  enterprise’s scheme;

                          b.      Manipulating his position to authorize the fraudulent 2023 Loan to

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                                  Breakers and deed of guarantee using insider knowledge, thereby

                                  advancing the enterprise’s objectives;

                          c.      Directing funds from the 2023 Loan to his co-conspirators rather

                                  than Alpha Carta, consistent with prior unauthorized transfers that

                                  deprived Breakers of loan proceeds;

                          d.      Leveraging his fiduciary role to engineer the 2023 Loan for

                                  personal and enterprise benefit, to the detriment of Family

                                  Office Trust Entities; and

                          e.      Arranging a fictitious $10 million loan from Global Partners to

                                  Green Sapphire and fabricating a Stock Pledge Agreement in

                                  which Green Sapphire ostensibly pledged Green Sapphire’s shares

                                  of Florida Access stock, furthering the enterprise’s financial

                                  interests through fraud.

        608.        Upon information and belief, Defendant Smith committed these breaches of

fiduciary duty with deliberate intent to further the RICO enterprise’s objectives, acting in bad

faith, and intentionally exploiting his fiduciary role to harm the Family Office Trust Entities

while enriching himself and his co-conspirators.

        609.        The foregoing breaches of fiduciary duty by Defendant Smith were knowing,

willful, reckless, and done in bad faith, furthering the goals of the fraudulent enterprise, violating

the trust and responsibilities imposed upon him by the Family Office Trust Entities.

        610.        As a direct and proximate result of Defendant Smith’s breaches, the trustees of the

Alpha Carta Trust and the Petro Carta Trust, along with the Family Office Trust Entities, have

suffered and continue to suffer damages, including but not limited to, significant economic loss,

loss of asset control, reputational harm, and impaired business operations, in an amount to be

determined at trial.

            COUNT XXV – CONSPIRACY TO BREACH FIDUCIARY DUTY
Breakers, Green Sapphire, Alpha Carta, Prairie Trust, & NorthSea v. R.G. Brownell, Smith,
                                        & Mack

        611.        Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

        612.        Defendants R.G. Brownell, Smith, and Mack knowingly and voluntarily entered

into a scheme and agreement to engage in a combination of unlawful acts and misconduct, as

described herein, including, among other acts and omissions, breach of fiduciary duties and
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aiding and abetting breach of fiduciary duties.

        613.        The intent and purpose of the conspiracy, and the underlying combination of

unlawful acts and misconduct committed by the Defendants, was to purportedly cause Breakers to

obtain a loan, obtain the $2.9 million proceeds of the 2023 Breakers loan in order to illicitly

paydown the debt Proton Green owed to Alpha Carta, discharge to the Leasehold Mortgage/Deed

of Trust on St. John’s Field and, thereafter, obtain ownership of the Breakers Property and a

windfall gain on securities issued by Proton Green or Cyber App for themselves and one or more

John Doe Defendants who identity is currently unknown to the Plaintiffs.

        614.        All Defendants had a financial motive and incentive to accomplish the foregoing

conspiracy.

        615.        The Defendants understood and accepted the foregoing scheme, and each agreed

to do his respective part, as described herein, to further and accomplish the foregoing objectives.

        616.        By entering into this conspiracy, the Defendants permitted, encouraged, and

induced all of the unlawful acts and misconduct as described herein.

        617.        The parties engaged in numerous overt acts in furtherance of the conspiracy

including, but not limited to, the use of confidential knowledge to bypass controls in place in the

Family Office Trust Structure, causing $2.9 million to be transferred to Mack’s trust account

without obtaining necessary approvals, causing $2 million to be transferred on July 24, 2023 to

CIBC for credit to Alpha Carta’s account which was falsely described as “Loan payment,” and

taking fees for the various co-conspirators.

        618.        As a direct and proximate result of the Defendants’ unlawful conduct, Breakers,

Alpha Carta, Green Sapphire, Prairie Trust., and NorthSea have sustained substantial damages.

     COUNT XXVI – CONSPIRACY TO COMMIT FRAUD REGARDING THE 2023
                                   BREAKERS LOAN
 Breakers & Alpha Carta v. Proton Green, Looper, R.G. Brownell, Smith, Cyber App, Mack,
                                       & Salazar

        619.        Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

        620.        Defendants Proton Green and Cyber App, by and through their agent Looper,

  R.G. Brownell, Smith, individually, Mack, and Salazar knowingly and voluntarily entered into a

  scheme and agreement to engage in a combination of unlawful acts and misconduct, as

  described herein.

       621.         The intent and purpose of the conspiracy, and the underlying combination of

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  unlawful acts and misconduct committed by the Defendants, was to misappropriate the funds in

  the amount of $2.9 million that the Lenders wired to Chase Bank for credit to Mack’s IOLTA

  account and ultimately create the fraudulent impression of paying down Proton Green’s debt to

  Plaintiffs, to reduce the amount owed by Proton Green/Cyber App (thereby increasing the value

  and reducing to liabilities of Proton Green/Cyber App), avoid any action against Proton

  Green/Cyber as well as induce Alpha Carta to enter into settlement negotiations.

         622.   The parties engaged in numerous overt acts in furtherance of the conspiracy

  including, but not limited to, causing $2 million to be transferred on July 24, 2023 to CIBC for

  credit to Alpha Carta’s account which was falsely described as “Loan Payment,” falsely

  claiming that Proton Green/Cyber App paid the $2 million, falsely describing the Loan

  Settlement Agreement in the 10Q that Cyber App filed with the SEC on Feb. 15, 2024 and

  taking fees for the various coconspirators.

         623.   All Defendants had a financial motive and incentive to accomplish the foregoing

  conspiracy.

         624.   The Defendants understood and accepted the foregoing scheme, and each agreed

  to do his respective part, as described herein, to further and accomplish the foregoing

  objectives.

         625.   By entering into this conspiracy, the Defendants permitted, encouraged, and

  induced all of the unlawful acts and misconduct as described herein.

  626.          As a direct and proximate result of the Defendants’ unlawful conduct, Breakers and

  Alpha Carta have sustained damage through the contingent liability that Breakers has to the

  Lenders in the event it is found, after expensive and resource consuming litigation, to be liable to

  repay the Lenders $2.9 million plus interest and attorneys’ fees, the impairment of Alpha Carta’s

  lien on the St. John’s Field that secures payment of the debt evidenced by the three Proton Green

  Notes, attorneys’ fees both to obtain a judgment against the Lenders declaring the 2023 Breakers

  loan void and declaring that there was no valid and enforceable “Loan Settlement Agreement “

  between Alpha Carta, and Cyber App or Proton Green, or Deed of Release.

                                   COUNT XXVII –RESCISSION
                            Alpha Carta v. Proton Green and Cyber App

         627.   Plaintiffs reallege and reincorporate each preceding paragraph as if specifically set

forth herein.

         628.   Proton Green and Cyber App, through their agent Looper, and in concert with

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Smith, Mack, and R.G. Brownell, engaged in a scheme to make it appear as though funds had

been paid to Alpha Carta from Proton Green when in fact they had been purportedly borrowed

from another entity.

        629.        Cyber App has now publicly claimed that a valid signed settlement agreement

dated as of July 31, 2024, relieves it from the millions of dollars in liability it owed to Alpha

Carta

        630.        Alpha Carta has no signed copy of any such agreement, and Proton Green has

refused to provide it.

        631.        However, such a settlement agreement, provided it exists, must be rescinded as it

was procured through fraud.

        632.        Additionally, any such settlement agreement was the result of a unilateral mistake

by Alpha Carta that Proton Green had paid the amount due under the terms of any such settlement.

        633.        This mistake was caused through the misrepresentations and misdeeds of Proton

Green (and its felon CEO) and one or more of the Defendants, including R.G. Brownell, Smith,

Mack, and Salazar.

        634.        Any settlement, as well as the Deed of Release and Reconveyance signed by

Alpha Carta in conjunction with such settlement, must be rescinded.

                             COUNT XXVIII – BREACH OF CONTRACT
                              Alpha Carta v. Proton Green and Cyber App

        635.        Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

        636.        In or about July 2022, Alpha Carta purchased a promissory note in the original

principal amount of $3,513,469 (the “Kip’s Bay Note’”) that Proton Green had issued to Kip’s

Bay Select L.P. in consideration for a loan, payment of which was secured by a first priority lien

on all the assets of Proton Green including a Leasehold interest on real property located in Apache

County, Arizona in which there were substantial reserves of Helium.

        637.        As of May 1, 2023, Alpha Carta held the Kip’s Bay Note, as well as two other

promissory notes made by Proton Green payable to Alpha Carta (collectively, the “Proton Green

Notes”). See Proton Green Notes, true and correct copies of which are attached hereto as Exhibits

L-N, respectively.

        638.        In April 2022, Proton Green failed to pay the debts evidenced by the Proton

Green Notes as agreed.

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            639.    On or about June 20, 2023, Proton Green entered into a Forbearance Agreement

with Alpha Carta (the “Forbearance Agreement”), by which Proton Green agreed to make certain

payments to Alpha Carta in order to fulfill its obligations to the same pursuant to the Kip’s Bay

Note and other Promissory Notes Proton Green executed in favor of Alpha Carta. See Exhibit G.

            640.    The terms of the Forbearance Agreement obligated Proton Green to pay $3 million

to Alpha Carta on July 7, 2023, and $2 million a month on the seventh (7th) day of each month

thereafter until the total debt of approximately $25.2 million Proton Green owed to Alpha Carta as

of June 20, 2023, was paid in full. Id.

            641.    However, Proton Green/Cyber App has failed or refused to abide by the terms of

the Forbearance Agreement and the Proton Green Notes, including but not limited to the

obligation to immediately execute and deliver a Deed in Lieu of Foreclosure in a recordable form

acceptable to Alpha Carta, such that Proton Green/Cyber App’s debt to Alpha Carta in an amount

in excess of $25 million is currently unpaid, due and owing.

            642.    Cyber App is liable for the obligations of Proton Green as a result of the reverse

merger.

            643.    The Forbearance Agreement and Proton Green Notes are valid contracts.

            644.    The Forbearance Agreement required Defendant to pay $3 million to Alpha Carta

in July 2023 and $2 million a month each month thereafter until the total debt of approximately

            $25.2 million Proton Green/Cyber App owed to Alpha Carta as of June 20, 2023, was paid in

full. Id.

            645.    Despite the express requirements of the Forbearance Agreement, Defendants

breached the Forbearance Agreement in failing or refusing to pay Plaintiff $2 million on

September 7, 2023, as required by the terms of to the Forbearance Agreement and failing and

refusing to execute and deliver the required Deed In Lieu of Foreclosure.

            646.    Defendants also breached the Proton Green Notes by failing to pay the debt

evidenced by the Notes, and the exact amount of such debt is to be determined at trial.

            647.    The failure to pay and the failure to execute and deliver the promised Deed In

Lieu of Foreclosure are each a material breach of the express terms of the Forbearance

Agreement and Proton Green Notes.

            648.    Plaintiff has performed or has substantially performed all its obligations under the

Forbearance Agreement and Proton Green Notes.

            649.    As a result of the Defendants’ breaches, Plaintiff has been harmed.
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                            COUNT XXIX –DECLARATORY JUDGMENT
                             Alpha Carta v. Proton Green and Cyber App

        650.        Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

        651.        Proton Green and Cyber App, through their agent Looper, and in concert with

Smith, Mack, and R.G. Brownell, engaged in a scheme to make it appear as though funds had been

paid to Alpha Carta from Proton Green/Cyber App when in fact they had been purportedly

borrowed from another entity.

        652.        Cyber App has now publicly claimed that a valid signed settlement agreement

dated as of July 31, 2023, relieves it from the obligation to pay the, at minimum, $18 million of

additional debt that was due and owing under the Notes as of July 31, 2023.

        653.        Alpha Carta has no signed copy of any such agreement, and Proton Green has

refused to provide it.

        654.        However, such a settlement agreement, provided it exists, is void as it was

procured through fraud.

        655.        Additionally, any such agreement, as well as the Deed of Release and

Reconveyance executed in connection therewith, was not authorized to be delivered to Proton

Green and Cyber App absent the occurrence of a condition precedent that did not occur.

        656.        Any settlement, as well as the Deed of Release and Reconveyance signed by

Alpha Carta in conjunction with such settlement, must be declared void.

        657.        An actual controversy exists between the parties, as Defendants contend the

settlement and Deed of Release and Reconveyance are valid, which assertion Plaintiff denies.

        658.        The resolution of this issue is appropriate and would terminate, in whole or in

part, the controversy giving rise to this proceeding.

                            COUNT XXX –DECLARATORY JUDGMENT
                                Green Sapphire v. Global Capital

        659.        Plaintiffs reallege and reincorporate each preceding paragraph as if specifically

set forth herein.

        660.        Global Capital purported to enter into a Loan and Security Agreement with Green

Sapphire.

        661.        The loan agreement, as well as any accompanying pledge or other documents,

were not properly authorized by Green Sapphire and are therefore void.


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       662.       There was no loan made pursuant to the loan agreement and the loan agreement is

void as Green Sapphire did not receive any consideration.

       663.       Any loan that may have been made under the loan agreement is void as it is the

product of a fraudulent scheme.

       664.       The attempted domestication of French Access and the attempted acquisition of

the shares of Florida Access are also null and void, as they are the product of fraud and the

fictitious loan agreement and Stock Pledge Agreement.

       665.       The loan agreement, as well as any accompanying pledge, Articles of

Domestication, UCC-1 Financing Statements and other documents, must be declared void.

       666.       An actual controversy exists between the parties, as Defendant contends the Loan

and Security Agreement between Global Capital and Green Sapphire is valid, that funds in the

amount of $10 million were actually delivered by Global Partners to Green Sapphire, that the filing

of the Articles of Domestication was duly authorized and that the Stock Pledge Agreement which

purports to grant a security interest in Green Sapphire’s interest, if any, in shares of the Florida

corporation named Florida Access was valid and enforceable, all of which Plaintiff denies.

       667.       The resolution of this issue is appropriate and would terminate, in whole or in

part, the controversy giving rise to this proceeding.

                                 COUNT XXXI – BREACH OF CONTRACT
                                            Alpha Carta v. BNW
       668.       Plaintiffs reallege and reincorporate each preceding paragraph as if specifically set

  forth herein.

       669.       Alpha Carta and BNW entered into a Professional Services Agreement with a term

  of January 1, 2023, through December 31, 2023, to “provide investment advisory and support

  services.” See the Professional Services Agreement, a true and correct copy of which is attached

  hereto as Exhibit O.

       670.       The agreement is a valid contract.

       671.       BNW agreed to “exercise the highest degree of professionalism” in the exercise of

  projects assigned pursuant to the Professional Services Agreement. Id., ¶1.

       672.       BNW acted through R.G. Brownell who, for all actions referenced in this count,

  was acting in the course and scope of his relationship with BNW.

       673.       The agreement provided that the “Contractor is not the agent of the Company and

  is not authorized to make any representation, contract, or commitment on behalf of the

  Company.” Id., ¶3.
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     674.     The agreement provides that BNW will not use any proprietary information,

which includes financial information, investment and fund strategies, business plans, and

suppliers and customers, among others, “in any manner or for any purpose not expressly set

forth in this Agreement.”

     675.     The agreement provides that there is “no other existing contract or duty on

Contractor’s part that would conflict with or would be inconsistent with this Agreement, unless a

copy of such contract or a description of such duty is attached to this Agreement as Exhibit B.”

Id., ¶4.3.

     676.     The scope of BNW’s authorization, acting through R.G. Brownell, to act as an

independent contractor, did not extend to taking any actiopromn on behalf of Green Sapphire

or taking any actions adverse to Alpha Carta, which is the largest creditor of Green Sapphire.

     677.     R.G. Brownell fraudulently held himself out a purported authorized signatory of

Green Sapphire, executed an engagement agreement under a fictitious name by which R.G.

Brownell and Mack hired French counsel to advise them on how to obtain an enforceable Stock

Pledge Agreement and then enforced a security interest against Green Sapphire’s shares in

Access Management.

     678.     This action was directly contrary to the interests of Alpha Carta and was outside

the scope of BNW and R.G. Brownell’s authority under the above-referenced Professional

Services Agreement.

     679.     BNW orchestrated Green Sapphire’s purported pledge of shares in French Access

and attempted to domesticate French Access as a Florida corporation. BNW directed Mack to

draft a fictitious Loan and Security Agreement and a Stock Pledge Agreement to create the false

impression that Green Sapphire had granted a security interest in its shares of Florida Access to

Global Partners. Additionally, R.G. Brownell recorded a mortgage in BNW's favor against the

St. Barth’s Property. These actions, which BNW concealed as conflicts of interest, impaired the

value of Green Sapphire’s assets, slandered the title of the St. Barth’s Property, and ultimately

allowed BNW to gain an interest in this property, to the detriment of Alpha Carta, Green

Sapphire’s largest creditor.

     680.     BNW’s actions, through R.G. Brownell, regarding Proton Green and Cyber App

constitute a breach of the contract.

     681.     R.G. Brownell’s actions throughout this Complaint constituted a breach of the

contract.
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    682.       Throughout the course of the performance of the contract, BNW acted contrary to

the best interests of Alpha Carta by trying to devalue the property owned by Alpha Carta so that it

could fraudulently acquire.

                                           PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in their

favor and grant the following relief:

     1.       Compensatory Damages: Award Plaintiffs compensatory damages in an amount to

              be determined at trial, including, but not limited to, losses from fraudulent

              transactions, unauthorized transfers, lost business opportunities, reputational harm,

              and investigative costs, estimated to exceed $10 million.

     2.       Treble Damages: Pursuant to 18 U.S.C. § 1964(c) under the Racketeer Influenced

              and Corrupt Organizations Act (RICO), award Plaintiffs treble damages for the

              financial losses incurred due to Defendants’ pattern of racketeering activity, as

              alleged herein.

     3.       Punitive Damages: Award Plaintiffs punitive damages in an amount sufficient to

              punish Defendants and deter future similar misconduct, due to the egregious,

              willful, and malicious nature of the Defendants’ conduct.

     4.       Declaratory Relief: Issue a declaratory judgment that Defendants’ actions

              constitute violations of RICO, the Computer Fraud and Abuse Act, and other

              applicable federal and state laws, and that Plaintiffs are entitled to the relief

              requested herein.

     5.       Injunctive Relief: Grant permanent injunctive relief enjoining Defendants from

              further:

                         a.     Engaging in any form of unauthorized access or cyber

                                intrusions against Plaintiffs’ electronic systems;

                         b.     Disseminating defamatory statements or engaging in conduct

                                that would damage Plaintiffs’ reputations;

                         c.     Interfering with Plaintiffs’ business operations, transactions, or

                                relationships;

                         d.     Engaging in any further actions that constitute racketeering

                                activity, as defined by 18 U.S.C. § 1961(1).

     6.       Constructive Trust: Impose a constructive trust over all funds, assets, and property
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            obtained by Defendants as a result of the fraudulent and unlawful conduct alleged

            in this Complaint, and direct Defendants to transfer such assets to Plaintiffs to

            prevent unjust enrichment.

     7.     Disgorgement: Order Defendants to disgorge all profits and benefits unjustly

            obtained through the fraudulent and unlawful activities described herein.

     8.     Attorneys’ Fees and Costs: Award Plaintiffs their reasonable attorneys’ fees, costs,

            and expenses incurred in this action, pursuant to applicable law, including but not

            limited to 18 U.S.C. § 1964(c) and other relevant statutes.

     9.     Pre- and Post-Judgment Interest: Award Plaintiffs pre-judgment and post-

            judgment interest on all amounts awarded, at the highest lawful rate, from the date

            of injury until the date of payment.

     10.    Other Relief: Grant such other and further relief as the Court may deem just and

            proper under the circumstances.



                                                           Respectfully submitted,

     Dated: February 10, 2025

     JURY DEMAND
     Plaintiff hereby demands a trial by jury.


                                                           /s/ Marc P. Trent
                                                           Marc P. Trent (ARDC # 6324928)
                                                           Aaron R. Walner (ARDC # 6284207)
                                                           TRENT LAW FIRM, P.C.
                                                           600 W Jackson Ave., # 100
                                                           Chicago, IL 60661
                                                           (630) 682-3100
                                                           service@trentlawfirm.com



                                                           Attorneys for Plaintiffs




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                            GROUP EXHIBIT A


                      UNITED STATES DISTRICT COURT
                                                                 ·05
                     EASTERN DISTRICT OF WISCONSIN                     JPJ/19 P4 :27


UNITED STATES OF AMERICA,

                   Plaintiff,

             V.                                   Case No. 05-CR-013

ROBERT G. BROWNELL,
ROBERT E. MANN,
NORMAN C. HANSON, and
MICHAEL A. GRAL,

                   Defendants.


                         SUPERSEDING INFORMATION


      The United States Attorney Charges:

                                      Overview

      1.     Between on or about May 1, 2000, and on or about July 16, 2004, in

the State and Eastern District of Wisconsin, and elsewhere,

                                  Robert G. Brownell,
                                   Robert E. Mann,
                                Norman C. Hanson, and
                                   Michael A. Gral,

did knowingly conspire among themselves and with others known and unknown to

device and execute a scheme to defraud, which scheme was executed by use of

the U.S. mail and interstate wire communications, in violation of Title 18, United

States Code, Sections 1341 (mail fraud) and 1343 (wire fraud).
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      2.     The defendants' scheme to defraud included a scheme to deprive

another of the intangible right to honest services.

      3.     The object of the conspiracy was to obtain money for the defendants,

their businesses, as well as others conspirators, and their companies; and to fund

contributions to candidates for public office.

                                     Background

      4.     Bielinski Brothers, Inc. is a Waukesha County-based residential and

commercial construction company. It operates under various corporate names,

including Bielinski Homes and Bielinski Development, Inc. (herein collectively

referred to as "Bielinski Brothers"). Bielinski Brothers is involved in more than $100

million in new home construction each year.

      5.     Robert G. Brownell began working for Bielinski Brothers in 1995. From

approximately 2001 until July of 2004, Brownell served as Chief Executive Officer

of Bielinski Brothers. He was paid approximately $175,000 per year. Brownell was

also a partner with Frank and Harry Bielinski in FHB Investments, LLC.

      6.     As part of his duties at Bielinski Brothers, Brownell approved the

payment of invoices associated with development and new home construction.

These invoices included work for surveys, analysis, grading and similar activity at

the start of the construction of a residential subdivision.

      7.     Mann Brothers, Inc. is an Elkhorn-based construction company that

provided grading and other construction work for Bielinski Brothers. During the time


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period of the conspiracy, Mann Brothers performed approximately $20 million in

work for Bielinski Brothers each year.

       8.    Robert E. Mann was the president and part-owner of Mann Brothers,

Inc.

       9.    Welch Hanson & Associates is civil engineering firm in Delafield,

Wisconsin. The firm also includes surveyors and landscape architects. The firm

is a division of Yaggy Colby & Associates.

       10.   Norman C. Hanson is a principal in Welch Hanson & Associates. He

also is a partner in a separate, unrelated limited liability company called NCCBH.

       11.   Michael A. Gral was a partner at the law firm Michael Best & Friedrich.

He served as a lawyer for Bielinski Brothers.

                      Kickback and Embezzlement Scheme

       12.   In addition to working for Bielinski Brothers, Brownell operated various

businesses alone and in partnership with others. They included:          (a) OSI, or

Development Services, Inc.; (b) SEWMA, or Southeastern Wisconsin Market

Analysts; (c) Georgetown Holdings, LLC; (d) Georgetown Development, LLC; (e)

Georgetown Investments, LLC; and (e) Belize, LLC.

       13.   As part of a scheme to defraud Bielinski Brothers and others, Brownell

approved invoices from other business entities knowing that the invoices were

fraudulent and had been inflated.




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      14.   The money generated as part of the false billings was used for the

financial benefit of the defendants and others, as described below.

      Mann Brothers

      15.    Bielinski Brothers hired Mann Brothers to do grading and other work

at the start of residential developments.

      16.    As part of a scheme to defraud Bielinski Brothers, Mann and Brownell

agreed to participate in Bielinski Brother's payment of inflated invoices submitted

by Mann Brothers.

      17.    At the start of a project involving Mann Brother and Bielinski Brothers,

Brownell and Mann discussed the amount of inflated charges that were to be

included on a particular project. That amount varied by the size of the project, the

actual work that was needed, and the potential budget.

      18.    Once Mann Brothers was paid, the excess from the invoices was split

equally between Brownell and Robert Mann. Brownell's share was given to him in

the form of checks from Mann Brothers to OSI and SEWMA. Brownell provided an

invoice from one of his companies to Mann to justify this payment.

      19.    The inflated and fraudulent invoices from Mann Brothers to Bielinski

Brothers, as well as the invoices Brownell provided to Mann Brothers to support the

50-50 split, constituted materially false pretenses, representations, and promises.




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      Welch Hanson

      20.    Also during the time period of the conspiracy, Brownell directed actual

Georgetown projects, including residential construction. One such project was the

Conservancy, a high-end residential development in Cedarburg, Wisconsin. As

part of his fraudulent activity, Brownell directed various contractors, including Welch

Hanson & Associates, to issue bills to Bielinski Brothers for work actually performed

on Georgetown projects, including the Conservancy, even though the work was not

done for Bielinski Brothers. The payments were approved by Brownell and issued

by Bielinski Brothers.

      21.    As a result, Bielinski Brothers unwittingly paid invoices on projects that

were the private business interests of Brownell and others.

      22.    Brownell and Norm Hanson agreed to this method of payment.

      23.    In addition, Norm Hanson agreed to use his NCCBH entity, as well as

Welch Hanson & Associates, to issue fraudulent invoices to Bielinski Brothers that

were unrelated to any actual project. Brownell approved the payment of these

fraudulent invoices.

      24.    The majority of the money generated from the false billings was sent

to Brownell through one of his business entities; though Hanson often kept a small

percentage for personal use.




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      25.      The inflated and fraudulent invoices from Welch Hanson & Associates

and NCCBH to Bielinski Brothers constituted materially false pretenses,

representations, and promises.

      Brownell-Gral Partnerships

      26.      Brownell and Gral were business partners in various entities, including

Georgetown Holdings, LLC; Georgetown Development, LLC; Georgetown

Investments, LLC; and Belize, LLC. Through their partnerships, Brownell and Gral

purchased and developed real estate in Wisconsin and Florida. As part of the

scheme, the defendants fraudulently used funds belonging to Bielinski Brothers to

make down payments, purchase, and pay for development costs for such real

estate.

       27.     At the same time, Gral, while with the Michael Best & Friedrich law firm,

served as a lawyer for Bielinski Brothers, as well as for its owners, Harry and Frank

Bielinski. During the time period of the conspiracy, Michael Best & Friedrich billed

Bielinski Brothers approximately $4 million for work performed by Gral and others

at the firm.

       28.     Based on his role as an attorney, Gral owed a fiduciary duty to Bielinski

Brothers and Harry and Frank Bielinski personally.

       29.     As a further part of the scheme to defraud, Gral misused that fiduciary

duty for private gain.




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      30.    Gral engaged in actions, individually and through Brownell, that served

his own financial interest to the detriment of Bielinski Brothers at the same time that

Gral was serving as a lawyer for Bielinski Brothers.

      31.    On such transaction was as follows. In the fall of 2002, Brownell and

Gral, through Belize, LLC, entered into an agreement to purchase a condominium

in Florida. Brownell had Bielinski Brothers pay in excess of $500,000 as a deposit

for the purchase of the Florida condominium. The payment was authorized by

Brownell without the knowledge or approval of Frank and Harry Bielinski and was

made to appear as a legitimate Bielinski Brothers' expenditure.

      32.    In January 2004, Gral and Brownell entered into an agreement to have

FHB Investments (as described in paragraph 5 above) act as an agent for

Georgetown Investments to purchase real estate located in Lincoln County,

Wisconsin known as Harrison Lakes. The purchase price for this property was

approximately $1,500,000.       As part of this agreement, Gral and Brownell

fraudulently used funds belonging to FHB Investments to purchase this property.

Despite the fact that Gral was the lawyer for Bielinski Brothers and its owners, the

agreement was entered into without the knowledge or approval of Frank and Harry

Bielinski. In July, 2004, Gral and Brownell transferred the Harrison Lakes property

from FHB Investments to Georgetown Investments.

      33.    Brownell and Gral further entered into an arrangement whereby

Brownell would provide Gral and his law firm with checks drawn on Bielinski


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Brothers accounts, which did not have sufficient funds to cover the amount of these

checks. These checks totaled in excess of $2 million. Gral agreed not to negotiate

these checks and to provide Brownell with escrow agreements representing that the

funds were on deposit with his law firm.

      34.   The actions of Gral and Brownell deprived Bielinski Brothers, and

Frank and Harry Bielinski individually, of their intangible right to Gral's honest

services, as those terms are used in Title 18, United States Code, section 1346.

The actions of Gral and Brownell also included materially false pretenses,

representations, and promises.

                             "Maintenance Account"

      35.    During the time period of the conspiracy, Brownell and Robert Mann

kept a "maintenance account" to be funded by the fraudulent activity described

above. The purpose of the account was to supply Brownell and Mann with a pool

of money to provide themselves and others with financial benefits.

      36.   The recipients of the financial benefits further included persons

involved with Brownell and Mann in otherwise legitimate business deals, including

the owners of other businesses.

      37.    The "maintenance account" also funded illegal campaign contributions

and other benefits to candidates and elected officials as described below.

      38.    Brownell also provided Hanson with proceeds from the fraud to fund

illegal campaign contributions as described below.


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      39.     The amount of money involved in the "maintenance account" exceeded

$1 million.

                             Campaign Contributions

      40.     Brownell, Robert Mann, Norman Hanson and others associated with

them sought to provide campaign contributions to certain candidates for public

office. In order to avoid campaign contribution restrictions, Brownell, Mann, and

Hanson used corporate funds and proceeds from the "maintenance account" to

reimburse themselves and others for contributions to these political candidates.

      41.     During the time period of the conspiracy, employees of Mann Brothers

were provided with approximately $100,000 for the purpose of funding campaign

contributions to then-Wisconsin governor Scott McCallum, the 2004 United States

Senate race of Russ Darrow, and the 2004 reelection campaign of President

George W. Bush. The contributions included the following.

       42.    In February of 2001, Robert Mann and two others from Mann Brothers

provided $25,000 for the inauguration ball of then-Wisconsin governor Scott

McCallum. The $25,000 was funded by the "maintenance account."

       43.    In February of 2002, Mann Brothers provided three of its employees

with bonuses totaling $22,500, which, after withholdings, gave the employees a

total of just over $15,000. The money was then used by the employees to make a

total of $15,000 in contributions to Scott McCallum for his reelection campaign.




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The maintenance account was used to reimburse Mann Brothers approximately

$21,000 of the bonuses.

      44.   In August of 2002, Mann Brothers provided two other persons with

$15,000, so that (after withholdings) $10,000 was available for a McCallum fund

raiser. The maintenance account was used to reimburse Mann Brothers.

      45.   Similar funding schemes were used to provide the President George

W. Bush reelection campaign with $21,000; and the Russ Darrow campaign for

U.S. Senate with $17,000.

      46.   Robert Brownell used the maintenance account to reimburse himself

and others at Bielinski Brothers approximately $19,000 for campaign contributions.

Approximately $13,000 went to the campaign of then-Wisconsin governor Scott

McCallum; approximately $4,000 went to the 2004 United States Senate race of

Russ Darrow; and approximately $2,000 went to the 2004 reelection campaign of

President George W. Bush.

      47.   Norman Hanson used proceeds of the fraud to reimburse himself and

others at Welch Hanson approximately $57,500 for campaign contributions.

Approximately $43,500 went to the campaign of then-Wisconsin governor Scott

McCallum; approximately $8,000 went to the 2004 United States Senate race of

Russ Darrow; and approximately $6,000 went to the 2004 reelection campaign of

President George W. Bush.




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                                    Total Losses

       48.   The amount of losses caused by the scheme to defraud exceeded $4

million.

                                Mail and Wire Fraud

       49.   Brownell, Mann, Hanson, and Gral, and others acting in concert with

them and on their behalf, for the purpose of executing and attempting to execute

the scheme to defraud did cause and intend to cause matter to be delivered by the

United States Postal Service and commercial interstate carriers according to the

directions thereon. The mail matter included the invoices and checks described

above.

       50.   Brownell, Mann, Hanson, and Grat, and others acting in concert with

them and on their behalf, for the purpose of executing and attempting to execute

the scheme to defraud did cause and intend to cause interstate wire

communications. These interstate wire communications included the transfer of

funds from the State of Wisconsin to other locations including the State of Florida.

       All in violation of Title 18, United States Code, section 1349.


                                                                         • •




                                               United States Attorney




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                            GROUP EXHIBIT A
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                        UNITED STATES DISTRICT COURT                             F ~,.f~fJ
                        EASTERN DISTRICT OF WISCONSIN
                                                                                 ~EP28 P2 :19

UNITED STATES OF AMERICA,                                                                              "1   1       ,1~y
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                                                                                                 . '' -"
                            Plaintiff,
                                                                                    I'~   ' ,.    • \ '.




              V.                                        Case No. 05-CR-013

ROBERT G. BROWNELL,

                            Defendant.


                                  PLEA AGREEMENT


       1.     The United States of America, by its attorneys, Steven M. Biskupic, United

States Attorney for the Eastern District of Wisconsin, and Matthew L. Jacobs, Assistant

United States Attorney, and the defendant, Robert G. Brownell, individually and by his

attorney, Martin E. Kohler, pursuant to Rule 11 of the Federal Rules of Criminal Procedure,

enter into the following plea agreement:

                                         CHARGES

       2.     The defendant has been charged in a one-count superseding information filed

in this district on January 19, 2005, which charges him with conspiring to commit mail and

wire fraud, in violation of Title 18, United States Code, Section 1349.

      3.       The defendant has read and fully understands the charge contained in the

superseding information and fully understands the nature and elements of the crime with
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which he has been charged and that the charge and the terms and conditions of the plea

agreement have been fully explained to him by his attorney.

       4.     The defendant has previously waived in open court his right to have this matter

prosecuted by indictment.

       5.     The defendant voluntarily agrees to plead guilty to the charge contained in the

superseding information, a copy of which is attached to this plea agreement, as Exhibit A.

       6.     The defendant acknowledges, understands, and agrees that he is, in fact, guilty

of the offense charged in the superseding information. The parties acknowledge and

understand that if this case were to proceed to trial, the government would be able to prove

beyond a reasonable doubt the facts set forth in the attached offer of proof. The defendant

admits to these facts and that these facts establish his guilt beyond a reasonable doubt. The

facts set forth in the attached offer of proof are provided for the purpose of setting forth a

factual basis for the defendant's plea of guilty. It is not a full recitation of the defendant's

knowledge of or participation in the offense.

                                        PENALTIES

       7.     The parties understand and agree that the offense to which the defendant will

enter a plea ofguilty carries the following maximum term ofimprisonment and fine: Twenty

(20) years and $250,000. The charge also carries a mandatory special assessment of$100.00

and a maximum of five years of supervised release. The parties further recognize that a

restitution order may be entered by the court.              The parties' acknowledgments,


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understandings, and agreements with regard to restitution are set forth in paragraph 31 of this

agreement.

       8.     The defendant acknowledges, understands, and agrees that he has discussed

the relevant statutes, as well as the applicable sentencing guidelines with his attorney.

                                        ELEI_\IIENTS

       9.     The parties understand and agree that to sustain the charge of conspiring to

commit mail and wire fraud, in violation of 18 U.S.C. § 1349, as set forth in the superseding

information, the government must prove each of the following propositions beyond a

reasonable doubt:

       First, that the conspiracy as charged existed, and

       Second, that the defendant knowingly became a member of the conspiracy
       with an intention to further the conspiracy.

                              SENTENCING PROVISIONS

       10.    The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to the

presentence report, including that the presentence repoti be disclosed not less than 35 days

before the sentencing hearing, in favor of a schedule for disclosure, and the filing of any

objections, to be established by the court at the change of plea hearing.

       11.    The parties acknowledge, understand, and agree that any sentence imposed by

the court will be pursuant to the Sentencing Reform Act, and that the court will give due

regard to the Sentencing Guidelines when sentencing the defendant.



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       12.    The parties acknowledge and agree that they have discussed all of the

sentencing guidelines provisions that they believe to be applicable to the offense to which

the defendant will plead guilty. The defendant acknowledges and agrees that his attorney,

in tum, has discussed the applicable sentencing guidelines provisions with him to the

defendant's satisfaction.

       13.    The parties acknowledge and understand that, prior to sentencing, the United

States Probation Office will conduct its own investigation of the defendant's criminal history.

The parties further acknowledge and understand that, at the time the defendant enters a guilty

plea, the parties may not have full and complete information regarding the defendant's

criminal history. The parties acknowledge, understand, and agree that the defendant may not

move to withdraw his guilty plea solely as a result of the sentencing court's determination

of defendant's criminal history.

                            Sentencing Guidelines Calculations

       14.    The parties acknowledge, understand, and agree that the sentencing guidelines

calculations included in this agreement represent the positions of the parties on the

appropriate sentence range under the sentencing guidelines. The defendant acknowledges

and understands that the sentencing guidelines recommendations contained in this agreement

do not create any right to be sentenced within any particular sentence range, and that the

court may impose a reasonable sentence above or below the guideline range. The parties

further understand and agree that if the defendant has provided false, incomplete, or



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inaccurate information that affects the calculations, the government is not bound to make the

recommendations contained in this agreement.

                                     Relevant Conduct

       15.    The parties acknowledge, understand, and agree that, pursuant to Sentencing

Guidelines Manual § lB 1.3, the sentencing judge will consider relevant conduct in

calculating the sentencing guidelines range, even if the relevant conduct is not the subject of

the offense to which defendant is pleading guilty.

       16.    The parties acknowledge, understand, and agree that, pursuant to Sentencing

Guidelines Manual§ lBl.3, the sentencing court will consider the total amount of the loss

incurred by any victims as a result of the defendant's fraud even if not alleged in the offense

of conviction, and will use the total amount in calculating the sentencing guidelines range.

       17.    For purposes of determining the defendant's offense level under the sentencing

guidelines, the parties acknowledge and agree that, based upon the information presently

available, the government will recommend that the loss amount associated with the

defendant's criminal conduct charged in the superseding information is more than

$7,000,000, but less than $20,000,000. The defendant reserves the right to dispute the

government's calculation of the applicable loss amount and the associated Sentencing

Guidelines resulting from this calculation discussed below. The parties acknowledge and

understand that the amount of loss may differ from the amount of restitution imposed by the




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sentencing court. The parties' acknowledgments, understandings, and agreements with

regard to restitution are set forth in paragraph 31 of this agreement.

                                     Base Offense Level

       18.    The parties agree to recommend to the sentencing court that the applicable base

offense level for the offense charged in the superseding information is 7 under Sentencing

Guidelines Manual§ 2B 1.1 (a)( 1).

                             Specific Offense Characteristics

       19.    The parties acknowledge that the government will recommend to the

sentencing court that a 20-level increase under Sentencing Guidelines Manual §

2B 1.1(b)(1 )(K) is applicable to the offense level for the offense charged in the superseding

information because the government asserts that the loss amount associated with the

defendant's fraud is more than $7,000,000 but less than $20,000,000. The defendant reserves

the right to dispute this loss amount and the indicated increase in the defendant's offense

level under Sentencing Guidelines Manual§ 2B1. l(b)(l).

       20.    The parties acknowledge that the government will recommend to the

sentencing court that a 2-level increase under Sentencing Guidelines Manual §

2B 1. l(b)(9)(C) is applicable to the offense level for the offense charged in the superseding

information because the defendant's offense involved "sophisticated means," as that term

is used in that section. The defendant reserves the right to dispute this increase in the

defendant's offense level.


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       21.    The parties acknowledge that the government will recommend to the

sentencing court that a 2-level increase under Sentencing Guidelines Manual §

2B 1. l(b)(13)(A) is applicable to the offense level for the offense charged in the superseding

information because the defendant obtained more than $1 million from a financial institution

as a result of his offense. The defendant reserves the right to dispute this increase in the

defendant's offense level.

                                    Role in the Offense

       22.    The parties acknowledge that the government will recommend to the

sentencing court that a 4-level increase under Sentencing Guidelines Manual § 3B 1.1 (a) is

applicable to the offense level for the offense charged in the superseding information because

the defendant was an organizer or leader of criminal activity that involved five or more

participants and was otherwise extensive. The defendant reserves the right to dispute this

increase in the defendant's offense level.

                                Abuse of Position of Trust

       23.    The parties acknowledge that the government will recommend to the

sentencing court that a 2-level increase under Sentencing Guidelines Manual § 3B 1.3 is

applicable to the offense level for the offense charged in the superseding information because

the defendant abused a position of private trust in a manner that significantly facilitated the

commission and concealment of his offense. The defendant reserves the right to dispute this

increase in the defendant's offense level.


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                               Acceptance of Responsibility

       24.    The government agrees to recommend a two-level decrease for acceptance of

responsibility, as authorized by Sentencing Guidelines Manual§ 3El.l(a), but only if the

defendant exhibits conduct consistent with the acceptance of responsibility. In addition, if

the court determines at the time of sentencing that the defendant is entitled to the two-level

reduction under§ 3El.l(a), the government agrees to make a motion recommending an

additional one-level decrease as authorized by Sentencing Guidelines Manual § 3El.l(b)

because the defendant timely notified authorities of his intention to enter a plea of guilty.

                               Sentencing Recommendations

       25.    Both parties reserve the right to apprise the district court and the probation

office of any and all information that might be pertinent to the sentencing process including,

but not limited to, any and all conduct related to the offense, as well as any and all matters

that might constitute aggravating or mitigating sentencing factors.

       26.    Both parties reserve the right to make any recommendation regarding the

defendant's custodial status pending the sentencing and any other matters not specifically

addressed by this agreement.

                          Court's Determinations at Sentencing

       27.    The parties acknowledge, understand, and agree that neither the sentencing

court nor the United States Probation Office is a party to or bound by this agreement. The

United States Probation Office will make its own recommendations to the sentencing court.


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The sentencing court will make its own determinations regarding any and all issues relating

to the imposition of sentence and may impose any sentence authorized by law up to the

maximum penalties set forth above in paragraph 7. The parties further understand that the

sentencing court will be guided by the sentencing guidelines but will not be bound by the

sentencing guidelines and may impose a reasonable sentence above or below the calculated

guideline range.

         28.   The parties acknowledge, understand, and agree that the defendant may not

move to withdraw his guilty plea solely as a result of the sentence imposed on him by the

court.

                                   FINANCIAL MATTERS

         29.   The defendant acknowledges and understands that any and all financial

obligations imposed by the sentencing court are due and payable upon entry of the judgment

of conviction. The defendant agrees not to request any delay or stay in payment of any and

all financial obligations.

                                     Special Assessment

         30.   The defendant agrees to pay the special assessment in the amount of$100 prior

to or at the time of sentencing.

                                        Restitution

         31.   The defendant agrees to make full restitution to Bielinski Brothers Builders,

Inc., which was the victim of the defendant's fraud. The defendant understands that because


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restitution for the offense charged is mandatory, the amount of restitution shall be imposed

by the court regardless of the defendant's financial resources. The defendant agrees to

cooperate in efforts to collect the restitution obligation. The defendant understands that

imposition or payment of restitution will not restrict or preclude the filing of any civil suit

or administrative action.

                            DEFENDANT'S COOPERATION

       32.    The defendant, by entering into this agreement, further agrees to fully and

completely cooperate with the government in its investigation of this and related matters, and

to testify truthfully and completely before the grand jury and at any subsequent trials or

proceedings, if asked to do so. The government agrees to advise the sentencing judge of the

nature and extent of the defendant's cooperation. The parties acknowledge, understand, and

agree that if the defendant provides substantial assistance to the government in the

investigation or prosecution of others, only the government, in its discretion, may move for

and recommend a downward departure from the applicable sentencing guidelines range. The

defendant acknowledges and understands that the court will make its own determination with

regard to the appropriateness and extent of a downward departure.

                        DEFENDANT'S WAIVER OF RIGHTS

       33.    In entering this agreement, the defendant acknowledges and understands that,

in so doing, he surrenders any claims he may have raised in any pretrial motion, as well as

certain rights, which include the following:


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              a.     If the defendant persisted in a plea of not guilty to the charge against
                     him, he would be entitled to a speedy and public trial by a court or jury.
                     The defendant has a right to a jury trial. However, in order that the trial
                     be conducted by the judge sitting without a jury, the defendant, the
                     government and the judge all must agree that the trial be conducted by
                     the judge without a jury.

              b.     If the trial is a jury trial, the jury would be composed of twelve citizens
                     selected at random. The defendant and his attorney would have a say
                     in who the jurors would be by removing prospective jurors for cause,
                     where actual bias or other disqualification is shown, or without cause
                     by exercising peremptory challenges. The jury would have to agree
                     unanimously before it could return a verdict of guilty. The court would
                     instruct the jury that the defendant is presumed innocent until such
                     time, if ever, as the government establishes guilt by competent evidence
                     to the satisfaction of the jury beyond a reasonable doubt.

              c.     If the trial is held by the judge without a jury, the judge would find the
                     facts and determine, after hearing all of the evidence, whether or not he
                     was persuaded of defendant's guilt beyond a reasonable doubt.

              d.     At such trial, whether by a judge or a jury, the government would be
                     required to present witnesses and other evidence against the defendant.
                     The defendant would be able to confront witnesses upon whose
                     testimony the government was relying to obtain a conviction and he
                     would have the right to cross-examine those witnesses. In tum the
                     defendant could, but is not obligated to, present witnesses and other
                     evidence on his own behalf. The defendant would be entitled to
                     compulsory process to call witnesses.

              e.     At such trial, the defendant would have a privilege against self­
                     incrimination so that he could decline to testify and no inference of
                     guilt could be drawn from his refusal to testify. If defendant desired to
                     do so, he could testify on his own behalf.

       34.    The defendant acknowledges and understands that by pleading guilty he is

waiving all the rights set forth above. The defendant further acknowledges the fact that his

attorney has explained these rights to him and the consequences of his waiver of these rights.

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       3 5.   The defendant acknowledges and understands that he will be adjudicated guilty

ofthe offense to which he will plead guilty and, thereby, may be deprived ofcertain rights

including, but not limited to, the right to vote, to hold public office, to serve on a jury, to

possess firearms, and to be employed by a federally insured financial institution.

       36.    The defendant knowingly and voluntarily waives all claims he may have based

upon the statute oflimitations, the Speedy Trial Act, and the speedy trial provisions ofthe

Sixth Amendment. The defendant agrees that any delay between the filing of this agreement

and the entry ofthe defendant's guilty plea pursuant to this agreement constitutes excludable

time under the Speedy Trial Act.

                         Further Civil or Administrative Action

       3 7.   The defendant acknowledges, understands, and agrees that the defendant has

discussed with his attorney and understands that nothing contained in this agreement is meant

to limit the rights and authority ofthe United States ofAmerica or any other state or local

government to take further civil, administrative, or regulatory action against the defendant

including, but not limited to, any listing and debarment proceedings to restrict rights and

opportunities of the defendant to contract with or receive assistance, loans, and benefits from

United States government agencies.




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                                  GENERAL MATTERS

       38.    The parties acknowledge, understand, and agree that this agreement does not

require the government to take, or not to take, any particular position in any post-conviction

motion or appeal.

       39.    The parties acknowledge, understand, and agree that this plea agreement will

be filed and become part of the public record in this case.

       40.    The parties acknowledge, understand, and agree that the United States

Attorney's office is free to notify any local, state, or federal agency of the defendant's

conviction.

       41.    The defendant understands that pursuant to the Victim and Witness Protection

Act and the regulations promulgated under the Act by the Attorney General of the United

States, the victim of a crime may make a statement describing the impact of the offense on

the victim and further may make a recommendation regarding the sentence to be imposed.

The defendant acknowledges and understands that comments and recommendations by a

victim may be different from those of the parties to this agreement.

                      Further Action by Internal Revenue Service

       42.    Nothing in this agreement shall be construed so as to limit the Internal Revenue

Service in discharging its responsibilities in connection with the collection of any additional

tax, interest, and penalties due from the defendant as a result of the defendant's conduct

giving rise to the charge alleged in the superseding information.



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         EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT

       43.    The defendant acknowledges and understands that ifhe violates any term of

this agreement at any time, engages in any further criminal activity prior to sentencing, or

fails to appear for sentencing, this agreement shall become null and void at the discretion of

the government. The defendant further acknowledges and understands that the government's

agreement to dismiss any charge is conditioned upon final resolution of this matter. If this

plea agreement is revoked or ifthe defendant's conviction ultimately is overturned, then the

government retains the right to reinstate any and all dismissed charges and to file any and all

charges that were not filed because of this agreement. The defendant hereby knowingly and

voluntarily waives any defense based on the applicable statute of limitations for any charges

filed against the defendant as a result of his breach of this agreement. The defendant

understands, however, that the government may elect to proceed with the guilty plea and

sentencing. If the defendant and his attorney have signed a proffer letter in connection with

this case, then the defendant further acknowledges and understands that he continues to be

subject to the terms of the proffer letter.

                     VOLUNTARINESS OF DEFENDANT'S PLEA

       44.    The defendant acknowledges, understands, and agrees that he will plead guilty

freely and voluntarily because he is, in fact, guilty. The defendant further acknowledges and

agrees that no threats, promises, representations, or other inducements have been made, nor




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agreements reached, other than those set forth in this agreement, to induce the defendant to

plead guilty.




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                                ACKNOWLEDGMENTS

I am the defendant. I am entering into this plea agreement freely and voluntarily. I am not
now on or under the influence of any drug, medication, alcohol, or other intoxicant or
depressant, whether or not prescribed by a physician, which would impair my ability to
understand the terms and conditions of this agreement. My attorney has reviewed every part
of this agreement with me and has advised me of the implications of the sentencing
guidelines. I have discussed all aspects of this case with my attorne and I am satisfied that
my attorney has provided effective assistance of co


Date:




I am the defendant's attorney. I have reviewed carefully
the defendant. To my knowledge, my client's decisi
informed and voluntary one.


Date:
                                                  MARTIN E. KOHLER
                                                  Attorney for Defendant


For the United States of America:                                        '



                                                  ��✓
                                                  United States Attorney



Date:
                                                  MATTHEW L. JACOBS
                                                  Assistant United States Attorney



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                      UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF WISCONSIN                ·05 ,m/ l 9 P 4 :27


 UNITED STATES OF AMERICA,

                   Plaintiff,

             v,                                    Case No. 05wCR-013

 ROBERT G. BROWNELL,
 ROBERT E. MANN,
 NORMAN C. HANSON, and
 MICHAEL A. GRAL,

                   Defendants.


                         SUPERSEDING INFORMATION


      The United States Attorney Charges:

                                      Overview

      1.     Between on or about May 1, 2000, and on or about July 16, 2004, in

the State and Eastern District of Wisconsin. and elsewhere,

                                 Robert G. Brownell,
                                   Robert E. Mann,
                                Norman C. Hanson, and
                                   Michael A. Gral,

did knowingly conspire among themselves and with others known and unknown to

device and execute a scheme to defraud, which scheme was executed by use of

the U.S. mail and interstate wire communications, in violation of Title 18, United

States Code, Sections 1341 (mail fraud) and 1343 (wire fraud).

                                         EXHIBIT

                                         /I
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      2.     The defendants' scheme to defraud included a scheme to deprive

another of the intangible right to honest services.

      3.     The object of the conspiracy was to obtain money for the defendants,

their businesses, as well as others conspirators, and their companies; and to fund

contributions to candidates for public office.

                                     Background

      4.     Bielinski Brothers, Inc. is a Waukesha County-based residential and

commercial construction company. It operates under various corporate names,

including Bielinski Homes and Bielinski Development, Inc. (herein collectively

referred to as "Bielinski Brothers"). Bielinski Brothers is involved in more than $100

million in new home construction each year.

      5.     Robert G. Brownell began working for Bielinski Brothers in 1995. From

approximately 2001 until July of 2004, Brownell served as Chief Executive Officer

of Bielinski Brothers. He was paid approximately $175,000 per year. Brownell was

also a partner with Frank and Harry Bielinski in FHB Investments, LLC.

      6.     As part of his duties at Bielinski Brothers, Brownell approved the

payment of invoices associated with development and new home construction.

These invoices included work for surveys, analysis, grading and similar activity at

the start of the construction of a residential subdivision.

      7.     Mann Brothers, Inc. is an Elkhorn-based construction company that

provided grading and other construction work for Bielinski Brothers. During the time


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period of the conspiracy, Mann Brothers performed approximately $20 million in

work for Bielinski Brothers each year.

       8.    Robert E. Mann was the president and part-owner of Mann Brothers,

Inc.

       9.    Welch Hanson & Associates is civil engineering firm in Delafield,

Wisconsin. The firm also includes surveyors and landscape architects. The firm

is a division of Yaggy Colby & Associates.

       10.   Norman C. Hanson is a principal in Welch Hanson & Associates. He

also is a partner in a separate, unrelated limited liability company called NCCBH.

       11.   Michael A. Gral was a partner at the law firm Michael Best & Friedrich.

He served as a lawyer for Bielinski Brothers.

                      Kickback and Embezzlement Scheme

       12.   In addition to working for Bielinski Brothers, Brownell operated various

businesses alone and in partnership with others. They included: (a) OSI, or

Development Services, Inc.; (b) SEWMA, or Southeastern Wisconsin Market

Analysts; (c) Georgetown Holdings, LLC; (d) Georgetown Development, LLC; (e)

Georgetown Investments, LLC; and (e) Belize, LLC.

       13.   As part of a scheme to defraud Bielinski Brothers and others, Brownell

approved invoices from other business entities knowing that the invoices were

fraudulent and had been inflated.




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      14.   The money generated as part of the false billings was used for the

financial benefit of the defendants and others, as described below.

      Mann Brothers

      15.    Bielinski Brothers hired Mann Brothers to do grading and other work

at the start of residential developments.

      16.   As part of a scheme to defraud Bielinski Brothers, Mann and Brownell

agreed to participate in Bielinski Brother's payment of inflated invoices submitted

by Mann Brothers.

      17.    At the start of a project involving Mann Brother and Bielinski Brothers,

Brownell and Mann discussed the amount of inflated charges that were to be

included on a particular project. That amount varied by the size of the project, the

actual work that was needed, and the potential budget.

      18.    Once Mann Brothers was paid, the excess from the invoices was split

equally between Brownell and Robert Mann. Brownell's share was given to him in

the form of checks from Mann Brothers to DSI and SEWMA. Brownell provided an

invoice from one of his companies to Mann to justify this payment.

      19.    The inflated and fraudulent invoices from Mann Brothers to Bielinski

Brothers, as well as the invoices Brownell provided to Mann Brothers to support the

50-50 split, constituted materially false pretenses, representations, and promises.




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      Welch Hanson

      20.   Also during the time period of the conspiracy, Brownell directed actual

Georgetown projects, including residential construction. One such project was the

Conservancy, a high-end residential development in Cedarburg, Wisconsin. As

part of his fraudulent activity, Brownell directed various contractors, including Welch

Hanson & Associates, to issue bills to Bielinski Brothers for work actually performed

on Georgetown projects, including the Conservancy, even though the work was not

done for Bielinski Brothers. The payments were approved by Brownell and issued

by Bielinski Brothers.

      21.    As a result, Bielinski Brothers unwittingly paid invoices on projects that

were the private business interests of Brownell and others.

      22.    Brownell and Norm Hanson agreed to this method of payment.

      23.    In addition, Norm Hanson agreed to use his NCCBH entity, as well as

Welch Hanson & Associates, to issue fraudulent invoices to Bielinski Brothers that

were unrelated to any actual project. Brownell approved the payment of these

fraudulent invoices.

      24.    The majority of the money generated from the false billings was sent

to Brownell through one of his business entities; though Hanson often kept a small

percentage for personal use.




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      25.      The inflated and fraudulent invoices from Welch Hanson & Associates

and NCCBH to Bielinski Brothers constituted materially false pretenses,

representations, and promises.

      Brownell-Gral Partnerships

      26.      Brownell and Gral were business partners in various entities, including

Georgetown Holdings, LLC; Georgetown Development, LLC; Georgetown

Investments, LLC; and Belize, LLC. Through their partnerships, Brownell and Gral

purchased and developed real estate in Wisconsin and Florida. As part of the

scheme, the defendants fraudulently used funds belonging to Bielinski Brothers to

make down payments, purchase, and pay for development costs for such real

estate.

       27.     At the same time, Gral, while with the Michael Best & Friedrich law firm,

served as a lawyer for Bielinski Brothers, as well as for its owners, Harry and Frank

Bielinski. During the time period of the conspiracy, Michael Best & Friedrich billed

Bielinski Brothers approximately $4 million for work performed by Gral and others

at the firm.

       28.     Based on his role as an attorney, Gral owed a fiduciary duty to Bielinski

Brothers and Harry and Frank Bielinski personally.

       29.     As a further part of the scheme to defraud, Gral misused that fiduciary

duty for private gain.




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      30.    Gral engaged in actions, individually and through Brownell, that served

his own financial interest to the detriment of Bielinski Brothers at the same time that

Gral was serving as a lawyer for Bielinski Brothers.

      31.    On such transaction was as follows. In the fall of 2002, Brownell and

Gral, through Belize, LLC, entered into an agreement to purchase a condominium

in Florida. Brownell had Bielinski Brothers pay in excess of $500,000 as a deposit

for the purchase of the Florida condominium. The payment was authorized by

Brownell without the knowledge or approval of Frank and Harry Bielinski and was

made to appear as a legitimate Bielinski Brothers' expenditure.

      32.    In January 2004, Gral and Brownell entered into an agreement to have

FHB Investments (as described in paragraph 5 above) act as an agent for

Georgetown Investments to purchase real estate located in Lincoln County,

Wisconsin known as Harrison Lakes. The purchase price for this property was

approximately $1,500,000.       As part of this agreement, Gral and Brownell

fraudulently used funds belonging to FHB Investments to purchase this property.

Despite the fact that Gral was the lawyer for Bielinski Brothers and its owners, the

agreement was entered into without the knowledge or approval of Frank and Harry

Bielinski. In July, 2004, Gral and Brownell transferred the Harrison Lakes property

from FHB Investments to Georgetown Investments.

      33.    Brownell and Gral further entered into an arrangement whereby

Brownell would provide Gral and his law firm with checks drawn on Bielinski


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Brothers accounts, which did not have sufficient funds to cover the amount of these

checks. These checks totaled in excess of $2 million. Gral agreed not to negotiate

these checks and to provide Brownell with escrow agreements representing that the

funds were on deposit with his law firm.

      34.   The actions of Gral and Brownell deprived Bielinski Brothers, and

Frank and Harry Bielinski individually, of their intangible right to Gral's honest

services, as those terms are used in Title 18, United States Code, section 1346.

The actions of Gral and Brownell also included materially false pretenses,

representations, and promises.

                             "Maintenance Account"

      35.    During the time period of the conspiracy, Brownell and Robert Mann

kept a "maintenance account" to be funded by the fraudulent activity described

above. The purpose of the account was to supply Brownell and Mann with a pool

of money to provide themselves and others with financial benefits.

      36.   The recipients of the financial benefits further included persons

involved with Brownell and Mann in otherwise legitimate business deals, including

the owners of other businesses.

      37.    The "maintenance account" also funded illegal campaign contributions

and other benefits to candidates and elected officials as described below.

      38.    Brownell also provided Hanson with proceeds from the fraud to fund

illegal campaign contributions as described below.


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      39.     The amount of money involved in the "maintenance account" exceeded

$1 million.

                             Campaign Contributions

      40.     Brownell, Robert Mann, Norman Hanson and others associated with

them sought to provide campaign contributions to certain candidates for public

office. In order to avoid campaign contribution restrictions, Brownell, Mann, and

Hanson used corporate funds and proceeds from the "maintenance account" to

reimburse themselves and others for contributions to these political candidates.

      41.     During the time period of the conspiracy, employees of Mann Brothers

were provided with approximately $100,000 for the purpose of funding campaign

contributions to then-Wisconsin governor Scott McCallum, the 2004 United States

Senate race of Russ Darrow, and the 2004 reelection campaign of President

George W. Bush. The contributions included the following.

       42.    In February of 2001, Robert Mann and two others from Mann Brothers

provided $25,000 for the inauguration ball of then-Wisconsin governor Scott

McCallum. The $25,000 was funded by the "maintenance account."

       43.    In February of 2002, Mann Brothers provided three of its employees

with bonuses totaling $22,500, which, after withholdings, gave the employees a

total of just over $15,000. The money was then used by the employees to make a

total of $15,000 in contributions to Scott McCallum for his reelection campaign.




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The maintenance account was used to reimburse Mann Brothers approximately

$21,000 of the bonuses.

      44.   In August of 2002, Mann Brothers provided two other persons with

$15,000, so that (after withholdings) $10,000 was available for a McCallum fund

raiser. The maintenance account was used to reimburse Mann Brothers.

      45.   Similar funding schemes were used to provide the President George

W. Bush reelection campaign with $21,000; and the Russ Darrow campaign for

U.S. Senate with $17,000.

      46.   Robert Brownell used the maintenance account to reimburse himself

and others at Bielinski Brothers approximately $19,000 for campaign contributions.

Approximately $13,000 went to the campaign of then-Wisconsin governor Scott

 McCallum; approximately $4,000 went to the 2004 United States Senate race of

 Russ Darrow; and approximately $2,000 went to the 2004 reelection campaign of

President George W. Bush.

      47.   Norman Hanson used proceeds of the fraud to reimburse himself and

others at Welch Hanson approximately $57,500 for campaign contributions.

Approximately $43,500 went to the campaign of then-Wisconsin governor Scott

 McCallum; approximately $8,000 went to the 2004 United States Senate race of

 Russ Darrow; and approximately $6,000 went to the 2004 reelection campaign of

President George W. Bush.
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                                     Total Losses

        48.     The amount of losses caused by the scheme to defraud exceeded $4

 million.

                                 Mail and Wire Fraud

        49.     Brownell, Mann, Hanson, and Gral, and others acting in concert with

 them and on their behalf, for the purpose of executing and attempting to execute

 the scheme to defraud did cause and intend to cause matter to be delivered by the

 United States Postal Service and commercial interstate carriers according to the

 directions thereon. The mail matter included the invoices and checks described

 above.

        50.     Brownell, Mann, Hanson, and Gral, and others acting in concert with

 them and on their behalf, for the purpose of executing and attempting to execute

 the scheme to defraud did cause and intend to cause interstate wire

 communications. These interstate wire communications included the transfer of

 funds from the State of Wisconsin to other locations including the State of Florida.

        All in violation of Title 18, United States Code, section 1349.


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 Date       I                                   STEVEN M. BISKUPIC
                                                United States Attorney




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                           United States v. Robert G. Brownell
                                  Case No. 05-CR-013

                        GOVERNMENT'S OFFER OF PROOF

       Overview.

       At all time relevant to this prosecution, defendant Robert G. Brownell ("Brownell")
was employed by Bielinski Brothers Builders, Inc. ("Bielinski Brothers") or one ofits related
businesses. Bielinski Brothers, which operated related businesses including Bielinski Homes
and Bielinski Development, is a residential construction business located in Waukesha,
Wisconsin. The business is owned by Frank and Harry Bielinski, who are brothers. In
October 1995, Brownell was hired as the Acquisitions and Development Manager at
Bielinski Brothers. In 2001, Brownell became the Chief Executive Officer of Bielinski
Brothers.

       As detailed below, Brownell and others working with him, including the other
defendants charged in this case, devised and carried out a scheme to defraud Bielinski
Brothers and others. As part of this scheme, Brownell used his position at Bielinski Brothers
to authorize the payment of numerous fraudulent invoices and other expenses to his own
benefit and the benefit of third parties, including his co-defendants.

       As a further part of his scheme, Brownell fraudulently used his position at Bielinski
Brothers to apply for and obtain loans from federally insured financial institutions in the
names of Bielinski Brothers, in the names of its related businesses, as well as in the names
of its owners, Frank and Harry Bielinski. To obtain these loans, Brownell, and others
working with him and at his direction, forged the signatures of Frank and Harry Bielinski,
as well as the signature of Harry's wife, Suzanne.

      To facilitate the fraud, Brownell and others working with him and at his direction, set
up separate businesses, including Southeastern Wisconsin Market Analysts, Inc.
("SEWMA"), Development Services, Inc. ("OSI"), Georgetown Holdings, LLC, Georgetown
Investments, LLC, Georgetown Development, LLC, Belize, LLC, and MBB Associates.

       1. Robert Mann/Mann Brothers, Inc.

       At all times relevant to this prosecution, defendant Robert Mann ("Mann"), was an
owner and officer of Mann Brothers, Inc., which is a construction, grading, and excavating
business located in Elkhorn, Wisconsin.


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       In late 1999, Mann and Brownell entered into an agreement to obtain money from
Bielinski Brothers through the submission of inflated and fraudulent invoices in connection
with actual projects Mann Brothers was working on for Bielinski Brothers. Brownell would
tell Mann on which projects Mann should submit inflated invoices and the amount by which
Mann should inflate the invoices. Under this agreement, Brownell used his position at
Bielinski Brothers to approve these inflated invoices.

       Mann and Brownell agreed that a portion of the money fraudulently obtained from
Bielinski Brothers would be used by Mann to pay for various expenditures benefitting Mann
and Brownell, including funding illegal campaign contributions to various political
candidates. Mann kept track of these expenditures, which totaled approximately $1.1
million, on a "running total" he maintained. The remaining portion of the money
fraudulently obtained from Bielinski Brothers was split between Mann and Brownell. To
obtain his share of the money, Brownell submitted invoices to Mann Brother in the names
ofSEWMA and DSI totaling approximately $1.2 million. Based on Mann's approval, Mann
Brothers paid these latter invoices by issuing checks that were mailed to Brownell's
businesses.

       Pursuant to this agreement, during the period from late 1999 through July 2004, Mann
submitted invoices to Bielinski Brothers that included inflated and fraudulent charges
totaling approximately $3.8 million. These invoices were mailed to Bielinski Brothers by
Mann Brothers. Based on Brownell's approval, Bielinski Brothers paid these inflated and
fraudulent invoices by issuing checks that were mailed to Mann Brothers.

       2. Brian Camey.

       During the period from approximately June 2000 through September 2000, Brian
Camey was employed in the Acquisition and Development Department at Bielinski Brothers.
In September 2000, Camey left Bielinski Brothers and went to work at Redmond Residential,
which was also real estate development business. In April 2000, Brownell had formed a
partnership with the owner of Redmond Residential and a third party. Camey worked at
Redmond Residential from October 1, 2000 through October 2002. He was re-hired by
Brownell to work at Bielinski Brothers beginning in January 2003.

        In approximately October 2000, Camey entered into an arrangement with Robert
Brownell, who, at that time, was the head of the Acquisition and Development Department
at Bielinski Brothers. Under this arrangement, Brownell agreed to pay Camey and a second
employee (Barb Gumieny) a "signing bonus" to leave Bielinski Brothers and go to work at
Redmond Residential. Unbeknownst to the owners of Bielinski Brothers, Brownell used
funds from Bielinski Brothers to pay this bonus. To facilitate this payment and make it look

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legitimate, Camey formed a business called Great Lakes Design Group, LLC ("Great
Lakes"). Camey also opened a bank account in the name of Great Lakes and a post office
box in Waukesha.

       On November 10, 2000, Camey and/or Brownell submitted an invoice to Bielinski
Brothers in the name of Great Lakes. The invoice (no. 8228) was in the amount of$31,200
and reflected a bill for services that had not, in fact, been provided to Bielinski Brothers.
Pursuant to the arrangement with Camey, Brownell fraudulently authorized payment of this
invoice by Bielinski Brothers. This payment, which was made by check dated December! 3,
2000, was sent to Camey, who deposited the check into his Great Lakes bank account.

       Camey then issued a check on the Great Lakes account payable to Brownell in the
amount of$29,900. Brownell used these funds, in tum, to make payments to Camey, in the
amount of$14,900, and Gumieny in the amount of$15,000. These payments were made to
induce Camey and Gumieny to leave Bielinski Brothers and go to work at Redmond
residential.

        In late 2002, Camey agreed to return to work at Bielinski Brothers. Brownell told
Camey that he would pay Camey approximately $10,000 prior to the time Camey actually
started working again at Bielinski Brothers in January 2003. In addition, Brownell agreed
to supplement Camey's official salary at Bielinski Brothers after Camey started working.
Brownell instructed Camey to submit invoices to Bielinski Brothers under the name of Great
Lakes to obtain these additional payments. Brownell never sought the approval of or
informed the owners of Bielinski Brothers of this arrangement with Camey. During the
period from approximately November 2002 through May 2004, and at Brownell's direction,
Camey submitted fraudulent invoices to Bielinski Brothers in the name of Great Lakes
totaling$72,475. These invoices were made to appear as if Great Lakes had performed work
on various Bielinski Brothers projects. Based on Brownell's approval, Bielinski Brothers
paid the Great Lakes invoices. These payments were sent by mail to Camey.

       3. Norman Hanson/Welch Hanson fraud.

       At all times relevant to this prosecution, defendant Norman C. Hanson ("Hanson"),
was a principal of and employed by Welch, Hanson and Associates ("Welch Hanson").
Welch Hanson is a business located in Delafield, Wisconsin that provides consulting and
other services to real estate developers. These services include engineering, surveying,
landscape architecture, and planning. In September 2002, Hanson set up a separate business
under the name NCCBH Consulting Services, LLC ("NCCBH"). Hanson also opened a bank
account in the name ofNCCBH.


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       In approximately June 2001, Hanson and Brownell entered into an agreement whereby
Welch Hanson provided services for real estate development projects in which Brownell was
involved but that did not involve Bielinski Brothers. Under this arrangement, Welch Hanson
submitted invoices to Bielinski Brothers for the work performed on Brownell's projects.
These invoices totaled in excess of $360,000. To conceal this arrangement, the invoices
submitted by Welch Hanson to Bielinski Brothers reflected generic descriptions of the
projects and the nature of the work that had been performed. Using his position at Bielinski
Brothers, Brownell fraudulently approved payment of these invoices.

        During the period from approximately October 2002 through April 2004, Hanson also
submitted fraudulent invoices to Bielinski Brothers in the name of NCCBH charging for
services that had not, in fact, been provided by Hanson or NCCBH. These invoices totaled
approximately $168,000. Using his position at Bielinski Brothers, Brownell approved these
fraudulent invoices. Based on Brownell's approval, Bielinski Brothers paid these invoices
by issuing checks that were mailed to Hanson and NCCBH.

        Hanson retained a portion of the money paid by Bielinski Brothers as a fee for his
services. The majority of the money Hanson obtained from Bielinski Brothers, however, was
diverted back to Brownell. To obtain his share of the money and make it appear that these
were legitimate business transactions, Brownell submitted invoices to NCCBH in the names
of SEWMA and DSI. These invoices totaled approximately $77,000.

       At Brownell's direction, some of the money paid to NCCBH by Bielinski Brothers
was used by Hanson to fund illegal campaign contributions made by Hanson, his wife, and
Welch Hanson employees. In addition, some of the money was used by Hanson to pay for
a portion of the rent for an apartment for a relative of Hanson's and to fund down payments
made by two Welch Hanson employees for homes being built by Bielinski Brothers.

       4. Florida condominium/Belize, LLC.

      In July 2002, Brownell executed a contract to purchase a condominium located in
Marco Island, Florida, for $2,760,000. Brownell initially entered into the contract to
purchase the condo in his own name but later changed the purchaser to Belize, LLC. Belize,
LLC was a business formed by Brownell and defendant Michael Gral, in Florida in August,
2002. The sole owner of Belize, LLC was Georgetown Holding Company, LLC, which was
a Wisconsin company formed by Brownell and Gral on November 21, 2001.

      In connection with this purchase, Brownell provided down payments towards the
purchase price totaling $828,000. Brownell made this down payment in the form of three
checks. The first was dated September 5, 2002, in the amount of $50,000, and was written

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on a Bielinski Brothers' account at State Financial Bank in the name of Fox Chase, LLC.
Brownell did not have the authority to issue this check on behalf of Bielinski Brothers and
did not inform the owners of Bielinski Brothers that he was using Bielinski Brothers' funds
to make a down payment on the condominium.

       The second check was dated September 23, 2002, in the amount of$502,000, and was
drawn on a Bielinski Brothers' account maintained at M&I Bank. Again, Brownell did not
have the authorization of Bielinski Brothers to make this payment and did not inform the
owners of Bielinski Brothers that he was using Bielinski Brothers' funds to make a down
payment on his purchase of the Florida condominium. The remaining portion of the down
payment was made using funds Brownell had borrowed from his co-defendant, Robert Mann.

      Brownell closed on the purchase of the Florida condominium on June 28, 2004. The
purchase of the condominium was funded by a $2,760,000 loan Gral and Brownell obtained
from State Financial Bank in the name of Belize, LLC. At the closing of the purchase of the
condominium in 2004, Brownell received approximately $758,000, which he converted to
his own use.

       5. Harrison Lakes Property

        In October 2003, Brownell submitted an offer to purchase a real estate development
located on Harrison Lakes in Lincoln County, Wisconsin ("Harrison Lakes"). The original
offer to purchase was made in the name of Bielinski Homes, Inc. for a total purchase price
of$1,561,000. Brownell submitted the offer in his capacity as the CEO of Bielinski Homes;
however, Brownell had never obtained the authorization of the owners of Bielinski Homes
to make this offer. This offer was ultimately accepted by the owners of Harrison Lakes and
the sale closed on January 8, 2004.

       Two days prior to the closing, Brownell executed an assignment transferring the offer
to purchase Harrison Lakes from Bielinski Homes to FHB Investments, LLC. FHB
Investments was a separate business set up by Brownell and Frank and Harry Bielinski, to
make separate investments in real estate. Brownell executed the assignment of offer on
behalf of both Bielinski Homes, as its CEO, and FHB Investments. Frank and Harry
Bielinski were unaware of this transaction.

       To fund the purchase of Harrison Lakes, Brownell fraudulently applied for and
obtained a $6.5 million line of credit at M&I Bank in the name of Bielinski Properties. To
obtain this line of credit, Brownell and others working with him and acting as his direction,
forged the si gnatures of Frank and Harry Bielinski, as well as Harry's the wife, Suzanne, on
various loan documents submitted to M&I Bank. In addition, Brownell had another

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employee at Bielinski Homes, Jill Baker, fraudulently notarize the forged signatures of Harry,
Frank and Suzanne Bielinski on these documents. The forged documents submitted to M&I
Bank included a mortgage on several duplexes in Waukesha owned by the Bielinskis and an
assignment of the rents from these duplexes to the bank.

      After fraudulently obtaining this line of credit, Brownell directed that in excess of
$1,560,000 be drawn on the line of credit and transferred to the account of FHB Investments
maintained at State Financial Bank. Brownell then directed that a series of checks totaling
$1,560,536.26 be issued on the FHB account to pay for the purchase of Harrison Lakes.
Again, all of these transactions were conducted by Brownell without the knowledge or
approval of Frank and Harry Bielinski.

       As an aside, at approximately the same time, Brownell also approached State
Financial Bank and applied for a $1.5 million in the name of FHB Investments to purchase
Harrison Lakes. Brownell never followed through on this loan.

       In July 2004, Brownell sold the Harrison Lakes property to Georgetown Investments,
which was a business he and Gral had set up in November 2001. The purchase price for this
sale was $1,561,000. The closing statement for this transaction is signed by Brownell on
behalf of FHB Investments and Gral on behalf of Georgetown Investments.

       Si gnificantly, Brownell and Gral also executed an agency agreement that purports to
be dated January 6, 2004. This agency agreement, which was likely executed in July, 2004
and backdated to January to precede the initial purchase of Harrison Lakes, indicates that at
the time FHB Investments initially purchased Harrison Lakes it was acting as the agent for
Georgetown Investments. At a minimum, this documentation would have avoided the
transfer tax associated with the July 2004 sale of Harrison Lakes by FHB Investments to
Georgetown Investments by making this latter sale appear to be merely a continuation of the
January purchase.

        The purchase of the Harrison Lakes property by Georgetown Investments was
financed by a loan Gral and Brownell obtained in the name of Georgetown Investments from
State Financial Bank. The loan was in the amount of $1,538,000. In connection with
obtaining this loan, Brownell and Gral also submitted a copy of the backdated agency
agreement reflected that FHB had acted as Georgetown Investment's agent at the time of the
initial purchase in January 2004.

       As with most of the documentation in connection with the original purchase of the
Harrison Lakes property and the subsequent sale to Georgetown Investments, this backdated
agency agreement was generated by Gral's law firm, Michael, Best & Friedrich ("MB&F").

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Gral was, at that time, a partner at MB&F and one of the lawyers for Bielinski Brothers and
Frank and Harry Bielinski. MB&F billed Bielinski Brothers approximately $4,000 for legal
services in connection with the initial purchase of Harrison Lakes by FHB Investments and
the later sale to Georgetown Investments. In fact, Gral was one of the three lawyers from
MB&F who worked on this matter and billed Bielinski Brothers for his time.

       6. Jaek Broughton

       Jack Broughton was hired as the Director ofMarketing for Bielinski Brothers in May
2003. In a side agreement, Brownell agreed to supplement Broughton's official salary at
Bielinski Homes by making payments to a business Broughton formed, Accipiter
Communications, LLC. Brownell never sought the approval of or informed the owners of
Bielinski Brothers of this arrangement with Broughton. During the period from June 2003
May 2004, and at Brownell's direction, Broughton submitted fraudulent invoices to Bielinski
Brothers in the name of Accipiter Communications totaling $111,002.35. These invoices
were made to appear as if Accipiter Communications had provided consulting services to
Bielinski Brothers. Based on Brownell's approval, Bielinski Brothers paid the Accipiter
Communications invoices. These payments were sent to Broughton by mail.

       7. Forged M&I Bank Loans

         In March 2004, Brownell orchestrated the application and obtaining of three loans
from M&I Bank using the forged signatures of Harry and Frank Bielinski and, in the case of
one of the loans, the forged signature of Harry's wife, Suzanne. The first loan, which was
in 1.he name of Bielinski Development, Inc., was in the amount of$7, 120,000. The indicated
purpose for this loan was the Bay Pointe Condominiums in Oconomowoc. At the time this
loan was obtained, approximately $2 million was drawn on the loan and used to purchase the
property associated with this project.

       The second loan, which was also issued in the name of Bielinski Development, Inc.,
was in the amount of $2,550,000. This loan indicates that it was for purposes of another
Bielinski project, Riverfront Condominiums in Waukesha. At the time of closing on this
loan, approximately $745,000 was drawn and again used to purchase the property on which
this project was being constructed.

       The third loan, which was in the amount of $1,430,000, was issued in the names of
Harry and Frank Bielinski, individually. The net proceeds from this loan ($1,424,905) was
wired to Mann Brothers.



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       All ofthe loan documents associated with these three loans bear the forged signatures
of Harry and Frank Bielinski. Significantly, among these documents are forged agreements
under which Frank and Harry Bielinski pledged their personal certificates of deposit at
Johnson Bank to secure the loan obtained in their individual names that was used to wire $1.4
million to Mann Brothers. The signature of Harry Bielinski was forged by David Busch; the
signature of Frank Bielinski was forged by Jill Baker; and the signature of Harry Bielinski's
wife, Suzanne, was forged by Joseph Harvey.

       8. Fraudulent MB&F Escrow Agreements

       In late May and early June 2004, Brownell caused the creation of four fraudulent
escrow agreements. These escrow agreements represent that Bielinski Brothers had
deposited a stated amount of money with the law firm ofMB&F and that these funds would
be available to the recipient of the escrow agreement if certain events occurred. All of the
escrow agreements are executed by Brownell on behalf of various Bielinski entities.

       Three ofthese escrow agreements (May 24, 2004 in the amount of$274,900; May 25,
2004 in the amount of $620,400; and May 26, 2004 in the amount of $360,000) were
provided to M&I Bank in connection with three loans Bielinski brothers obtained to purchase
property. The escrow agreements were given to the bank to provide a financial cushion in
the event that appraisals for the property turned out to be inadequate to cover three loans the
bank was making to the Bielinski Brothers.

       Each of the escrow agreements has an escrow receipt indicating that MB&F has
received and deposited the indicated amount of money as earnest money for the agreement.
While Brownell did provide a Bielinski Brothers' check for each of the escrow agreements,
he directed the law firm not to deposit the checks and there were insufficient funds to cover
the checks if the law firm had, in fact, deposited them.

      Because the appraisals associated with the M&I Bank loans ultimately proved
adequate to cover the loans, the three unfunded escrow agreements executed by Brownell
were never drawn on and ultimately expired.

       The fourth escrow agreement was provided by Brownell to Mann Brothers. This
escrow agreement reflects that MB&F has a total of$1,666,288 as earnest money deposited
with it. Again, while Brownell did provide the law firm with a Bielinski check in this
amount, he directed the law firm not to deposit the check and there were insufficient funds
to cover the check had the law firm attempted to negotiate it.



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        This escrow agreement reflected that Mann Brothers had performed work on seven
projects of Bielinski Brothers and was, therefore, owed a total of$1,666,288. The majority
of this amount ($1,275,089) was for work Mann Brothers had purportedly done on a project
known as Grandview Plaza.

       After Brownell provided this unfunded escrow agreement to Mann Brothers, the CFO
for Mann Brothers used the agreement in discussions with LaSalle Bank, which was
providing financing to Mann Brothers and had concerns about accounts receivables that
Mann Brothers had not collected. It is my understanding that Mann Brothers has
subsequently attempted to collect on this escrow agreement.

       9. Assignment Fraud

        Over the course of his employment with Bielinski Brothers, Brownell fraudulently
used his position to disrupt or otherwise sidetrack efforts by Bielinski Brothers to purchase
real estate. Brownell and others working with him or at his direction, would then acquire the
rights to purchase the real estate. Bielinski Brothers would then have to pay this third party
an assignment fee to obtain the rights to purchase the property. As a result of Brownell's
actions, Bielinski Brothers paid a total of $1.5 million in assignment fees. In addition,
Bielinski Brothers paid $300,000 for a piece of property that it had previously sold in
connection with one of the assignments for $1,000.

       (a)    Fox Chase.

       In March 2000, Bielinski Brothers obtained an offer to purchase 57 acres of land in
Eagle, Wisconsin for $660,000. This project is commonly referred to as the Fox Chase
Development. Bielinski Brothers did not, however, close on this transaction.

        Instead, in October of2000, Redmond Residential of Wisconsin, which was operated
by Mark Redmond and Brian Cummings, obtained an offer to purchase the property, as well
as a 1.1 acre out lot, for $760,000. As mentioned above, in April 2000, Brownell had entered
into a partnership with Redmond and Cummings to form MBB Associates. In addition,
shortly before Redmond Residential obtained the offer to purchase the Fox Chase property,
Brownell convinced two of his subordinates at Bielinski Brothers, Brian Camey and Barb
Gumieny, to leave Bielinski Brothers and go to work for Redmond Residential. As discussed
above, Brownell paid Camey and Gumieny a "signing bonus" to go to work for Redmond
Residential using funds from Bielinski Brothers.

       In August 2001, Bielinski Brothers entered into an agreement with Redmond to obtain
his right to purchase the Fox Chase property in exchange for a fee of$350,000.

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        In April 2002, this transaction was completed (although in a somewhat more
complicated fashion) and Redmond was paid the $350,000 assignment fee. Redmond was
also allowed to retain an out lot from the property for$1,000.

       On October 25, 2002, Brownell entered into an agreement with Redmond to purchase
the out lot from Redmond for $300,000.

       (b)    Grafenauer-Thomas Property

       In July 2002, MBB submitted an offer to purchase 97 acres of real estate located in
East Troy, Wisconsin. This property is commonly referred to the Grafenauer-Thomas
property after its former owners. The offer was accepted in August 2002. As mentioned
above, MBB was a joint venture of Mark Redmond (M), Brian Cummings (B), and Bob
Brownell (B) formed in April 2000. In August 2002, Redmond entered into an agreement
with the Bielinskis to assign his right to purchase the Grafenauer-Thomas property for a fee
of$650,000. After several delays and extensions, during which Bielinski Brothers made at
least two payments of $50,000 each to extend the closing, the sale of the property to
Bielinski Brothers occurred in February 2004. At this time, Bielinski Brothers deposited
$650,000 with MB&F, which ultimately disbursed the money to MBB. By this time,
however, Brownell had terminated his relationship with MBB

       (c)    Ziegelbauer Property

        In January 1999, Bielinski Brothers submitted an offer to purchase approximately 69
acres of real estate known as the Ziegelbauer property. The offer to purchase, which was
in the amount of$1,039,350 was accepted on January 19, 1999. This offer, however, was
terminated prior to being completed.

       In August 2001, Redmond Residential entered into a contract to purchase the
Ziegelbauer property for$1,096,000. In November 2002, representatives of Redmond and
Bielinski Brothers reached an agreement on an assignment of Redmond's offer to purchase
the Ziegelbauer property in exchange for a fee of $500,000 plus costs that Redmond had
incurred, which totaled$65,000. The$500,000 fee was paid by Bielinski Brothers through
MB&F by check dated March 25, 2003.




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       10. Illegal Campaign Contributions

       During the period BrownelI was illegally diverting funds from Bielinski Brothers to
Robert Mann, Mann Brothers, Norman Hanson and Welch Hanson, he was directing that
some of these funds be used to make illegal campaign contributions to political candidates,
including the 2004 Bush-Cheney campaign, the 2004 Russ Darrow Senate Campaign, and
the 2002 gubernatorial campaign by Scott McCallum. As part of this activity, Hanson and
Robert Mann recruited employees at their respective businesses to make contributions to
these campaigns that would be reimbursed by their businesses. These contributions typically
ranged from $2,000 to $5,000. In addition, Brownell and others working with him or at his
direction recruited a handful of employees at Bielinski Brothers to make $1,000
contributions to Russ Darrow's campaign. Again, at Brownell's direction, these
contributions were reimbursed with money from Bielinski Brothers. To date, Dave Busch
(Bielinski Brothers), Wally Utter (Mann Brothers), and Chris Koceja (Mann Brothers) have
been charged with violating federal law based on this conduct.




                                            11
                                 GROUP
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                                                   02/09/25 Page




                                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                          Plaintiff,

         V.                                                  Case No: 05-CR-13

ROBERT BROWNELL,

                          Defendant.


                                   COURT MINUTES
                      HONORABLE CHARLES N. CLEVERT, JR., PRESIDING


Date:                       April 21, 2006

Type of Proceeding: Sentencing

Time Commenced:             9:41 :43 a.m.             Time Concluded: 12:46:06 p.m.

Deputy Clerk:              Kris Wilson                Court Reporter:   Cindy Bohman

Appearances:               Plaintiff: AUSA Matthew L. Jacobs with Agent John Klugiewicz
                           Defendant: Attorneys Brian Kinstler and Michael Hart
                           Probation Officer: James P. Fetherston

Disposition:               The court sentences the defendant to the statutory maximum of
                           240 months imprisonment with 3 years of supervised release to
                           follow.

Notes:                      The probation officer is directed to make further inquiry with the
                            defendant's treating physician and Waukesha County Jail staff as
                            to defendant's contention that he is addicted to Zanax. The court will
                            enter judgment upon receipt of the supplemental report.

                           The monies held by Kohler & Hart which relate to this defendant are
                           to be deposited with the Clerk of Court, and held for restitution,
                           subject to the payment of reasonable attorney fees as stipulated to
                           or otherwise ordered.

                           Attached is govt exhibit 1: Chart displaying Mr. Brownell at the
                           center of all illegal transactions. (Note: Court disregards the
                           information relating to the Mann Brothers)

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                     united States v. Robert Brownell
                           Case No. 05-CR-013



                                                  j
                                                                            Mann Bros.
                                                                            Construction
        Belize Condo             Harrison Lake;
                                          -           .56


Conservancy
  Project                            GRAL




                                                            $1.8 millio
                                                                          Assignment
               NCCBH                                                        Fraud




       I�                                                Escrow
                                                       Agreements
                                                                         MBB & Redmon
                                                                           Residential
        CH                                             $2.9 millio



                                                                           EXHIBIT
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                              EXHIBIT B




                                  EXHIBIT 1
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ACTION ORDER                                                                                                         2022LA000692-80
                                                       UNITED STATES OF AMERICA
  STATE OF ILLINOIS                                                                                                  COUNTY OF DU PAGE
                                 IN THE CIRCUIT COURT OF THE EIGHTEE TH JUDICIAL CIRCUIT


   SUSAN ESSEX

                                                                                                                    FILED
                                           Plaintiff

                        -VS-                                     2022LA000692
                                                                CASE NUMBER                                        23 Nov 27    AM 10: 32
   PAUL SCHROTH WOLFE

                                                                                                                    c�o�
                                         Defendant


                                                                                                                   18TH JUDICIAL CIRCUIT
                                                                                                                 D PAGE COUNTY, ILLI '01$




                                                              ACTION ORDER

 This matter having come before the Court, the Court having jurisdiction and being fully advised in the premises:

 IT IS HEREBY ORDERED as follows:


 The case is continued to 01/03/2024 in 2020 at 09:00 AM for STATUS.



 The Order entered on I 0/31/22-DWP is hereby vacated.



 Defendant's Motion to Vacate the DWP entered on I 0/31/22 is hereby granted and vacated.

 Defendant's Motion to Seal the Entire Case is hereby granted for the reasons stated on the record and the Clerk's Office is directed to seal
 the entire case.

 Defendant's counsel to provide plaintiff a copy of this order where notice of the motion was made.

 Plaintiff to appear at the next status or possibly be subject to having this case dismissed for want of prosecution.

 Defendant to advise on whether filing an answer to the complaint by next status.




  Submitted by: JUDGE ANGELO J KAPPAS
  DuPage Attorney Number:                            D PRO SE                          JUDGE ANGELO J KAPPAS
  Attorney for:                                                                        Validation ID : DP-11272023-1032-58879


                                                                                       Date: 11/27/2023




                                CANDICE ADAMS, CLERK OF THE 18TH JUDICIAL CIRCUIT COURT 0                                           Page I ofl
                                                    WHEATON, ILLI O1S 60187-0707
                        Visit http://www.i2file.net/dv to validate this document. Validation ID: DP-11272023-1032-58879
                               EXHIBIT C
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                                   EXHIBIT 2
        Case: 1:24-cv-01538 Document #: 137 Filed: 02/09/25 Page 181 of 373 PageID #:3790


Garrett Von Schaumburg

From:                                         Christine Marte
Sent:                                         Wednesday, November 29, 2023 1:37 PM
To:                                           Susanessex21@gmail.com
Cc:                                           Thomas Patterson; Garrett Von Schaumburg
Subject:                                      Wolfe adv. Essex Case# 2022-LA-692 - November 27, 2023 Order
Attachments:                                  2023.11.29 Proof of Service of 11-27 Order.pdf; 2023.11.27 Order.pdf



Good afternoon,

Please see attached Order entered on November 27, 2023, in the above referenced matter.
Thank you.

Sincerely,

Christine Marte
Paralegal


                 PATTI             RSON                    AW F RM
                 1"111'fl   is,   l;SS   AW'i'!;h~   ]l)   ,.,,,   Iii P. cr.11s1




200 W. Monroe, Suite 2025
Chicago, Illinois 60606
Dir (312) 750-1816 • Tel (312) 223.1699 ext. 117 • Fax (312) 223.8549
email | website
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                                                      EXHIBIT D
                                             PURCHASE AND SALE AGREEMENT

                   This Purchase and Sale Agreement (this "Agreement") is made and entered into as of
            May 1, 2023 (“Effective Date”), by and between Yorkville Investment I LLC ("Buyer") and
            Scott Armstrong and Barbara Guss (collectively, "Seller").

                                                             RECITALS

                    A.      Seller is the owner of a fifty-two and ninety-nine hundredths percent (52.99%)
            interest in 120 North Hale Street, Wheaton, Illinois (the "Property").

                    B.     Buyer is the owner of a forty-seven and one hundredth percent (47.01%) interest
            in the Property.

                     C.       Buyer is familiar with the assets and operation of the Property.

                   D.      Subject to the terms and conditions of this Agreement, Seller will sell, transfer
            and assign all right title and interest in and to the Property consisting of a fifty-two and ninety-
            nine hundredths percent (52.99%) interest (the "Sale Interests") to Buyer.

                     E.    Buyer is willing to accept the assignment from Seller of the Sale Interests, subject
            to the terms and conditions of this Agreement.

                                                            AGREEMENT

                    NOW, THEREFORE, in consideration of the foregoing and the mutual covenants and
            obligations contained herein, the sufficiency of which is acknowledged by the parties, Buyer and
            Seller agree as follows:

                    1.        Sale of the Sale Interests.

                    (a) Subject to the terms and conditions contained herein, Seller agrees to sell, transfer and
                        assign, and Buyer agrees to accept all right, title and interest of Seller in and to the
                        Sale Interests at the Closing (as defined below) for an amount equal to One Million
                        Two Hundred Fifty-Eight Thousand Three Hundred Forty-One and 00/100 Dollars
                        ($1,258,341.00) (the “Purchase Price”).

                    (b) Concurrently with the execution of this Agreement, Buyer shall pay to Seller an
                        amount equal to One Hundred Thousand and 00/100 Dollars ($100,000.00).

                    (c) On the Fifteenth (15th) of each calendar month thereafter until the payment in full,
                        Buyer shall pay to Seller an amount equal to the interest on the then outstanding
                        balance of the Purchase Price at the rate of Wall Street Journal Prime Rate plus one
                        percent, from time to time.

                    (d) On or before May 1, 2024, Buyer shall pay the balance of the Purchase Price and any
                        accrued and unpaid interest.




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                   (e) From time to time, Buyer may pay any amount towards the outstanding balance with
                       written notice to Seller.

                   (f) For the avoidance of doubt, Buyer is acquiring the issued and outstanding Sale
                       Interests subject to any outstanding liabilities encumbering the Property.

                    2.      Closing.

                    (a)      On May 1, 2023 (“Closing Date”), Seller shall transfer the Sale Interests free and
            clear of all liens, pledges, encumbrances, charges or claims of every kind or nature, to Buyer.

                   (b)    Seller shall deliver the Assignment, attached as Exhibit A, effective as of the
            Closing Date.

                   3.      Representations and Warranties of Seller. Seller hereby represents and warrants
            to Buyer as follows:

                            (a)    Ownership. Seller is the owner of the Sale Interests, beneficially and of
            record, free and clear of any liens and encumbrances. Upon delivery to Buyer of the assignment
            and payment therefore, Buyer shall acquire good and valid title to such interests free and clear of
            all liens and encumbrances.

                            (b)     Reliance on Own Advisors. Seller has relied completely on the advice of,
            or has consulted with, its own tax, investment, legal or other advisors and has not relied on the
            Buyer or any of its respective affiliates, officers, directors, attorneys, accountants or any
            affiliates of any thereof.

                           (c)     Capability to Evaluate. Seller has such knowledge and experience in
            financial and business matters so as to enable it to utilize the information made available to it in
            connection with this Agreement in order to evaluate the merits and risks of selling the interests,
            which are substantial.

                           (d)    Due Diligence. In making the decision to sell, Seller has received and had
            an opportunity to review the books and records, including financial statements and such other
            information as deemed necessary and has had full access to all the information Seller considers
            necessary or appropriate to make an informed decision to sell.

                           (e)    Investment Experience; Fend for Self. Seller is able to fend for himself in
            the transactions contemplated by this Agreement.

                           (f)     Legal Proceedings; Governmental Orders. There are no suits, actions,
            causes of action or legal proceedings (“Action”) pending or, to Seller’s knowledge, threatened
            (a) affecting Seller; or (b) that challenges or seeks to prevent, enjoin, or otherwise delay the
            transactions contemplated by this Agreement. No event has occurred or circumstances exist that
            may give rise to, or serve as a basis for, any such Action. There are no outstanding
            governmental orders and no unsatisfied judgments, penalties or awards against or affecting
            Seller.



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                            (g)     Taxes. Seller has duly and timely filed all tax returns and reports required
            to be filed by the Seller prior to the date of this Agreement.

                          (h)       Authority. Seller has full power and authority to execute, deliver and
            perform its obligations under this Agreement and each of the documents to be executed and
            delivered by it in connection herewith. Seller has duly executed and delivered this Agreement
            and each of the documents to be executed and delivered by it in connection herewith, and each
            constitutes the legal, valid and binding obligation of Seller, enforceable against Seller in
            accordance with its respective terms, except as enforceability may be limited by bankruptcy,
            similar laws relating to debtor relief and general principles of equity.

                            (i)     No Conflicts. The execution, delivery and performance of this Agreement
           and each of documents to be executed and delivered by Seller in connection herewith does not
           and will not: (a) conflict with or violate any applicable law or any order to which Seller is subject;
           or (b) result in the breach of, or constitute a default under, or give to others any rights of
           termination, amendment, acceleration or cancellation of, any contract to which Seller is a party.

                            (j)    Consents. No consent of, or declaration, registration or filing with, or
           notification to, any governmental authority or any other person is required in connection with the
           execution, delivery and performance of this Agreement and each of the documents to be executed
           and delivered by Seller in connection herewith, or the consummation of this Agreement.

                    4.       Representations and Warranties of Buyer. Buyer hereby represents and warrants
            to Seller as follows:

                            (a)     Reliance on Own Advisors. Buyer has relied completely on the advice of,
            or has consulted with, its own tax, investment, legal or other advisors and has not relied on the
            Seller or any of its respective affiliates, officers, directors, attorneys, accountants or any affiliates
            of any thereof.

                           (b)     Capability to Evaluate. Buyer has such knowledge and experience in
            financial and business matters so as to enable it to utilize the information made available to it in
            connection with this Agreement in order to evaluate the merits and risks of purchasing the
            interests, which are substantial.

                          (c)    Due Diligence. In making the decision to purchase, Buyer has received
            and had an opportunity to review and inspect the books and records, including financial
            statements and such other information as deemed necessary and has had full access to all the
            information Buyer considers necessary or appropriate to make an informed decision to purchase.

                           (d)    Investment Experience; Fend for Self. Buyer is able to fend for itself in
            the transactions contemplated by this Agreement.

                           (e)   Legal Proceedings; Governmental Orders. There is no Action pending or,
            to Buyer’s knowledge, threatened (a) affecting Buyer; or (b) that challenges or seeks to prevent,
            enjoin or otherwise delay the transactions contemplated by this Agreement. No event has
            occurred or circumstances exist that may give rise to, or serve as a basis for, any such Action.



                                                             3
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            There are no outstanding governmental orders and no unsatisfied judgments, penalties or awards
            against or affecting Buyer.

                            (f)    Taxes. Buyer has duly and timely filed all tax returns and reports required
            to be filed by the Buyer prior to the date of this Agreement.

                           (g)      Authority. Buyer has full power and authority to execute, deliver and
            perform its obligations under this Agreement and each of the documents to be executed and
            delivered by it in connection herewith. Buyer has duly executed and delivered this Agreement
            and each of the documents to be executed and delivered by it in connection herewith, and each
            constitutes the legal, valid and binding obligation of Buyer, enforceable against Buyer in
            accordance with its respective terms, except as enforceability may be limited by bankruptcy,
            similar laws relating to debtor relief and general principles of equity.

                            (h)      No Conflicts. The execution, delivery and performance of this Agreement
            and each of documents to be executed and delivered by Buyer in connection herewith does not
            and will not: (a) conflict with or violate any applicable law or any order to which Buyer is
            subject; or (b) result in the breach of, or constitute a default under, or give to others any rights of
            termination, amendment, acceleration or cancellation of, any contract to which Buyer is a party.

                            (i)    Consents. No consent of, or declaration, registration or filing with, or
            notification to, any governmental authority or any other person is required in connection with the
            execution, delivery and performance of this Agreement and each of the documents to be
            executed and delivered by Buyer in connection herewith, or the consummation of this
            Agreement.

                    5.      Disclaimer of Representations and Warranties.

                 "As is" Condition. BUYER HEREBY EXPRESSLY ACKNOWLEDGES AND
            AGREES THAT BUYER WILL HAVE AS OF CLOSING, THOROUGHLY INSPECTED AND
            EXAMINED THE BOOKS AND RECORDS, AND ANY OTHER MATERIALS,
            DOCUMENTS OR INVESTIGATIONS, AND THE PHYSICAL CONDITION OF THE
            PROPERTY TO THE EXTENT DEEMED NECESSARY BY BUYER, IN ORDER TO
            ENABLE BUYER TO EVALUATE THE PURCHASE OF THE SALE INTERESTS. BUYER
            FURTHER ACKNOWLEDGES AND AGREES THAT EXCEPT FOR THE
            REPRESENTATIONS AND WARRANTIES SET FORTH IN THIS AGREEMENT, BUYER IS
            RELYING SOLELY UPON THE INSPECTION, EXAMINATION AND EVALUATION
            PERFORMED BY BUYER, AND THAT BUYER IS PURCHASING, AND AT CLOSING
            WILL ACCEPT, THE SALE INTERESTS ON AN "AS IS", "WHERE IS" AND "WITH ALL
            FAULTS" BASIS, WITHOUT REPRESENTATIONS, WARRANTIES AND OR
            COVENANTS, EXPRESS OR IMPLIED OF ANY KIND OR NATURE, EXCEPT FOR THE
            REPRESENTATIONS AND WARRANTIES EXPRESSLY SET FORTH IN THIS
            AGREEMENT.

                    Seller hereby disclaims any and all representations and warranties, express or implied,
            except as expressly stated herein. Buyer shall accept, in full satisfaction of the obligations of
            Seller under this Agreement, the Assignment.



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                    6.      Indemnification.

                    (a)     Seller hereby covenants and agrees to indemnify, save, defend, hold harmless,
            discharge, and release the Buyer, and its successors and assigns from and against any and all
            payments, charges, judgments, assessments, liabilities, obligations, claims, demands, actions,
            losses, damages, penalties, interest or fines, and any and all costs and expenses paid or incurred,
            including attorney fees, costs, fees of experts and any legal or other expenses reasonably incurred
            in connection therewith (collectively, the “Liabilities”), arising from, based upon, related to or
            associated with and to the extent caused by (i) any breach of any representation or warranty of
            the Seller contained in this Agreement; (ii) any failure of Seller to perform or observe any term,
            condition or covenant contained in this Agreement; (iii) any liability related to or involving any
            indebtedness of Seller for the Property (iv) any liability related to or involving the Property
            arising, resulting or incurred from any event that occurred on or prior to the Closing Date; and
            (v) any and all tax liabilities with respect to the Property arising, resulting or incurred on or prior
            to the Closing Date.

                    (b)      Buyer hereby covenants and agrees to indemnify, save, defend, hold harmless,
            discharge, and release the Seller, and its successors and assigns from and against any and all
            Liabilities arising from, based upon, related to or associated with and to the extent caused by (i)
            any breach of any representation or warranty of the Buyer contained in this Agreement; (ii) any
            failure of the Buyer to perform or observe any term, condition or covenant contained in this
            Agreement; (iii) any liability related to or involving any indebtedness of the Buyer for the
            Property; (iv) any liability related to or involving the Property arising, resulting or incurred from
            any event that occurred after the Closing Date; and (v) any and all tax liabilities with respect to
            the Property arising, resulting or incurred after the Closing Date.

                    7.      Miscellaneous.

                   (a)     Without the prior written consent of the other party, no party to this Agreement
            may assign its rights or obligations under this Agreement. The terms and conditions of this
            Agreement shall inure to the benefit of, and be binding upon, the respective successors and
            permitted assigns of the parties hereto.

                    (b)     All notices, requests, demands or other communications hereunder shall be in
            writing and shall be deemed to have been duly given, if delivered in person or by certified mail,
            return receipt requested, postage prepaid to the addresses set forth below. Any party may from
            time to time, by written notice to the other party, designate a different address, which shall be
            substituted for the one specified below for such party. If any notice or other document is sent by
            certified mail, return receipt requested, postage prepaid, properly addressed as aforementioned,
            the same shall be deemed served or delivered three (3) business days after mailing thereof.

                            If to the Seller:        448 West Seminary, Wheaton, Illinois 60187

                            If to Buyer:     1007 N Orange Street, Wilmington, Delaware 19801

                    (c)   Any waiver of the provisions of this Agreement or of a party's rights or remedies
            under this Agreement must be in writing to be effective. Failure, neglect, or delay by a party to



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            enforce the provisions of this Agreement or its rights or remedies at any time, will not be
            construed as a waiver of such party's rights under this Agreement and will not in any way affect
            the validity of the whole or any part of this Agreement or prejudice such party's right to take
            subsequent action. No exercise or enforcement by either party of any right or remedy under this
            Agreement will preclude the enforcement by such party of any other right or remedy under this
            Agreement or that such party is entitled to enforce.

                    (d)    This Agreement contains the entire agreement of the parties with respect to the
            subject matter of this Agreement and supersedes all previous communications, representations,
            understandings, and agreements, either oral or written, between the parties with respect to said
            subject matter. This Agreement may not be amended, except by a writing signed by all parties.

                    (e)    This Agreement will be interpreted and construed in accordance with the laws of
            the State of Illinois, without regard to those principles (statutory or otherwise) pertaining to
            choice of law. The prevailing party in any such dispute shall be entitled to be awarded all court
            costs and expenses and reasonable attorneys' fees and expenses incurred in connection with such
            dispute. If no party prevails entirely, the presiding adjudicator shall award costs, expenses and
            reasonable attorneys' fees and expenses in accordance with the disposition of the matter.

                    (f)     For purposes of interpreting this Agreement, whenever the context requires, the
            singular number will include the plural, and vice versa; the masculine gender will include the
            feminine and neuter genders; the feminine gender will include the masculine and neuter genders;
            and the neuter gender will include the masculine and feminine genders. Any rule of construction
            to the effect that ambiguities are to be resolved against the drafting party will not be applied in
            the construction or interpretation of this Agreement. As used in this Agreement, the words
            "include" and "including" and variations thereof, will not be deemed to be terms of limitation,
            but rather will be deemed to be followed by the words "without limitation." Any reference
            herein to "the parties" means the entities that are parties to this Agreement; any reference to a
            "third party" means a person or an entity that is not a party to this Agreement.

                    (g)     This Agreement and any amendment hereof may be executed in counterparts and
            delivered by PDF, facsimile or other electronic media, each of which so executed will be deemed
            to be an original and such counterparts together will constitute one and the same agreement.

                   (h)     The preamble and recitals set forth at the beginning of this Agreement are hereby
            incorporated into the terms and conditions of this Agreement.

                    (i)      Each party shall do all such acts and shall execute and deliver to the other all such
            certificates, instruments, assignments and other documents and shall do and perform or cause to
            be done all matters and such other things necessary or expedient to be done as either party may
            reasonably request from time to time in order to give full effect to this Agreement.

                   (j)      The parties have participated jointly in the negotiation and drafting of this
            Agreement and, in the event an ambiguity or question of intent or interpretation arises, this
            Agreement shall be construed as jointly drafted by the parties, and no presumption or burden of
            proof shall arise favoring or disfavoring any party by virtue of the authorship of any provision of
            this Agreement.



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                   (k)     Each party shall pay all of its costs and expenses arising out of this transaction,
            including, without limitation, any transfer taxes, the cost of UCC searches and attorney fees

                    9.     Default. If Buyer (a) defaults by failing to pay when due any single installment or
            payment required to be made to Seller under the terms of this Agreement; or (b) defaults in the
            performance of any other covenant or agreement hereof and such default is not cured by Buyer
            within thirty (30) days after written notice to Buyer (unless the default involves a dangerous
            condition which shall be cured immediately), Seller may treat such a default as a breach of this
            Agreement and Seller shall have any one or more of the following remedies in addition to all
            other rights and remedies provided at law or in equity: (i) maintain an action for any unpaid
            installments; or (ii) declare the entire balance due and maintain an action for such amount.

                   Buyer shall pay all reasonable attorneys' fees and costs incurred by Seller in enforcing the
            terms and provisions of this Agreement.

                    All rights and remedies given to Seller shall be distinct, separate and cumulative, and the
            use of one or more thereof shall not exclude or waive any other right or remedy allowed by law,
            unless specifically waived in this Agreement.


                                           [ Signature Page Immediately Follows ]




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                  IN WITNESS WHEREOF, Seller and Buyer have duly executed this Purchase and Sale
            Agreement as of the date first above written.


                                                                 Buyer:
                                                                 Yorkville Investment I LLC


                                                                 Name: Ryan Cicoski
                                                                 Its; manager

                                                                 Seller:



                                                                 Name: Scott Armstrong




                                                             8
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                                                    Assignment of Interest


                                         [See Attached Page Immediately Following]




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                                              ASSIGNMENT OF INTEREST

                    Pursuant and subject to that certain Purchase and Sale Agreement (the "Agreement")
            dated as of ___________, 20___, by and between ______________________ (“Assignor”) and
            ______________________ (“Assignee”), Assignor hereby assigns to Assignee all of its right,
            title and interest in and to its ______ percent (____%) interest in 120 North Hale Street,
            Wheaton, Illinois (“Property”) ON AN "AS IS", "WHERE IS" AND "WITH ALL FAULTS"
            BASIS, WITHOUT REPRESENTATIONS, WARRANTIES AND OR COVENANTS,
            EXPRESS OR IMPLIED OF ANY KIND OR NATURE, EXCEPT FOR THE
            REPRESENTATIONS AND WARRANTIES EXPRESSLY SET FORTH IN THE
            AGREEMENT.

                   Assignor hereby disclaims any and all representations and warranties, express or implied,
            except as expressly stated in the Agreement.

            Dated as of _________________, 20___.

                                                                  __________________________________________
                                                                  __________________________


                                                     ACCEPTANCE
                   Assignee accepts all of the right, title and interest of the interest in the Property as
            assigned as of the date set forth below.

            Dated: as of ______________ ____, 20__

                                                                  __________________________________________
                                                                  __________________________




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          Case: 1:24-cv-01538 Document #: 137 Filed: 02/09/25 Page 192 of 373 PageID #:3801

EXHIBIT E




                                                                    I
                       (Requester's t--Jame)



                       (Address)



                       (Address)
                                                                   200398250602
                       (City/State/Zip/Phone #)



       □ PICK-UP             OwAIT                 □ MAIL



                       (Business Entity Harne)



                       (Document Number)


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  Department of State

  Division of Corpora1ions

  P.O. Box 6327

  Tai lahassce. FL 323 14



  Sl.iBJECT:       Access Management S.A.S. Inc.


  En dosed is li n origin a I and one (1) copy of the Articles of Domestii:ation :rnd a chel·k:




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  FEE~:

          C,cr;ficatc of Domestka1;on                            S
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                                                       Address                                     -..:;,,,...,      -J

                   Northbrook, IL 60062
                                                 Cit)· 1 State & Zi

                   847-239-7212
                                            Daytime Telephone Nu~nhcr


                   charles@mlgcou nsel. net
                        E-mail address: (to he usccl for future :in 111::11report notification)


  INIIS53 (JflO)
Case: 1:24-cv-01538 Document #: 137 Filed: 02/09/25 Page 194 of 373 PageID #:3803




                                     Articles of Domestication
                       Foreign Corporation Domesticating to Florida


  The undersigned, Ryan Cic
                            oski
                                                               IDirector
                                           (Name)                              (Title)

  of   Access Management S.AS.                                                            , a foreign
                                                                I



                                                                I
  corporation, in accordance withs. 607.11922, Florida Statutes, submit these Articles of
  Domestication.

       1. Then name of the domesticating corporation is Access Management S.A.S.


                                                                l          ( Foreign Corporation)



       2.   The jurisdiction and date of its formation is
                                                            st. Jsartholomew Guadalupe

       3. The name of the domesticated corporation is Afcess Management S.A.S
                                                                                                          . Inc.

                                                                    I
                                                                    I
       4. The jurisdiction of formation of the domesticated corporation is Florida

                             '
       5 . Th e d omes t•IcatIon corpora t'10n 1s                   I'                        •
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            approved in accordance with its organic law.                                                           co
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                                                                                                                   :....J
                                                                                                        �::::
       6. Attached are Florida Articles of Incorporation to Jmplete the domestication                   � c..,
                                                                                                        ..... -·
            requirements pursuant to s.607.0202, F.S.
                                                                                                         ;-:..;:
                                                                                                                    ::i:
                                                                                                                    C.      0
  I certify I am authorized to sign these Articles of Domestication on behalf of the corporati�.
                                                                                                         :=., ..    _,
                                   Ryan C • Cl·       cos
                                                            k1";_clg1tallyslgnedbyRya
                                                                                       nC.Cicoski
                                                             �/ r:;;1e: 2023.02.02 ,5;48:37 .os·oo·
                                                                                                          ·�

                                                    (Authorized Signature)
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                                    ARTICLES OF INCORP :>RATION
                                  IN COMP/,/J\NCE \VIT!I Cl/APT, r,.• 607, F.S.

ARTICLE I               NAME
THI-; NAME OF" THE CORPOHA TfON SHAU. RF..:

   Access Management S.AS. Inc.


ARTICLE II              PRINCIPAL OFFICE
TIU.: PRINCIPAi. PIACE OF BUSINESS/MAILING ADDRESS JS:


            Principal Address                                  M iling Address
1007 N. Orango St.                                    Same as prin ipal address


Wilmington, DE 19801




ARTICLE 111             PURPOSE
THE PURPOSE FOJ.l WHICH TIIE. CORPONATION J<.; ORGAN/7.En:
Any lawful purpose permitted under the Florida Business Corporation act




ARTICLE IV                  SHARES                            _
THE NUMBER OF SHARES OF STOCK IS:          _,_o._o_o _________

                                                                                                     p
                                                                                                                             -
ARTICLE VI          REGISTERED AGENT AND STREET ADDRESS                                               r-->
                                                                                                                             -n
                                                                                                 ,J'l
Tf!F.. NAME AND FwRIDA STREET ADDRESS {P.O. BOX NOT AC • ,/YfltB/.r:] OF THI-; REGJ,':,i'l-;R/WA�S: �
                                                                                                     �;:::        rn
Registered Agen1s Inc                                                                                �r-,         O'.)
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7901 4th Street N, Ste 300                                                                           �-..,,.,,·
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SI. Pelersbur1i, FL 33702

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HAVING BEEN NAMED AS REGISTl::l<t:D AU ENT AND TO ACCI-:;              S8RV!CE OF PROCESS FOR THE:�
ADOVE ST,\Tl::D COl<l'ORATION AT THF. PLACE DESIGNATED I� THIS Cl::RTIF'!CATE, I AM FAMILIAR
WITI-I AND ACCF.:Pf THE APPOINTMENT AS REGISTERC:O AGEN AND AGRl::E TO ACT IN THIS
C,\PACITY.

Bill H�vro, Assistant Secretary                                                   February 2, 2023
Sigmnurc/l�egislen:d Agent                                                        Date
Case: 1:24-cv-01538 Document #: 137 Filed: 02/09/25 Page 196 of 373 PageID #:3805




ARTICLE V         DIRECTORS AND/ OR OFFICERS

THF. NA,W£(S} AND ADDRESS(ES) AN[) SPECIFIC rirrns:
                 y
  Nmm: & Title: R an Cicoski, Director                                Nm e & Title:   -----
  ,\ddress:
                1007 N. Orange St.                                       I
                                                                      Ad e.ss:
                  Wilmington, DE 19801



  Name & Title:
                  Ryan Cicoski, Pres.                                 Nm c & Title: ____________
                  1007 N. Orange St.
  Address:                                                            Add css:
                  Wilmington, DE 19801



  Name & Title:                                                   Nam & Title: ____________
  Address:                                                            Addtss:




  Name&. Title:                                                  Name & Title:

  Address:                                                        Addr ss:


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                                                                                                                                    CJ
l submit this document and affirm that the facts stated here n are true. r am aware that false :?, ;:
information submitted In a document to the Department of tate constitutes a third degree felony·u:::                      .....I
                                                                                                 _,,
provided for in e.817.155.F.S.

Ryan C C icosk•
                         ,,
                                                        c.
                                  [)igllally signed by Ryan Cicoski
                              i·- Da:o: 2023.02.02 15:48:51 •05'00'                         2 February, 2023
Sigrwturc/ Au1 horizcd Person                                                                    Date
Case: 1:24-cv-01538 Document #: 137 Filed: 02/09/25 Page 197 of 373 PageID #:3806

                                                            EXHIBIT F F




                                   LOAN AND SECURITY AGREEMENT
                                                             By and Between



                                    Green apphire Holdings Inc.. a Delaware corporation,
                                                    as Borrower and


                         Global Capital Partners LLC a Delaware limited liability company,
                                                    as Lender,



                                     Dated:                     As of February 2, 2023

                                     Loan No.:                  2023-1001




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                                                                 LOAN TERM

      ot Date:                                               As of February 2, 2023
     Borrower:                                               Green Sapphire Holdings Inc., a Delaware corporation
     Borrower Address:                                        I 007 Orange Street Wilmington, Delaware l 980 I
     Original Principal Amount:                              $10,000,000.00 to be disbursed in two tranches: (i) First
                                                             Tranche on January 3 ! , 2023 and (ii) econd Tranche as
                                                             soon as possible shortly thereafter
     Applicable Interest Rate:                               Ten Percent ( I 0%) for 120 days
     Maturity Date:                                          June 2, 2023


                                                           FlNANCIAL REPORT] G

    Due                                                    Reporting
    Quarterly                                              Operating tatements
                                                           Balance Sheet

                                                                GUARANTOR

    Guarantor                                              The Petro Carta Tru t dated October 27, 2014
                                                           BNW Family Offic , LLC




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                                LOAN        D ECURITY AGREEMENT

                This Loan and ecurity Agreement (the ''Agre ment") is made as of February 2,
  2023 by and among Green Sapphire Holdings Inc. a Delaware corporation, having an address at
  1007 Orange Street, Wilmington Delaware I 801 ("Borrower"; Organization No.: 4267001), and
  Global Capital Partners LLC, a Delaware limited liability company, having an address at 16192
  Coastal Highway Le es Delaware 19958.

                 In con ideration of the mutual representations, warranties, covenants and
  agreements contained in this Agre ment, th sufficiency of which is hereby acknowledged, the
  parti s agree a follows:

                                       Article 1. - 0EFINlTIONS

                  Section 1.1

                  For all purposes ofthi Agreement, c cept as oth 1wise expressly required or unles
  the context clearly indicates a contrary intent:

                   "Affiliate" shall mean, as to any Person, any other Person that, directly or indirectly,
  is in control of is controlled by or is under common control with such Person or is a director or
  officer of such Person or of an Affiliate of such Person. ono·ol shall mean the power, directly or
  indirectly, to direct or cause the dirt1ction of the management or busine • of a Person by ownership,
  contract or otherwi e.

                  "Applicable Laws'' shall mean all existing and future federal t.ate and local law
  ordinance governmental rules and regulations or court orders affecting or which may be
  interpret d to affect the Borr er.

                  "Bankruptcy Code" shall mean the       nited tates Bankruptcy Code, 11 U .. C. §10 l
  et eq.,
                 "Busin s Day" shall mean a day on which ender is open for the conduct of
  substantiall aII of its banking business at its office in the city in which the Nole is payable
              y
  (e eluding aturdays and Sundays).

                 "Casualty" shall mean damage or destruction by fire earthquake, wind or other
 casualty,

                 "Collateral" shall have the meaning set forth in Article 3.

              "Debt" shall mean the ut tanding principal amount set forth in and evidenced by
 this Agreement and the ate together with all interest accrued and unpaid thereon and all othel'
  um due lo ender in respect f the Loan e idenced by the ate tJ1is Agreement or any other
 Loan Document

                "Default" shall mean the occui,-ence of any event hereunder or under any other
 J ,oan l) cument which. but for th giving of notic or passage of time, or both would be an Event
 of Default.

                 "Defaull Rate" shall hav the meaning ·et forth in the Note.
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                    "Environmental Law'' shall mean any present and future federal, state and local
   laws statutes, ordinances rules, regulation and the like as well a common law, relating to
  protection of human health or the environment, relating to Hazardous Substances, relating to
  liability for or costs of Remediation or prevention of Releases of Hazardous Substances or relating
  to liability for or costs of other actual or threatened danger to human health or the environment"
  including, but not limit d to, the following statutes as amended, any succe sor thereto. and any
  regulations promulgated pursuant thereto, and any state or local statutes, ordinances, rules
  regulations and the like addressing similar issues: the Comprehen ive Environmental Response
     ompensation and Liability Act; the Em rgency Planning and Community Right-to-Know Act·
  the Hazardous Substances Transportation Act· the Resource Conservation and Recovery Act
  (including, without limitation ubtitle I relating to underground storage tanks); the olid Waste
  Disposal Act; the Clean Water Act; the Clean Air Act· the Toxic ubstances ControJ Act; the Safe
  Drinking Water Act; the Occupational Safety and Health Act; the Federal Water Pollution Control
  Act; the Federal Insecticide Fungicide and Rodenticide Act· the Endangered pecies Act; the
  National Environmental Policy Act· th River and Harbors Appropriation Act and the Residential
  Lead-Based Paint Hazard Reduction Act.

               ''Environmental iens" shall mean any lien or encumbrance imposed pursuant to
  any Environmental Law, whether du to the act or omission of Borrower or any other Person.

                 "Event of Default" shaJl have the meaning set forth in Section 7 of this Agreement.

                 "Excluded Taxes" shaJJ mean any oflhe following ta e impo ed on or with re peel
  to the Lender or any other recipi nt of any payment to be made by or on account of any obi igation
  of th Borrower hereunder r any other Loan Document or required to be withheld or deducted
  from a payment to any such recipient (a) income, net profits, or capital taxes imposed on or
  measured by nel income and franchise ta es imposed by the jurisdiction (or any political
  subdivision thereof) under the laws of which such re. ·ipient is organized or conduct busine • in
  which it principal office is located or in which its applicable lending office is located; and (b)
  any branch profits taxes or any similar tax imposed by the jurisdiction where the Borrower is
  located.

               ·'French/St. Banhelemy ounsel to Lender' shall mean, Pierre Kirscher of ELA
  St-BARTHLA W, th legal counsel f the Lendt::r advising the Lender under French and St.
  Bartholomew laws.

                 ·'First Tranche" shalJ mean the fir t drawdown under this Loan in an amount of at
  least Three Million United States Dollars ($3,000 000).

                "Fiscal Year" hall mean ach twelv (12) month period commencing on Januar
  and ending on December 31 during Lhe term of the Loan.

              "GAAP" hall m an generally accepted accounting principles in the United talc
 of America a of the date of the appl icablc financial report.

                 " overnmental Authority" hall mean any court, board, agency, department,
 co111mis ion, office or other auth rity of any nature hat oever for any governmental unit (fed rnl,
  tat county, mw,icipal, ity t wn, special district r oth rwise whether now or hereafter in
 exist nee.


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                  Guarantor 11 shall mean The Petro Carta Trust dated October 27, 2014 and B W
                  '
                      1


   Family Office LLC a Delaware limited liability company.

                 "Guaranty" shall mean that certain Guaranty of Paym nt to be issued by each of
   the Guarantors ub tantially in the fonn attached hereto as Exhibit B.

                 "Hazardou Substance( )" shall mean any and all substances (whether solid, liquid
          )
  or gas defined, listed or otherwise classified as pollutants, hazardous wastes, hazardous
   ·ubstance hazardous material extremely hazardous wastes, contaminant or t xic ubstance or
  words of similar meaning or regulatory effect under any present or future Environmental Laws or
  that may ha e a negative impact on human health or the environment including, without
  limitation petroleum and petroleum products, asbestos and asbe tos-containing materials,
  polychlorinated biphenyJ lead, materials containing lead based paint, mold or fungus which may
  pose a risk to human health or the environment radon, radioactive materials, flammables and
  explosives.

                  "Tndemnified Persons" shall mean: (a) Lender; (b) any prior owner or holder of the
  Loan c any subsequent owner or holder of the Loan· (d) any receiver o.r olher fiduciary
        ; ( )
  appointed in a foreclosure or other bankruptcy, insolvency, reorganization, conservatorship or
  other relief with re pect Lo debts or similar pr ceeding· (e) any officer , directors, shareholders,
  partne.rs, members, employee , agents, servants representatives contractors. subcontractors,
  affiliates or subsidiaries of any and all of the foregoing; and (f) the heirs, legal representatives,
  succe ors and as igns of any and all or lhe foregoing (including, without limitation, any
  successors by merger, consolidation or acquisition ofall or a ubstantial portion of the Indemnified
  Per on's assets and business) in all cases whether during the term of the Loan or as part of or
  following a foreclosure.

                "Indemnified Taxes" shall mean (a) Taxes other than Excluded Ta, es; and (b to
  the extent not otherwis described in lhe foregoing Clause (a) Other Tax.es. Por clarity,
  "lndemnifi d Taxes· shall include ithout limitation any U.S. federal withholding Tax which is
  imposed on amoun payable to or for the account of Lender under this Agreemenl or any other
  Loan Document.

                  "Internal Revenue Code" or "Code" shall mean the Internal Revenue Code of 1986,
  26 U. ,C. §I et seq., as amended, as it may be further amended from Lime to time, and any
  . uccessor statule thereto, and applicable U .. Department of Treasury regulations issued pur uant
  thereto in temporary or final foam.

                 'Legal Opinion of French/St. Barthelemy Counsel" shall mean the legal opinion or
 advice of Fr nch/St. Barthelemy counsel to the Lender confirming the validity of the Pledge and
 the perfection or lbe first priority mortgage on Lhe Propertie .

              'Legal Opinion of . . Counsel'' shall mean the legal opinion or advice of U.S.
  oun I to the ender confirming the validity f this greemcnt the otc and the other oan
 Documents governed by Delaware law.

                "Legal Requirement 1' hall mean all obligations impo ed by all statutes, law ,
 l'llle , order re1:,ulations. ordinanc s, judgments decre     and injunction of overnmental
 Authorities affecting the Borrower, whether now or hereafter enacted and in force, and all pennits.
 licen es authori1.ati ns and regulations relating there1o.
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                  "Lien" shall mean any mortgage, deed of trust lien pledge hypothecation.
   assignment, ecurity interest or any other encumbran e, charge or transfer of on or affecting
   Bon-ower. the Collateral any portion thereof or any interest th rein, including, without limitation.
   any conditional sale or other title retention agreement, any financing I ase having ubstantially the
   same economic effect as any of the foregoing. the f11ing of any financing statement, and
   mechanic's, materialmen' and other similar liens and encumbrances.

                   "Loan" shall mean the loan made by Lender to Borrower pursuant to this
   Agreement.

                 'Loan Amount' shall mean an amount equal to Ten Million and 00/00 Dollars
   ($10,000,000.00),

                 "Loan Documents" shall mean, collectively, this Agreement, the Note, the
  Guaranty, the Pledge and any and all thcr documents, agreements and ce1tificat s executed and/or
  deli ered u1 connection with the Loan as th same may be amended restated, replac d,
   upplemented or otherwi e modified from time to time.

                 "Loan to Value Ratio'' hall mean the ratio, expressed as a percentage of (i) the
  actual outstanding aggregate amount of the Loan at the time of calculation to (ii) the appraised
  value of the Property based upoo an updated appraisal at the time of calculation.

                  "Losses" shall mean any and all claims suit liabilities (including, without
  limitation, strict liabilities action , proceedings, obligations, debts, damages. losses costs,
  expenses, fines, penalties, charges fees judgments awards, amounts paid in sett) ment of
  whatever kind or nature (including but not limited to legal fees and other costs of defense).

                 "Material Adverse Effect" shall mean any event or condition alone or when taken
  with other events or conditions or conditions e isting or occurring concurrently with such event
  or condition ha� or is reasonably expected to have a detrimental effect on:

                   (a)    the busin s     operations, conditions (financial or otherwise)         assets,
  liabilities, prospect or properties of Borrower·

                  (b)   the validity or enforceability of this Agreement or any other Loan
  Document;

                  (c)   the ability of Borrower to pay or perform the obligations;

                  (d)   the    llateral, the liens of Lender in and to the Col lat ral or the priority of
  Lender's liens, or

                 (e     the ability of Lender to enforce it         rights and remedies under thi
 Agreement.

                 "Malurity Date" shall mean June 2, 2023.

                 " ote" hall mean that certain prornis or note of even date herewith in the
 principal amount of Ten Million and 00/00 Dollars $ 1'0,000 000.00), made by Borrower in favor
 of L nd r, as the same may be amended, restated, replaced, supp'!emented or otherwi e modified
 from tim to time, ubstantially in the form attached hereto as Exhibit A.

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                       "Obligations" shall mean:

                    (a      paym nt of the indebtednes from Borrower to Lender and all other
   liabilities and obligarions of every kind or nature what oever of 8ol1'ower to Lender;

                  (b)    the paym nt of all amounts advanced by Lender to preserve and protect the
   Collateral and defend its righl in the Collateral· and

                  (c)     observance and performance of all of Borrower's other obligations to
   perform acts or refrain from taking any action under this Agreement, the ore and the other Loan
   Documents.

                  'Organizational Documents" shall mean the charter articles of incorporation and
   bylaws and any other agr ements affecting th rights, limitations. preferences or obligations of an
   owner with respect to the entity.

                 "Other Taxes ' hall mean any and all present or future tamp, recording, filing
  documentary or similar taxe or any other excise or property taxe charges or similar levie ari ing
  from any payment made hereunder or under any other Loan Document. or from the execution,
  delivery or enforcement of, or performance under or otherwise with respect to, th is Agreement or
  any other Loan Document.

                      "Permitted Liens'' shall mean collectively:

                      (a)    the Lien and ecurity intereslS created by the Loan Document •

                 (b)         Liens if any. for Taxes imposed by any Governmental Authority not yet
  due or delinquent.

                 "Per on" hall mean any individual, corporation, partner hip, join venture, limited
  liability company estaLe trust. unincorporat d association, any federal, state county or municipal
  govemment or any bureau department or agen y t.hereof and any fiduciar)' acting in such capacity
  on behalf of any of the foregoing.

                 "Pledge shall mean that certain Pledge Agreement between the Borrower and the
  Lender pro iding for a pledge of the Pledged Interests under French Law, substantially in the fonn
  attached hereto as Exhibit C.
                  1
                      'Pledged Interests" shall mean the share of stock of Acces Management. SAS.

                 "Property" or 'Properties ' hall mean lwo real stale propertie owned by Access
  Management, SA I in the island of t. Barthelemy, the aribbean. including one villa and land in
  Pio! A • 314 in 'olombier and the land parcel in Plot A I 220 in ._'aint-Jean, identi lied in more dctai I
  in Exhibit D.

                 "R lea e" of any Hazard u ubstanc shall mean any rcleuse deposit, discharge,
  emi sion. leaking spilling, seeping, migrating, inje ting pumping pouring, emptying, escaping
  dumping, di p sing or other movement of Hazardou ub tance .




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                  11
                       Remediation 11 shall mean:

                  (a)   any re ponse. remedial removal, or corrective action, any activity to
   cleanup, detoxify decontaminate, contain or otherwise remediate any Hazardous ubstance;

                  (b)        any actions to prevent, cure or mitigate any Release of any Hazardous
    ub Lance;

                 (c)      any action to comply with any Environmental Laws or ..,ith any permits
   i sued pur uant thereto; or

                (d)     any inspection, investigation, study, monit ring assessment, audit,
   sampling and testing, laboratory or other analysi . or evaluation relating to any Hazardous
   Sub lances.

                  ''Scheduled Payment Date" shall have the meaning et forth in the       ote.

                ·'Second ranche" shaJI mean Lhe second and .finai drawdown underthis Loan in an
  amount of at up to even Million nfted States Dollar ($7,000,000).

                • ubsidiary'' shal.1 mean Acee s Management          AS, an entity wholly owned by
  Borrower and organized under French law.

                 "Taxes" shall mean any and all present or future income, sta01p property, and/or
  other taxes, levies, imposts, duties, deductions, charges, fees or withholdings impo ed, levied�
  withheld or asse sed by any Governmental Authority, togelhcr with any interest, addilions to tax
  or penalties impos d thereon and with respect thereto.

                   "Transter" shall mean any direct or indirect sale, conveyance, mortgaging, grant,
  alienation, encumbrance pledge assignment or other transfer of the shares of stock membership
  or I imited liability company interests or partnership interest of Borrower or any part th reof. or
  interest therein, or agreement to do any of the foregoing whether voluntary or involuntary and
  shall be deemed to include:

                  (a)    an installment sale agreement wherein Borrower agree to sell for a price
  lo be paid in installments·

                  (b)    if Borrower or any general partner or managing member (or if no managing
  member, any member or non-member manager) of Borrower is a corporation, any merger or
  consolidation, the voluntary or involuntary sale. conveyance, transfer or pledge of such
  corporation' stock (or the stock of any corporation directly or indirectly controlling such
  corporation by operation of law or oth rwise) or the creation or is. uance of new stock uch that,
  in any such event an aggregate of more than forty-nine p rccnt 49%) of u h corporation's stock
  shall be tran ferred whether in one or a series of transaction ;

                  )      if Borrow r or any general partner r managing member ( ,. if no managing
 member any member or non-member manager) of Borrower i, a limited or general partner hip r
 joint venlure, an merger or consolidation the change removal re ibrnation or additi n or a
 general partner or joint venturer or the tran fer or pledge of the partnership intere t of any general
 partner or joint venturer or any profit or proceeds relating to such partnership or joint venture
 interest:

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                   (d)    if Borrower or any general partner or managing member of Borrower is a
  limited liability company with a managing member any merger or consolidation the change
  removal resignation or addition of a managing member or the transfer of the membership interest
  of a managing member or any profits or proceeds relating to such managing membership interest
  or the lran fer, change, removal, resignation or addition of an member such that an aggregate of
  more than forty-nine percent (49%) of the memb rship interests ln such limited liability company
  shall be transferred whether in one or a series of transactions; and

                   (e)   if Borrower or any general partner or managing member of Bon·ower is a
  limited liability company without a managing member, any merger or con olidation, the change,
  removal resignation or addition of any non-member manager whatsoever, or the tran ·fer change
  removal, resignation or addition of any member such that an aggregate of more than forty-nine
  percent (49%) of them rnbership interests in such limited liability company hall be transferred
  whether in one or a series of transactions.

                   "UC "or "Unifonn Commercial Code" shall mean the         niform    omrnercial Code
  as in effect in th rate of Delaware.

                 'U.S. Counsel to Lender" shall mean, Nelson Mullins, Legal coun. cl to the Lender
  advising the Lender on Delaware law aspects of the Loan Documents governed by Delaware law.

                                     Article 2. - LO      TERM

                  ection 2.1     AGREEME T TO BORROW A D LEND.

                 (a)    Borrower agrees to borrow from Lend r and Lender agrees to lend to
  Bon-ower an amount equal to the Loan Amount in two tranches the First Tranche to occur on
  January 31, 2023 and the Second Tranche to occur as soon as possible shortly thereatler, on the
  terms of and ubject to the conditions of the Loan Document including, without limitation Lender
  receiving the Legal Opinion of French/St. Barthelemy Counsel and the Legal Opinion of U.
  Counsel.

                 (b)    The Loan Amount shall be used by Borrower for refinancing maturing debt
  of the Borrower, general working capital and financing expenses.

                  ection 2.2    PAYMENTS, MAT RITY.

               (a)    Payments, Generally. Payments of principal and interest shall be due and
 payable by Borrower to Lender as provided in the ote. The outstanding principal balance and all
 accrued and unpaid interest and any other amounts due under the Loan Documents shall be due
 and payable on the Manirity Date if not sooner paid.

                 (b      Prepayments. During the term, Lhc Loan may be repaid or prepaid, in whole
 but not in part at any tim and from time to time in stri t accordance with the term of the Note.

                  ection 2.3    INTtRE. T R<\TE.

                 (a)    lntere ·t Rate. The Loan shall bear i nlerest at a rate of Ten Percent ( I 0%)
 ror One Hundred and Twenty ( 120 days as et fi rth in the Note. lntere t hall be calculat d on
 the basi. of a 360-day year ror tt e actual days elaps d.


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                    (b         Default Rate. I n the even t that, and for so long as any Event of De fa u l t
   sha l l have occurred, and t o the extent perm itted by l aw all accrued and unpaid i nteres t the
   ou tstand ing princ i pa l balance and any other amounts due under the Loan Documents shal l accru e
   interest at the Defau lt Rate ca lculated from the date s uch payment was due without any grace or
   cure periods contained herein .

                       c)       Late Payme n t . I f Borrower fai ls to pay any insta l lment of interest or
   pri ncipa l w i thin fi ve (5) days from the date when due Borrower sha l l pay a late charge as provided
   i n the Note.

                        ection 2.4      USURY LA ws. It is the intention of Borrower and Lender to coo form
    strictly to usury and s i m i lar laws rel ating to i n terest wh ich m ay from t ime to time be in force, and
   al l agreements between Lender and Borrower whether now e x i st ing or hereafter aris ing and
    whether oral or written , are hereby expressly l i m ited so that in no contingency or ev ent what ever,
   whether by accel erat ion of matu rity hereof or otherw ise, shal I the amount paid or agreed to be paid
   i n the aggregate to Lender as intere t u nder the Loan Docum nts or i n any other documen t
   e videncing, securing or perta i n i ng to the De bt, exceed the max imum permissi ble amount under
   app l icab le usury or such other laws (the "Max i m u m Amount"). If from any possible construction
   o f any document, interest would otherwis be payable u nder any Loan Document in e ces of the
   Max im um A mount, or i n the event for an reaso n whatsoever any pay ment by or act of B rrower
   pursuant to the tenn s or requ i rem nts of any Loan Doc ument shal I re ult in the pay m nt of interest
   which w u ld exceed the Max i m um Amount, then any such construct ion shall be subj ect lo the
   prov i sions of th is Section, and ipso facto such doc ument sha l l be automatically refonned without
  the neces ity of the execution of any amendm ent or new document so that the ob l igat ion of
   Bo rrower to pay i nterest or perform such act or req u i rement shal l be reduced to the l i m it authorized
   u nder Appl i able Law , and in no i;;vent h a l l Borr wer be obligated to pay any intete 1 1 perform
  any act or be bound by any req u i rement which would resu lt in th payment of interest in excess
  of the Max i m u m Amo unt. Any amount recei ved by Lender in excess of the Maximum Amo unl
  sha l l, without further agreement or notice between or by any party hereto be deemed appl ied to
  reduce the pri nci pal amount of the Note im med iately upon receipt of uch moneys by Lender with
  lhe same force and effect as though Bon-ower had pec ifica l ly designated such um s to be appl i d
  to principal prepayment. The prov isi ons of this Section shall supersede any inconsi tent provis ion
     f this Agreement or any other Loan Document.

                                    Arti cle J. - SECU RITY INTEREST

                ection 3 . 1       GRANT OF ECU H.ITY I. T Rl!.ST. As security for (i) all i ndebtedness,
  o b l igations and l i a b i l ities of Borrower to Lender ari sing under or in con nect.ion w ith the Loan
  and the Loan Agreement, whether now existing or hereafter ari s ing; (ii) a l l obligations and
  l iabi l ities of Borrower to Lender a.ris ing under or in connection with this Agreement whether n ow
 e i st ing or herea fter arising; (i i i) any and a l l u m pa id by Lender in order to preserve the o l lalera l
 or its security interest there i n ; (i ) i n the event of an proceed ing for lhe co l l ec tion or enforcement
 of any indebtednes , obl igat ions or l iab i l ities of o rrowcr re ferred to in clau e ( i), the expen e· of
 retaki ng, hold ing , co l lect ion, pre pari n fi r sale, e l l ing o r otherw i e d i po ing of or real izing on
 the ollateral, or of any exer i sc by Lender o f its ri ghts r remedies under th i s Ag rcem nt, together
     ith attorn y • fees and expen e and cou rt costs · and (v) all indem n i ty obl i gat ion of Borrower
 to Lender pursuant to this Agreement co l lect i v l y the "Obl i gations " ), 13orrower grants ender a
 cont i n u i ng fi t-priorily sec urit interest in, l ien o n and right o f el-off aga i nst f!nd ass igns to
 Lender as securi ty, all o f Bon·ower's right, title and i nterest i n to and u nder the fo l lowing property


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   and interests in property, whether now owned or hereafter acquired or existing and where er
   located, (collectively the 11Collateral' 1 :

            (a)    all of Borrower's right, dtle and intere t in and ,to the Pledged Jnterests and th
   certificates representing the Pledged Interests;

           (b)    any and all rights and rem dies of Borrower under the Organizational Documents,
   including the right to enfor e any and all representations, warranties, covenan1s obligations,
   agreements and indemnities of any party thereto made to or for the benefit of, or that otherwis
   inure to th benefit of Borrower;

          (c)    All books and records including credit files, computer programs, printouts and
  other computer materials and records) of Borrower pertaining to any of the foregoing; and

          (d)    Borrower's right, title and interest in and to the profits and losses of Borrower and
 Borrower' right a a hareholdcr of Subsidiary to receive dividends or distribution of Subsidiary's
 assets, upon complete or partial liquidation or other. ise.

          Section 3.2     Dli:LIVER OF CERTIFICATE , I          RUMENTS; FINA 'CING STATEMENT.

          (a)    Concurrently with this Agreement, Borrower shall deliver to Lender all original
  certificates instruments and other documents evidencing or representing the Collateral
  accompanied by duly executed instruments of transfer in blank.

          (b)     Borrow r authorize Lender to file any financing tatemenl or financing statement
  amendment required by Lender to establish or maintain the vaJidity perfection and priority of the
  security interest granted herein.

           (c)   From time to time, Lender may but is not required to. perfom, any agreement or
   bligation of Bon-ower hereunder v hich Borrower shall fai I to pcrfonn and take any action Lender
  deem ne1.:e"sary for the maintenance and preservation of any of its Collateral or its security
  interest.

          , ection .>.     R.ELE/\ E OF SEC RITVI n:.REST At such time as (a) the Loan has been
  paid in full (b) all the Obligations have been satisfied, and (c) the Loan Agreement shall have been
  terminated, Lender hall take all steps necessary to release the security inter st in the Collateral
  granled hereunder free and clear of any Ii n created hereund r in fav r of Lender. Upon such
  termination at the co t and expeos of Bonower, Lender shall execute a satisfaction of thi
  Agreement and uch instruments documents or agreements as are nece sary or desirable to
  terminate, discharge and remove of record any documents constituting public notice of this
  Agreement and the security interests and assignment granted hereunder and shall deliver or cau e
  to be deliver d to Borrower the ertiti ate(.) repre enting the Pledged lntere ts.

           ection 3.4     BORROWER REMAI              LI BLE.        Anything herein to the contrary
 notwithstanding (a) Borrower haJJ remain liable under rganizational D um nl to the c ·tent
 set forth therein to perform al I of its respective duties and obligations thereunder to th same extent
 as if thi     gi·eemcnt had not been executed: b) the e er ise by Lender of any of the right
 hereunder shall not release any Borrower from an of its duties or obligation und r the
 Organizational Documents; and c             ender shall nol have any obligation or liability under the
 Organizational Documents by reason f thi, Agreement nor shall ender be obligated to perform
 any of the obligations or duties of Borrower thereunder o.r to take any a tion to collect or enforce
                                                   9
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   any claim for payment assigned hereunder; provided that Lender and any other transferee of the
   Collateral shall take the same subje t to the Organizational Documents.

          Section 3.5      ADDITIONAL COLLATERAL A additiona I col lateral for the payment of any
  and all indebtedness and obligations of Bo1Towcr. Borrower shall cause Subsidiary to mortgage
  grant, bargain, pledge assign, warrant, transfer and convey to Lender and grant a security inter st
  to ender in aJI right, title and interest of Subsidiary in and to the Property. Within thirty (30) days
  of rhe date of thi Agreement Borrower shall have such first lien m rtgage properly recorded or
  registered in the records of St. Barthelemy and provide a copy of u h rec rdcd or mortgage and
  any atte tation or affirmation as may be reasonably required by Lender affirming the tirst lien
  position of the mortgage on the Property and due and proper execution of all related documents.

           Article 4. - REPRESENTAT IONS AND WARRANTIE OF BORROWER

                To induce Lender to make the Loan and to enter into this Agreement, Borrower
  hereby represents and wanants to Lender:

                   ection 4.1    L£G LSTAT

                   (a)    i duly organized, validly cxi ting and in good standing under the laws of
  its state of organization or incorporation·

                  (b)     is duly qualified to transact business and is in good standing in each
  jurisdiction in which the character of the properties owned or J ased by Borrower or the nature of
  its business makes such quaJifi ation necessa ;

                 (c)     has all nece sary approvals governmental and otherwise and full power
  and authority to carry on i s business a nuw conducted and proposed to be conducted· and

                  (d)     ha full power. authority and legal right to execute the Loan Docum nt
  and to grant. bargain_. sell pledgt: assign warrant, tran fer and c nvey the Collateral pursuant to
  the terms hereof and to keep and ob erve all of the terms of the Loan Documents on Borrower's
  part to be performed.

                  ection 4.2

                 (a)    Borrower's exact legal name and organizational identification number if
 any, as igned by the state of incorporation or organization is corre tly set forth on the fir t page of
 this Agreement, other Loan Documents and on any UCC- l Financing Statement filed in
 connection with the Loan. B01Tower is an organization of the type specified and is incorporated
 in or organized under lhe laws of the state specified on the first page of this Agreement. Borrower's
 principal place of business and the place where Borr wer keeps it boo� and records, has been
 for the pre eding f ur month (or if les the entire period of the c i tence of Bonower) i the
 address of Borrower set forth on the first page of this Agreement.

                (b)     Borrow r i not direct!      ngaged in any joint enture or partnership with
 any other Person.




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                  Section 4.3     VALIDITY OF Do       M£NTS.

                  (a)       The execution delivery and performance of the Loan Documents and the
    borrowing evidenced by the ate: (i) are within the power of Bon-ower; (ii) have been authorized
   by all requisite action; (iii) have received all necessary approvals and consents, c rporate
   governmental or otherwise· (i ) will not violate contlicl with result in a breach of or constitute
   (with notice or lapse of time, or both) a default under any provision of law, any order or judgment
   of any court or go emmental authority, or any indenture agreement or other instrument to which
   Bon·ower is a party or by which it or any of its assets is or may be bound or affected· (v) will not
   result in the creation or imposition of any lien, charge or encumbra11ce whatsoever upon any of its
   assets except the lien and securit it1terest created hereby; and (vi) will not require any
   authorization or license from. or any filing with, any Governmental Authority or other body
   (except for Uniform Commercial Code filings r lating to the security interest created hereby).

                  (b)   The Loan Documents constitute Lhe legal, valid and binding obligations or
  Borrower enforceable against Borrower in accordance with their respective terms. excepl a· may
  be limited by: (i) bankruptcy, in olvency or other similar laws affecting the rights of creditors
  generally; and ii) general principles of equity (regardless of whether considered in a proceeding
  in equity or at law).

                Section 4.4      Lrnc TION. There is no material action suit or proceeding
  judicial administrative or otherw ise (including any condemnation or similar proceeding), p nding
  or, to the best of Borrower' knowledge, threatened or contemplated agains½ or affecting,
  Borrower. Borrower's business or any Guarantor, except Other than that certain litigation regarding
  Indigo Ridge Development Partner LLC and initiated by the filing by Sagita 160 I, LLC oo
  August 28, 2019 of an Original Petition in the 368th Di trict Court of Williamson County, Texas
  in Cau e No. 19-131 0-C368 (the ''Indigo Ridge Litigation").

                 Section 4.5     FI A CIAL CONDITION. Borrower:

                 (a)    is solvent, and no bankruptcy reorganization, insolvency or similar
  proceeding under any state or federal law with respect to Borrower has been ini1iat d or threatened;
  and

                 (b)     has received reasonably equivalent value for the granting of the Loan.

                 S ·ction 4.6  BUSI ES P RPOSES. The proc eds of the oan will be used by
  B01Tower solely for business purposes and not for personal, family. household or agricultural
  purpose . No part of the proceeds of the Loan will be used for the purpose of purchasing or
  acquiring any "margin stock" within th meaning of Regulation U of the Board of Governors of
  the federal Reserve System or for any other purpose which would be inconsistent with such
  Regulation U or any other Regulati ns of such Board of Governor or for any purpose prohibited
  by Legal Requirements or by lhe t rrns and onditions of the Loan Document .

                • e tion 4. 7  TA ES. Oorrower and any Guarantor hav filed all federal, state,
 c unt municipal and city income and other Tax returns required to have been filed by them and
 have paid all Tax s and related liabilities which have become due pursuant to such returns or
 pursuant t any a essment received by them. either Borrower nor any Guarantor know of any
 basis for any additional assessment in re peel of any uch Taxes and related liabilities for pri r
 years.

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                  Section 4.8     Tl' L£ TO PRO.Pll:RTIES.

                   a)      Borrower has good and marketable title to i s properti           and assets.
   including the Collateral, and the properties and a sets reflected in the financial statements are not
   subj ct to any Liens other than the Permitted Liens. Barro er has not agreed Or consented to cau e
   any of its properties or asset (whether now owned or in the future acquired) to be ubjcct to any
   Liens ther than the Permin d I iens.

                 (b      Borrower is the sole owner of all of the Collateral, beneficially and of
  record, free and clear of an liens other than the liens created hereunder. The Collateral is not
  subject to any option to purchase or similar rights of any kind or any voting trust, lock�up
  agreement or similar arrangement.

                  (c)     Borrower shall defend its tide to the Collateral against all claim of all
  persons.

                    ection 4.9    COMPLIA CE WITH LAW. Borroweri not in vi lationofanyLcgal
  R quirements which could have a Material Adver e Effi ct on Borrower. Borrower has obtained
  all licenses, permits: franchises and other governmental authorization neces ary forthe ownership
  of it propertie and assets. including the Collateral, and th conduct of its business.

                   ection 4.10 PERFECTION.. Upon (a) the execution and delivery of thi
  Agreement, (b) the delivery of the certificates evidencing the Borrower's interests in the
  Subsidiary, and (c) the filing of a CC-l financing s1atement against Borrower and naming Lender
  as the secured party in th office of the ecretary of State of the Borrow r's tate of incorporation
  or organization, Lender will have a valid perfected continuing, first-priority ecurity interest in
  the ollateraL

                 Section 4.11 INTELLECTUAL PROPERTY. All patents, trademarks service marks,
  copyrights, design rights, tradenames, assumed names, trade secrets and licenses owned or utilized
  by Borrower are valid and have been duly filed,; ith all appropriate Gov mmenlal Authorities and
  Borrower is not aware of any objection or chat! nge to their validity.

                Section 4.12 ENYIR01 MENTAL            REPRESENTATIONS            D
  Borrower represents and warrants, that:

                 (a)    there is no past or pre nt non�compliance with Environmental Law , or
  with pennits issued pursuant thereto; and

                b)     Borrower docs not know of and has not received, any writltm or oral notice
 or other communication from any P rson relating to Hazardous ubstances or Remediation
 thereof, of possible liability of any Person pur uanl to any        nvironmental Law other
 environmental conditions, or any actual or pot ntial administrative or judicial proceeding in
 connection with any of the foregoing.

                  ection 4.13 NO CHA GE I FA T OR Cl'R lJMSTA c; ,._ All information in the
 application for the Loan ubmitted to Lender and in all finan ial statements, rcpo1ts certificates
 and other documents submitted in conne ·tion with the loan application or in sati fa lion of the
 term thereof are accurate. complete and correct in all material respects. There has been n
 adver c change in any condition fact, circumstance or event that would make any such informali n
 inaccurate, incomplete or otherwise matcriaJly misl ading.
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                  Section 4.14 D1 CLOSURE. Borrower has disclosed to Lender all material facts
   and has not failed to disclose any material fact that could cause any representation or warranty
   made herein to be materially misleading or have a Material Adverse Effect on Borrower or
   Borrower's business.

                    ectioa 4.15

                     a)    is duly organized, validly ex[sting and in good standing under the laws of
   its jurisdiction of organization or incorporation;

                  (b)    i duly qualified to transact bu iness and i in good tanding in each
  jurisdiction in which the characler of the properties owned or leased by Borrower or the nature of
  its business make uch qualification neces ary; and

                 (c)     ha all nece ary approvals go ernmental and otherwise, and full power
  and authority to carry on its business as now conducted and proposed to be conducted

                   ection 4.l 6      B lDIARY ASSET

                   a)     ubsidiary has good and marketable title to its Property and assets and are
  not subject to any Lien other than the Permitted Liens. ubsidiary has not agreed or consented to
  cause any of it Property or assets (whether now owned or in the future acquired) to be ubject to
  any Liens other than the Permitted Liens.

                  (b      Subsidiary i the sole owner of all of the Properly, beneficially and of
  record, free and clear of any liens other than the liens created hereunder.

                  Section 4.17 THIRD PARTY REPRE E TATIONS. Each of the r presentations and
  the warranties made by each Guarantor herein or in any of the other Loan Documents is tru and
  correct in all material re pects.

  Borrower recognizes and acknowledges that in accepting the Loan Documents Lender is expressly
  and primarily relying on the truth and accuracy of th warranties and representations set forth in
  th.is Article 4 without any ohligation to inve tigate and notwithstanding any investi gation by
  Lender; that such reliance existed on the part of Lender prior to the date hereof; that the warranties
  and representations are a material inducement to Lender in ace pting the Loan Documents; and
  that Lender would not be williog to make the Loan in the absence of the warranties and
  representations as set forth in this Article 4.

                               Article 5. - BORROWER COVENANTS

                  ection -.1                      OF' COLLA ERAL.

                  a)     Borrower shall not create, permit or suffer to exist and will d find th
   ollateral a ainst and tak uch olher action a is neces ary to remove, any lien n the    llaleral.

                 (b)     Borrower hall afeguard and prot ct all olhueral and shall not allow any
 rnateriaJ default for which it i 1·e ponsible to occur und ran   ollateral, and shall fully perform
 or cause to be performed when due all of its re pective obligations under the ollateral



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                   (c)    Borrower shall not permit the merg r or consolidation of the Subsidiary or
   the issuance of additional share options, warrants or convertible obligations or notes with resp ct
   to the Subsidiary.

                   (d      BoJTower shall not, without the written consent of Lender which consent
   shall be granted or wilhheld in Lender's oJe discretion sell, a sign, pledge, granl any lien on,
   transfer, dispose of or otherwise encumber the Collateral or any part thereof, including, without
   limitation, entering into any lock-up, voting trust or any other arrangement with respect to the
   Collateral that adversely affects the intere t of the Lender, as determined by the Lender in
   Lender's sole discretion.

                  (e)     Borrower shall not, without the written consent of Lender, which consent
  shall be granted or withheld in Lender's sole discretion cause the Subsidiary to (I) sell lease assign,
  pledge, grant any lien 011 transfer, dispose of or otherwise encumber the Prope1ty owned by the
   ubsidiary or any part thereor, (If) alter, amend or otherwise change the zoning, classification or
  designation for u e of th Property owned by the Subsidiary or any part thereof or (IJI) develop or
  construct any structure on the Property owned by th Subsidiary or any part thereof.

                  (f)      Borrower shall obtain (al its sole cost) updated appraisal reports for each of
  the Propertie· from an independehl third-party appraisal firm in St. Bartbelemy, including a
  reliance letter authorizing the Lender to rely on such appraisal reports, and deliver such reports
  and reliance letters to the Borrower as soon as possible aft.er the First Tranche but in no event later
  than forty-five (45) day thereafter. If Lhe Loan to Value Ratio is belo" forty percent (40%), Lhe
  Borrower shall be required lo give additional collateral to secure the Loan in the form acceptable
  to the Lender in its sole di cretion.

                    ection 5.2     R.tGHT OF BORROWER. Unless an vent of Default either i) has
  occurred or ii) as a resu1t of the exercise or taking of any action or after giving effect to a
  distribulion will occur, Borrower shall be entitled lo (a) excr i e any and all voting and other
  consensual rights pertaining to the ollateral or any part thereof for any purpose not inconsistent
  with the terms of thi Agreement. provided that Borrower shall not exercise or refrain from
  exercising any such right if such action would ha.ve a Material Adverse Effect on the value of the
  Collateral or the benefits of this Agreement and (b) receive and use free and clear' of any lien
  created hereby or any security interest granted by Borrower to Lender hereunder. for any purpose
  any distributions actually made, and any al locations actually made with re p ct to the Collateral
  (whether as a di, tribution of net cash Oow or otherwise), provided that di tributions payable other
  than in a h shall be delivered to Lender and shall be additional security for the Loan.

                 Section 5.3    BUSI li:SS CONDUCTED. Borrower shall and shall cau e Subsidiary
 to continue in the bu iness currenlly conducted by it using its best efforts to maintain its customers
 and goodwill. Borrower shall and shall cause Subsidiary to not directly or indirectly, engage in
 any line of business subslantially differ nt from the line of busine s conducted b Borrnwcr or
   ubsidiary a of the date of thi Agreement. Borrower shall cause ubsidiary to change its
 domicile to Florida, Uniled State of America prior to granting the mortgage on the Properties in
 a manner rea. onablc sati factory to French/ 't. Barthelemy ounsel to Lender and U. .          un el lo
   ender.




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                   (a)     Borrower shall promptly pay all Taxes when due and furnish to Lender upon
   request receipted bills of the appropriate taxing authority or other documentation reasonably
   satisfactory to Lender evidencing the payment thereof, Borrower shall not suffer and shall
   promptly cause to be paid and discharged any lien or charge whatsoev r which may be or becom
   a lien or charge against the Collateral.

                  (b)   After prior written notice to Lender, Borrower, at its own expense, may
  contest by appropriate legal proce ding, promptly initiated and conducted in good faith and with
  due diligence, the amount or validity or application in whole or in part of any of the Taxes or any
  claims or judgments of mechanics, material men, suppliers or vendors or any I ie,1 therefor, provided
  that:

                              i)    no Event of Default has occurred and is continuing hereunder or
                                    under an)' of the other Loan Documents;

                         (ii        Borrower is not prohibited from doing so under the provisions of
                                    any other agreemen affecting Borrower;

                         (iii)      such proceeding shall suspend the col le tion of the disputed amount
                                    from Borrower (and Borrower shall furnish such security as may be
                                    required in the proceeding for such purpose), or Aorrower shall ha e
                                    bonded over or paid all of the disputed amount under protest;

                         (iv)      the Collateral will not be -in danger of being sold        forfeited,
                                   terminated canceled or lost; and

                         (v        Borrower shall have deposited with Lender adequate reserves for the
                                   payment of the disputed amount, togeth r with all interest and
                                   penalties thereon uni ss Borrower ha bonded over or paid all of
                                   the disputed amount under protest.

                 ection 5.5     PAYMENT OF LEASEHOLD OBLIGATION . Borrower shall at all
  time pay when due, its rental obligations under all leases which it is a tenant or lessee and shall
  comply in all material respects with all other terms of any lease and keep them in full force and
  effect.

                 Section 5.6    COMPLIA, 'CE WITH LAW . Borrower shall and shall cause
   ub"idiary to promptly comply with all Legal Requirement . Borrower shall give prompt ootice
 to Lender of the reoeipt by Borrower of any notice related to a violation of any Legal Requirements
 and of the commencement of any proceeding or inve tigation which relate to compliance with
 LegaJ Requirements.

                 Borrower shall ha e the right, a�er prior written notice to Lender, to conte t by
 appr priate I gal proceeding diligently <;onducled in good faith. without cost r xpcns to
 Lender, the validity or application of any Legal Requirements and to suspend complian e
 therewith if permitted und r gal Requirements provided:

                        (i)        failure t comply therewith may not subject Borrower or Lender to
                                   any civil or criminal liability;



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                         (ii)     prior to and during such contest, Borrower shall furnish to Lender
                                  security reasonably satisfactory to Lender against loss or injury by
                                  reason of such contest or non-compliance with such Le al
                                  Requirements·

                         (iii)    no Event of Default hall xist during such proceedings, and such
                                  contest shall n t otherwise violate any of the provisions of any of
                                  the Loan Documents; and

                         (iv)     such contest shall not ubject the Collateral to any lien or
                                  encumbrance the enforcement of which is not suspended by such
                                  contest or otherwi e affect the priority of the lien of Lender.

                 Se tion 5.7

                  (a)     Borrower and Guarantor, hal I keep adequate books and records of account
  in accordance with GAAP or in accordance with oLher method acceptable to Lender in its sole
  discretion. consistently applied and shall furnish to Lender the following, which shall be prepar d,
  dated and certified by Borrower (or by Guarantor to the extent such items relate to Guarantor) as
  true. correct and complete in the form required by Lender, unle s otherwise specified below:

                        (i)      quarterly operating statements of the Borrower, detailing the
                                 revenue received, the expense incun'ed and the net operating
                                 income before and after debt service (principal and interest) and
                                 containing appropriate year to dat information within thirty (30)
                                 days after the end of each fiscal quar1er;

                        (ii)     quarterly balance sheets of Borrower within thirty (30) days after
                                 the end of each fi cal quarter;

                        (iii)    an annual operating statement of the Borrnwer detailing the total
                                 revenues received, total expenses incurred, total cost of all capital
                                 improvements total debt service and wtal cash flow, prepared, dated
                                 and certified by independent certified public accountants acceptable
                                 to Lender within ninety (90) days after the close of ea h fiscal year
                                 of Borrower;

                        (iv)     an annual balance sheet aJ1d profit and lo    tatement of Borrower
                                 and any Guarantors within ninety (90) days after the close of each
                                 fiscal year of 13orrower and Guarantors prepared, dated and ce.rtified
                                 by independent certified public accountants acceptable to Lender, as
                                 the en e may be; and

                        (v)       uch other financial . tatements, and such other information and
                                 report. as may, from time to time, be required hy Lender.

                 b)     Borrower and any Guarantor shall furnish ender with such other additional
 financial or management information (including tate and Pederal Tax return ) as may, fr m time
 to time be reasonably required by Lender in form and sub tanc satisfactory t Lender, in
 rea onable detail and certified by Borrower as true, co1Tect and complete.

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                   (c)     Following the occurrence of an Event of Default, or if L nder has reason to
   believe that any item furnished under this ection is materially inaccurate or mi leading, Lender
   shall have the right, but not the obligation, to obtain any of the financial statements and other item
   required to be provided under this Section by means ofan audit by an independent certified public
   accountant selected by Lender, in which event Borrower agrees to pay 1 or to reirnbur e Lender for,
   any expense of such audit and further agrees to provide afl necessary information to said
   accountant and otherwise to cooperate in the performance of such audit.

                Section 5.8    PERF0RMA C� OF OTf:IER AGREEMENTS. Borrower shall observe
  and perform each and every term to be observed or performed by Borrower pursuant to the terms
  of any agreem nt or instrument affecting or pertaining to Borrower or the Collateral or given by
  Borrower to Lender for the purpose of further securing an Obligation and any amendments,
  modification or changes lhereto.

                 Section 5.9    I URANCE. (a) Borrower shall and shall cause Subsidiary to
  maintai11 or cause to be maintajned insurance with resp ct to its business and properties in such
  amounts cJ ductibles and co erages as Lender shall reas nably require including without
  limitation:

                         (i)     insurance against loss or damage by Casualty:

                         (ii)    commercial general liability insurance;

                         (iii)   bu iness inten-uption insurance;

                         (iv)    product liability·

                         ( )     bond against larceny or embezzlement; and

                         (vi)    worker's compensation in urance.

  All insurance policies shall be issued by financially rt:sponsiblc in urers. Borrower shall furni h
  Lender with copies of all policies and renewals of such policies at least thirty 30) days prior to
  any expiration date and appropriate loss payable endorsements in form and substance sati faclory
  to Lender naming Lender as a co-insured and loss-payee as its interests may appear. AIJ insurance
  policies shall contain a provi ion that such policies may not be cancel led or amended or failed to
  be renewed without at least thirty (30) days prior written notice to Lender.

                (b)      rf any of the Collateral shall b damaged or destroyed, in whole or in pan,
 by Casualty, Bor'rower shall give prompt notice of such damage to Lender and shall promptly
 commence and diligently prosecute the proof of loss and the replacement, restoration or repair of
 any of the Collateral so damaged or destroyed. Borrower shall pay all costs of replacing, restoring
 or repairing any Collaleral so damaged or destroyed, whether r not su h ost.s ar overed by
 insurance. Lender may but hall not be obi igated to make proof of lo s if not mnde promptly by
 Borrow r. Bonower hall adju t all claims for insurance proceed in con ultation with and
 approval of; Lender: pro ided, however, if an Event of Default ha occurred and is onlinuing,
 L nder hall have the exclusive right Lo pa11icipat in the adjustment or all claim for insurance
 proceeds.

                 edion 5.10 Ace ss TO PROPERTY. Borrower shall permit Lender, its agents
 and repre entative to in pect the ollateral and the Property       r
                                                              ubsidiary at reasonable hour
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   upon reasonable advance notice and shall provide Lender its agents and representatives all
   documents relating to the ollateral or the Property of the Subsidiary as rea onably requested by
   Lender.

                   Section 5.11 LJTICATJON. Borrower shall give prompt notice ofany litigation or
   governmental proceeding pending or thr atened again l Borrower, Subsidiary or Guarantor which
   might materially adversely affect Borrower' , ubsidiary's or Ouarantor1s condition, financial or
   otherwi e, or the Collateral, in e ces of Twenty-Fi e Thousand and 00/100 Dollar ($25,000.00).

                   ection 5.12 DIVIDENDS, DISTRIB TlONS AND MANAGEMENT FEE .                      Except
   with the express written consent of Lender Bon-ower shall not:

                  (a     declare or pay any dividends or other distributions with respect to purchase,
  redeem or othem•ise acquire for value any of its outstanding stock partnershrp interests or
  membership interests or return any capital of it hareholders, parlners, member or managers.
  Notwithstandin the foregoing. provided that an vent of Default does not exist or after giving
  effect to the dividend or distribution will xist. Borrower may make a dividend or distribution in
  an amount not to exceed t.he amount either of the federal !lnd state incom Taxes due and owing
  by the shareholders of Borrower if it is an S corporation as defined in the Code, the partners or
  the ml!mbers for the most recently ended fr cal year or for estimated federal and state incom
  Taxes for the current fiscal year due and owing by the shareholders partners or members of
  801rnwer· and

                  (b)    pay management fees or fee of a similar nature to any Guarantor or person
  affiliated with Guarantor,

                  , ection 5. 13 INGLE: PURPO E ENTTT
  paid in full, Borrower ha nol and will not:

                  (a)     merge into or consolidate with any Person, or dissolve terminate liquidate
  in whole or in part, transfer or otherwise dispo e of al I or ubstantially all of its assets or chang
  it legal structure;

                 (b)     create or own any new ub idiary:

                  c)     commingle its asse     with the assets of any other Person;

                (d)     establi h any new credit facilities engage in any debt restru ture, or
  accelerate payment of any existing debt·

                 (e)     enter into any contract or agreement with any general partner, member,
 shareholder principal guarantor of the obligation of Borrower, or any Affiliate of the foregoing.
 except upon t nn and conditions 1hat are intrimdcally fair commercially rea onable and
  ubstuntially similar to those that would be available on an arm's-length basi with unaffiliated
 third parties;

                (t)     assume or guaranty the debt of any other Person, hold it elf out to be
 re ponsiblc for the debts of any other P rson, r otherwi pledge its a ct for lh benefit of any
 oth r Per on o h Id out its credit a· being a ai lable to satisfy the obi igations of any other Person·
 and


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                  (g)     make any loans or advance to any Person.

                   ection 5.14                                              TURE.

                  Borrower shall not change or permit to be changed:

                  (a)     Borrower's name·

                  (b)     Borrower's identity (including its trade name or names);

                  (c)     Borrower's principal place of business set forth on the first page of this
  Agreement·

                 (d)     the corporate. partnership, limited liability company oroth rorganizatiooal
  structure of Borrower;

                 (e)     Borrower's state of incorporation or organization:

                 (0      Borrower' organizational identification number; or

                 (g)     Borrower' management officers or board of directors,

  without in each case notifying Lender of such change in writing at least thi1ty (30) day prior to
  the effective date of such change and in the case of a change in Borrower's structure or
  management officers or board of directors, without first obtaining the prior written consent of
  Lender. Borrower authorizes ender to file any financing statement or financing statement
  amendment required by Lender to establish or maintain the validity perfection and priority of the
  security interest grant d herein. Ar the request of Lender, Bon-ower shaJI execute a certificate in
  fonn satisfactory to Lender I isting the trade names under which Borrower intends to operate and
  repre en ting and warranting that Borrower does business under no other trade name. If Borrower
  does not now have an organizationaJ identification number and lat r obtains one, or if the
  organizational identification number assigned to Borrower ubsequently changes Borrower shall
  promptly notify Lender of such organizati oal identification number or change.

                   ection 5, 15 BUSINESS AND OPERATJ0 . Borrower will qualify to do business
  and will remain in good standing under the laws of each state as and to th extent the same are
  required for the ownership maintenance, management and operation of is business.

                  e tion 5.16    E. 'Vffi0NMENTAL C0VENA TS.        BmTower covenants and agrees
 that:

              (a)   all u s and operations by Borr wer, shall be in compliance with all
 Environmental aws and permits issued pursuant thereto·

               (b)    there shall be no Hazardous      ubstance in, on, or under any Property of the
 Borrower. except tho e that are both:

                        (i)      in compliance with all ·,nvironmental Laws and, if required. with
                                 pem1it i sued pursuant ther to· and

                        (ii)     fully di clo ed to Lender in writing or arc used by Bon·ower in the
                                 ordina,·y ur e of their business.
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                    c     Borrower shal I, at its sole cost and expense. perform any environmental site
  a ses ment or other inve tigation of environmental condition . pur uant to any reasonable written
  request of Lender if Lender has reason to suspect thal a Release of a Hazardous Substance might
  have occurred (including without limitation sampling, testing and analysi of soil water, air,
  building materials and ther materials and substances whether solid, liquid or gas) and hare with
  Lender the r ports and other results thereof and Lender and other Indemnified Parties shall be
  entitled to rely on such reports and other results ther of-

                    d)     801Tower shall. at its sole cost and expense, comply with all reasonable
  \.Vritten requests of Lender to:

                         (i)      reasonably effi ctuate Remediation of any condition (including,
                                  without limitation, a Release of a Hazardous ubstance);

                         (ii)     comply witb any Environmental Law;

                         (iii)    comply with any directive from any Governmental Authority; and

                         (iv)    take any other reasonable action neces ary or appropriate for
                                 protection of human health or the environment.

                  (e)    B rrower shall not do any actthar materially increases the dangers to human
  health or the en ironment, poses an unreasonable risk of ham, to any Person, impairs or may impair
  the value of the Collateral, is contrary to any requirement of any insuTer con. titutes a public or
  pi•ivat nuisance or constitutes waste; and

                 (f)    Borrower immediately upon becoming aware of the ·ame shall notify
  Lender in writing of:

                        (i)      any presence or Relea es or threatened Releases of Hazardous
                                 Substances;

                        (ii)     any non-compliance with any Environmental Laws related in any
                                 way lo Borrower1 s properties;

                        (iii)    any requir d or proposed Rem diationofenvironmental conditions;
                                 and

                        (iv      any written or oral notice or other communication of which
                                 Borrower becomes aware from any source whatso ver (including,
                                 without limitation, a governmental entity relating in any way to
                                 Hazardous ubstances or Remediation thereof, possible liability of
                                 any Pcl'son pursuant to any         ·nvironm ntal Law other
                                 environmental condition' or any actuaJ or potential administrative
                                  r judicial proce dings.

                                        rticle 6. - TRAN .. FF.R

                'ection . I      TRAN l<'ERS BY BORROWER.



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                  Except with the prior written consent of Lender, which ma be withheld or denied
   in Lender s sole discretion, Borrower hall not permit any Transfer.

                                 Article 7.• DEFAULTS; REMEDIES

                Section 7. !    DEFAULT . The occurrence of one or more of the following events
  shall b an event of default ("Event of Default"):

                  (a)     If any portion of the Debt is not paid when due;

                 (b)     If any other Obligation js not performed in accordance with the tenns and
  conditions of this Agreement and the other Loan Documents;

                 (c)     The occurrence of a transfer pr hibited by tl1is Agreement·

                  (d)   If any representation or warranty contained herein or in any other Loan
  Document or if any of the information contained in any documentation provided to Lender by
  Borrower in conjunction with the Loan shall not be true and accurate in all material respects as of
  the date made_;

                 (e)     ff there shall occur a Material Ad erse Change in the financial condition or
  in the bu iness of Borra er or if Lender in good faith deems itself in ecure as a result- of acts or
  events bearing upon the financial condition of Borrower.

                 (t)     If any one or more of Borrower or Guarantor shall:

                         (i)     file a voluntary petition in bankruptcy or for relief under the
                                 Bankrupt y Act or any similar state or federal law;

                         (ii)    file a pleading in any proceeding admitting insolvency;

                         (iii)   not have vacated within sixty (60) days after the filing against
                                 Borrower or Guarantor of any i.nvoluntary proceeding under the
                                 Bankruptcy Act or similar tate or federal law·

                        (,iv)    have a substantial part of any one or more of their assets attached,
                                 seized ubjected to a writ or distress warrant, or levied upon, unle
                                 such attachmenr. seizure writ warrant or levy is vacated within
                                 sixty (60) days;

                        (v)      make an assignment for the benefit of creditors or hall con ent to
                                 the appoitltment of a receiver or trustee or liquidator of all or a major
                                 part of it property; or

                        (vi)     nol have vacated any order appointing a receiver, trustee or of any
                                 Borrower or uarantor 01 all or a major part of any such person's
                                 propetiy.

                (g)     ff a notice of lien levy or a signment is filed or recorded with respect t all
 or any of the ass l of Borrower by the United tate government or any department agency or
 instrumentaJity thereof r by any stat , county, municipal r other g em mental agenc or if any
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   Taxes or debts owing at any time or times hereafter to any un� of them becomes a lien or
   encumbrances upon any of Borrower's as ets and any of th foregoing is nor re lea ed, bonded or
   otherwise ecured to Lender's reasonable saLi faction within sixty (60) days after the same becomes
   a lien or encumbrance;

                  (h)      lf Borrower shall continue to be in default under any other term, c-0venant
   or condition of this Agreement not specified above for thirty (30) days after notice to Borrower
   from Lender, provided however. if such default cannot reasonably be cured within such thiry   t
                                                                                                   (30)
   day period and Borrower shall have commenced to cure such default within the thirty day 30
   period and Borrower shall thereafter diligently and expeditiously proceed to cure for such
   additional time as is reasonably necessary but not lo exceed sixty (60) days.

                    ection 7.2    RIGHT OF ENFORCEME T. Upon the occun-ence of an Event of
   Default, Lender shall have and may exerci e any and aU righ of enforcement and remedies
   afforded to Lend r pursuant to this Agreement, the Note, and the other Loan Documents, together
   with any and all other righls and remedies otherwise provjded and availabl to Lender by law or
    quity, including with ut limitation:

                 (a)    terminate the Loan, whereupon all outstanding obligations shall become
   immediately due and payable;

                 (b)     setoff or apply any property of Bonower held by Lender to reduce the
    ut tanding obligation;

                (c)     notify or cause Borrower to notify, at its sole cost and expense, any or aJI of
  the Account D btors lhat the Accounts have been assigned to Lender and that aJI future payments
  on the Accounts should be paid directly and olely to Lender as directed·

                  (d      ex rci e any and al I rights of enforcement and remedies available under the
    CC either as of the date of this Agreement or as of any Event of Default, and in conjunction with
  in addition to, or substitution for those rights, Lender may. in its ab oluLe di cretion:

                         (i)    �nter upon any premises of Borrower to take possession of,
                                assemble and collect and carry away the Collateral· and/or

                         (ii)   require Borrow r al Borrower's sole cost to assemble the Collateral
                                and make it available al a place Lender designates which is
                                convenient to allow Lender to take possession or dispose of the
                                Collateral; anc.1/or

                         (fo)   waive any Ev nt of Default or remedy any Event of Default in any
                                r asonable manner, ·ithout waiving its rights and remedie. upon
                                such Event of Default and without waiving any other prior or
                                subsequent Event of D fault.

  L�nder shall n t be liable for failure to as emblc and collect the ollaccral or any part thereof or
  t enforce any rights her under or under any agreement relating to the ollat ral, or for any act or
   missi 11 on the part of ender. its officers, agents or employees, exc pl willful misconduct.

                 ection 7.   RIGHTS Of ALE. Borrower agrees that if an Event of Default
   ccur under this Agreem nt, L ndcr may, at it option, sell anti dispose f th o!latcral at one
                                                  22
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   or more publ ic or private sales upon giv ing Borrower not l ess than ten I 0) days' written notice of
   the time and place of each such public sale or Lhe time place. tem,s and cond itions of each such
   pri vate a le, which notice or notices Borro wer hereby agree are commerc ially reasonab le with in
   lhe m an ing of th U C . Lender, or any other party wh ich i s th highest bidder, shal l ha e the
   right to purchase the Col lateral be ing o ffered at any public sale free from any right o f redem ption
   if uny in Borrower which right o f redempt ion is h ereby ex pressly waived . Lender as h ighe t
   bidder at any public sale may apply any u npaid portion of the Debt on accoun t of or i n full
  satisfaction of the purchase price. Lender i f it i not the purchaser, hal l have the right to app ly
  the n t proceeds of any such pu b f ic or pri vate sale (after paying al l of i ts reasonab le costs and
  expense of every kind and nature incidental thereto incl ud i ng, without limitation, attorney 's fees
  and legal expenses and expen ses inc idental to preparing for ale, sel l i ng and the Jike), to payment
  of the Debt . On ly after so applyi ng such net proceeds and after the payment by Lender of any other
  sums requ ired to be paid purs uant to any existing or future prov i s ion of l aw inc lud ing, w itbo1.1t
  l i m itation the lJCC, shal l Lender be ob l igated to account to Borrower for the surpl us, ir any,
  resulting from any public or priv ate sale . I f any deficiency on the Debt shall rema.i n a fter all of the
  Co l lateral has been d isposed of at such pu b l i c or pri vate sale or sa les and after apply ing the net
  proceeds of each such sale as pro v ided i n this Section 7.3 Borrower shal l pay suc h deficiency lo
  Lender.

                    ect ion 7.4     M I CELLANEO • RIG HTS OF L EN DER.

                     (a        Borrower hereby wai ves any and aJ I legal req u i remenls that Lender in stitute
   any act ion or proceed ing at law or in equ ity aga i nst Borrower or exhaust its remed ies in respect of
  any other t:c urity held by Lender as a cond ition precedent lo exercising its rights and remedies as
   to the Co l l atera l pu rsuant to the pro isions of this Agreemen t Borrower wa i ves any defen es
  caused by reason of any di sabi lity or other d fense o f any person, or by reason of the ce sation
   from a ny cause w hatsoever of the l i abi l i ty of any other person . B orrower authorizes Lender
  without notice o r demand and wi thout affecting Borrower's l i ab i l ity or Lender's rights hereunder
  or on the Debt, from time lo time: (i) to take and ho ld security other than the Collateral for the
  payment of the Debt or any pa11 thereo f, and xchange, en force, wa ive and release the Col l ateral,
  or any part thereof or any rights remedies, securi ties or J ;ens of Borrower w i01 respect Lo the
  Collateral, or any such other security ; ( i i ) to apply the Collateral or any other securi ty and direct
  the order or man ner of aJe thereof a Lender in its discretion may detenn i ne; and ( i i i to endorse
  Borrower's name to any notes, checks draft , b i l ls of exchange, commerc ial paper or oth r
  instruments.

                    (b)    L nder may proceed against al l or a portion of the Col lateral . A l l rights and
  remedi es unde r t h is Agreement or othe1wise avai lable to Jaw or equ ity m ay be pursued
  con urre ntly or otherwise at such time and in such order as Lend r may determ i n in its so le
  d i scretion wi thout impairing or otherwise a ffecting the other rights and remed je of Lender.

                      ect ion 7.5     RrC IIT TO C RE DEFA U LTS . Upon the oc urr nee f any Event of
 Defau l t or i f Uorrower fai ls to make aoy payment or to do any act as herein prov ided, Lender may
 but w ithout any obl igat ion t do s and without not ice to r demand on Borrower and w i thout
 re leas ing Borrower from any obl igation he reunder mak or do th e am in uch manner and to
 such ex tent as Lender may deem n ee sary to prot ct the e urity h r of, i n c l ud i ng wi thout
 l imit ati on : (a) obtain i nsur n ee overi ng any part ofth  ol !atera l ; (b) di scharge any Taxe , l i ens
 or other encum brances at any t ime levied or plac d o n any                  ! latera l in vi olation of th i
 Agreement; and c) pay for th preservation and malntenance of any ollatera l. L nder i
 au thorized to appetir in d fend, or bring any act ion or proceed ing to protect its interest in the
                                                      23
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   Col .latera l or to foreclose or collect the Loan and the cost and expe nse thereof (inc l u ding
   rea onable attorneys' fees to the extent permitted by law) with interest at the Defa u lt Rate shal l
   constitute a portion o f the Loan and be secu red by this Agreement and sha l l be due and payable to
   L nder u pon demand . A l l suc h costs and expenses incurred by Lender in remedy ing such Event
   o f Defau l L or such fai led payment or act or i n appeari ng in, defendi ng, or bri ng ing any such action
   or proceed ing shal l bear interest at the Default Rate, for the period from that the i ncurrence of such
   cost or expen e by Lender to the date of payme nt to Lender.

                      ection 7. 6                                                      LAW FU L A
   Upon the occurre11 ce and during the continuance of an Event of Default, Borrower irrevocably
  des ignates makes constitutes and appoints Lender (and al l Persons de ignated by Lender) as its
  true and lawful artomey (and agent-in -fact) to take the fo l lowing actions: (a) at such time or t imes
  hereafter as Lender or its agent in ils so le di cretion may determ ine, i n Barro er's or Lender'
  n a m e to endorse Borrower's nam e on any c hecks, notes , drafts, instrum ents, documents or any
  other paymeot rel at ing to the Col late ra l and/or proceeds of the Col latera l whic h come into the
  posses 'ion of Lender r come under Lender's control; (b) to th extent pem1 irted by appl icabl e
  law, to sign Borrower's name on any documents (inc l uding financ ing tatements and continuations
  thereof) necessary or desi rable for the purpose of ma intai n i ng or achiev i ng the perfection of a
  secu ri ty interest in the Col lateral ; {c) to the extent penn itted by law. to s ign Borrower's name to
  any document necessary or appropriate in order to perm it Lender to fu l ly exerc ise its rights and
  remed ie ; and d) at such t i me or times hereafter as Lender or its agent i n their so le di scretion may
  determ i ne in Borrowe r's or Lender's name to exerc ise any vot i ng right or olher rights of consent
  or approva l . The power of attorney granted u nder this Section and any other power of a tto rney
  granted under th is Agreement, shall be i rrevocable and coupled with an interest.

                                          Article 8. - I N DEMN ITY

                       Sect ion 8. 1    I N DEMNIT Y. Borrower hereby i ndemnifie ihe l nde m n i fied Persons
  aga inst, and agrees to ho ld each such Inde m n i fied P rson harm l ess from , any and al l losses c l ai ms,
  damages and l iabi l iti , inc l uding c l aims brought by Borrower. any mem ber, manager agent,
  representative or employee of Borrower, any Guarantor, or any other Person and expenses relat ing
  to uch cla i m , including rea onablo counse l fees and expenses, incu rred by such I ndem n ified
  Person ari s ing out of any claim l i t igati on, investigat ion or proct:ed ing (whelber or not such
  Indemni fied P rson is a party thereto) re lati ng to any transactions, serv i ces or matters that are lhe
  subj ect of th is Agreement or the other Loan Docu ments · prov ided, however, that such indemn ity
  shal l not appl to any uch lo es, claims, damages, or liabil ities or related e penses detenni ned
  by a court of competcntj urisd iction to have arisen from the gross negl igence or w i l l fu l misconduct
  of uch Indemni fied Per on. The agreements of Borrower in this Section sha l l be i n add ition to
  any l iab i l i ty that Borrower may otherw i se have under other prov i s ion of thj Agreement and/or
  app l icable law or i n eq u ity . A l l amounts due u nder this ection sha l l be payable as i ncu rred upon
  written demand therefor.

                                           Article 9. - WA I VERS

                     ection 9. 1   MA RSHALL! G A D OTHER MATTTi:RS. Borrower hereby wai ves
 to the fu l lest extent perm itted by law, the benefit of all appra isement. va l uation, stay extensi n,
 reinstatement and redem pti on law now or hereafter in force and all rights of mar hai l ing in lhe
 event of any ale hereunder of the Co l latera l or any part lhereof or any i nterest therein . Further,
 Borrower hereby expressly waives any and al l rights of redemption from sa le under any order o.r
 decre of foreclo ure on beha l f of Borrower and on behal f of each and every per on acq u iri ng any

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   interest in or title to the Collateral or any portion subsequent to the date of tJ1is Agreement and on
   behalf of all p rsons lo the extent permitted by applicable law.

                   Section 9 .2  WAIVER Ofi" NOTICE. Borrower shall not be entitled to any notices
  of any nature whatsoever from Lender xcept with respect to matters for which this Agreement
   ·pecifically and expre sly provides for the giving of notice by Lender lo Borrower and except with
  respect to matters for which Lender is required by /\pplicablc Laws to give notice, and Bon-ower
  hereby exptessly waive the right to receive any notice from Lender with respect to any matter for
  which this Agreement does not specifically and expre sly provide for the giving of notice by
  Lender to Borrower.

                    ection 9.3   WAJVER OF STATU E Oli LIMlTATr0 S. To the fullest extent
  peTITlitted by law, Borrower hereby expressly waives and releases the pleading of any statute of
  limitations as a defense to payment of the Debt or performance of it other Obligations.

                   cction 9.4    M0DIFICATI0 , WAIVER IN WRlT C.                   0 modification,
  amendment, extension, discharge, termination or wai er of any provision of this Agreement, or of
  the Note, or of any other Loan Document, nor consent to any departure by Borrower therefrom,
  shall in any event be effective unless the same shaH be in a writing igned by the patty against
  whom enforcement is sought, and then such waiver or consent shall be effective only in the specific
  instance, and for !he purpose for which given. Except as otherwise expressly provided herein, no
  notice to or demand on Borrower, •hall entitle Bon-ower to any othel." or futur notice or demand
  in the ame, similar or other circum lances.

                 Section 9.5     DELA .OT A WAJVER.           either any failure nor any delay on the
  part of Lender in in i ting upon strict performance of any term condition covenant or agreement
  or exercising any right power, remedy or privilege under thi Agreement, the Note or under any
  other loan Document, or any other in trument given as security therefor shal I operate as or
  con litute a waiver thereof nor shall a singl or partial xerci e lhereof precludc any other future
  exercise or th exercise of any other right, power, remedy or privilege, fn particular, and not by
  way of limitation by accepting payment after lhe due date of any amount payable und r this
  /\greemcnt, the Note or any other Loan Document Lender shall noL be deemed to have waived
  any right eitbcr to require prompt payrn nt when due of all other amounts due under this
    greement, the Note or the other Loan D cuments, or to declare a default for failure to effect
  prompt payment of any such other amouht.

            Section 9.6  W I ER OF TRIAL BY JURY. BORROWER AND LENDER
  EACH AGREES NOT TO ELECT A TRIAL BY JURY OF ANY ISSUE TRIABLE OF
  lUGHT BY JURY AND WAIVES ANY RIGHT TO TRIAL BY JURY FULLY TO 1HE
  EXTENT THAT ANY       CH RIGHT HALL NOW OR HEREAF ER EXIST WITH
  REGARD TO THE LOA DOCUMENT , OR ANY CLAIM, CO vNTER LAIM OR
  OTHER    TION ARI, ING lN ONNECTlO THEREWITH. THI WAJVER OF
  RIGHT TO TRIAL DY JUR f GIVEN KNOWINGLY AND VOLUNTARJL BY
 BORROWER       D LENDER AND I INTENDED TOE         OMPA   INDIVIDUALLY
 EA H IN TANCE AND EA H I UE A. TO WBICH TIIE RIGHT TO A TRJAL BY
 JURY WO LO OTHERWISE A         RUE. EACH OF LENDER ND BORROWER IS
    THORlZED TO FILE A COi Y OF TID PARAGRAl'l-1 I ANY PRO EEO G
   ON LUSlVE EYlDEN E OF Tfil WAIVER BY BORROWER         D LENDER.



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                   Section 9 .7   WAIVER OF Cou TERCLAIM. Borrower hereby waives the right Lo
   assert a counterclaim, other than a compulsory counterclaim, in any action or proceeding brought
   against it by Lender or its agents.

                  Section 9.8   WAIVER OF DEFENSE TO SUBROCA TJO . Borrower hereby waives
  the right lo assert any defense or counterclaim against any Guarantor to its right to collect o
  recover from Borrower under a right of subrogation or similar right however denominated, in any
  action or proceeding brought against it by Guarantor.

                               Article 10. - CERTAIN TAX PROVISIONS

                 Section I 0. I

                 (a)    Any and all payments by or n account of any obligation of the Borrower
  hereunder or under any other Loan Document hall be made free and clear of and without reduction
  or withholding for any Taxes; provided, however, that if the Borrower is required by applicable
  law (as determined based on the written opinion of legal counsel to Borrower) to deduct or
  withhold any Taxes from such payments then the following provisions shall apply:

                         (i)      If such Tax is an indemnified Tax then the amount payable by the
                                  [3orrower shall be increased so that after making all required
                                  deduction or withholdings (including deductions or withholdings
                                  applicable to additional amounts payable under thi     ecti.on), the
                                  Lender receives an amount equal to the amount it would have
                                  received had no such dcdltctions or withholdings been made; and

                         (ii      The Borrower shall make such deductions and timely pay and remit
                                  the fol I amount deducted to the relevant Governmental uthority in
                                  a cordancc with applicable law.

              (b)    Tn addition the Borrower shall timely pay any Other Taxes to the r lcvant
   ovemmental Authority in accordance with applicable law.

                 (c)     Without limiting the other provisions of this Agreement, the Borrower shall
 indemnify the Lender within ten ( I 0) days after written demand therefor for the full amount of
 any Indemnified Taxes or Other Taxes (including without limitation Indemnified Taxes or Other
 Taxes imposed on or attributable to amounts payable hereunder) paid by the Lender on or with
 re pect to an amount payable by the Borrower under or in re pect of this Agreement or under any
 other Loan Document together with any penalties, inte1·est and reasonable expenses arising in
 connection therewith and with r spect thereto. whether or not such Indemnified Taxes or Other
 Ta es were correctly or legally imposed or asserted by the relevant Governmental Authority. A
 ce11iticate from the Lender as to the amount of such payment or liability deli cred to the Borrower
  hall be conclu i e absent manifest error.

                (d)   Promptly after any payment of Indemnified Ta es or Other axe by the
 Borrower to a ovemmenta! Authority (but in any event within twenty (20 days atlcr the date of
 such payment) the Borrower ·hall deliver to the Lender the original or certified copy of a rec ipt
 issued by such Govemmental Authority evidencing uch payment, a copy of the relevant return
 reporting such payment or other evidence of such payment reasonably sati factory to the Lender.



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                  (e)     If the Lender determin s, in its reasonable discretion that it has received a
                y
   refund of an Taxes or Other Ta: es as to which it has been indemnified by the Borrower or with
   respect to which the Borrower has paid additional amounts pursuant to this S ction, it shall pay
  and remit such refunded amount (or the amount of any credit in lieu of refund) to the Borrower
  (but only to the extent of indemnity payment made or additional amounl paid, by the Borrower
  under this Section with respect to the Tax s or Other Taxes giving rise to such refund (or credit in
  lieu of refund)), net of all out-of-pocket ·penses of the Lender and without interest (other than
  any interest paid by the relevant Governmental Authority with respect to such refund (or er dil in
  lieu of refund)); provided that the 801Tower. upon the written request of the Lender, agrees to
  repay the amount paid o erto the Borrower (plus any interest, penalties or other charges imposed
  by lhe relevant Governmental Authority) lo the Lender in the event the Lender is required to repay
  such refund (or credit in lieu of refund) to such Governmental Authority. otwithstanding the
  foregoing, the Lender shall not be required to make available to the Borrower or any other person
  or entity the Lender's Tax r turns or any other information relating to its Taxes that it de ms
  confidential.



                  (a)    Certain Closing Deliveries. Concurrently with the execution and delivery
  of t11is A reement, the Lender has delivered to the Borrower (a) a duly executed U.S. Tax
            g
  Compliance ertificate; and (b) a duly executed Fonn W-8B           -E    ertificate of Status of
  Beneficial Owner for United States Tax Withholding and R poiting (Entities (th foregoing
  collectively, the 'Lender·s Closing C rtificates ').

                   (b)    Certain Deliveries after Closing. To the extent necessary or expedient to
     stablish or memorialize any entitlement of Lender to an exemption from, or reduction in the rate
   of, the imposition, deduction or withholding of any l ndemn ified Taxes with respect to payments
   hereunder or under any other Loan Document, Lender hall deliver to the Borrower at the Lim or
   times reasonably request d by the Borrower, such properly completed and duly executed
  documentation as will pennit uch payments to be made without impo ition, deduction or
  withl aiding of such Indemnified Taxes or at a reduced rate.       otwithstanding anything to the
  contrary in the preceding sentence. however, tbe comp) tion xecution and delivery of such
  documentation (other than such documentation ·et forth in Paragraphs (i) through (iv) below) shall
  not be required if in the Lender's reasonable judgment the completion execution or delivery of
  such documentation\ ould materially prejudice the legal or commercial position of the Lender or
  subject the Lender to any material unreimbursed cost or expen e. Without limiting Lhe foregoing,
  to the extent that Lender is legally entitled to do so, Lender shall deliver to the Borrower,
  whichever of the following is applicable in connection with any change in the infonnation set forth
  in the Lender's Closing Certificates:

                        (i)     Executed copies of a curr nl Form W•8BEN-E and a current U.
                                Tax Compliance ertilicate (certifying that Lender is not (A) a
                                ''bank" within the meaning of ection 881 c (3)(A) of the ode (B)
                                a "IO percent shareholder" of the Bonower within the meaning of
                                  ections 871 (h 3 (B) of th    ode, or ( ) a "c ntrol led foreign
                                corporation'' related to the Borrower described in 'ection
                                881(c)(3)( ) of the Code (a "U Tax ompliance ertificate");

                        (ii)    If claiming the benefits of an income Tax treaty to which th United
                                  tate is a party, an executed copy of (A) Form W-8B Nor Form

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                                   W-8BEN-E establishing an e ·emption from. or reduction of, CJ..
                                   federaJ withholding Tax pursuant to the "interest" article of uch
                                   treaty for payments of interest under any Loan Document· and (B)
                                   Form W-8BEN or Form W-8BEN-E establishing an exemption
                                   from or reduction of US federal withholding Tax pursuant to th
                                   "busines profits" or 11 other income" a1ticl of such Tax treaty for
                                   any other applicable payments under any Loan Document;

                         (iii)     An executed copy of Form W-8ECI, Certificate f Foreign Person rs
                                   Claim That f ncome Is Effectively onnected ith the Conduct of a
                                   Trade or Busine s in the nited tates·

                         (i )      lf no longer the beneticiaJ owner of a payment received under any
                                   of the Loan Documents, an executed copy of Form W-8IMY,
                                  accompanied by JRS Form W-8EC( Form W-SBBN, or Form W­
                                   BE -E a U .. Tax Compliance Certificate, Form W-9, or other
                                  certification forms from each beneficial owner, as applicable;
                                  provided that if the Lender becomes a partnership and one or mor
                                  direct or indirect partners of Lender are claiming the po11folio
                                  int rest exemption Lender may provide on behalf of each uch
                                  direct or indirect partner a ce1tificate to the effect that (A) neither
                                  Lhe Lender nor its direct or indirect partners i a "bank" within the
                                  meaning of Section 88l(c)(3)(A) of the Code (B) none of its direct
                                  or indirect partn rs is a "IO percent shareholder'' of the Borrower
                                  within the meaning of ection 871 (h (3)(8) and 881 (c)(3)(B) of the
                                  Code and ( ) l}one of its direct or indirect parlners is a "controlled
                                  foreign corporation" described in Section 881 (c)(3)(C) of the Code�
                                  or

                         (v)        , ecuted copies of any other fonn required by applicable law to
                                  claim an exemption from or a reduction in U.S.withholding Tax
                                  duly completed togeth r with such additional documentation as may
                                  be required by applicable law to permit the BoITOwer to determine
                                  the withholding or deduction required to be made.

                Section 10.3 The provisions of this A1ticle IO shall survive indefinitely after the
  execution delivery, and perfonnance of this Agreement and the repayment of the Loan and the
  performance of all the Borrower' and its affiliate obligations under lhc Loan Documents.

                                 Article 1J. - GENERAL PROVISIONS

                    ection 11.1 NOTICE . Any notice demand or other communication which any
  part her to may desire or may be required to give to any other party under this Agreement or the
  olher Loan Documents shall be in writing, and shall be deemed given: (a) if and when persona II
  deli cred; (b) upon receipt if cnt by any nationally r cognized overnight courier addre sed to a
  party at its address ct forth below· or (c upon receipt if deposit din United tales certilicd mail
  postage prepaid, or at such other place as such party may have designated lo all other partie by
  notice in writing in accordance with this ection:



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                  If to Borrower:                Green Sapphire Holdings Inc.
                                                 I 007 Orange Street
                                                 Wilmington DE 19801

                                                 Email: Rcicoski    60deg.com



                  with a copy to:                Mack Law Group
                                                 l363 Shermer Road Suite 210
                                                  orthbrook Illinois 60062
                                                 Telephone: 847.239.7212
                                                 Email: Char1es@mlgcounsel.net
                                                 Attention: Charles Mack, Esq.


                  If to Lender:                 Global Capital Partners LL
                                                16 l 92 Coa tal H igbway, Lewes Delaware 19958


                  with a copy to:               Nel on Mullin
                                                2 S. Bi cayne Blvd., 21 st floor
                                                Miami. FL 33131
                                                E-mail: jack on.hwu@nelsonmullins.com
                                                Attention: Jackson Hwu, Esq.

  Except as otherwise specifically required herein, notice of the exercis of any right or option
  granted to Lend r by this Agreement is not required to be given. Failure to deli er copies of notice
  shall not render the notice invalid.

                   ection I J .2 E PENSES. The Borrower hall be liable for payment of all
  reasonable costs incun·ed by Lender in connection with making the Loan, the preparation,
  execution and delivery of this Agreement and the other Loan Documents, the enforcement of the
  Loan Documents and Lender's rights and remedies thereunder, including, without limitation
  reasonable attorneys' foes and costs and consultants' fees and costs recording fees, title insuranc
  premiums environmental a se sment tees and appraisal fees, all transactional fee , legal and other
  profi sional fees incurred by the Lend r or the Agent including without limitation formation
  co t and expenses for the L nder and related entities as required to effect thi Loan legal fees of
  U. . Coun el to the Lender, legal fees of French/ t. Barthelemy Counsel to the Lender, including
  any expen es incurred to file the UC -1 and any oth r filings in connection with the Pledge, as
  well a any fees and expenses charged or incurred by the otaire in St. Barlhelemy to register the
  mortgag s on th Properties .

                . ection 1 I.  ENTIRE AGREEME T, AME1 OMENT AND WAIVER .                  Thi
 Agreement and the othel' Loan Documents contain the entire agrecm nt and understanding of the
 partie hereto with respect to th subje t maner here f and may not be amended, modified or
 di charged, nor may any of their terms be waived, ex epL by an inslrumenl in writin signed by
 th party to be bound Lhereoy.

               Section 11.4 F RTHF.R Ass !RA CE . Borr wer will at the cost or Borrower.
 and without expen e to ender do execute. acknowledge and deliver all and every further a ts,
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   deed , conveyances. deeds of trust, mortgages, assign ments, security agreements, control
   agreements, notices of assignments transfers and as urances financ ing statements, and other
   documents or instru ments as Lender shal l , from time to time , reasonably req uire, for the better
   assuring, conveying assign i ng, tran ferring and confirm ing unto Lender the Ptope1ty and rights
   hereby mortgaged, deeded granted, bargained, o ld, con veyed confirmed, pledged, assign d,
   warranted and transferred or intended now or hereafter o to be, or which Borrower may be or m ay
   hereafter become bo und to convey or assign to Lender or for carry ing out the intention or
   faci l i tating the perform ance o f the terms o f this Agreement or for fi l i ng, reg i stering or recording,
  or for complying with all Lega l Requirements. BoITower, on demand, w i ll execute and de l iv er
   and in the event it shal l fail to so ex.ecute and de l i ver hereby au thorizes Lender to execute in the
  name o f Borrower or withou t the signature of Borrowet' to the extent Lender may lawfu I ly do so,
  one or m ore financing statements and financing statement amendments to evidence more
  effectively, perfect and mai ntain the priori ty of the sec urity i nterest of Lender in the Col lateral.
  13orrower grants to Lender an irrevocabl e power of attorney c up led with an interest for the
  pu rpose of exerc i s i ng and perfect [ ng any and a l l rights and remed ies ava i lable to Lender at law
  and in equity, inc l uding w ithout l i m itation such rights and remed ies available to Lender pursuant
  lo th is Sect ion 1 1 .4 .

                      Section 1 1 . 5 No THJRD PART' BENEFIT ; Bl D I NG E FFECT, Except for those
  persons and entities expressly entitled to i ndemni lication under this Agreement, who shal l be
  benefic iari es of and shal l have the right to enforce such indem nity this Agreement is for the sole
  and e e l u s i ve benefit of the partie hereto and the i r respective perm i tted successors and perm itted
  assign , and no t h i rd party i intended to or sha l l have any rights hereunder. The terms and
  provisions hereof shall b bindi ng upon and inure to the benefit of the parties hereto and their
  respective penn itted uccessors and succe ·or assign .

                   ection 1 1 .6 AsSIG ME       BY BORROW ER. Borrower sha l l not assign any of i ts
  rights or del.egate any of its obl igati ons under thi Agreement, the ote, or any other Loan
  Document.

                   Section 1 1 . 7

                      (a)    It js th partic ' intent that all paym ents o f i nterest and of any origina l issue
  discount (eac h s uch rerm withing the mean ing of Section 88 1 o f the Cod under this Agreement
  and the other Loan Documents to Lender shal l qua lify for and meet the with ho ld i ng exemption for
  portfo l io i n terest under Section 88 1 (c) o f th Code . I n furtherance the reof, the Borrower hall
  e tab l ish and mainta i n in its books and records a regi ster (the 'Loan Reg ister") wh ich shaJI ( i)
  identify the Lender as the sole ho l der of the Loan and ote as of t he date of execution hereof· ( i i)
  set forth any subsequent assignments and transfers of any interest i n the Loan and ote made in
  accordance with this Secti on 1 1 . 7; and ( i ii) itemize the then-current owner o f the Loan effecti ve
  upon the consummation of any such assignment and transfer. The Loan Reg ister as of the date of
  c ec ution of th is Agreement is attached hercLO as Exh i bit A . The Borrower shal l pr v ide a copy
  of th Loan Register to the Lender a the Lender may reque. t in writing fr 111 t ime to time.

                  (b )      The part ies hereby agree thal Lender's rights enti tlements and in terest
 under th is Agreement an d th other Loan Documents, i nc l u d i n g without lim i tation the right to
 1·ccc ive paymen t , of pri ncipa l a nd inter st her under, may be a signed and tran fetTed on ly through
 a book entry made in the Loan Register by the Borrower. ln the event that the L nder p roposes to
 ass i gn or tran for al l or any part of i ts i nterest in the Loan, the Lend r s h a l l g i v e at kast ten I 0)
 day advance ri tt�n not ice thereof to the Borro wer, pecifying the i nterest to be as igned anJ

                                                         0
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    tran ferred (the 'Subject Transfer'). The Lender shall include with any such notice: (i) executed
   copies of all of the instruments of assignment and other documents by which the Lender shall
   effectuate the assignment and transfer; (ii) a certified copy of the articles of incorporation or other
   constilutive document(s) of the assignee or a copy of the passport of any individual assignee· and
   (iii) uch documents and instruments described in ection 10.2(b)(i) - (v) with respect to the
   a. signee as may pertain thereto. The I .ender shal I deliver or cause to be delivered to the Borrower
   such additional document and information as reasonably and promptly requested by the Borrower
   in order to identify the identity and lax residence of the assignee as the prospective owner of the
   interest in the Loan to be assigned and transferred. After the completion of such dclivery(ics)
   upon the consummation of the Subject Transfer the Borrow�r shall update lhe Loan Register to
   reflect the as ignment and transfer of the ubject Interest and the then-current ownership of all
   interest in the Loan. Any asserted or purported assignment or tran fer by the Lender of any
   interest in the Loan which does not conform to this Section 11. 7 shal I be nul I and void ab initio.

                 (c)     it i the parties' intent that the Loan and the obligations thereunder shall be
  in registered form' (within the meaning of Section 881 (c) of the Code) al all time . The Borrower
  and the Lender shall cooperate promptly with any written request either may make in connection
  with the re iew maintenance, and revision of the Loan Register a may be reasonably necessary
  or expedient to establish and maintain the Loan and the obligations thereunder in uch registered
  form. The Loan and the obligations thereunder shall not be convertible into or converted to an
  unregistered form.

                Section 11.8 COUNTERPART . This greement and any document or instrument
  executed pursuant thereto may be executed in any numb r of countetparts each of which hall be
  deemed an original, but all of which together shall constitute one and the same instrument.

                Section 11.9 GOVERNING LAW. Th.i.s Agreement shaJI be governed by and
  construed in accordance with the laws of the tale of Delaware, in which the lransa {ions
  contemplated herein were negotiated, the I ote and other Loan Documents were executed and
  delivered and where the principal offices of Lender are located.

                   ection 11.10 TIME OF THE EssE CE. Time i of the essence of this Agreement.

                   cction 11. ll SEVERABILITY. If any provision of this Agreement shall be
  judicially or administratively held invalid or unenforceable for any reason, such holding shall not
  be deemed to affect, alter, modify or impair in any way any other provision hereof.

             ection 11.12 JURISDICTION AND VENUE. BORROWER AND ANY
 GUARANTOR HEREBY AGREE THAT ALL ACTIONS OR PROCEEDrNGS
 INITIATED BY BORROWER OR ANY GUARANTOR AND ARISING DIRECTLY OR
 lNDIRECTLY OUT OF THIS AGREEMENT SHALL BE LITIGATED IN THE
  UPERIOR COURT OF NEW ASTLE COUNTY, DELAWARE, OR, THE UNITED
  TATE DI TRICT O RT FOR THE DISTRICT OF DELAWARE OR IF LENDER
 1 ITIATES UCH ACTIO         ANY COURT IN WHICH LENDER HALL INITIATE
 S CH A    [0    AND WHI H HA JURI DICTION.        BORROWER AND ANY
         N
 GUARATOR HEREBY EXPRE SLY UBMIT AND CONSE T TN ADVANCE TO
  UCH JURI DI TlO        IN ANY ACTION OR PROCEEDING COMME CED BY
 LENDER 1N ANY OF SUCH O RT AND HEREBY WAIVE PER O           L ERVICE
 OF THE UMMON AND COMPLAINT, OR OTHER PROCE           OR PAPER ISSUED
 HEREIN, AND AGREE HAT SERVI E OF        Cl:I UMMO   AND OMPLAI TOR

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  OTHER PROCESS OR PAPERS M Y BE MADE BY REGI TERED OR CERTIFJED
  MAIL ADDRESSED TO BORROWER AND ANV GUARANTOR AT THE ADDRESS TO
  WHICH NOTICES ARE TO BE SENT PURSUANT TO T.HI AGREEMENT.
  BORROWER AND ANY GUARANTOR WAIVE ANY CLAJM THAT THE SUPERIOR
  COURT OF NEW CASTLE COUNTY, DELAWARE, OR THE UNITED STATES
  DISTRICT COURT FOR THE DISTRICT OF DELA WARE r AN lNCO VENIENT
  FORUM OR AN IMPROPER FORUM BASED O LACK OF VENUE. SHOULD
  BORROWER OR ANY GUARANTOR, AFTER BEING SO SERVED, FAIL TO APPEAR
  OR ANSWER TO ANY SUMMONS COMPLAINT, PROCESS OR PAPERS SO ER VED
  WITHIN THE NUMBER OF DAYS PRESCRIBED BY LAW AFTER THE MAILING
  THEREOF, BORROWER AND ANY GUARANTOR SHALL BE DEEMED IN DEFAULT
  AND AN ORDER AND/OR JUDGMENT MAY BE ENTERED BY LENDER AGAIN T
  BORROWER AND/OR ANY GUARANTOR AS DEMANDED OR PAAYED FOR lN
   UCH SUMMONS, COMPLAINT, PROCES OR PAPERS. THE EXCLUSIVE CHOICE
  OF FORUM FOR BORROWER SET FORTH IN THIS PARAGRAPH SHALL NOT BE
  DEEMED TO PRECLUDE THEE FORCEMENT, BY LENDER OF ANY JUDGMENT
  OBTAJNED IN NY OTHER FORUM OR THE TAKING BY LENDER, OF ANY
  ACTION TO ENFORCE THE SAME IN ANY OTHERAPPROPRJATE JURISDICTION,
  BORROWER HEREBY WAIVE THE RIGHT1 IF ANY, TO OLLATERALLY ATTACK
  ANY SUCH JUDGMENT OR ACTION.

                  Section J 1.13 AcKNOWLRDGME TS. Borrower hereby acknowledges that (a it
  has been adv is d by couasel in the negotiatioo, execution and delivery of this Agre ment and the
  other Loan Documents: (b) neither Lender nor anyone as ociated with Lender has any fiduciary
  relationship with or (iduciary duty to Borrower arising out ofor in connection with this Agreement
  or any of the other Loan Documents and the relationship between Lender and Borrower. in
  connection herewith or therewith is olely that of debtor and creditor; and (c) no joint venture or
  partn rship is created hereby or by the other Loan Documents or otherwise exists by virtue of the
  transa ti n contemplated hereby among the parties.

               Section 11.14 CONFLICTS. In the ev nt of any conflict between lhe terms of this
  Agreement and the terms of any of the other Loan Documents the terms of this Agreement hall
  control.

                            [ SIGNATURE P GE IMMJ�DIATEL Y FOLl,0\ S]




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                 IN WITNESS WHEREOF Borrower and Lender have caused this Loan and
   Security Agreement to be duly signed and delivered as of the day and year first above written.

                                              BORROWER:

                                              Green Sapphire Holdings Inc. a Delaware
                                              corporation




                                              LENDER:

                                             Global apital Partner LL        a Delaware limited
                                             liability company


                                             By:
                                               ame:
                                             It :




                                              )3
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                                        Acknowledgement


   Access Management SAS acknowledges that the pledge of shares is permitted in accordance with
   the provisions of the charter document and acknowledges the pledge by Or en apphire Holdings
   Inc. and Lender·s securily interest in the Collateral consisting of all of the . hares or cce
   Management SAS and its right with respect thereto described in this Agreement.

   Access Management AS represents and warrants that Access Management SAS owns the
   Property and that ·uch Property ownel.l by Access Management AS is owned free and clear of
   any and all liens charges or encumbrnnces.




                                             Access Management SA

                                             By. ---------------
                                             Name: --------------·
                                             ft : ----------------




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                                    Exhibit A

                                   Form of Note

                                   ( ee attached)




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                                     Exhibit B

                                 Form of Guaranty

                                    (se attached)




                                       36
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                                      Exhibit C

                                   Form of Pledge

                                    (see attached)




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                                           Exhibit D

                                   Description of Propertie


      I) One villa and land in St. Barthelemy commonly known as Villa Mona. located at the A
         314 plot of 12,760 m2 in Colom bier on the island of SAfNT BARTHELEMY (97133).


     2) The Al 220 plol 012.676 m2 I ca Led in Saint-Jean on tht: island of SAi T BARTHEL MY
        (97133




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                                       EXHIBIT G

                                      Forbearance Agreement


       This Forbearance Agreement (“Agreement “) is made as of June 20, 2023 by and between
Alpha Carta, Ltd. and Proton Green LLC as follows:

        Reference is made to (i) Second Amended and Restated Promissory Convertible Note, dated
as of February 18, 2022, made by Proton Green LLC (the “Company”) in favor of Kips Bay Select
LP in the principal amount of $3,513,469.00 (as amended and as assigned to Alpha Carta, Ltd., the
“Kips Bay Note”), which amended and restated the Amended and Restated Promissory Convertible
Note, dated as of December 23, 2021, made by the Company in favor of Kips Bay Select LP in the
principal amount of $3,513,469.00, which amended and restated the Promissory Convertible Note,
dated as of September 21, 2021, made by the Company in favor of Kips Bay Select LP in the principal
amount of $2,692,308.00; (ii) the Amended and Restated Promissory Convertible Note, dated as of
February 18, 2022, made by the Company in favor of Alpha Carta, Ltd. (“Alpha Carta”) in the
principal amount of $1,846,153.84, (as amended, the “December Note”), which amended and
restated the Promissory Convertible Note, dated as of December 23, 2021, made by the Company in
favor of Alpha Carta in the principal amount of $1,846,153.84; and (iii) the Amended and Restated
Promissory Convertible Note, dated as of February 18, 2022, made by the Company in favor of Alpha
Carta in the principal amount of $4,307,692.31 (as amended, the “January Note”), which amended
and restated the Promissory Convertible Note, dated as of January 11, 2022, made by the Company
in favor of Alpha Carta in the principal amount of $4,307,692.31 (all of such notes collectively, as
amended, the “Notes”) and secured by that certain Leasehold Deed of Trust and Fixture Filing dated
as of ____, 2021 and recorded as document number 2021 – 006949 with the Recorder of Deeds of
Apache County, Arizona on August 9, 2021 and rerecorded dated January 30, 2022 as document
number 2022 – 01394 on February 22, 2022 (“Leasehold Deed of Trust”) and that certain Security
Agreement dated as of December 23, 2021 (“Security Agreement”), as amened by that certain
Amendment Agreement, dated as of April 7, 2022, by and among Kips Bay Select LP, Alpha Carta
and the Company (the “Second Amendment”), and that certain Letter from Alpha Carta to the
Company dated February 1, 2023 and as agreed to in an Affidavit Regarding Loan Documents, dated
February 1, 2023, by the Company (“Affidavit”) .

       Capitalized terms used herein without definition shall have the meanings assigned to them in
the Notes or the other Security Documents as defined therein. The Notes, Leasehold Deed of Trust,
Security Agreement, Security Documents, Securities Purchase Agreements and other Transaction
Documents, along with any amendments thereto, are referred to as the Loan Documents.

       The Company acknowledged defaults or Events of Default as set forth in the Affidavit.

       As of today’s date, the Company has not paid the Notes in full or satisfied or remedied any of
the conditions in the Affidavit.

       Company irrevocably acknowledges and agrees that the following defaults or Events of
Default occurred under the Loan Documents; Failure to pay the Loan in full at the Maturity Date
and dissolution of the Company.
 Case: Subject  to the satisfaction
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                                         conditions set forth Page
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                                                                     notwithstanding  anything
                                                                          of 373 PageID  #:3850to
the contrary in the Notes and any other of the Security Documents, and subject to the terms and
conditions hereof, Alpha Carta shall forbear from exercising any of its rights and remedies under
the Notes, the other Security Documents, the Loan Documents and applicable law (including
without limitation under the Uniform Commercial Code) as follows:




       (a) Payments. The Company shall make the following payments:

           (1) On or before July 7, 2023, an amount equal to Three Million and 00/100 Dollars
               ($3,000,000.00); and
           (2) On the seventh day of each calendat month thereafter, an amount equal to Two Million
               and 00/100 Dollars ($2,000,000.00) until the Notes are paid in full,.

           All payments shall be applied first to expenses, including attorneys fees, Consultants (as
           hereinafter defined) and other fees, and expenses incurred by Alpha Carta in connection
           with the Loan, this Agreement or preserving or protecting the Collateral, second to
           ourstanding fees due under the Loan Documents, third, to accrued and unpaid interest due
           under the Loan Documents at the interest rate as stated threrein and fourth, to the then
           outstanding principal amount.

           If any portion of the debt is not paid prior to the tenth day following the date when due
           shall be an event of default ("Event of Default").

       (b) Notice of Materal Adverse Change. As required under the Loan Documents, Company
           shall provide written notice of any material adverse change to the business, the leases, or
           the financial condition of the Company within two (2) days of the occurrence of any such
           event.

       (c) In addition to the reporting required under the Loan Documents, Company shall provide
           to Alpha Carta the following reports:

           (1) volume production reports from each well at the property on a weekly basis by
               Wednesday of the following week
           (2) Accounts Receivable schedule on a monthly basis within ten (10) days of the end of
               each calendar month
           (3) report of payment of royalties, working interest or volume production payments made
               with each party and the amount so specified on a monthly basis within ten (10) days
               of the end of each calendar month
           (4) income statement on a monthly basis within ten (10) days of the end of each calendar
               month

       (d) On or before July 7, 2023, Company shall deliver to Alpha Carta (a) evidence reasonably
           satisfactory to Alpha Carta that the Company is in existence and good standing in
           Wyoming and continues to hold good title to the Collateral, along with copies of the
           Company’s organizational documents (including articles of organization and operating



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           agreement) or (b) a plan, reasonably satisfactory to Alpha Carta, for promptly bringing
           the Company into existence and good standing in Wyoming and for holding good title to
           the assets of the Company

       (e) On or before July 20, 2023, Company shall deliver to Alpha Carta a deed in lieu of
           foreclosure in recordable form and satisfactory to Alpha Carta, in its sole discretion, with
           respect to the leases encumbered by that certain Leasehold Deed of Trust.

        A default under the Loan Documents shall occur immediately if Company breaches, or
defaults in the performance of, any of the provisions or obligations of this Agreement. Upon the
occurrence of a default, the agreement of the Alpha Carta to forbear pursuant to the terms hereof
shall immediately terminate without notice to the Company, and Alpha Carta shall be free to
exercise immediately, without notice to the Company, any and all rights and remedies against the
Company provided under the Loan Agreement, the other Loan Documents and applicable law. In
addition, Company waives presentment, demand, notice of default or any other notice of any kind.

        Alpha Carta hereby reserves all rights and remedies available to it at law or equity, including
without limitation pursuant to Article IV of the Leasehold Deed of Trust or pursuant to the Notes or
any other Security Documents, including, but not limited to (a) taking such steps as may be
appropriate to foreclose the lien created by the Leasehold Deed of Trust to secure payment or
performance of all or any part of the obligations under the Loan Documents, (b) reducing any claim
against Company to judgment to the fullest extent permitted by the Loan Documents or (c) exercising
any and all other rights or remedies afforded by the Notes, Leasehold Deed of Trust, Security
Agreement or the other Loan Documents, or at law or in equity or otherwise, including without
limitation, seeking the appointment of a receiver.

        In addition to any other rights and remedies available to Alpha Carta under the Loan
Documents or applicable law upon the occurrence of a default hereunder or under the Loan
Documents, Company agrees, acknowledges, consents and stipulates that the occurrence of the
default constitutes and provides the requisite cause under any applicable law, including the laws
of State of Arizona, justifying the immediate recordation of the deed in lieu of foreclosure.
Company further stipulates and agrees that upon the occurrence of a default, it waives and is
estopped from asserting any defenses to the immediate recordation of the deed in lieu of
foreclosure.

       In addition to any other rights and remedies available to Alpha Carta under the Loan
Documents or applicable law upon the occurrence of a default hereunder, Company agrees,
acknowledges, consents and stipulates that the occurrence of the default constitutes and provides
the requisite cause under any applicable law, including the laws of State of Arizona, justifying the
immediate appointment of a receiver to, among other things, manage the business and affairs of
Company. Company further stipulates and agrees that upon the occurrence of a default, it waives
and is estopped from asserting any defenses to the immediate appointment of a receiver.

       Notwithstanding anything to the contrary in this Agreement, the Loan Documents or
applicable law, if any payment made to, or other amount of value received by, Alpha Carta on



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account of the Obligations or Indebtedness is avoided, rescinded, set aside, or must otherwise be
returned by Alpha Carta, or a demand for any of the foregoing is made, whether in a case under
the Bankruptcy Code, or a similar proceeding under any otherwise applicable law, the
indebtedness or obligations intended to be repaid or satisfied thereby shall be reinstated
(the “Reinstated Amount”), along with any liens or mortgages securing such Reinstated
Amount, without any further action by any Party and shall be enforceable against each of
the Companys and the Collateral.

        Company waives, to the fullest extent permitted by law, the benefit of all appraisement,
valuation, stay, extension, reinstatement and redemption laws now or hereafter in force and
all rights of marshalling in the event of any sale hereunder of the Property or any part thereof or
any interest therein. Further, Company hereby expressly waives any and all rights of redemption
from sale under any order or decree of foreclosure on behalf of Company, and on behalf of
each and every person acquiring any interest in or title to the Property subsequent to the
date of this Agreement and on behalf of all persons to the extent permitted by applicable law.

        Company waives the right to assert a counterclaim, other than a compulsory counterclaim,
in any action or proceeding brought against it by Alpha Carta or its agents.

        Company waives and relinquishes to the fullest extent permitted by law, any and all
rights to assert any claim or otherwise contest, oppose, impair, limit or file any pleading in
opposition to and is estopped from contesting any action brought by Alpha Carta to exercise
any of its rights or remedies unser the Loan Documents.

       Company acknowledges that as a consequence of the existing defaults and the terms of
the Loan Documents and this Agreement, Alpha Carta is entitled to enforce its remedies with
regard to the Collateral under Article 9 of the UCC or otherwise without notice to Company,
such notice having been waived and relinquished. Company consents to Alpha Carta’s
acceptance of the Collateral in full or partial satisfaction of the Indebtedness, as determined by
Alpha Carta pursuant to a writing Alpha Carta delivers to Company, with the amount of the
indebtedness satisfied to be determined by Alpha Carta at the time of acceptance.

        Company will cooperate fully with representatives of any consultant, financial advisor or
similar entity or person (a “Consultant”) engaged by Alpha Carta to assess and address
matters germane to Company's performance under the Loan Documents, including, without
limitation, any business operations. Companys further agree that they shall pay the fees and
expenses of any Consultant.

        In the event of the filing of any petition for bankruptcy relief filed by or against Company
(a “Bankruptcy Filing”), Company consents to the entry of an order granting Alpha Carta relief
from the automatic stay of Section 362 of the Bankruptcy Code and shall not assert or request
any other party to assert that the automatic stay provided by Section 362 of the Bankruptcy Code
shall operate or be interpreted to stay, interdict, condition, reduce, or inhibit the ability of Alpha
Carta to enforce any rights it has under the Loan Documents or any other rights Alpha Carta has
against Company or against any property owned by any Company. Without limiting the
generality of the

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foregoing, Company acknowledges and agrees, and is estopped from contesting, that cause for
relief from the automatic stay shall exist if Company is subject to a Bankruptcy Filing.

        Company, on its own behalf and on behalf of its respective representatives, partners,
agents, employees, servants, officers, directors, shareholders, subsidiary, affiliated and related
companies, heirs, successors and assigns (collectively, the “Borrowing Group”) hereby releases
and forever discharges Alpha Carta, and its officers, directors, subsidiary, affiliated and related
companies, agents, consultants, attorneys, servants, employees, shareholders, representatives,
successors and assigns (collectively, the “Alpha Carta Group”) of and from all manner of actions,
cause and causes of action, suits, debts, sums of money, accounts, reckonings, bonds, bills,
specialties, covenants, contracts, controversies, agreements, promises, obligations, liabilities,
costs, expenses, losses, damages, judgments, executions, claims and demands of whatsoever kind
or nature, in law or in equity, whether known or unknown, concealed or hidden, foreseen, or
unforeseen, contingent or actual, liquidated or unliquidated, arising out of or relating to any of
the Loan Documents, the transactions relating thereto, this Agreement, the transactions
contemplated in this Agreement, and/or any financial accommodations extended or denied by
Alpha Carta to Companys, that any of the Borrowing Group, jointly or severally, have had, now
have or hereafter can, shall or may have against the Alpha Carta Group, directly or indirectly,
through the date hereof. Company acknowledges and agrees that Alpha Carta is specifically
relying upon the representations, warranties, covenants and agreements contained herein
and that such representations, warranties, covenants and agreements constitute a material
inducement to Alpha Carta entering into this Agreement and the transactions contemplated
herein. Company represents and warrants to Alpha Carta and the Alpha Carta Group that
the Borrowing Group has not assigned, conveyed or otherwise transferred, either directly or
indirectly, in whole or in part, any of the claims against the Alpha Carta Group to be released
herein.

        Company agrees to indemnify and hold each entity in the Alpha Carta Group harmless
with respect to any and all liabilities, claims, obligations, losses, penalties, actions, judgments,
suits, costs, expenses or disbursements of any kind or nature whatsoever incurred by each entity
in the Alpha Carta Group, or any of them, whether direct, indirect or consequential, as a result
of or arising from or relating to any proceeding, whether threatened or initiated, asserting any
claim for legal or equitable remedy under any statutes, regulations or common law principles
arising from or in connection with the negotiation, preparation, execution, delivery,
performance, administration and enforcement of the Loan Documents, this Agreement or any
other document executed in connection herewith. The foregoing indemnity shall survive the
payment in full of the obligations owed to Alpha Carta and the termination of this Agreement
and the Loan Documents.

        Company irrevocably (i) consents to this Agreement; (ii) ratifies, reaffirms and
acknowledges full liability for all of the obligations under the Loan Documents (“Obligations”),
including the amount of the indebtedness, the respective payments and performance obligations,
contingent or otherwise, under the Loan Documents and any subordination agreements and
intercreditor agreements relating to the indebtedness or the obligations; (iii) ratifies and reaffirms
and acknowledges full liability and enforceability for all security interests, mortgages, and liens
granted for the benefit of Alpha Carta and confirms and agrees that such security interests,
mortgages, and liens hereafter secure all of the Obligations and the full amount of the indebtedness,
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(iv) acknowledges and agrees that except as set forth herein, each of the Loan Documents remains
in full force and effect and is hereby ratified and reaffirmed, (v) reaffirms, remakes as true as of
the date hereof and ratifies each of the representations, warranties and covenants in the Loan
Documents, (vi) acknowledges and agrees that it has no setoffs, defenses, crossclaims, demands,
counterclaims or rights that can be asserted to or, if asserted would, impair or otherwise limit or
reduce Alpha Carta’s rights under the Loan Documents or to seek affirmative relief or damages
against Alpha Carta, (vii) acknowledges and agrees that in entering into this Agreement it is not
relying upon any statement, representation or action of Alpha Carta or its agents, (viii)
acknowledges and agrees that Alpha Carta has a duly perfected first priority security interest in
and lien upon all of the Collateral; (ix) agrees, covenants and acknowledges that, except as
expressly set forth herein, the execution of this Agreement shall not operate as a waiver or
modification of any right, power or remedy of Alpha Carta, constitute a waiver of any defaults or
other provision of any of the Loan Documents or serve to effect a novation of any Obligations
owed to Alpha Carta or any Loan Document; and (x) acknowledges that any obligations of Alpha
Carta under this Agreement are in the nature of a conditional forbearance only, and that Alpha
Carta has made no agreement or commitment to provide additional forbearance, to modify further
or to extend the Loan Documents.

     WAIVER OF JURY TRIAL. EACH OF THE PARTIES HERETO
IRREVOCABLY WAIVES ANY AND ALL RIGHT IT MIGHT HAVE TO A TRIAL
BY JURY IN ANY ACTION, PROCEEDING OR CLAIM OF ANY NATURE
RELATING TO THIS AGREEMENT, THE LOAN AGREEMENT, ANY OF THE
LOAN DOCUMENTS OR ANY TRANSACTION CONTEMPLATED IN ANY OF SUCH
DOCUMENTS. EACH OF THE PARTIES ACKNOWLEDGES AND AGREES THAT
THE FOREGOING WAIVER IS KNOWING AND VOLUNTARY.

       Company acknowledges that: (a) it has been represented by counsel of their own choosing
throughout the negotiation, preparation and execution of this Agreement; (b) it has exercised
independent judgment with respect the negotiation, preparation and execution of this Agreement,
and the consummation of the transactions contemplated hereby; and (c) it has not relied upon
Alpha Carta or on counsel for Alpha Carta for any advice with respect to the negotiation,
preparation or execution of this Agreement; any principle of contract construction which favors or
disfavors the party whose attorneys have drafted a contract or a provision thereof shall not be
applied to this Agreement.

      This Agreement, the Loan Agreement and the Loan Documents contain the final,
complete and exclusive expression of the understandings by and between the Company and the
Alpha Carta with respect to the subject matter of this Agreement.

       Company acknowledges and agrees that the benefits to it as a result of this Agreement are
substantial and of great value and that such benefits are new and are sufficient and reasonably
equivalent consideration for each and every one of their respective obligations and agreements
under this Agreement.




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        Company shall promptly execute and/ordeliver any other agreements or documents and
take such other actions Alpha Carta deems necessary, in the exercise of its sole discretion,
to achieve the objectives of this Agreement.

        Company acknowledges that Alpha Carta has acted at all times only as a creditor to
Company within the normal and usual scope of the activities normally undertaken by a creditor
and in no event has Alpha Carta attempted to exercise any control over Company or its business
or affairs. Company acknowledges and agrees that at no time shall Alpha Carta owe any
fiduciary or other enhanced duty to Company and Company disavows the existence of creation
of a fiduciary or enhanced duty, particularly when Alpha Carta is exercising any of the rights
granted pursuant to this Agreement or the Loan Documents.

        This Agreement may be executed in any number of counterparts and by the different
parties hereto on separate counterparts, each complete set of which, when so executed and
delivered by the parties, constituting an original but all such counterparts together constituting
but one and the same instrument. Delivery of an executed counterpart of a signature page to this
Agreement by facsimile or electronic transmission shall be effective as delivery of a
manually executed counterpart. Any party so executing this Agreement by facsimile shall
promptly deliver a manually executed counterpart, provided that any failure to do so shall not
affect the validity of the counterpart executed by facsimile transmission.

        In witness whereof, the undersigned have executed this Forbearance Agreement as of the
date first above written

                                             Alpha Carta, Ltd.

                                                    By:
                                                    Name:
                                                    Title:


                                             Proton Green LLC

                                                    By:
                                                    Name:     Steven E. Looper
                                                    Title:    Managing Member




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                                     EXHIBIT H
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THIS AGREEMENT is dated Augu ti{, 2023

PARTIES

(1) BREAKER BEACH CLUB LTD., a company incorporated under the laws of the
  ayman Islands of c/o Cayman Management Ltd., Governors quare, 2nd Floor, 23
Lime Tree Bay Avenue, PO Box 1569 Grand Cayman KYl-1110, Cayman Islands
(Borrower);

(2) THE LEND �R LI TED IN THE               HEDULE ( enders and each a Lender); and

(3) GREEN APPHIRE HOLDING , IN . a Delaware limited liability company, 1007 North
Orange Wilmington, DE 19801 (Guarantor .

BACKGROUND

(A) The Lenders have agreed to provide th Borrower with a ecured term Joan facility of Two
MilJion Nine Hundred Thousand and 00/100 U Dollars (U $2 900 000) ("Principal um")
upon the terms and conditions of this Agreement.

 AGREED TERMS

 l. DEFINITIONS AND INTERPRETATION

 I.I The following definitions apply in thjs Agreement, unless the contrary intention appears:

 Busin ss Day: any day other than a aturday, unday or public holiday il1 the Cayman Jslands.

 Commitment: the loan commitment of the relevant Lender set out in the chedule.

 Control: in relation to the Borrower or the Guarantor means the power of a person to secure that
 the affairs of lhe Borrower or the Guarantor (as applicable) are conducted in accordance with
 that p�rsons wishes:

        (a) by means of the holding of shares, or the possession of voting power in or in relation
        to that or any other body corporate� or
        (b) as a result of any powers conferred by the a11icles of association or any other
        document regulating that or any other body corporate

 and a Change of Control occurs if a per on who controls the Borrower or Guarantor ceases to do
 so or if aoother person acquires antral of th Borrower or Guarantor (as applicable).

 � vent of Default: any event or circumstance listed in clau e l 0.1.

 Facility: the term loan facilities made available under this Agreement.
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Finance Document: this Agreement, the Security Documents and any other document designated
as such by the Lenders, and the B01mwer.

Guarantee: The Deed of Guarantee between the Guarantor and the Lender in respect of this Loan

Indebtedness: any obligation to pay or repay money, present or future, whether actual or
contingent, sole or joint and any guarantee or indemnity of any of those obligations.

Legal Charge: the first legal spread charge dated [ ___________. and registered as
no. '-----------__. at the Cayman Islands Land Registry in respect of the
Property and made between the Borrower, as chargor, and the Lenders, as the chargee.

Loan: the principal amount of the loan made or to be made by the applicable Lender to the
Borrower under this Agreement or (as the context requires) the principal amount outstanding for
the time being of that loan (and the expression Loans shall be construed accordingly).

 Minimum Interest Charge: the amount equal to the Interest on the full amount of the Loan that
 would have accrued under this Agreement had the Loan been outstanding in full for the
 Minimum Interest Period.

 Minimum Interest Period: Three calendar months from and including the date hereof.

 Potential Event of Default: any event or circumstance specified in clause 10.1 that would, on the
 giving of notice, expiry of any grace period or making of any determination under the applicable
 Finance Document, or satisfaction of any other condition (or any combination thereof), become
 an Event of Default.

 Property: all that property registered at the Cayman Islands Land Registry as Breakers
 Registration Section, Block 56B, Parcels 14, 15, 16 & 17 (inclusive) as highlighted on the
 plan attached to this Loan Agreement at Schedule 2.

 Repayment Date: the date that is the earlier of (a) October 31, 2023, (b) the date that the
 Guarantor sells certain property in St. Barth's as defined in Schedule 3 or (c) the date that an
 affiliate of Borrower sells certain property in Cedar Park, Texas as defined in Schedule 3.,

 Security: any mortgage, charge (whether fixed or floating, legal or equitable), pledge, lien,
 assignment by way of security or other security Interest securing any obligation of any person or
 any other agreement or arrangement having a similar effect.

 Security Documents: the Legal Charge and the Guarantee.

 Secured Obligations: means the Loan and any Indebtedness from time to time outstanding owed
 by the Borrower and Guarantor to the Lenders.

 1.2 A reference to a statute, statutory provision or subordinate legislation is a reference to it as it
 is in force for the time being, taking account of any amendment or re-enactment or extension and
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includes any former statute, statutory provision or subordinate legislation that it amends or re­
enacts clause and paragraph headings shall not affect the interpretation of this Agreement.

1.3 A reference to a person shall include a reference to an individual, firm, company,
corporation, unincorporated body of persons, or any state or any agency of any person.

1.4 A reference to a Finance Document ( or any provision of it) or any other document shall be
construed as a reference to that provision or that document as it is in force for the time being and
as amended, varied or supplemented in accordance with its terms or the agreement of the
relevant parties.

1.5 A reference to an amendment includes a novation, re-enactment, supplement or variation
(and amended shall be construed accordingly).

 1.6 References to clauses are to the clauses of this Agreement.

1.7 References to the Borrower, the Lenders and the Guarantor shall include their respective
successors, permitted transferees and permitted assigns.

1.8 A reference to continuing in relation to an Event of Default means an Event of Default that
has not been remedied or waived.

2. THE FACILITY

Each Lender grants to the Bo1rower a secured term loan facility of a total principal amount not
exceeding that Lender's Commitment on the terms, and subject to the conditions, of this
Agreement, which shall be advanced to and drawn by the Borrower in full on the date hereof.

 3. PURPOSE

 3.1 The Borrower shall use all money bmrnwed under this Agreement for the following purposes
 (and for no other purpose):

    (i) working capital; and

    (ii) the fees and expenses of the Lender under the Finance Documents.

 3.2 The Lenders are not obliged to monitor or verify how any amount advanced under this
 Agreement is used.

 3.3 The Lenders shall be entitled to withhold from the drawdown and apply any amounts referred
 to in clause 3. l(ii) for the purposes therein mentioned.

 3 .4 The Lenders and the Borrower are not obliged to obtain the Guarantor's written consent to
 any drawdown of the Loan (or pait thereof).
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4. INTEREST

4.1 The Borrower shall pay Interest on the Principal Sum at the rates(s) per annum shown in the
Schedule.

4.2 Interest shall accrue daily and will be paid on the Repayment Date. In the event of an
extension of the term of the loan, the Interest shall still be payable on the Repayment date
notwithstanding the extension granted by the Lenders.

4.3 If the Bonower fails to make any payment due under a Finance Document on the due date
for payment, Interest on the unpaid amount shall accrue daily, from the date of nonpayment to
the date of actual payment (both before and after judgment), at the rate equal to 40% per annum.

5. COSTS

5 .1 The Borrower shall pay on demand all costs and expenses that any Lender incurs in
connection with the negotiation and preparation, execution, amendment, extension, alteration,
preservation and enforcement of the Loans and/or the Finance Documents.

5.2 The Borrower shall pay any stamp, documentary and other similar duties and taxes and
registration fees to which the Finance Documents may be subject, or give rise and shall
indemnify the Lenders against any losses or liabilities that they may incur as a result of any delay
or omission by the Borrower in paying any such duties or taxes.

5.3 The Bonower shall pay an arrangement fee equal to one percent (1 % ) of the Loan Amount.
The arrangement fee shall be deemed earned as of the date of this Agreement and shall be paid at
the Repayment Date to the Lenders.

 6. REPAYMENT

 6.1 Subject to the provisions of this Agreement, the Bo11'0wer shall repay the Loans on the
 Repayment Date, together with all unpaid Interest accrued up to the Repayment Date.

6.2 The Borrower may at any time prepay the whole of any Loan (but not part) plus, subject to
clause 6.3, all Interest accrued up to the date of repayment.

6.3 The parties agree that the aggregate minimum amount of Interest payable under this
Agreement is the Minimum Interest Charge. If any Loan is repaid or prepaid by the Borrower
(whether on a voluntary or mandatory basis) in circumstances where the Interest paid or payable
by the Borrower would be less than the Minimum Interest Charge, the Borrower shall
immediately pay to the Lender the difference between the Minimum Interest Charge and the
amount of Interest paid.

 7. PAYMENTS
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7 .1 All payments made by the Borrower under the Finance Documents shall be in US Dollars
and in immediately available cleared funds to the Lenders, to such account(s) as the Lenders may
reasonably specify.

7.2 If any payment becomes due on a day that is not a Business Day, the due date of such
payment will be extended to the next succeeding Business Day, or, if that Business Day falls in
the following calendar month, such due date shall be the immediately preceding Business Day.

7 .3 All payments made by the Borrower under the Finance Documents shall be made in full,
without set-off, counterclaim or condition, and free and clear of, and without any deduction or
withholding, provided that, if the Borrower is required by law or regulation to make such
deduction or withholding, it shall:

       (a) ensure that the deduction or withholding does not exceed the minimum amount
       legally required;

       (b) pay to the relevant taxation or other authorities, as appropriate, the full amount of the
       deduction or withholding;

       (c) furnish to the Lenders, within the period for payment permitted by the relevant law,
       either:

       (i)       an official receipt of the relevant taxation authorities concerned on payment to
                 them of amounts so deducted or withheld; or

       (ii)      if such receipts are not issued by the taxation authorities concerned on payment to
                 them of amounts so deducted or withheld, a certificate of deduction or equivalent
                 evidence of the relevant deduction or withholding; and

       (d) pay to the Lenders such additional amount as is necessary to ensure that the net full
       amount received by such person after the required deduction or withholding is equal to
       the amount that such person would have received had no such deduction or withholding
       been made.

 8. REPRESENTATIONS AND WARRANTIES

 8.1 The Borrower and Guarantor represent and warrant to the Lenders on the date of this
 Agreement:

       (a) It:

       (i)       is a duly incorporated limited liability company validly existing under the laws of
                 its jurisdiction of incorporation; and

       (ii)      has the power to own its assets and carry on its business as it is being conducted.
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      (b) It has the power to enter into, deliver and perform, and has taken all necessary action
      to authorise its entry into, delivery and performance of, the Finance Documents to which
      it is a party and the transactions contemplated by them.

      (c) No limit on its powers will be exceeded as a result of the borrowing or grant of
      security contemplated by the Finance Documents to which it is a paiiy.

      (d) The entry into, and performance by it, of, and the transactions contemplated by, the
      Finance Documents to which it is a pmiy, do not and will not contravene or conflict with:

      (i)      its constitutional documents;

       (ii)    any agreement or instrument binding on it or its assets or constitute a default or
               termination event (however described) under any such agreement or instrument;
               or
       (iii)    any law or regulation or judicial or official order, applicable to it.

       (e) It has taken all necessary action and obtained all required authorisations to enable it to
       enter into, exercise its rights and comply with its obligations in the Finance Documents to
       which it is a party and to make them admissible in evidence in its jurisdiction of
       incorporation. All such authorisations are in full force and effect.

       (f) Its obligations under the Finance Documents to which it is a party are legal, valid,
       binding and enforceable in accordance with their terms.

       (g) No Event of Default or Potential Event of Default has occurred or is continuing or is
       reasonably likely to result from making the Loan or the entry into, the performance of, or
       any transaction contemplated by the Finance Documents.

       (h) No other event or circumstance is outstanding which constitutes (or, with the expiry
       of a grace period, the giving of notice, the making of any determination or any
       combination thereof, would constitute) a default or termination event (howsoever
       described) under any other agreement or instrument which is binding on the Borrower or
       to which any of its assets is subject which has or is reasonably likely to have a material
       adverse effect on its business, assets or condition or ability to pe1f01m its obligations
       under the Finance Documents to which it is a pmiy.

       (i) No litigation, arbitration or administrative proceedings are taking place, pending or, to
       the Bonower's knowledge, threatened against it, any of its directors or any of its assets,
       which, if adversely determined, might reasonably be expected to have a material adverse
       effect on its business, assets or condition, or its ability to perform its obligations under
       the Finance Documents to which it is a party.

       (i) The Borrower has disclosed to the Lenders before the date of this Agreement all
       information relating to it and the transaction that is material to be known by a lender (in
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        the context of a loan for a similar amount and on terms similar to the Facility) and the
        information is accurate in all material respects.

        (k) The information, in written or electronic format, supplied by the Borrower (or on its
        behalf) to the Lenders (or on their behalf) in connection with the Facility and the Finance
        Documents was, at the time it was supplied or at the date it was stated to be given (as the
        case may be):

        (i)     if it was factual information, complete, true and accurate in all material respects;

        (ii)    if it was a financial projection or forecast, prepared on the basis of recent
                historical information and on the basis of reasonable assumptions and was fair and
                made on reasonable grounds;

        (iii)   if it was an opinion or intention, made after careful consideration and was fair and
                made on reasonable grounds;

        (iv)    not misleading in any material respect, nor rendered misleading by a failure to
                disclose other information, except to the extent that it was amended, superseded
                or updated by more recent information supplied by the Borrower (or on its behalf)
                to the Lenders (or on their behalf).

        (1) The Security Documents create valid, legally binding and enforceable Security for the
            obligations expressed to be secured by them.

       (m) The Borrower has not entered into any agreement (whether written or verbal, express
 or implied) to dispose of any of the Property.

         (n) The Borrower has good and marketable title to the Property, free and clear of any
 encumbrances that would have a material adverse effect on the value of the Prope1ty, the
 intended use of the Property, and/or the ability of the Borrower or the Guarantor to comply with
 its or their obligations under the applicable Finance Documents.

 8.2 Each of the representations and warranties in this clause 8 is deemed to be repeated by the
 Borrower on each date immediately succeeding the date on which Interest is paid under this
 Agreement in accordance with clause 4.2, by reference to the facts and circumstances existing on
 each such date.

 9. COVENANTS

 9.1 The Borrower covenants with the Lenders that, as from the date of this Agreement until all
 its liabilities under the Finance Documents have been discharged:

        (a) It will deliver to the Lenders:
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      (i)      promptly, all notices or other documents dispatched by the Borrower to its
               shareholders (or any class of them) or to its creditors generally; and

       (ii)    promptly such financial or other information as the Lenders may, from time to
               time, reasonably request relating to the Borrower or its business.

      (b) The Borrower will promptly, after becoming aware of them, notify the Lenders of any
      litigation, arbitration or administrative proceedings or claim of the kind described m
      clause 8.1 (i).

      (c) The Borrower will promptly obtain alt consents or authorisations necessary or
      desirable (and do all that is needed to maintain them in full force and effect) under any
      law or regulation to enable it to perform its obligations under the Finance Documents to
      which it is a party and to ensure the legality, validity, enforceability and admissibility in
      evidence of the Finance Documents in its jurisdiction of incorporation.

       (d) The Borrower will procure that any of its unsecured and unsubordinated obligations
       and liabilities under the Finance Documents rank, and will rank, at least pari passu in
       right and priority of payments with all its other unsecured and unsubordinated obligations
       and liabilities, present or future, actual or contingent, except for those obligations and
       liabilities mandatorily preferred by law of general application to companies.

       (e) The Borrower will comply, in all respects, with all laws, if failure to do so has or is
       reasonably likely to have a material adverse effect on its business, assets or condition, or
       its ability to perform its obligations under the Finance Documents to which it is a party.

       (f) They will promptly notify the Lenders of any Potential Event of Default or Event of
       Default (and the steps, if any, being taken to remedy it) promptly on becoming aware of
       its occurrence.

       (g) The Borrower will cany on and conduct its business in a proper and efficient manner
       and will not make any substantial change to the general nature or scope of its business as
       carried on at the date of this Agreement.

       (h) The Borrower will not without the prior consent of the Lenders:

       (i)     create, or permit to subsist, any Security on or over any of its assets;

       (ii)    sell, transfer or otherwise dispose of any of its assets on terms whereby such
               assets are or may be leased to or re-acquired or acquired by it;

       (iii)   sell, transfer or otherwise dispose of any of its receivables on recourse terms;

       (iv)    enter into any arrangement under which money or the benefit of a bank or other
               account may be applied, set-off or made subject to a combination of accounts;
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       (v)       enter into any other preferential arrangement having a similar effect, in
                 circumstances where the arrangement or transaction is entered into primarily as a
                 method of raising finance or of financing the acquisition of an asset.

       (i) The Borrower will not without the prior consent of the Lenders, sell, assign, lease,
       transfer or otherwise dispose of in any manner (or purport to do so) all or any part of, or
       any Interest in, its assets other than:

       (i)       trading stock in the ordinary course of its business; and

       (ii)      assets exchanged for other assets comparable or superior as to type, value and
                 quality,

       (j) The Borrower will not, without the prior consent of the Lender, incur or permit to
       subsist, any Indebtedness.

       (k) Any obligations of the Borrower owed to any other person, including but not limited
       to its shareholders, directors or the Guarantor, shall be subordinated in favour of the
       Borrower's obligations to the Lenders.

 10. EVENTS OF DEFAULT

10.1 Each of the events or circumstances set out in this clause 10 is an Event of Default.

       (a) Any person (other than a Lender) fails to pay any sum payable by it under any
       Finance Document, unless its failure to pay is caused solely by an administrative error or
       technical problem and payment is made within three Business Days of its due date.

       (b) Any person (other than a Lender) fails (other than by failing to pay), to comply with
       any provision of any Finance Document and (if the Lender considers, acting reasonably,
       that the default is capable of remedy), such default is not remedied within 10 Business
       Days of the earlier of:

       (i)       the Lender notifying such person of the default and the remedy required; and

       (ii)      such person becoming aware of the default.

       (c) Any representation, warranty or statement made, repeated or deemed made by any
       person (other than a Lender) in, or pursuant to, any Finance Document is (or proves to
       have been) incomplete, untrue, incorrect or misleading in any material respect when
       made, repeated or deemed made.

       (d) If:
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      (i)     any Indebtedness of the Borrower is not paid when due or within any originally
              applicable grace period; or

      (ii)    any Indebtedness of the Borrower becomes due, or capable or being declared due
              and payable prior to its stated maturity by reason of an event of default
              (howsoever described);

      (iii)   any commitment for Indebtedness of the Borrower is cancelled or suspended by a
              creditor of the Borrower by reason of an event of default (howsoever described);
              or

      (iv)    any creditor of the Borrower becomes entitled to declare any Indebtedness due
              and payable prior to its stated maturity by reason of an event of default
              (howsoever described).

      (e) The Borrower stops or suspends payment of any of its debts, or is unable to, or admits
      its inability to, pay its debts as they fall due.

      (f) The value of the Borrower's assets is less than its liabilities (taking into account
      contingent and prospective liabilities).

      (g) The Borrower commences negotiations, or enters into any composition, compromise,
      assignment or arrangement with one or more of its creditors with a view to rescheduling
      any of its Indebtedness (because of actual or anticipated financial difficulties).

      (h) Any action, proceedings, procedure or step is taken for:

      (i)     the suspension of payments, a moratorium of any Indebtedness, winding up,
              dissolution, administration or reorganisation (using a voluntary arrangement,
              scheme of arrangement or otherwise) of the Borrower; or

      (ii)    the composition, compromise, assignment or arrangement with any creditor; or

      (iii)   the appointment of a liquidator, receiver, administrative receiver, administrator,
              compulsory manager or other similar officer in respect of the Borrower or any of
              its assets; or

      (iv)    the enforcement of any Security over the Property.

      (i) Any event occurs in relation to the Borrower similar to those in clause 10.1 (e) to
      clause 10.1 (i) (inclusive) under the laws of any applicable jurisdiction.
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        G) A distress, attachment, execution, expropriation, sequestration or another analogous
        legal process is levied, enforced or sued out on, or against, the Borrower's assets or the
        Property and is not discharged or stayed within 21 days.

        (k) Any provision of any Finance Document is or becomes, for any reason, invalid,
        unlawful, unenforceable, terminated, disputed or ceases to be effective or to have full
        force and effect.

        (1) Any person (other than a Lender) repudiates or evidences an intention to repudiate
        any Finance Document.

        (m) The Borrower suspends or ceases to carry on (or threatens to suspend or cease to
        cany on) all or a substantial paii of its business.

        (n) There is a Change of Control of the 801Tower or the Guarantor without the prior
        written consent of the Lenders.

        (o) Any event occurs (or circumstances exist) which, in the opinion of the Lenders, has or
        is likely to materially and adversely affect the ability of any person (other than a Lender)
        to perform all or any of its obligations (whether actual or contingent) under, or otherwise
        comply with the terms of any Finance Document.

 10.2 At any time after an Event of Default has occurred which is continuing, the Lender may, by
 notice to the Borrower:

        (a) cancel all outstanding obligations of the Lenders (or any of them) under this
        Agreement whereupon they shall immediately be cancelled; and/or

        (b) declare that the Loan (and all accrued Interest and all other amounts outstanding
        under the Finance Documents and, without double counting, the Minimum Interest
        Charge), whether in whole or in part, is immediately due and payable, whereupon they
        shall become immediately due and payable; and/or

        (c) declare that the Loan (whether in whole or in part) be payable on demand, whereupon
        it shall become immediately payable on demand to the Lenders; and/or

        (d) declare the Security Documents to be enforceable.

 11. SET-OFF

 11. 1 The Lenders may at any time set off any liability of the Borrower to the Lenders against any
 liability of the Lenders to the Borrower, whether either liability is present or future, liquidated or
 unliquidated, and whether or not either liability arises under any Finance Document. If the
 liabilities to be set off are expressed in different currencies, the Lenders may convert either
 liability at a market rate of exchange for the purpose of setoff. Any exercise by the Lenders of
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their rights under this clause 11.1 shall not limit or affect any other rights or remedies available
to it under the Finance Documents or otherwise.

11.2 The Lenders are not obliged to exercise any of their rights under clause 11.1, but if the
rights are exercised, such person shall promptly notify the Borrower of the set-off that has been
made.

12. CALCULATIONS, ACCOUNTS AND CERTIFICATES

12.1 Any Interest, commission or fee under any Finance Document shall accrue on a day-to-day
basis, calculated according to the number of actual days elapsed and a year of 365 days.

12.2 If the Lender issues any certificate, determination or notification of a rate or any amount
payable under a Finance Document, it shall be (in the absence of manifest error) conclusive
evidence of the matter to which it relates.

13. AMENDMENTS, WAIVERS AND CONSENTS AND REMEDIES

13.1 No amendment of any Finance Document shall be effective unless it is in writing and signed
by, or on behalf of, each party to it (or its authorised representative).

13.2 A waiver of any right or remedy under any Finance Document or by law, or any consent
given under any Finance Document, is only effective if given in writing by the waiving or
consenting party and shall not be deemed a waiver of any other breach or default. It only applies
in the circumstances for which it is given and shall not prevent the party giving it from
subsequently relying on the relevant provision.

13.3 A failure or delay by a party to exercise any right or remedy provided under any Finance
Document or by law shall not constitute a waiver of that or any other right or remedy, prevent or
restrict any further exercise of that or any other right or remedy or constitute an election to affirm
any Finance Document. No single or partial exercise of any right or remedy provided under any
Finance Document or by law shall prevent or restrict the further exercise of that or any other
right or remedy. No election to affirm any Finance Document by the Lenders shall be effective
unless it is in writing.

13.4 The rights and remedies provided under the Finance Documents are cumulative and are in
addition to, and not exclusive of, any rights and remedies provided by law.

 14. SEVERANCE

 If any provision (or paii of a provision) of any Finance Document is or becomes invalid, illegal
 or unenforceable, it shall be deemed modified to the minimum extent necessary to make it valid,
 legal and enforceable. If such modification is not possible, the relevant provision (or pati of a
 provision) shall be deemed deleted. Any modification to or deletion of a provision (or part of a
 provision) under this clause shall not affect the legality, validity and enforceability of the rest of
 the Finance Documents.
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15. ASSIGNMENT AND TRANSFER

15.1 The Lenders may assign any of their rights under the Finance Documents or transfer all of
their rights or obligations by novation.

15.2 The Borrower may not assign any of its rights or transfer any of its rights or obligations
under any Finance Document to which it is a party.

16. COUNTERPARTS

16.l This Agreement may be executed in counterpaiis (whether in the form of a duplicate,
photocopy or facsimile of the original) and each such counterpart shall be deemed to be an
original; and all such counterparts when taken together shall be deemed to constitute one and the
same instrument. When properly executed and exchanged, such counterparts shall evidence a
mutually binding contract in accordance with the terms and conditions set forth in that
agreement. Signed counterparts may be delivered by scanned PDF image via electronic mail.

17. INDEMNITY

17 .1 The Borrower shall, on demand, indemnify each of the Lenders against any cost, loss or
liability incurred by it as a result of:

    (a) the occurrence of any Event of Default; and/ or

    (b) a failure by the Borrower to pay any amount due under a Finance Document on its due
        date.

 17.2 The Borrower shall promptly indemnify each of the Lenders, and each officer or employee
 of any Lender, against any cost, loss or liability reasonably incurred by that Lender, officer or
 employee (as the case may be) in connection with or arising out of this Agreement, unless such
 cost, loss or liability is caused by the gross negligence, fraud or willful default of that Lender,
 employee or officer (as the case may be).

 18. FURTHER ASSURANCE

 18.1 The Borrower shall (and shall procure that the Guarantor shall) promptly do all such acts or
 execute all such documents (including assignments, transfers, mortgages, charges, notices and
 instructions) as the Lender may reasonably specify (and in such form as the Lender may
 reasonably require):

    (a) to perfect the Security created or intended to be created under or evidenced by the
        Security Documents (which may include the execution of a mortgage, charge, assignment
        or other Security over all or any of the assets which are, or are intended to be, the subject
        of the Security Documents) or for the exercise of any rights, powers and remedies of any
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       Lender, or the Borrower (as the case may be) provided by or pursuant to the Finance
       Documents or by law;

    (b) to confer on the Lenders Security over any property and assets of the Borrower located
        in any jurisdiction equivalent or similar to the Security intended to be created by the
        Borrower under the Security Documents; and/or

    (c) following an Event of Default which is continuing, to facilitate the realisation of the
        assets which are, or which are intended to be, the subject of the Security Documents.

The Borrower shall (and shall procure that the Guarantor shall) take all such action as is
available to it (or the Guarantor) (including making all filings and registrations) as may be
necessary for the purpose of the creation, perfection, protection or maintenance of any Security
conferred or intended to be conferred on the Lenders by or pursuant to the Finance Documents.

 19. GUARANTOR

19.1 The Guarantors Liability under the Loan is unlimited and shall not be reduced, discharged or
otherwise adversely affected by:

    (a) any time or indulgence granted by the Lenders to the Borrower;

    (b) any delay or forbearance by the Lender in enforcing any payment or the observance or
        performance of any of the Borrower's covenants of this Agreement or in making any
        demand in respect of any of them;

    (c) the Lenders exercising any right or remedy against the Borrowers for any failure to pay
        the Loan or to observe or perform the Borrower's covenants under this Agreement;

    (d) the Lenders taking any action or refraining from taking any action in connection with
        any other security held by the Lenders in respect of the Loan including the release of any
        such security;

    (e) any legal limitation or disability on the Borrower or any invalidity or irregularity of any
        of the Borrower's covenants or any unenforceability of any of them against the Borrower;

    (f) the Borrower being dissolved, or being struck off the register of companies or otherwise
        ceasing to exist; or

    (g) any other act or omission except an express written release by deed of the Guarantor by
        the Lenders.

 19.2 Any sum payable by the Guarantor must be paid without any set-off or counterclaim,
 deduction or withholding (other than any deduction or withholding of tax as required by law)
 against the Lenders.
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20. OBLIGATIONS OF THE LENDERS

The obligations of the Lenders under this Agreement shall be several.

21. NOTICES

21.1 Any notice, demand, consent, agreement or other communication (Notice) made under or in
connection with this Agreement must be in writing and, unless otherwise stated, may be given in
person, by prepaid mail, or by electronic mail.

21.2 The contact details of each party to this Agreement for all communications in connection
with this Agreement are as set out below.

GUARANTOR
1 007 N Orange St #65
C/O Terra Carta Partners, LLC
Wilmington DE 19801
Email: rcicoski@terracartapartners.com

BORROWER
c/o Cayman Management Ltd.
Governors Square, 2nd Floor
23 Lime Tree Bay Avenue
PO Box 156
Grand Cayman KYl-1110
Cayman Islands

LENDERS
Address: See Schedule
Email: See Schedule
Attention: See Schedule

21.3 Notice shall be deemed to have been duly given or made as follows:

(a) if personally delivered upon delivery at the address of the relevant paiiy;

(b) if sent by mail, five Business Days after the date of posting; ai1d

(c) if sent by electronic mail when actually received by the intended recipient in readable form;

provided that if, in accordance with the above provision, any such notice, demand or other
communication would otherwise be deemed to be given or made after 5.00 p.m. in the Cayman
Islands, such notice, demand or other communication shall be deemed to be given or made at
9.00 a.m. in the Cayman Islands on the next Business Day.
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21.4 A pmiy may notify any other pmiy to this Agreement of a change to its name, relevant
addressee or address (including email address) for the purposes of this clause provided that such
notification shall only be effective:

   (a) on the date specified in the notification as the date on which the change is to take place;
       or

   (b) if no date is specified or the date specified is less than five Business Days after the date
       on which notice is given, the date falling five Business Days after notice of any such
       change has been given.

21.5 Where a party nominates a pmiicular depmiment or officer to receive a communication, a
communication will not be effective if it fails to specify that department or officer.

21.6 This clause does not apply to the service of any proceedings or other documents in any legal
action.

22. GOVERNING LAW AND JURISDIC TION

22.1 This Agreement shall be governed and construed in all respects by Cayman Islands law.

22.2 Any dispute arising under or in connection with this Agreement shall be subject to the
exclusive jurisdiction of the Cayman Islands courts to which the parties to this Agreement hereby
submit.

23. RATIFICATION OF LEGAL CHARGE AND COLLATERAL.

23.1 All of the terms, provisions, covenants, representations and warranties contained in the
Legal Charge are ratified and affirmed by Botrnwer in all respect and shall remain in full force
and effect as modified by this Agreement.

23.2Any property or rights to or Interest in property granted as security in the Legal Charge shall
remain as security for the Loan and the obligation of the Borrower.

24. LOAN EXTENSION

24.1 Provided that the Borrower is not in default under the terms of this Agreement, the
Bonower may extend the Repayment Date to January 31, 2024 on the following terms and
conditions:

    (a) the Borrower pays to the Lender the accrued and unpaid Interest due on the Principal
        Sum through and up until the initial Repayment Date; and

    (b) the Borrower pays to the Lender the Interest for the period from the Repayment Date
        through and including January 31, 2024.
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24.2   the Borrower shall provide to Lender written notice of the extension of the Repayment
Date not less than ten (10) days prior to the initial Repayment Date.

IN WlTNE      WHERE OF the parties have duly executed this Agreement on the date stated at
the b ginning of it.

Borrower

BREAKERS BEACH CLUB LTD., a company incorporated under the laws of the

 ��"c�
Cayman Islands

By:             '--' \.----•

Name�1 Cicoski

Its: Director

Guarantor

GREEN SAPPHIRE HOLDINGS, INC. a Delaware limited liability company

sF6- c... c.�
Name: Ryan Cicoski

lts: Director

Lender



Mark Matthews




David Holden
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Schedule 1 - The Lenders

Name                Address                Loan Amount        Interest Rate
Mark Matthews       thematthews1 lme.com   $1,450,000         30% per annum
                    P.O. Box 309,
                    Grand Cayman KYl •
                    1104
                    Cayman Islands

David Holden        dnh4private@gmail.com $1,450,000          30% per annum
                    PO Box 30623
                    Grand Cayman KYl •
                    1203
                    Cayman Islands
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Schedule 2 - Land Plan

                 Block 568 Parcels 14, IS, 16 arid 17, Breakers

                                                                  Legend




                                                                   tl/ll/16 .I.SHM
                                                                    1:4,632          0
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Schedule 3 - St Barth's and Cedar Park, TX Property Descriptions
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                                                              DEED OF GUARANTEE

   THIS DEED OF GUARANTEE is made the .....         rt:...... A.~.~t.
                                                               day of ....                     ····•··2023


   BETWEEN:
   OF:
                     GREEN SAPPHIRE HOLDINGS, INC.
                     a Delaware limited liability company, 1007 North Orange, Wilmington, DE 19801
                                                                                                                                      EXHIBIT I
                     (hereinafter called the undersigned
                     OF THE ONE PART


   AND:              MARK MATTHEWS & DA VlD HOLDEN
   OF:               P.O. Box 309, Grand CaymanKY1-1104, Cayman Isla-ids and PO Box 30623, Grand Cayman KY1-1203, Cayman Islands
                     (hereinafter called 'the Lenders" which expression shall include the Lender's successors in title and assigns)
                     OF THE OTHER PART


   NOW THIS DEED WITNESSETH as follows:

   1.   (A)   In consideration of the Lenders agreeing to deal with, giving time credit and/or loan facilities and accommodation lo:

              BREAKERS BEACH CLUB LTD

              Hereinafter called "the Borrower· the u,idersigned aid each of them joinUy and severally if more tha-i one hereby gua-a-itees
              unconditionally aid irrevocably b the Lenders as a principal obliger aid not merely as surety the due aid plllctual payment of all
              debts aid liatilities present aid future, direct or indirect, absolue or contingent matured ornol aid of each aid every liatility of the
              Borrower of whatsoever nature howsoever the same beor may have been incurred aid whether the same is presenUy existing or
              may hereafter be incurred by the Borrower with the Lenders or rerraining Lllpaid by the Borrower to the Lenders, whether a-ising
              anywhere within or outside the com try where this guara-itee is executed and v.41etherU1eBorrower be bol.lld aloneorwith a,other
              or others and whether as principal or surety.

              Provided always that the liability of the undersigned hereunder shall be unlimited

        (B)   The L11dersigned'sliability L11derlhis Gua-a-itee shall indule all aid a,y interest a=ued or accning thereon (bolh before as well
              as after julgment) at such rate or raes as lhe Lenders may in its absolute discretion deterrrine from time 1Dlime aid all aid a,y
              charges 1ogelherwilh all costs aid expenses recoverablefromlhe Borrower aid all costs aid expenses incurred by lhe Lenders in
              enbrcement of lhis Guara-itee aid where lhe l.lldersigned's liatility is lirriled such limitation shall be exclusive of a,y surrs
              included under this clause.

   2.         And the undersigned and each of them jointly and severally if more than one hereby agrees with the Lenders as follows:

        (A)   The L11dersignedhereby undertakes 1Dkeep lhe Lenders fuly aid e~ctually indermified against all losses, damages, costs,
              clairrs, aid expenses arising out of or in connection wilh a,y failure on lhepartof lhe Borrower b pay a-iyof lhe surrs aforesaid as
              and v.41enthe same shall fall lo he paid or perbrrn a,y of lhe obligations b he performed in pursua-iceof the terms of lhe facilities
              extended to the Borrower.

        (B)   This Guara-itee shall cover a,y number of tra-isactions aid a,y part or pa-ts lhereof aid lhe Lenders shall be entiUed but shall not
              be bol.lld b apply a,y moneys obtainable from a-iy olher source in reduction of the Borrower's liatility bebre making any call or
              demand on the undersigned to satisfy any liability of the Borrower to the Lenders arising or accruing as aforesaid.

        (C)   The liatility of lhe L11dersignedb make a,y payment l.llder lhis Guara,teeshall a-ise i.pon lhe Lendersgiving notice in writing b
              the l.lldersigned dema-iding payment. My noticeordema-id to be given or served on lhe L11dersignedshall be in writing aid maybe
              given aid served by personal service or may be posted aid if posted shall be deemed b have been sufficiently given b lhe
              undersigned DJ lhe Lenders sending lhe same to lhe address herein written or to lhelastknown address oflhe L11dersignedaid
              shall he effectual nomilhsta-iding a,y cha-ige of address aid such dema,d shall be deemed 1Dbe received by lhe L11dersigned
              twenty bur hours after posting lhereof aid in proving such service itsheU be sufficient 11'.lprovelhallheletterconlaining lhedema,d
              was properly addressed aid put inb lhe Fl:>stOffice. Where more Iha, one par(y has signed lhis Gua-a,tee a demand on lhem all
              sent to the address of any one of them shall be deemed to have been received by each of them.

        (0)   The Lenders maygra-it extensions, renewals, time, releases aid discharges or g ra-itor refuse further credit 1Daid grail a,y olher
              indulgences whatsoever to lhe Borrower orb a,yolher perscn, persons, pa-tnerships, or corporation liable to lhe Lenders on orin
              respect of a,y liability hereby gua-a-iteed aid may accept compositions from aid may olherwisedeal wilh the Borrower and wilh
              any such olher perscn,perscns, pa-tnershipsorcorporation liable b lhe Lenders on orin respectof a,y liatility herebyguara,teed
              and may accept compositions from and may olherwise deal wilh lhe Borrower aid wilh a,y such olher perscn, perscns,
              pa-tnerships or corporation, as lhe Lenders may think expedien~ aid may give i.p or modify or abstain from perfecting or taking
              adva-itageof a,y securities or contracts held by it as collateral aid may realise lhe said securities in such manner as the Lenders
              may think expedient, all without obtaining the consent of the undersigned and without giving notice to the undersigned ..

              Provided always lhatsuch actions on the pa-1of lhe Lenders or a,y neglectorrission or forbearance on the part of lhe Lenders b
              lake adva-itageofor enforce a,y of its rights l.llder lheGua-a-iteeshall not be deemed b operate as a general waiverofils righ1s
              herel.lldernor shall in a,y way release, affect, prejulice or lirrit lhe liatility of lhe L11dersignedhereunder, aid lhis Guarantee shall
              remain in full brce and effect Llllil all outstanding debls aid liatilities togelher wilh a,y interest aid all olher monies payable by lhe
              Borrower shall have been paid by the Borrower.

        (E)   This Guara,teeshall be a continuingguara-iteeand shall cover all debts aid liatilities owed 1othe Lenders DJ lhe Borrower aid it
              shall apply to and secure any ultimate balance due or remaining unpaid to the Lenders.

              Nolwithsta-iding lhe death insolvency ba-ikri.pty or winding t.p of lhe Borrower lhe liabilityof lhe L11dersignedL11derlhis Guara-itee
              shall be deemed to continue until the same has been actually paid.

        (F)   The Lenders shall not be bol.lld 1Dexhaust its recourse against lhe Borrower or olhers or a,y securities it may at any time hold
              before being entitled to payment from the undersigned of the outstanding debts or liabilities due hereunder.

        (G)   (i)        Upon defaut in paymenlof a,y debtor liatility owing by lhe Borrower b lhe Lenders at a,y time, the Lenders may treat the
                         whole of lhe indebtedness hereby secured as due aid payable aid may forlhwilh collect from lhe l.lldersigned lhe 11'.ltal
                         amol.111hereDJguara-iteed aid may apply the sum so collected i.pon lhe Borrower's debt or may place it 1Dthe credit of a
                         special account.

              (ii)       The L11dersignedagrees lhat a, admission DJlhe Borrower as 1Dlhe amoL11toflhe liability of lhe Borrower b the Lenders
                         or, in the absence of a, adrrission DJ the Borrower, any a-nollltstated DJ the Lenders or ajulgmentdeterrnining such
                         amolllt obtained by the Lenders against the Borrower shall be condusive proof as against the L11dersignedas 1Dthe
                         amount of such liability.

              The Lenders is also to be at liberty at a,y lime aid from time to lime at the Lenders' absolute discretion b release discha-ge
              compol.lld wilh orolherwise vary or agree b vary lhe liatility of a,y one or more of lhe L11dersignedL11derlhis Gua-a-iteeor make
              anyolher arra-igements wilh a,yoneor more of the L11dersignedaid no such release discharge composition variation agreement
              or arrangement shall prejudice or in anyway affect the Lenders' rights or remedies against the other or others of the undersigned.

        (H)   All debts aid liabilities present aid fub.Jreof the Borrower b the L11dersignedor a,y of lhem ~f more Iha, one) are hereDJ
              postponed b the debts and liatilities of lhe Borrower b the Lenders during lhe continuance of lhis Guara-itee, aid all moneys
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  Deed of Guarantee                                                                                                                           Page2

             received cy 1he undersigned or any of 1hem (if rrore 1han one) from the Borrower shall be deemed to be held in trustfor 1he Lenders
             and br1h'Mlh i..pon r eceipt, shall be paid over to 1he Lenders 'Mlhout in any way liniting or lessening lhe liatility of 1he U1dersigned
             under lhis Guarantee, and lhis assignment and pos1ponement is independent of lh e said Gua-antee and shall rerrain in full effect
             n otwithstanding that t he liability of the undersigned or any of them under t he said Guarantee may be extinct.

       (I)   This Guarantee shall be in addition to and wilhoutprejudice to any o1her seculities, negotial:leorolhef'Mse, wh ich lhe Lenders may
             nowor hereafter possess in respectof thedebts and liabilities herecy secured or intended so to be, and 1he Lenders shall be under
             no ol:ligation to marshal in favour of the undersigned any such securities or any of 1he flllds or assels which 1he Lenders maybe
             entitled to receive or have a d aim i..pon. />JI dividends, compositions and rroneys received cy the Lenders fro m any o1herperson or
             persons or estatecap ableof being applied cy the Lenders in reduction of 1he indebtedn essof the Borrower, shall be rega-ded for all
             purposes as payments in gro ss, and 1he llldersigned shall not be entided to participate except to 1he surplus (if any ) remaining after
             satisfaction of t he ultimate balance due to the Lenders.

       (J)   This Guarantee shall not be affected cy the dea1h or loss or dininution of capa:ity of the U1dersigned or any of 1hem if rrore 1han
             one,orwherethe Borrov..eris apainership cy any change in 1he name of 1he Borrower or in the membership of1he Borrower's firm
             thro�h the death or retirement of one or rrore painers or 1he introduction of a new partner or partners or otherwiseor, where 1he
             Borrower is a corporation, by any change or changes in 1hename, oqecls, capital structure, stock or constitution of 1he Borrower, or
             by 1he acqlisition of 1he Borrower's business cy a corporation or cy the Borrower's business being amalgamated with a corporation
             but shall not'M1hstanding 1he happening of any such event or sinilar event continue b apply to all the debls and liatilities
             oulstanding hereU1derwhether there!obre or 1hereafter incurred or irising and in 1his instrument 1he'Mlrd • Borrower" shall inciude
             every such firm and corporation and, in any case, theprovisions hereof shall beapplical:le to all transactionsoccurling and alldebls
             and liatilities incurred as well as before as after any such change or changes, and the Lenders shall not be concerned to see or
             enqlire into thepowers of 1he Borrower or members, pa-tners, directors, or any agents acting or purporting b act on baialf of the
             Borrower, and 1his Gua-antee shall apply to all debts and liabilities created cy the Borrower, or cy any members, partners, directors
             or agents thereof, in professed exercise of their powers or authority, not'M1hstanding any irreguarity, defect or informality and
             n otwithstanding that t he creation of such indebtedness may wholly or partly be beyond the powers of the Borrower.

       (K)   (i)      No assurance security or payment which may be avoided U1der any enactment from time to time in force relating to
                      in solvency ta,kri..p ty or liquidation of companies and no release setdemen td isch arge arrangementwhich may have been
                      given or made on 1he faith of such assurance seculity or payment shal prejudiceor affect the Lenders' right b recover from
                      the U1dersigned to the full extent of this Gua-antee as if such assurance security payment release settlement discharge
                      arrangement(as 1he case may be) had never been granted given or made: and any such release setdement discharge or
                      arrangement shall as between the Lenders and the U1dersigned be deemed bhave been given or made i..pon the express
                      condition 1hatit shall become wholly void and of no effect if the assurance security or payment on 1he faith of which it was
                      made shall at any time 1hereafter be avoided U1der any enactment relating b insolvency bankrupty or liquidation of
                      companies.

              (i i)   Vvhere any security is held by the Lenders for the liatility of the U1dersigned 1he Lenders shall be at liberty at its absolute
                      discretion to retain as security br a peliod of seven rron1hs after the repayment of al surrs 1hat are or may become due b
                      the Lenders fro m 1he Borrower not.vithstanding any release settlement discharge or arrangement given or made cy 1he
                      Lenders on or as a consequence of such repaymenls and if at any time 'M1hin 1heperiod of six rron1hs after such repayment
                      either insolvency proceedings shall be commenced or a bankri..ptcy petition shall be presented against 1he Borrower or a
                      petition shall bepresented b a competent Court for an order for 1he 'Mnding-i..p of 1he Borrower or the Borrower (being a
                      Company) shall co mmence to be 'Mlllld up volU1tarily the Lenders shall be at liberty and notwithstanding as before
                      mentioned b continue b retain such security or any part 1hereof for and during such further period as the Lenders in ils
                      absolute discretion shall determine.

       (L)   This Guarantee and agreement shall be operative and binding LpOn every signatory thereof not'M1hstanding the non-execution
             thereof by any olher proposed signatory or signabries, and possession of this instrument by the Lenders shall be condusive
             evidence against 1he U1dersigned and each of 1hem 1hatthis instrument was not delivered in escrow or pursuant to any agreement
             that it shoud not be effective U1til any conditions precedent or subsequent had been complied wi1h, lllless at the time of receiptof
             thi s Guarantee cy the Lenders each signabry 1hereof obtains fro m 1he Lenders a letter setting out the terrrs and conditions lllder
             w hich t his Guarantee was delivered and the conditions, if any, to be observed before it becomes effective.

       (M)   The Guarantee shall not be considered as wholly or partially satisfied cy thepayment or liqlidation at any time or times of any sum
             or sums of money for 1he time being due or remaining U1paid to the Lenders, and al dividends, compositions proceeds, or security
             valued and paymenls received cy the Lenders fro m the Borrower or fro m others or from estates shal be rega-ded for all purposes
             as payments in gro ss ,..,;111out any light on 1he part of the U1dersigned to daim in reduction of the liability U1der 1his Gua-antee the
             benefit of any such dividends, composifions, proceeds or paymenls or any seculities held cy 1he Lenders or proceeds thereof, and
             the U1dersigned shall haveno light to be sutrogated in any lighlsof 1he Lenders llltil the Lenders shall have received payment in
             full of the debts and liabilities secured hereunder.

       (N)   This Guarantee covers all agreements between 1heparties hereb relative b 1his Guarantee and assi gnment and pos1ponernent,
             and none of 1heparties shall be bound cy any representation orpromise made cy any person relative1hereb which is not embodied
             herein.

       (0)   This Guarantee and agreement shall extend band inure to 1he benefit of 1he Lenders and ils successors and assigns, and every
             reference herein b the U1dersigned or to each of 1hemor to any of them, is a reference b and shal be construed as induding the
             undersigned and 1he heirs, execubrs, adninistrabrs, leg a representatives, successors and assigns of the undersigned orof each
             of 1hem or of any of 1hem, as the case may be, to and Lpon al of whom 1his Guarantee and agreement shall extend and be binding.

       (P)   This Guarantee is in addition b and notin substitution for any o1her gua-antee, cy whomsoever given, at any time held by the
             Lenders, and any present or future ol:ligation b 1he Lenders incurred or arising other'Mse than U1der a g ua-antee, of 1he
             undersigned or any of them or of any o1her ol:ligant, whether bollld ,..,;111 or ap art from 1he Borrower, excepting any g uarantee
             surrendered for cancellat ion on delivery of t his instrument.

       (Q)   The terms conditions and effect of this Gua-antee shal be subject to and construed in accordance with 1he Laws of lhe Cayman
             lslarids for the time being in force and the Cayman Islands shall be 1he brum for 1he enforcement thereof but 'M1hout prejudice to
             any rights the Lenders may have to bllow the assets of 1he U1dersigned or any of 1hem (if more thari one) wherever such assels
             may be s ituate.




       (R)   This Guarantee is and at all times s hall remain the property of the Lenders.


  We acknowledge receipt of a copy of this Guarantee which we have read and understood before executing it.
Case: 1:24-cv-01538 Document #: 137 Filed: 02/09/25 Page 269 of 373 PageID #:3878
  Deed of Guarantee                                                                                                       Page3

 IN WITNESS WHEREOF the parties hereto have hereunto affixed their hands and Seal the day and year first above written.



 SIGNED SEALED and DELIVERED as a Deed
 On behalf of MARK MATTHEWS & DAVID HOLDEN
 ln the          :
       �
 ·························�·················
 M Matthews




                             1.11.:e.,rt.
  �...........................
 D Holden                      •


 ?.G\.r.a.b. . .H.. P<Jr.c.�.�
       ..'0.✓.L.UU/)1.W ..... .... . . .. .
 Name       itness


 �
                , ,
        �

 siWai  re of witness



 SIGNED SEALED and DELIVERED as a Deed
 On behalf of GREEN SAPPHIRE HOLDINGS, INC.
 In the presence of:



 Ryan Cicoski - Director/Authorised Signatory



 Name of witness



 Signature of witness
Case: 1:24-cv-01538 Document #: 137 Filed: 02/09/25 Page 270 of 373 PageID #:3879



                                                                              D E E D OF GUARA NTEE

         THIS DEED OF G UARAN T E E Is madu I I,e ..          J.J ......     day ol , .... � .',:',.$.�. . . .. . 2023


          BETWE E N:          G R E E N SAPP HIRE HOLDI NGS, INC .
          OF :                a De l aware llm led llab llty company, 1 007 No�h Orange, Wilmi ngton, 0           19801
                              (herelnafler called Iha un dersign ed
                              OF THE ONE PART


          AND:                MARK M A TTH EWS & DAVI D HOL DEN
          OF:                 P.O. Box 309 . G rand Cayman KY l - I I 04 . C ayman Islands and PO Box 30623 . Grand Cayman KY 1- 1 203 , Cayman I slands
                              (ho r elnaner callei:I "lho Lend ers· v.tilch oxprcsslon shal l indudc lho Lcndo(s successors in title and assigns)
                              OF THE OTHE R PART


          NOW THIS DEED V,1 T NESSETH as lollows:

          I.   (A)      In r.on� lde ra tlon or the Loni:lors ogreolng 10 deal ..; t h , g;,Ing t i me c,edl l end/or loan racllil las a nd acconmodoUon lo:

                        B R EAKERS BEACH CLUB LTD

                        Horelnoflor called 'the Borrowe,"' the u ndersigned and ca.ch or lhem )olnlly and sev ral ly ii moro l han one hereby guaranl ees
                        uncond,llonolly and Irrevocably 10 tho Lo ndors a s a principal obl lgor and nol merely as suro1Y tho duo ond punclual paymonl of all
                        debt s and llabllllles presen t and luluro , direct or l ndiroc l, absolute or conllnoonl matured or not and of each and every l iability of the
                        Borrower or whalsoever nature howsoever lhe s emo be or may have been Incurred and wh ether tho same Is p rasenlly e.ist lng or
                        may he reafter be Incurred by the Borrower wilh the lenders or remaining unpaid by lhe B orrower 10 lhe Lenders, wholhor ar ising
                        onywhere wi thi n or outside lhe counlry where th is gua rantee Is e•eculed ond whether lhe Borrower be bound alone or wilh ano t her
                        or olhors and whelher n• prt nclpat or su re ty .
                        Provided always uI0I 1he l iability or Iha u ndersig ned ne,eunder shan be unl lmlled

                 ( B)   The unde rsig nod·s llabrnty under lhl• Gu aranlae shall Include all end e ny I nte rest accrued or B<X:fulng theroon (both before as wel l
                        a s aflor judgmenl) e l such r a l e o r ra tes a s t h e Lenders may I � Its absolute dlscrollon delormlno from lime t o l ime and a l l und a ny
                        chmges together with all cosls and expenses recoverable from lho Borrower end al l cosls end exp enses lncurr d by the Lenders In
                        e 11rorcomonl or lhl• Guare n lee and where I.ho undersigned's I ablllly Is llmlled such llmltaUon shall be exclusive or any sums
                        l r, ciuded und er this ciauso.

          2.            And the undersig n ed and each ol them jointly end sovorol ly II morn lhan cno heroby ogr os with tho Lenders as follows:

                 (A)    The undersigned hereby u ndenake s 10 keep lho Lenders fully and e "eclually Indemni fied ago lnst all losses, dama g e s. cosls.
                        clef ms, and oxpensos a�slng oul or or ln coMecUon with any fallur., on the pa� or th Borrower 10 puy any or u,e sums afores aid as
                        end when the same shall fell to he paid or perform any of the obllgallons lo he performed In pursuance ol lhe terms of lhe fecl lilles
                        o,tondod lo lho Borrower.

                 (8)    This GuaranI00 shal l cove r any number or lransactlons and any por1 or par1 s thoreof and lhe Lend rs shall be e n tllled but shell nol
                        bo bound lo a p ply ony moneys oblektable from any olher source In reduction of Ille Borrowofs llebll l ty before m aking ony call or
                        de mand on Ihe undersigned to satisfy any llabllily of lho B orrower to l h e Lende rs arising or accruing es afores aid.

                 (C)    Tho llobll lty or lho undersigned to make any payment under !his Guaranlee shall arise upon U1e Lenders glvir,g notice In wrillng lo
                        tho undersigned demand ng payment . Nr y not ice or demand to be g iven or ser,ed on the u ndersigned shall be I n wrlllng and maybe
                        give n and ser,od by peisonal service or may b e posled and II poslod shell be deemod to have been sumciont ly given lo lho
                        undersigned by tho Lenders sending tho same 10 tho address horoln wrillon or 10 tho last known address or lho undersigned ond
                        shall ho oftoclual nolw!thslondlng any chango or oddross ond such demand shall b doemod lo bo rocolvod by Iha und ersigned
                        tw nty lour hours aftor posting thereof and In proving such service II shell be sutnclen! to prove lhal lh letler con lalnlng lho d mend
                        was prope1Iy addre ssed and pul lnlo the Post Office. 'Nhare moro than one perty has signed lhls G uaranlee e demand on t hem ell
                        sonl lo lhe address of any one er lhem shell be deemed to have been rocol 11ed by each or them.

                 (D)    Tho Lenders may grant o�lonslons, ronowals, Umo, ro toesos and d lschergos or g rant or ro luse lurthor crodll to end granl any olhor
                        Indulgences wti e lsoever lo tho 80,rowcr or to eny other person. persons. pa�nershlps, or corporation Uablo to the Londors on or In
                        respect or any llabi llly hereby guaranteed and may accept composlllons rrom and may olherwlse deal with the Borrowe r and wilh
                        any such olher person. person s. paMe1 shlps or corporation llablo lo lhe Lenders on or In respecl or any llabllily hereby guaranlo ed
                        and may accepl compositions rrom and may 0l herwlse dool wilh the Borrower and with any such other person, persons,
                        pa �norshlps or corporallon, as lho Londors moy l.hlnk a�pedlonl, and mey glvo up or modify or obsloln from perfecting or tokl ng
                        advantage or any securillos or contracts held by It as collatorol and may real lso the said securilles In such manner as lho Lenders
                        may lhlnk oxpodlont, all wllholJI oblalnlng me conso n I or lho undersigned end wtltiOul gtvlng notlca 10 the 11ndorslgned . .

                        Provided elwoys that such ocllons en lhe part ol lho lenders or a ny neglocl omission or forbearance on lhe part or Iha Lenders lo
                        tako odvonlooo or or e nforce ony of Its rlghls under Iho Guomnloo shal l not bo doomed to ope role as a gono rol waiver ol I ts righls
                        hereunder nor shall In any way release, effect, prejudice or llmlt lho liabi lity of lho undersigned hereunder, and lhls Gu aranleo she l l
                        remain I n lull force end o ttecl unlll a l l oulsta nd,ng debts and llabl lil les loget ho r wt l h a n y lnlorast e n d el l olher monies payable by the
                        B orrower shell have been paid by the Borrower .

                 (E)    This Guaronloe sholl b e o coollnulno ouoranleo end shall covor all debt s and lloblilUes owod l o tho Lendors b y tho Borrower ond I I
                        shall apply 1 0 e nd secu re any ultimate ba lance d u o or re maining unpaid l o l h o Lenders.

                        Notwllhstandluu Iha dealh Insolvency bank ruptcy or w ndlng up of lhe Borrower Iha l lablllty or tho undersign ed u nder lhls Guara ntee
                        shall be deemed to continue unlll Iha same has been acluel ly paid .

                 (F)    Tho Lenders shall n o l be bound lo e,haust i l s recourse egelnsl the Borrowe r or olhers or any securllles It m a y al a n y limo hold
                        before being enlll led to payme nt from lhe undersigned ol lhc ou lstanding debls or llabl llllos due ho rcunde r.

                 (G)    (I)        Upon doleult In peymenl or eny debt or liability ov;nu by lho Borrower lo the Lende rs al any lime. tho Lend ers may lreel the
                                   wholo of lho indcblodness horoby secure d es duo and p�yeblo and may lor1hwilh collect from t ho under signed 1110 lotal
                                   amounl h e reby guaranleo d and may apply lho sum so colleclcd u pon l he Borrowers dobl or may place II to lhe credit cl a
                                   s pecial eccou nt

                        (I l l     Tho undersigned agrees lhol on admission by the Borrower ss lo tho amou n l or lho lla blllty er the Borrower 10 lho Lenders
                                   or, in lho obsenco or an admi ssion by tho B orrower, ony amount slalod by !ho Lenders or o judgmenl dolermlnlng such
                                   amount obtained by Iha Lenders agolnsl lhe Borrowe r ohe l l bo conclusive proof as gelnsl the un dersigned as to tho
                                   amount of such llabllily.

                        Tho Lenders ls also to be 01 libeny ot ny Umo end from lime lo limo t the Lenders' absolute discreUon lo release discharge
                        compound wllh or otherwise vory or agroo 10 vary tho iobHUy or ony one or more or the undersigned under this Gua rentoe or make
                        ony 0Ihor arrangemenlS with any one or more of t ire undon.lgned and no such release discharg e composll lon veria!lon agreement
                        or ennnoement sMII prejudlCa or In any way eltocl the L enders· rlgh ls or remedie s egaln sl the othe r or ollrers of 11,e unde rsigned .
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         Deed of Guarantee                                                                                                                          Page 2


             (H)   All debts and liabili!les present and future of the Borrower to the underalgned or any of them (If more lhan one) are hereby
                   postponed to U1e debts and liabilities of the Borrower to the Lenders duriny the continuance of lhis Guarantee, and all moneys
                   received by the undersigned or any of them (if more than one) from the Borrower shall be deemed lo be held in trust for the Lenders
                   and forthwith upon receipt, shall be paid over to the Lenders wilhOut in any way limiting or lessening the liability of the undersigned
                   under this Guarantee, and this assignment and postponement is independent of the said Guarantee and shall remain in full effect
                   notwithstanding that the liability of the undersigned or a1ty of them tinder the said Guarantee may be extinct.

             (I)   This Guarantee shall be in addition lo and without prejudice to any other securities, negotiable or otherwise, which the Lenders may
                   now or hereafter possess in respect of the debts and liabilities hereby secured or intended so to be, and the Lenders shall be under
                   no obligation to marshal in favour of the undersigned any such securities or any of the funds or assets which the Lenders maybe
                   entllted to receive or have a claim upon. All dividends, compositions and moneys received by the Lenders from any other person or
                   persons or estate capable of being applied by the Lenders in reduction of the lrn.lebtedness of the Borrower, shall be regarded for all
                   purposes as payments in gross. and !he undersigned shall not be enliUed to participate except to the surplus (if any) remaining after
                   salisfaclion of the ultimate balance due lo the Lenders,

             (J)   This Guarantee shall not be affected by \he dealh or loss or diminution of capacity of the undersigned or any of them if more than
                   one. or where the Borrower Is a partnership by any change in the name or tile Borrower or in the membership of lhe Borrowe(s firm
                   through the death or retirement of one or more partners or the inlroduclion of a new partner or partners or otherwise or, where the
                   Borrower Is a corporafion, by any change or changes in lhe name. objects, capital structure, stock or cot1slitullon of the Bon-ower, or
                   by the acquisition of the Borrower's business by a corporation or by the Borrower's business being amalgamated with a corporation
                   but shall notwithstanding tlie happening of any such event or similar event continue to apply to all the debts and liabilittes
                   outstanding hereunder whelher theretofore or thereafter incurred or arising and In this instrument the word "Borrower' shall include
                   every such firm and corporation and. in any case, the provisions hereof shall be applicable to all transactions occurring and all debts
                   and liabilities incurred as well as before as afler any such change or changes, and the Lenders shall not be concerned to see or
                   enquire into the powera of the Bon-ower or members, partners, directors, or any agents acting or purporting to act on behalf of tho
                   Borrower. and this Guarantee shall apply lo all debts and liabilities created by the Borrower, or by any members, pa1tners, directors
                   or agents thereof, in professed exercise of their powers or autho1ily, notwilhstanding any irregularity, defect or informality and
                   notwithstanding that the creation of such indebtedness may wholly or partly be beyond the powers of the Borrower.

             (K)   (i)       No assurance securily or payment which may be avoided under any enactment from lime to Ume in force relating to
                             insolvency bankmptcy or llquldallon of companies and no release selllement discharge arrangement which may have been
                             given or made on the faith of such assurance secu,ily or payment shall prejudice or affect the Lenders' right to recover from
                             Ille undersigned to the full extent of this Guarantee as if such assurance security payment release selllement discharge
                             arrangement (as the case may be) had never been granted given or made: and any such release settlemenl discharge or
                             arrangement shall as belween the Lenders and the undersigned be deemed to have been given or made upon the expres s
                             condition that ii shall become wholly void and of no effect if the assurance ser.urtty or payment on the faith of which it was
                             made shall at any lime thereafter be avoided under any enactment relating to insolvency bankrupl<,'Y or liquidation of
                             companies.

                   (ii)      ¼'here any security is held by the Lenders for the liability of the undersigned the Lenders shall be at liberty at its absolute
                             discretion to retain as security for a pertod of seven months after the repayment of all sums that are or may become due lo
                             the Lenders from the Borrower notwithstanding any release settlement discharge or arrangement given or made by the
                             Lenders on or as a consequence of such repayments and if al any time within the period of six months after such repayment
                             allher insolvency proceedings shall be commenced or a bankruptcy petition shall be presented against the Borrower or a
                             petition shall be presented to a competent Court for an order for the winding-up or the Borrower or lhe Borrower (being a
                             Company) shall commence to be wound up voluntarily the lenders shall be at liberty and notwithstanding as before
                             mentioned to continue to relain such sec<1rity or any part thereof for and during such fur1her period as the Lenders in its
                             absolute discretion shall determine.

             (L)   This Guarantee and agreement shall be operative and binding upon every signatory thereof notwithstanding the non-execution
                   thereof by any other proposed signatory or signatories, and possession of this instrument by the Lenders shall be conclusive
                   evidence against the undersigned and each of !hem !hat Uiis instrument was not delivered in escrow a.. pursuant to any agreement
                   that it should nol be effective until any conditions precedent or subsequent had been complied with, unless al the time of receipt of
                   this Guarantee by the Lendern each signatory thereof obtains from the Lenders a letter setting out the terms and conditions under
                   which this Guarantee was delivered and the conditions, if any, to be observed before ii becomes effective.

             (M)   Tile Guarantee shall not be considered as wholly or partially satisfied by the payment or liquidation at any llme or times of any sum
                   or sums of money for the time being due or remaining unpaid lo the lenders, and all dividends, compositions proceeds, or security
                   valued and payments received by the Lenders from the Borrower or from others or from estates shall be regarded for all purposes
                   as payments in gross without any light on lhe part of the undersigned to claim in reduclion of the liability under this Guarantee the
                   benefit of any such dividends, compositions. proceeds or payments or any securities held by the Lenders or proceeds thereof, and
                   the undersigned shall have no right to be subrogated In any fights of the lenders until the Lenders shall have received payment In
                   full of the debls and liabilities secured hereunder.

             (N)    This Guaranlee covers all agreements between the parties hereto relalive to !his Guarantee and assignment and postponement,
                    and none of the parties shall be bound by any representation or promise made by any person relative thereto which is not embodied
                    herein.

             (0)    This Guarantee and agreement shall extend lo and inure lo the benefit of lhe Lenders and its successors and assigns, and every
                    reference herein to the undersigned or to each of them or lo any of them, is a reference to and shall be construed as including the
                    undersigned and the heirs, executors, administrators, legal representatives. successors and assigns of the undersigned or of each
                    of them or of any of them, as the case 111ay be, lo and upon all of wt10m this Guarantee and agreement shall extend and be binding.

             {P)   This Gua rantee is In addition to and not in substitution for any other guarantee, by whomsoever given, at any lime held by the
                   Lenders, and any present or future obligation to !he Lenders incurred or arising otherwise than under a guarantee, of the
                   undersigned of any of them or of any other obliganl, whether bound with or apart from the Borrower, excepting any guaranlee
                   surrendered for cancellation on delivery of this instrument

             (Q)    The terms conditions and effect of lhis Guarantee shall be subject to and construed in accordance with the Laws of the Cayman
                    Islands for the lime being in force and the Cayman Islands shall be the forum for the enforcement thereof but without prejudice to
                    any rights the lenders may have lo follow the assets of the undersigned or any of lhem (if more than one) wherever such assets
                    may be situate.
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          Deed of Guarantee                                                                                                     Page3


               (R)    This Guaranlee Is and al all limes shall remain the property of the Lenders.


         We acknowledge receipl of a copy of this Guaranlee which we have read and understood before executing ii.

         IN WITNESS WHEREOF the parties hereto have hereunto amxed their hands and Seal the day and year first above Wfillen.



         SIGNED SEALED and DELIVERED as a Deed
         On behalf of MARK MATTHEWS & DAVID HOLDEN
         In the presence of:



         M Mallhews



         D Holden



         Name of witness



         Signature ol wllness



         SIGNED SEALED and DELIVERED as a Deed
         On behalf or GREEN SAPPHIRE HOLDINGS, INC.
                esence of:
                                   (_-
          ' ::;~,,S::,;,;;;;::;:;;
                       s,;;•;;;
         ...G.:°(Nt..C../c..~S.Ki
                             ...................
                                       ..




                                                                                                                                        ~Cc...
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 Breakers Beach Club Loan        Disbursement


       Loan Amount               $ 2,900,000.00

       Legal Fees                $     7,231.11

       Net Loan Proceeds         $ 2,892,768.89

       Disbursements

       Alpha Carta               $ 2,000,000.00

       Salazar                   $   750,000.00

       Global Capital Partners   $   142,768.89   Balance of $250,000 was from Access Management Loan

       SubTotal                  $ 2,892,768.89
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         EXHIBIT J


         ALPHA CARTA, LTD.
         C/O 60 DEGREES GROUP
         90 CHURCH STREET, GEORGE TOWN
         CAYMAN ISLANDS


                                     Wire Transfer Credit Advice

         Date:                                                 23/08/2023
         Branch:                                               Corporate Banking Centre
         Account Number:                                       *********500
         Currency and Amount:                                  USD 2,000,000.00
            Commission:                                        USD 14.92
         Net Amount :                                          USD 1,999,985.08
         Ordering Customer:                                    CHARLES MACK DBA CHARLES MACK LAW
                                                               GROUP IOLTA TRUST ACCOUNT
                                                               1363 SHERMER RD STE 210
                                                               NORTHBROOK IL 60062-4575 US
         Ordering Institution:                                 CHASUS33
                                                               JP MORGAN CHASE BANK N V
                                                               270 PARK AVE
                                                               NEW YORK
                                                               NY 10172
         Bank to Bank Information:                             /ACC//BOOK/3439043230ES
         Details of Payment:                                   /ROC/3439043230ES///URI/PYMT REASON
                                                               .LOAN REPAYMENT



ADDITIONAL DETAILS

         Sender Institution:                                   CHASUS33
                                                               JP MORGAN CHASE BANK N V
                                                               270 PARK AVE
                                                               NEW YORK
                                                               NY 10172
         Sender Reference:                                     3439043230ES
         System Reference:                                     2308182702300568
         UETR:                                                 c18c5556-106f-4aa7-bfeb-0449ee4f3b2d
         Ordering Currency and Amount:                         USD 2,000,000.00
         Value Date:                                           23/08/2023
         Exchange Rate:                                        N/A
         Details Of Charges:                                   SHA




                                 This is a computer generated advice. No Signature required.
                                                         CAYMAN
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         EXHIBIT J


         ALPHA CARTA, LTD.
         C/O 60 DEGREES GROUP
         90 CHURCH STREET, GEORGE TOWN
         CAYMAN ISLANDS


                                     Wire Transfer Credit Advice

         Date:                                                 23/02/2023
         Branch:                                               Corporate Banking Centre
         Account Number:                                       *********500
         Currency and Amount:                                  USD 7,100,000.00
            Commission:                                        USD 14.92
         Net Amount :                                          USD 7,099,985.08
         Ordering Customer:                                    CHARLES MACK DBA CHARLES MACK LAW
                                                               GROUP IOLTA TRUST ACCOUNT
                                                               1363 SHERMER RD STE 210
                                                               NORTHBROOK IL 60062-4575 US
         Ordering Institution:                                 JP MORGAN CHASE BANK N V
                                                               270 PARK AVE
                                                               NEW YORK
                                                               NY 10172
         Bank to Bank Information:                             /BOOK/3470213052ES
         Details of Payment:                                   PYMT REASON.CONSULTANCY FEES



ADDITIONAL DETAILS

         Sender Institution:                                   CHASUS33
                                                               JP MORGAN CHASE BANK N V
                                                               270 PARK AVE
                                                               NEW YORK
                                                               NY 10172
         Sender Reference:                                     3470213052ES
         System Reference:                                     2302212702300320
         UETR:                                                 055c1ed0-7e63-4445-8ab9-5d68cd0a4527
         Ordering Currency and Amount:                         USD 7,100,000.00
         Value Date:                                           23/02/2023
         Exchange Rate:                                        N/A
         Details Of Charges:                                   SHA




                                 This is a computer generated advice. No Signature required.
                                                         CAYMAN
                 E                  EXHIBIT KXHIBIT K K
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                                  Loan Settlement Agreement
       This Loan Settlement Agreement (“Agreement”) is made by and between Alpha Carta,
Ltd. (“Lender”) and Proton Green LLC, a Wyoming limited liability company (“Borrower”) as
of September __, 2023 (the “Effective Date”).
        Whereas, Lender, directly and as successor in interest, has made a loan to Borrower in
the original aggregate amount of Nine Million Six Hundred Sixty-Seven Thousand Three
Hundred Fifteen and 15/100 Dollars ($9,667,315.15) (the “Loan”).
        Whereas, the Loan is evidenced by (i) Second Amended and Restated Promissory
Convertible Note, dated as of February 18, 2022, made by Borrower in favor of Kips Bay Select LP
in the principal amount of $3,513,469.00 (as amended and as assigned to Lender, the “Kips
Bay Note”), which amended and restated the Amended and Restated Promissory Convertible
Note, dated as of December 23, 2021, made by the Borrower in favor of Kips Bay Select
LP in the principal amount of $3,513,469.00, which amended and restated the Promissory
Convertible Note, dated as of September 21, 2021, made by the Borrower in favor of Kips
Bay Select LP in the principal amount of $2,692,308.00; (ii) the Amended and Restated
Promissory Convertible Note, dated as of February 18, 2022, made by the Borrower in favor
of Lender in the principal amount of $1,846,153.84, (as amended, the “December Note”),
which amended and restated the Promissory Convertible Note, dated as of December 23, 2021,
made by the Borrower in favor of Lender in the principal amount of $1,846,153.84; and (iii)
the Amended and Restated Promissory Convertible Note, dated as of February 18, 2022,
made by the Borrower in favor of Lender in the principal amount of $4,307,692.31 (as amended,
the “January Note”), which amended and restated the Promissory Convertible Note, dated as of
January 11, 2022, made by the Borrower in favor of Lender in the principal amount of
$4,307,692.31 (all of such notes collectively, as amended, the “Notes”) and secured by that
certain Leasehold Deed of Trust and Fixture Filing dated as of ____, 2021 and recorded as
document number 2021 – 006949 with the Recorder of Deeds of Apache County, Arizona on
August 9, 2021 and rerecorded dated January 30, 2022 as document number 2022 – 01394
on February 22, 2022 (“Leasehold Deed of Trust”) and that certain Security Agreement dated
as of December 23, 2021 (“Security Agreement”), as amended by that certain Amendment
Agreement, dated as of April 7, 2022, by and among Kips Bay Select LP, Lender and the
Borrower (the “Second Amendment”), and that certain Letter from Lender to the Borrower dated
February 1, 2023 and as agreed to in an Affidavit Regarding Loan Documents, dated February 1,
2023, by the Borrower (“Affidavit”).
       Whereas, the Loan is in default as numerous Events of Default have occurred, and
the Borrower has acknowledged such Events of Default.
       Whereas, Borrower and Lender have entered into that certain Forbearance Agreement
dated as of June 20, 2023 (the “Forbearance Agreement”).
       Whereas, Borrower has made the initial payment as required under the
Forbearance Agreement in the amount of Three Million and 00/10 Dollars ($3,000,000), but
such payment was not made on a timely basis.
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      Whereas, Borrower has made the second payment as required under the Forbearance
Agreement in the amount of Two Million and 00/10 Dollars ($2,000,000), but such payment was not
made on a timely basis.
        Whereas, Borrower has not complied with the terms of the Forbearance Agreement by, among
other events, not tendering to Lender the deed in lieu of foreclosure for the Leasehold Deed of Trust.
          Whereas, Borrower and Lender wish to resolve and settle any differences between them.
          Now, therefore, Borrower and Lender agree as follows:
        1.      Indebtedness under the Loan. The Parties hereby acknowledge that as of July 31,
      1
2023, the amount due and payable under the Loan, including all interest, fees, costs and expenses
arising thereunder or relating thereto is in the amount of Twenty-Six Million Eight Hundred Fifty-
One Thousand One Hundred Eighty-Five and 72/100 Dollars ($26,851,185.72) (the “Remaining
Indebtedness”), and that such amount is not subject to any Borrower’s claims, offsets, demands,
damages, suits, assertions, cross-complaints, causes of action or debts of any kind or nature
whatsoever, whether known or unknown, and whenever or howsoever arising, that can be asserted
to reduce or eliminate the Borrower’s liability to repay the Remaining Indebtedness or seek any
affirmative relief or damages of any kind and or nature (collectively, the “Offsets”) from Lender
or its Affiliates (defined below). To the extent such Offsets exist, they are fully, forever and
irrevocably waived and released by Borrower.
          2.     Payment by Borrower.
          Borrower shall pay Lender (the “Settlement Consideration”) an amount equal to [Twenty-
          Two Million and 00/100 Dollars] as follows:
           a. Buyer shall pay Lender the sum of Five Million and 00/100 Dollars ($5,000,000.00)
              payable on the Effective Date concurrently with the execution of this Agreement (the
              “Cash Portion”).
           b. On the Effective Date, Borrower shall grant to Lender a five percent (5%) overriding
              royalty interest (the “ORRI”) pursuant to a conveyance document in the form as set
              forth on Exhibit A (the “ORRI Conveyance”), which ORRI shall terminate upon the
              receipt by Seller of [Sixteen Million and 00/100 Dollars ($16,000,000)]2 under the
              ORRI Conveyance. The ORRI Conveyance shall be duly recorded in the appropriate
              jurisdiction.3 [It shall be a breach of this paragraph 2(b) if the aggregate total of
              $17,000,000 is not received by Lender by the __ year anniversary of the Effective
              Date.]


1 Should this be updated to August 31, 2023 or the Effective Date?


2 Increase this to capture more of the total amount owed as of the Effective Date?


3 The current draft of ORRI Conveyance is not in recordable form.
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          c. All payments shall be made by wire transfer to an account designated by Lender. The
             Settlement Consideration is in addition to any payment or payments previously made
             by or on behalf of Borrower.
          d. In order to secure Lender’s rights hereunder, upon the Effective Date, Borrower shall
             deliver to Lender a deed in lieu of foreclosure in recordable form and satisfactory to
             Lender, in its sole discretion, with respect to the leases encumbered by the Leasehold
             Deed of Trust (the “Deed in Lieu of Foreclosure”).
        3.      Satisfaction of the Loan. Lender agrees to accept the Settlement Consideration in
full satisfaction of the Loan and the Remaining Indebtedness. Subject to paragraph 7 hereof,
Lender agrees that (a) from and after the date of this Agreement, no interest, fees, costs or expenses
on the Loan and Remaining Indebtedness shall accrue, and (b) as of the date of the payment of the
Settlement Consideration in full (including future payments with respect to the ORRI in
accordance with paragraph 2(b) and the ORRI Conveyance), (i) the Loan shall be deemed paid in
full by the Borrower, and (ii) Lender shall deliver a recordable release of the Leasehold Deed of
Trust.4
        4.     Taxes. Each Party shall be solely responsible for, and is legally bound to make
payment of, any taxes determined to be due and owing (including penalties and interest related
thereto) by it to any federal, state or local taxing authority as a result of the Settlement
Consideration.
        5.      Protective Covenants. Until the amounts payable under the ORRI Conveyance (and
paragraph 2(b) hereof) have been paid in full, Borrower shall not (a) make any changes in the
operation of the business of the Borrower, which involves the production of minerals or gases from
the leaseholds, or (b) grant any other royalty interests or working interests in the minerals or gases
to be extracted from the leaseholds without the prior written consent of Lender. In addition, until
the amounts payable under the ORRI Conveyance (and paragraph 2(b) hereof) have been paid in
full, Borrower shall maintain the leaseholds in good standing.

         6.      Mutual Release. The Parties, on behalf of themselves, and on behalf of their
predecessors, successors, direct and indirect parent companies, direct and indirect subsidiary
companies, companies under common control with any of the foregoing, affiliates and assigns,
and its and their past, present and future officers, directors, shareholders, interest holders,
members, partners, attorneys, agents, employees, managers, representatives, assigns and
successors in interest, and all persons acting by, through, under or in concert with them
(collectively and each of them, the “Affiliates”) hereby release and discharge the other Party and
its Affiliates from any and all known or unknown charges, complaints, claims, grievances,
liabilities, obligations, promises, agreements, controversies, damages, actions, causes of action,
suits, rights, demands, costs, losses, debts, penalties, fees and expenses (including Offsets and
attorneys’ fees and costs actually incurred), of any nature whatsoever, known or unknown, which
either Party has, or may have had, against the other Party, whether or not apparent or yet to be


4 I do not believe that there are original, paper Notes, which were originally delivered electronically.
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discovered, or which may hereafter develop and for any acts or omissions related to or arising
from the Loan (the “Claims”); provided, however, that for the avoidance of doubt the foregoing
release and discharge excludes any Claims arising out of or relating to (i) any default under or
breach of any provision, agreement, obligation or covenant under this Agreement or the ORRI
Conveyance, or (ii) the investment and purchase by Green Sapphire Holdings, Inc. (“Green
Sapphire”) of interests in Borrower or any rights or Claims that Green Sapphire may have
as a member of Borrower that do not arise out of or relate directly to the Loan
(collectively, the “Excluded Claims”).

        This Agreement resolves any Claim or cause of action for relief related to or arising from
the Loan that is, or could have been alleged, no matter how characterized, including,
without limitation, compensatory damages, damages for breach of contract, bad faith damages,
reliance damages, liquidated damages, costs and attorneys’ fees.

         7.      In the event of a default under or breach of any provision, agreement, obligation or
covenant under this Agreement or the ORRI Conveyance by Borrower, the settlement and release
of the Loan pursuant to this Agreement shall be null and void and no force and effect, the Loan
and the indebtedness, including principal and accrued interest, fees and other amounts due under
the Loan, shall be deemed reinstated for all purposes, and Lender may apply any payments
received to interest, principal, default interest, fees and/or costs as Lender in its sole discretion
determines. Until such time as the Settlement Consideration in full (including the full payment of
the maximum amount of payments payable with respect to the ORRI in accordance with paragraph
2(b) and the ORRI Conveyance) is received, Lender hereby reserves all rights and remedies
available to it at law or equity, including without limitation pursuant to Article IV of the Leasehold
Deed of Trust or pursuant to the Notes or any other Security Documents, including, but not limited to
(a) taking such steps as may be appropriate to foreclose the lien created by the Leasehold Deed of
Trust to secure payment or performance of all or any part of the obligations under the Loan
documents, (b) reducing any claim against Borrower to judgment to the fullest extent permitted by
the Loan Documents, (c) exercising any and all other rights or remedies afforded by the Notes,
Leasehold Deed of Trust, Security Agreement or the other Loan Documents, or at law or in equity or
otherwise, including without limitation, seeking the appointment of a receiver, or (d) exercise any and
all rights under the ORRI Conveyance and Lender shall not be obligated to release or terminate the
ORRI.

        In addition to any other rights and remedies available to Lender under the Loan documents,
ORRI Conveyance or applicable law upon the occurrence of a default hereunder or under the Loan
documents or ORRI Conveyance, Borrower agrees, acknowledges, consents and stipulates that the
occurrence of the default constitutes and provides the requisite cause under any applicable law,
including the laws of State of Arizona, justifying the immediate recordation of the Deed in Lieu
of Foreclosure. Borrower further stipulates and agrees that upon the occurrence of a default, it
waives and is estopped from asserting any defenses to the immediate recordation of the Deed in
Lieu of Foreclosure.

       8.     Reinstatement of Indebtedness. If the Settlement Consideration, or any part of the
Settlement Consideration (including any amounts payable in accordance with paragraph 2(b) and
the ORRI Conveyance), is set aside, rescinded, recovered, or required to be returned by Lender for
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any reason, including, without limitation, the bankruptcy, insolvency, or reorganization of any
person: (a) the Loan and the indebtedness, including principal and accrued interest, fees and other
amounts due under the Loan shall for all purposes be reinstated to the extent of any such amount
returned; and (b) in the case of the bankruptcy, receivership or other reorganization of Borrower,
the Loan and the indebtedness, including principal and accrued interest, fees and other amounts
due under the Loan, shall be reinstated in full for purposes of any claim or defense of Lender in
any such proceeding.

       9.      Governing Law. This Agreement is made and entered into within and shall be
governed by, construed, interpreted and enforced in accordance with the laws of the State of Texas,
without regard to the principles of conflicts of laws.

       10.     Entire Agreement. The recitals set forth at the beginning of this Agreement are
incorporated by reference and made a part of this Agreement. This Agreement constitutes the entire
agreement and understanding of the Parties and supersedes all prior negotiations and/or
agreements, proposed or otherwise, written or oral, concerning the subject matter hereof.
Furthermore, no modification of this Agreement shall be binding unless in writing and signed by
each of the Parties hereto.
       11.     Counterparts. This Agreement may be executed by the Parties in counterparts, each
of which shall be deemed an original, but all of which together shall constitute one and the same
instrument.
       12.     Binding Agreement. The Parties intend this Agreement to be legally binding upon
and shall inure to the benefit of each of them and their respective successors, assigns, executors,
administrators, heirs and estates.
        13.     Authority to Execute Agreement. Each Party warrants and represents that the
person signing this Agreement on its behalf has authority to bind that Party and that the Party’s
execution of this Agreement is not in violation of any by-law, operating agreements, covenants
and/or other restrictions placed upon them by their respective organizational documents or any
other agreements with or among their owners. Each Party represents and warrants to the other
Party, as to any released Claim, that it is the sole and absolute owner thereof, free and clear of all
the rights and interest of any other person therein, and that it has the right and authority to release
each such released Claim.
        14.      Further Assurances. Each party shall do and perform, or cause to be done and
performed, all such further acts and things, and shall execute and deliver all such other agreements,
certificates, instruments and documents, as the other party may reasonably request in order to carry
out the intent and accomplish the purposes of this Agreement and the consummation of the
transactions contemplated hereby.
                              [ Signature Page Immediately Follows ]
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        In witness whereof, the undersigned have executed this Loan Settlement Agreement as of
the date first above written.
                                           Alpha Carta, Ltd.


                                           By:
                                           Name:
                                           Title:


                                           Proton Green LLC


                                           By:
                                           Name:
                                           Title:
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                                             Exhibit A
                     Form of Conveyance of Overriding Royalty Interest
Effective [ ________________________ ] (the “Effective Date”), for and in consideration of
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
Proton Green LLC, a Wyoming limited liability company (“Assignor”) does hereby assign,
transfer, grant and convey to Alpha Carta, Ltd.(“Assignee”), its successors and assigns, as of the
Effective Date at 12:01 a.m. (local time), an overriding royalty interest (the “Overriding Royalty
Interest”) in and to each of the interests described on Exhibit ”A” attached hereto and made a
part hereof (the “Interests”) equal to five percent (5%), up to Sixteen Million and 00/100 Dollars
($16,000,000.00), of Assignor’s right, title and interest in the Interests which were acquired by
Assignor by virtue of the assignments and/or agreements set forth on Exhibit “A” attached hereto
and by this reference made a part hereof (the “Conveyances”). This Conveyance of
Overriding Royalty Interest is subject to the terms and conditions of that certain Loan
Settlement Agreement. In the event of a conflict between the terms of this Conveyance of
Overriding Royalty Interest and the terms of the Loan Settlement Agreement, the terms of the
Loan Settlement Agreement shall control.
Assignor is entitled, through the assignments and agreement identified in Exhibit “A”, to a
portion of the overriding royalty interest transferred by the instrument identified on Exhibit
“B”, but Assignor has not acquired record title to that interest. Any record title which Assignor
hereafter acquires in a portion of the overriding royalty interest transferred by the instrument
identified on Exhibit “B”, to which Assignor becomes entitled through the assignments or
agreement identified in Exhibit “A”, shall be considered an Interest for the purpose of this
Conveyance of Overriding Royalty Interest, and the Overriding Royalty Interest herein
assigned shall extend to any such subsequently acquired Interest.
The Overriding Royalty Interest shall be paid in accordance with and in the same manner as the
terms and provisions of the assignments and conveyances in the chain of title out of which the
Overriding Royalty Interest arises. Assignee shall be responsible for and bear all ad
valorem, production, and severance taxes chargeable against the Overriding Royalty Interest,
provided that all such taxes shall be paid for Assignee by Assignor out of production attributable
to Assignee’s Overriding Royalty Interest.
If Assignor owns a working interest, or similar interest, in any properties out of which the
Interests or Overriding Royalty Interest are derived, Assignor may conduct and carry on, or may
contract for, the exploration, development, maintenance and operation of any such
properties, in any manner it so desires, without regard to the Overriding Royalty Interest and
without any liability to Assignee. In addition, Assignor may transfer and dispose of, and may
take or omit to take any other action with respect to, all or any of its Interests from time to time
in any such manner. For the avoidance of doubt, (a) Assignor shall have no obligation to conduct
any drilling operations or take any other action upon or with respect to any property subject
to the Overriding Royalty Interest or lands pooled therewith, or to continue to operate any well
or to operate or maintain in force or attempt to maintain in force any lease thereon, including
by payment of delay rentals, shut-in royalties, compensatory royalties or other payments or by
the drilling of any wells upon any such lease, or in any other manner, and the extent and
duration of all operations, as well as the preservation of any such lease by delay rental payments
or otherwise, shall be at the sole discretion
of Assignor,
 Case:       and (b) Assignor
       1:24-cv-01538          shall have
                        Document         theFiled:
                                    #: 137    right at any timePage
                                                    02/09/25    to surrender, abandon
                                                                      283 of 373      or otherwise
                                                                                  PageID   #:3892
terminate any such lease in whole or in part without any liability to Assignee.
Assignor shall make all determinations with respect to the exploration, development, maintenance
and operation of any property subject to the Overriding Royalty Interest using the same criteria
(or criteria less favorable to the property subject to the Overriding Royalty Interest) as it would
use were such property not subject to the Overriding Royalty Interest (that is, Assignor shall not
favor properties subject to the Overriding Royalty Interest over properties not subject to the
Overriding Royalty Interest when allocating Assignor’s resources in the exploration,
development, maintenance and operation of its properties).
Assignee grants Assignor the right, without further approval by Assignee, to pool the Overriding
Royalty Interest, or portions thereof, with other lands or leases to form one or more pooled units.
As to each pooled unit so created, the overriding royalty interest assigned to Assignee shall be
reduced in accordance with the terms of any applicable lease, pooling agreement or unit agreement.
This Conveyance of Overriding Royalty Interest shall inure to the benefit of and be binding on
the parties and their respective heirs, legal representatives, successors and permitted assigns.
Except as provided below, Assignee may only transfer or dispose of all or any portion of the
Overriding Royalty Interest (a) with the prior written consent of Assignor, which it may withhold
in its sole discretion, and (b) after allowing Assignor a preferential purchase right on the
following terms. If at any time Assignee desires to transfer or dispose of all or any portion of the
Overriding Royalty Interest, Assignee must first give to Assignor written notice thereof stating:
(a) the amount of the Overriding Royalty Interest offered by Assignee; (b) the form of
consideration (which shall be either cash or a promissory note containing reasonable and
customary terms) at which such Overriding Royalty Interest is offered (the “Offered Price”);
(c) the name and address of the proposed transferee from which Assignee has a bona fide offer
to purchase the Overriding Royalty Interest; (d) the proposed time of closing and payment for
the Overriding Royalty Interest; and (e) any other relevant material terms of the proposed sale.
Upon receipt of such notice, Assignor will have a right to purchase all or any portion of the
offered Overriding Royalty Interest within 30 days of receipt of such notice at a purchase price
equal to the Offered Price or such other price as may be agreed upon by Assignor and Assignee.
The restrictions contained in the preceding paragraph shall not apply to Assignee’s transfer of the
entire ownership of the Overriding Royalty Interest to (1) any member of the immediate family of
Assignee (2) any trust or other estate planning entity whose principal beneficiary or beneficiaries
are Assignee and/or one or more members of the immediate family of Assignee or (3) an affiliate
of or entity under the common control of Assignee; provided that, prior to such transfer, the
transferee agrees to be bound in writing by the restrictions on transfer contained herein or in any
assignment, conveyance or other instrument or document executed by Assignee in connection
with Assignee’s purchase of the Overriding Royalty Interest, and that any transfers of interests in
such entity holding the Overriding Royalty Interest shall be subject to the same transfer
restrictions as the Overriding Royalty Interest. Assignee’s heirs, legal representatives, successors
and permitted assigns shall be bound by and comply with said transfer restrictions.
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Assignor makes no, and disclaims any, warranty of title or otherwise as to the Overriding
Royalty Interest. Assignee accepts the Overriding Royalty Interest without warranty of title
or otherwise. Assignor makes no, and disclaims any, warranty of any kind, express
or implied, as to the accuracy or completeness of any data, information or estimates
provided to Assignee by Assignor. Assignor makes no, and disclaims any, warranty of
any kind, express or implied, as to the condition of any equipment, materials or facilities
associated with the Interests (or with any properties out of which the Interests or the
Overriding Royalty Interest are derived), including without limitation any
warranty as to merchantability or fitness for a particular purpose. Assignee
acknowledges such disclaimers.
This Conveyance of Overriding Royalty Interest shall be construed in accordance with,
and enforced under, the laws of the State of Texas, without regard to choice of law rules of
any jurisdiction.
        Assignor and Assignee have executed this Conveyance of Overriding Royalty Interest as
of the Effective Date.



 Proton Green LLC, a Wyoming limited Alpha Carta, Ltd
 liability company
 By: _________________________________         By: _________________________________
 Name:                                         Name:
 ________________________________              ________________________________
 Title:                                        Title:
 _________________________________             _________________________________
                               EEXHIBIT LL
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                                                                                 Execution Version


NEITHER THE ISSUANCE AND SALE OF THE SECURITIES REPRESENTED BY
THIS CERTIFICATE NOR THE SECURITIES INTO WHICH THESE SECURITIES
ARE CONVERTIBLE HAVE BEEN REGISTERED UNDER THE SECURITIES ACT OF
1933, AS AMENDED, OR APPLICABLE STATE SECURITIES LAWS. THE
SECURITIES MAY NOT BE OFFERED FOR SALE, SOLD, TRANSFERRED OR
ASSIGNED (I) IN THE ABSENCE OF (A) AN EFFECTIVE REGISTRATION
STATEMENT FOR THE SECURITIES UNDER THE SECURITIES ACT OF 1933, AS
AMENDED, OR (B) AN OPINION OF COUNSEL SELECTED BY THE HOLDER, IN A
GENERALLY ACCEPTABLE FORM, THAT REGISTRATION IS NOT REQUIRED
UNDER SAID ACT, OR (II) UNLESS SOLD PURSUANT TO RULE 144 OR RULE 144A
UNDER SAID ACT. NOTWITHSTANDING THE FOREGOING, THE SECURITIES
MAY BE PLEDGED IN CONNECTION WITH A BONA FIDE MARGIN ACCOUNT OR
OTHER LOAN OR FINANCING ARRANGEMENT SECURED BY THE SECURITIES.
ANY TRANSFEREE OF THIS NOTE SHOULD CAREFULLY REVIEW THE TERMS
OF THIS NOTE. THE PRINCIPAL AMOUNT REPRESENTED BY THIS NOTE AND,
ACCORDINGLY, THE SECURITIES ISSUABLE UPON CONVERSION HEREOF MAY
BE LESS THAN THE AMOUNTS SET FORTH ON THE FACE HEREOF.

Reference is hereby made to the Amended and Restated Promissory Convertible Note, dated as of
December 23, 2021, made by the Company in favor of Kips Bay Select LP in the principal amount
of $3,513,469.00 (as amended, the “Prior Note”), which amended and restated the Promissory
Convertible Note, dated as of September 21, 2021, made by the Company in favor of Kips Bay
Select LP in the principal amount of $2,692,308.00 (the “Original Note”). The Company and the
Holder (as defined below) hereby agree that the Prior Note (and the Original Note) shall be
superseded, amended and restated to read in its entirety as follows:

                                     PROTON GREEN LLC

                          SECOND AMENDED AND RESTATED
                          PROMISSORY CONVERTIBLE NOTE

Issuance Date: September 21, 2021                    Principal Amount: U.S. $3,513,469.00
Date of Note: February 18, 2022

                FOR VALUE RECEIVED, Proton Green LLC (formerly known as Plateau
Carbon, LLC) (the “Company”) pursuant to this Second Amended and Restated Promissory
Convertible Note (the “Note”), hereby promises to pay to Kips Bay Select LP, its designee or
registered assigns (the “Holder”), in cash, the principal amount of US $3,513,469.00 (as reduced
pursuant to the terms hereof pursuant to redemption, conversion or otherwise, the “Principal” or
the “Principal Amount”, after giving effect to a 35% original issue discount) on April 7, 2022
(the “Maturity Date”), subject to earlier acceleration, conversion, redemption or otherwise (in
each case in accordance with the terms hereof). Certain capitalized terms used herein are defined
in Section 26. This Note is issued pursuant to that certain Securities Purchase Agreement dated
September 21, 2021, by and among the Company and the Holder (the “Purchase Agreement”),
and capitalized terms not defined herein will have the meanings set forth in the Purchase
Agreement.
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               (1) PAYMENTS OF PRINCIPAL; AMENDMENT FEE; PREPAYMENT.

                (a)     On the Maturity Date, the Company shall pay to the Holder (i) the Principal
Amount in cash, together with (ii) Interest (as defined below) thereon calculated from the date
hereof in accordance with the provisions of this Note, plus (iii) an amendment and extension fee
in the amount of $300,000.00 (the “Amendment Fee”), provided, however, that the Holder shall
have the right in its sole discretion to be repaid with 100% of the proceeds (“Proceeds”) of the
following: (1) sale of the Company’s assets, (2) any merger, sale or other transaction resulting in
the holders of the Company’s Common Stock prior to such merger or other transaction ceasing to
own at least 50% of the Common Stock, (3) issuances of the Company’s Debt, and/or (4) issuances
of the Company’s equity. Notwithstanding the foregoing, (i) in the event that on the Maturity Date
the Company does not have sufficient funds to repay this Note and the Other Notes in full, the
Company shall be prohibited from repaying the Principal Amount, Interest and Amendment Fee
of this Note in full and shall instead repay the Holders of each of the Notes a pro rata portion of
the Principal Amount, Interest and Amendment Fees of each of the Notes based on the proportion
that each of the Notes bears to the aggregate Principal Amount, Interest and Amendment Fee of
all of the Notes, and (ii) unless a Holder of either of the Other Notes declines its right to be repaid
with Proceeds, any Proceeds shall be applied to repay a pro rata portion of the Principal Amount,
Interest and Amendment Fee of each of the Notes based on the proportion that each of the Notes
bears to the aggregate Principal Amount, Interest and Amendment Fee of all of the Notes. All
payments shall be applied first to the Amendment Fee, then to accrued Interest and thereafter to
the Principal Amount.

               (b)     Interest shall accrue on the unpaid Principal Amount outstanding until the
Maturity Date at a rate equal to one and one-half percent (1.5%) per month. The accrued interest
on the Principal Amount of this Note shall not compound, and is referred to herein as the
“Interest”. Such Interest shall be computed for the actual number of days elapsed in a month
consisting of 28, 30 or 31 days, as the case may be.

               (c)     The Company may, at any time and from time to time without premium or
penalty, prepay all or any portion of the outstanding Principal Amount of, and Interest on, and
Amendment Fee of this Note. Any partial payment will be credited first to the Amendment Fee,
then to accrued and unpaid Interest and the balance, if any, to the then outstanding Principal
Amount.

               (2)     RANKING; SECURITY.

              (a)    The parties agree that this Note shall rank (i) pari passu with the
indebtedness under the Other Notes and (ii) senior to all other existing and future debt of the
Company.

               (b)     Payment of this Note and all other obligations, fees, and expenses due to
the Holder pursuant to this Note and the Purchase Agreement (the “Secured Obligations”) will
be secured at all times by (i) valid, enforceable first priority mortgages and/or deeds of trust on
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and covering all real property interests presently owned and hereafter acquired by the Company,
and all assets and personal property relating thereto (the “Mortgaged Properties”), and (ii) valid,
enforceable first priority security interests on and covering all of the other assets of the Company
(the “Other Assets”).

                 (c)     Within five (5) business days of a request by the Holder, the Company
shall deliver to the Holder (i) mortgages and/or deeds of trust, in appropriate and recordable form
under Arizona law and reasonably satisfactory in form and substance to the Holder, executed
by the Company, with respect to the Mortgaged Properties (“Deeds of Trust”), which shall create
a first priority lien on such Mortgaged Properties and which shall be promptly recorded in the
recorder’s office of the appropriate county, and (ii) appropriate instruments granting valid,
enforceable first priority security interests on and covering all of the Other Assets, in
appropriate and recordable form and reasonably satisfactory in form and substance to the Holder,
executed by the Company, with respect to the Other Assets (the “Other Instruments” and,
collectively with the Deeds of Trust, the “Security Documents”). Thereafter, the Company shall
cause the Mortgaged Properties now owned or hereafter acquired by it to be subject at all times to
a first priority, perfected lien in favor of the Holder to secure the Secured Obligations, and the
Company shall provide any filings and deliveries reasonably requested by the Holder in
connection therewith to perfect the security interests therein, all in form and substance
reasonably satisfactory to the Holder.

                (d)     The Holder acknowledges that the security interests granted in the
Mortgaged Properties and the Other Assets to the Holder to secure the Secured Obligations are
also being granted to the holders of the Others Notes to secure the obligations of the Company
under such Other Notes, and that such all of such security interests shall be for the ratable benefit
of the Holders of all of the Notes. The form and substance of the Security Documents shall
reflect such ratable benefit term.

                (3) CONVERSION OF NOTE. Following the Issuance Date, as set out above, this
Note shall be convertible into shares of Common Stock on the terms and conditions set forth in
this Section 3.

                     (a) Optional Conversion Right. Holder has the right to convert all or part of
the Principal Amount at the Company’s valuation of $250,000,000.00 into fully paid and
nonassessable shares of Common Stock in accordance with Section 3(c), at the Conversion Rate
(as defined below) (the “Conversion Date”). The Company shall not issue any fraction of a share
of Common Stock upon any conversion. If the issuance would result in the issuance of a fraction
of a share of Common Stock, the Company shall round such fraction of a share of Common Stock
up to the nearest whole share. The Company shall pay any and all transfer, stamp and similar
taxes that may be payable with respect to the issuance and delivery of Common Stock upon
conversion of any Conversion Amount. The Holder shall have the right to deliver an effective
conversion notice at any time until 11:59 pm on the chosen date and it shall be immediately
effective.

                    (b) Conversion Rate. The number of shares of Common Stock issuable upon
conversion of any Conversion Amount pursuant to Section 3(a) shall be determined by dividing
(x) such Conversion Amount by (y) the Conversion Price (the “Conversion Rate”).
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                            (i) “Conversion Amount” means the sum of the portion of the
     Principal to be converted, redeemed or otherwise with respect to which this determination
     is being made.

                            (ii) “Conversion Price” means $0.0599. Subsequent to the
     effective date of the registration statement registering for resale the Conversions Shares
     and the Warrant Shares pursuant to the Purchase Agreement, if the closing sale price of the
     Common Stock averages less than the then Conversion Price over a period of ten (10)
     consecutive trading days, the Conversion Price shall reset to such average price. If the 10-
     day volume weighted average price of the Common Stock continues to be less than the
     Conversion Price then the Conversion Price should reset to such 10-day average price.

                (c)   Mechanics of Optional Conversion and Adjustment:

                           (i)     Registration; Book-Entry. The Company shall maintain a
                                   register (the “Register”) for the recordation of the holder of
                                   the Note and the Principal amount of the Note held by the
                                   holder (the “Registered Note”). The entries in the Register,
                                   made in good faith, shall be conclusive and binding for all
                                   purposes absent manifest error. The Company and the holder
                                   of the Note shall treat each Person whose name is recorded
                                   in the Register as the owner of the Note for all purposes,
                                   including, without limitation, the right to receive payments
                                   of Principal, if any, hereunder, notwithstanding notice to the
                                   contrary. Upon its receipt of a request to assign or sell all or
                                   part of the Registered Note by the Holder, the Company shall
                                   record the information contained therein in the Register and
                                   issue one or more new Registered Notes in the same
                                   aggregate Principal amount as the Principal amount of the
                                   surrendered Registered Note to the designated assignee or
                                   transferee pursuant to Section 10. Notwithstanding anything
                                   to the contrary in this Section 3(c)(i), the Holder may assign
                                   any Note or any portion thereof to an Affiliate of such Holder
                                   or a Related Fund of such Holder without delivering a
                                   request to assign or sell such Note to the Company and the
                                   recordation of such assignment or sale in the Register (a
                                   “Related Party Assignment”); provided, that (x) the
                                   Company may continue to deal solely with such assigning or
                                   selling Holder unless and until such Holder has delivered a
                                   request to assign or sell such Note or portion thereof to the
                                   Company for recordation in the Register; (y) the failure of
                                   such assigning or selling Holder to deliver a request to assign
                                   or sell such Note or portion thereof to the Company shall not
                                   affect the legality, validity, or binding effect of such
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                                   assignment or sale and (z) such assigning or selling Holder
                                   shall, acting solely for this purpose as a non-fiduciary agent
                                   of the Company, maintain a register (the “Related Party
                                   Register”) comparable to the Register on behalf of the
                                   Company, and any such assignment or sale shall be effective
                                   upon recordation of such assignment or sale in the Related
                                   Party Register. Notwithstanding anything to the contrary set
                                   forth herein, upon conversion of any portion of this Note in
                                   accordance with the terms hereof, the Holder shall not be
                                   required to physically surrender this Note to the Company
                                   unless the Holder has provided the Company with prior
                                   written notice (which notice may be included in a
                                   Conversion Notice) requesting reissuance of this Note upon
                                   physical surrender of this Note. The Holder and the
                                   Company shall maintain records showing the Principal,
                                   converted and the dates of such conversions or shall use such
                                   other method, reasonably satisfactory to the Holder and the
                                   Company, so as not to require physical surrender of this Note
                                   upon conversion.

                           (ii) Intentionally omitted.

                        (iii) Holder may convert any or all of this Note into shares of
     Common Stock at any time.

               (d)     Limitations on Conversions.

                         (i) Beneficial Ownership. In case that the Holder becomes subject to the
            filing or reporting obligations under Regulation 13D-G of the Exchange Act due to
            (i) the conversion of this Note, or any other share issuance hereunder, or (ii) the
            changes to the beneficial ownership of the Holder (together with the Attribution
            Parties) in the Company, including but not limited to the changes to such beneficial
            ownership due to the conversion or share issuance hereunder, the Holder shall
            timely file such schedules or forms with the United States Securities and Exchange
            Commission (the “Commission”) as required under Regulation 13D-G of the
            Exchange Act. For purposes of this paragraph, beneficial ownership and all
            calculations (including, without limitation, with respect to calculations of
            percentage ownership) shall be determined in accordance with Regulation 13D-G
            and the rules and regulations promulgated thereunder. The obligations contained in
            this paragraph shall apply to a successor Holder of this Note. For any reason at any
            time, upon the written or oral request of the Holder, the Company shall within one
            (1) Business Day confirm orally and in writing to the Holder the number of shares
            of Common Stock then outstanding, including by virtue of any prior conversion or
            exercise of convertible or exercisable securities into Common Stock, including,


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               without limitation, pursuant to this Note or securities issued pursuant to the
               Purchase Agreement.

                           (ii) Principal Market Regulation. Unless permitted by the applicable
               rules and regulations of the Principal Market, the Company shall not issue any
               shares of Common Stock upon conversion of this Note if the issuance of such shares
               of Common Stock would exceed the aggregate number of shares of Common Stock
               which the Company may issue upon exercise or conversion (as the case may be) of
               the Note without breaching the Company’s obligations under the rules or
               regulations of the Principal Market (the number of shares which may be issued
               without violating such rules and regulations, the “Exchange Cap”).
               Notwithstanding the foregoing, such limitation shall not apply in the event that the
               Company (A) obtains the approval of its stockholders as required by the applicable
               rules of the Principal Market for issuances of shares of Common Stock in excess of
               such amount or (B) obtains a written opinion from outside counsel to the Company
               that such approval is not required, which opinion shall be reasonably satisfactory
               to the Holder. In the event that any Holder shall sell or otherwise transfer any of
               such Holder’s Note, the Exchange Cap restrictions set forth herein shall continue
               to apply to the Note and such transferee.

                       (e) Disputes. In the event of a dispute as to the number of shares of Common
Stock issuable to the Holder in connection with a conversion of this Note, the Company shall issue
to the Holder the number of shares of Common Stock not in dispute and resolve such dispute in
accordance with Section 16.

                     (f) Automatic Conversion. In the event the Company completes a
Fundamental Transaction or completes a listing of its Common Stock onto a national stock
exchange, Holder agrees to convert the OID into Common Stock of the Company at the Conversion
Price. The remaining Principal Amount, Amendment Fee and Interest will remain outstanding,
unless the Holder elects to convert such Principal Amount, Amendment Fee and Interest into
Common Stock of the Company.

               (4)    The Company hereby covenants and agrees as follows:

                      (a) Sale of Assets. During the thirty (30) days from the date of this Note,
                          with the exception of moving certain of its assets to any of its
                          subsidiaries, the Company shall not sell any material assets.

                      (b) Additional Debt. While this Note is outstanding, the Company shall not
                          incur any additional indebtedness for borrowed money, other than any
                          indebtedness that is Permitted Indebtedness.

               (5)    RIGHTS UPON EVENT OF DEFAULT.



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                        (a) Event of Default. Each of the following events shall constitute an “Event
of Default”; provided, however, that, except in the case of the Events of Default listed in Sections
5(a)(i), or 5(a)(ix) below, the Company shall have five (5) business days after notice of default
from the Holder to cure such Event of Default unless a lesser number of days is required pursuant
to the provisions of this Section 5.

                              (i) Failure to Pay Principal. The Company fails to pay the Principal,
       Amendment Fee or Interest due under this Note or any of the Other Notes at the Maturity
       Date (or the maturity date of any of the Other Notes, if the maturity date under the Other
       Notes is different from the Maturity Date), liquidated damages and other amounts thereon
       when due on the Note or any of the Other Notes, whether at maturity, upon acceleration or
       otherwise.

                               (ii) Conversion and the Shares. The Company (i) fails to issue
       Conversion Shares to the Holder (or announces or threatens in writing that it will not honor
       its obligation to do so) upon exercise by the Holder of the conversion rights of the Holder
       in accordance with the terms of the Note, (ii) fails to transfer or cause its transfer agent to
       transfer (issue) (electronically or in certificated form) any certificate for the Conversion
       Shares issuable to the Holder upon conversion of or otherwise pursuant to the Note as and
       when required by the Note, or (iii) the Company directs its transfer agent not to transfer or
       delays, impairs, and/or hinders its transfer agent in transferring (or issuing) (electronically
       or in certificated form) any certificate for the Conversion Shares issuable to the Holder
       upon conversion of or otherwise pursuant to the Note as and when required by the Note, or
       fails to remove (or directs its transfer agent not to remove or impairs, delays, and/or hinders
       its transfer agent from removing) any restrictive legend (or to withdraw any stop transfer
       instructions in respect thereof) on any certificate for any Conversion Shares issued to the
       Holder upon conversion of or otherwise pursuant to the Note as and when required by the
       Note (or makes any written announcement, statement or threat that it does not intend to
       honor the obligations described in this paragraph) and any such failure shall continue
       uncured (or any written announcement, statement or threat not to honor its obligations shall
       not be rescinded in writing) for five (5) business days after the Holder shall have delivered
       a Notice of Conversion. It is an obligation of the Company to remain current in its
       obligations to its transfer agent. It shall be an Event of Default of the Note, if a conversion
       of the Note is delayed, hindered or frustrated due to a balance owed by the Company to its
       transfer agent. If at the option of the Holder, the Holder advances any funds to the
       Company’s transfer agent in order to process a conversion, such advanced funds shall be
       paid by the Company to the Holder within forty eight (48) hours of a demand from the
       Holder. If Borrower is unable to do so, they shall have an opportunity to cure within five
       (5) business days.

                              (iii) Breach of Agreements and Covenants. The Company breaches
       any material agreement, covenant or other material term or condition contained in the
       Purchase Agreement, the Note or in any agreement, statement or certificate given in writing
       pursuant hereto or in connection herewith or therewith, and such breach results in a material
       adverse effect on the business or assets of the Company.
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                             (iv) Breach of Representations and Warranties. Any representation
     or warranty of the Company made in the Purchase Agreement or the Note, or in any
     agreement, statement or certificate given in writing pursuant hereto or in connection
     herewith or therewith shall be false or misleading in any material respect when made and
     the breach of which has (or with the passage of time will have) a Material Adverse Effect
     on the rights of the Holder with respect to the Note or the Purchase Agreement. In the event
     of such a breach, the Company shall have an opportunity to cure within two (2) business
     days.

                          (v) Receiver or Trustee. The Company or any subsidiary of the
     Company shall make an assignment for the benefit of creditors, or apply for or consent to
     the appointment of a receiver or trustee for it or for a substantial part of its property or
     business, or such a receiver or trustee shall otherwise be appointed. Under such
     circumstances, the Company shall have an opportunity to cure within sixty (60) days.

                            (vi) Judgments. Any money judgment, writ or similar process shall
     be entered or filed against the Company or any subsidiary of the Company or any of its
     property or other assets for more than $100,000, and shall remain unvacated, unbonded or
     unstayed for a period of twenty (20) days unless otherwise consented to by the Holder,
     which consent will not be unreasonably withheld.

                           (vii) Bankruptcy. Bankruptcy, insolvency, reorganization or
     liquidation proceedings or other proceedings, voluntary or involuntary, for relief under any
     bankruptcy law or any law for the relief of debtors shall be instituted by or against the
     Company or any subsidiary of the Company. Under such circumstances, the Company shall
     have an opportunity to cure within sixty (60) days.

                            (viii) Delisting or Trading of Common Stock. The Company shall
     fail to maintain the listing or quotation of its Common Stock minimally on a Trading
     Market.

                            (ix) Failure to Comply with the Exchange Act. The Company shall
     fail to comply with the reporting requirements of the Exchange Act and/or the Company
     shall cease to be subject to the reporting requirements of the Exchange Act.

                          (x) Liquidation. Any dissolution, liquidation, or winding up of
     Borrower or any substantial portion of its business or assets.

                           (xi) Cessation of Operations. Any cessation of operations by
     Borrower or Borrower admits it is otherwise generally unable to pay its debts as such debts
     become due, provided, however, that any disclosure of the Company’s ability to continue
     as a “going concern” shall not be an admission that the Company cannot pay its debts as
     they become due.


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                           (xii) Intentionally omitted.

                           (xiii) Intentionally omitted.

                           (xiv) Other Obligations. The occurrence of any default under any
     agreement or obligation of the Company that is not cured within ten (10) days that could
     reasonably be expected to have a Material Adverse Effect.

                            (xv) Default under Transaction Documents or Other Material
     Agreement. A default or event of default (subject to any grace or cure period provided in
     the applicable agreement, document or instrument) shall occur under (A) this Note, the
     warrant or the securities purchase agreement or any of the other agreements entered into
     by the parties related to the purchase of this Note (collectively, the “Transaction
     Documents”), or (B) the Other Notes or any other material agreement, lease, document or
     instrument to which Company or any Subsidiary is obligated (and not covered by clause
     (vi) below), which in the case of subsection (B) would reasonably be expected to have a
     Material Adverse Effect.

                           (xvi) Default under Mortgage or Other Agreement of Indebtedness.
     Company or any Subsidiary shall default on any of its obligations under any mortgage,
     credit agreement or other facility, indenture agreement, factoring agreement or other
     instrument under which there may be issued, or by which there may be secured or
     evidenced, any indebtedness for borrowed money or money due under any long term
     leasing or factoring arrangement that (a) involves an obligation greater than $100,000,
     whether such indebtedness now exists or shall hereafter be created, and (b) results in such
     indebtedness becoming or being declared due and payable prior to the date on which it
     would otherwise become due and payable.

                           (xvii) Intentionally omitted.

                           (xviii) Failure to Meet the Requirements under Rule 144. Company
     does not meet the current public information requirements under Rule 144.

                            (xix) Failure to Maintain Intellectual Property. The failure by
     Company or any material Subsidiary to maintain any material intellectual property rights,
     personal, real property, equipment, leases or other assets which are necessary to conduct
     its business (whether now or in the future) and such breach is not cured with twenty (20)
     days after written notice to the Company from the Holder.

                           (xx) Trading Suspension. A Commission or judicial stop trade order
     or suspension from a Trading Market.

                           (xxi) Intentionally omitted.



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                             (xxii) Failure to Provide Required Notification of a Material Event.
        A failure by Company to notify Holder of any material event of which Company is
        obligated to notify Holder pursuant to the terms of this Note or any other Transaction
        Document.

                                (xxiii) Invalidity or Unenforceability of Transaction Documents.
        Any material provision of any Transaction Document shall at any time for any reason
        (other than pursuant to the express terms thereof) cease to be valid and binding on or
        enforceable against the Company, or the validity or enforceability thereof shall be
        contested by Company, or a proceeding shall be commenced by Company or any
        governmental authority having jurisdiction over Company or Holder, seeking to establish
        the invalidity or unenforceability thereof, or Company shall deny in writing that it has any
        liability or obligation purported to be created under any Transaction Document.

                                (xxiv) Intentionally omitted.

                         (b) Redemption Right. At any time after the Holder becoming aware of an
Event of Default, the Required Holders may require the Company to redeem (an “Event of Default
Redemption”) all or any portion of the Notes by delivering written notice thereof (the “Event of
Default Redemption Notice”) to the Company, which Event of Default Redemption Notice shall
indicate the portion of this Note and the Other Notes the Required Holders are electing to require
the Company to redeem. Each portion of this Note and the Other Notes subject to redemption by
the Company pursuant to this Section 5(b) shall be redeemed by the Company in cash by wire
transfer of immediately available funds at a price equal to (i) the Principal Amount, plus (ii) all
Interest then accrued on the Principal Amount from the date of the Note to the Event of Default,
plus (iii) the Amendment Fee, plus (iv) interest on the Principal Amount calculated from the Event
of Default at the greater of the Default Interest Rate or the maximum rate permitted under
applicable law (the “Event of Default Redemption Price”), plus (v) liquidated damages of
$750,000, plus (vi) an amount in cash equal to 1% of the Event of Default Redemption Price for
each 30 day period during which redemptions fail to be made; provided, however, in the event that
the Company does not have sufficient funds to pay 100% of the relevant Event of Default
Redemption Price to the Holders of all of the Notes, the Company shall pay a pro rata portion of
the Event of Default Redemption Price to each such Holder based on the proportion that the
Principal Amount of each of the Notes bears to the aggregate Principal Amount of all of the Notes.
To the extent redemptions required by this Section 5(b) are deemed or determined by a court of
competent jurisdiction to be prepayments of the Note by the Company, such redemptions shall be
deemed to be voluntary prepayments. Notwithstanding anything to the contrary in this Section 5,
but subject to Section 3(b)(ii) and 3(d), until the Event of Default Redemption Price payable in
respect of each of the Notes (together with any interest thereon) is paid in full, the Conversion
Amount submitted for redemption under this Section 5(b) (together with any interest thereon) may
be converted, in whole or in part, by the Holder into Common Stock pursuant to Section 3. The
parties hereto agree that in the event of the Company's redemption of any portion of the Note under
this Section 5(b), the Holder's damages would be uncertain and difficult to estimate because of the
parties' inability to predict future interest rates and the uncertainty of the availability of a suitable
substitute investment opportunity for the Holder. Accordingly, any Event of Default redemption
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premium due under this Section 5(b) is intended by the parties to be, and shall be deemed, a
reasonable estimate of the Holder's actual loss of its investment opportunity and not as a penalty.
               (6)    RIGHTS UPON FUNDAMENTAL TRANSACTION.

                       (a) If, at any time while this Note is outstanding, (i) the Company effects a
Fundamental Transaction, then, upon any subsequent conversion of this Note, the Holder shall
have the right to receive, for each Conversion Share that would have been issuable upon such
conversion immediately prior to the occurrence of such Fundamental Transaction, the same kind
and amount of securities, cash or property as it would have been entitled to receive upon the
occurrence of such Fundamental Transaction if it had been, immediately prior to such Fundamental
Transaction, the holder of one (1) share of Common Stock (the “Alternate Consideration”). For
purposes of any such conversion, the determination of the Conversion Price shall be appropriately
adjusted to apply to such Alternate Consideration based on the amount of Alternate Consideration
issuable in respect of one (1) share of Common Stock in such Fundamental Transaction, and the
Company shall apportion the Conversion Price among the Alternate Consideration in a reasonable
manner reflecting the relative value of any different components of the Alternate Consideration. If
holders of Common Stock are given any choice as to the securities, cash or property to be received
in a Fundamental Transaction, then the Holder shall be given the same choice as to the Alternate
Consideration it receives upon any conversion of this Debenture following such Fundamental
Transaction. To the extent necessary to effectuate the foregoing provisions, any successor to the
Company or surviving entity in such Fundamental Transaction shall issue to the Holder a new
debenture consistent with the foregoing provisions and evidencing the Holder’s right to convert
such debenture into Alternate Consideration. The terms of any agreement pursuant to which a
Fundamental Transaction is effected shall include terms requiring any such successor or surviving
entity to comply with the provisions of this Section 6(a) and insuring that this Note (or any such
replacement security) will be similarly adjusted upon any subsequent transaction analogous to a
Fundamental Transaction.

          (7) DISTRIBUTION OF ASSETS; RIGHTS UPON ISSUANCE OF PURCHASE
RIGHTS AND OTHER CORPORATE EVENTS.

                        (a) Distribution of Assets. If the Company shall declare or make any
dividend or other distributions of its assets (or rights to acquire its assets) to any or all holders of
shares of Common Stock, by way of return of capital or otherwise (including without limitation,
any distribution of cash, stock or other securities, property, options, evidence of Indebtedness or
any other assets by way of a dividend, spin off, reclassification, corporate rearrangement, scheme
of arrangement or other similar transaction) (the “Distributions”), then the Holder will be entitled
to such Distributions as if the Holder had held the number of shares of Common Stock acquirable
upon complete conversion of this Note (without taking into account any limitations or restrictions
on the convertibility of this Note) immediately prior to the date on which a record is taken for such
Distribution or, if no such record is taken, the date as of which the record holders of Common
Stock are to be determined for such Distributions and the portion of such Distribution shall be held
in abeyance for the Holder.



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                       (b) Purchase Rights. If at any time the Company grants, issues or sells any
Options, Convertible Securities or rights to purchase stock, warrants, securities or other property
pro rata to the record holders of any class of Common Stock (the “Purchase Rights”), then the
Holder will be entitled to acquire or receive, as applicable, upon the terms applicable to such
Purchase Rights, the aggregate Purchase Rights which the Holder could have acquired if the
Holder had held the number of shares of Common Stock acquirable upon complete conversion of
this Note (without taking into account any limitations or restrictions on the convertibility of this
Note) immediately prior to the date on which a record is taken for the grant, issuance or sale of
such Purchase Rights, or, if no such record is taken, the date as of which the record holders of
shares of Common Stock are to be determined for the grant, issue or sale of such Purchase Rights.

                       (c) Other Corporate Events. In addition to and not in substitution for any
other rights hereunder, prior to the occurrence or consummation of any Fundamental Transaction
pursuant to which holders of shares of Common Stock are entitled to receive securities, cash,
assets or other property with respect to or in exchange for shares of Common Stock (a
“Corporate Event”), the Company shall make appropriate provision to ensure that, and
any applicable Successor Entity or Successor Entities shall ensure that, and it shall be a required
condition to the occurrence or consummation of such Corporate Event that, the Holder will
thereafter have the right to receive upon conversion of this Note at any time after the occurrence
or consummation of the Corporate Event, shares of Common Stock or Successor Capital Stock
or, if so elected by the Holder, cash in lieu of the shares of Common Stock (or other
securities, cash, assets or other property) purchasable upon the conversion of this Note prior to
such Corporate Event, such shares of stock, securities, cash, assets or any other property
whatsoever (including warrants or other purchase or subscription rights and any shares of
Common Stock) which the Holder would have been entitled to receive upon the occurrence or
consummation of such Corporate Event or the record, eligibility or other determination date for
the event resulting in such Corporate Event, had this Note been converted immediately prior to
such Corporate Event or the record, eligibility or other determination date for the event
resulting in such Corporate Event (without regard to any limitations on conversion of this
Note). Provision made pursuant to the preceding sentence shall be in a form and substance
satisfactory to the Holder. The provisions of this Section 7 shall apply similarly and equally to
successive Corporate Events.

               (8)    RIGHTS UPON ISSUANCE OF OTHER SECURITIES.

                (A) Adjustment of Conversion Price upon Subdivision or Combination of Common
       Stock. If the Company at any time on or after the Issuance Date subdivides (by any stock
       split, stock dividend, recapitalization or otherwise) one or more classes of its outstanding
       shares of Common Stock into a greater number of shares, the Conversion Price in effect
       immediately prior to such subdivision will be proportionately reduced. If the Company at
       any time on or after the Issuance Date combines (by combination, reverse stock split or
       otherwise) one or more classes of its outstanding shares of Common Stock into a smaller
       number of shares, the Conversion Price in effect immediately prior to such combination
       will be proportionately increased.


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              (B) Voluntary Adjustment by Company. The Company may at any time during the
       term of this Note, with the prior written consent of the Holder, reduce the then current
       Conversion Price to any amount and for any period of time deemed appropriate by the
       Board of Directors of the Company.

               (9) NONCIRCUMVENTION. The Company hereby covenants and agrees that the
Company will not, by amendment of its Certificate of Incorporation, Bylaws or through any
reorganization, transfer of assets, consolidation, merger, scheme of arrangement, dissolution, issue
or sale of securities, or any other voluntary action, avoid or seek to avoid the observance or
performance of any of the terms of this Note, and will at all times in good faith carry out all of the
provisions of this Note and take all action as may be required to protect the rights of the Holder of
this Note.

               (10)    Intentionally omitted.

               (11) VOTING RIGHTS. The Holder shall have no voting rights as the holder of
this Note, except as required by law and as expressly provided in this Note.

               (12)    COVENANTS.

                       (a) Incurrence of Indebtedness. So long as this Note is outstanding, the
Company shall not, and the Company shall not permit any of its Subsidiaries to, directly or
indirectly, incur or guarantee, assume or suffer to exist any Indebtedness, other than Permitted
Indebtedness.

                        (b) Existence of Liens. So long as this Note is outstanding, the Company
shall not, and the Company shall not permit any of its Subsidiaries to, directly or indirectly, allow
or suffer to exist any Liens other than Permitted Liens.

                       (c) Change in Nature of Business. The Company shall not make, or permit
any of its Subsidiaries to make, any change in the nature of its business. The Company shall not
modify its corporate structure or purpose.

                        (d) Intellectual Property. The Company shall not, and the Company shall
not permit any of its Subsidiaries, directly or indirectly, to encumber or allow any Liens on, any
of its own or its licensed copyright rights, copyright applications, copyright registrations and like
protections in each work of authorship and derivative work, whether published or unpublished,
any patents, patent applications and like protections, including improvements, divisions,
continuations, renewals, reissues, extensions, and continuations-in-part of the same, trademarks,
service marks and, to the extent permitted under applicable law, any applications therefor, whether
registered or not, and the goodwill of the business of the Company and its Subsidiaries connected
with and symbolized thereby, know-how, operating manuals, trade secret rights, rights to
unpatented inventions, and any claims for damage by way of any past, present, or future
infringement of any of the foregoing, other than Permitted Liens.


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                        (e) Preservation of Existence, Etc. The Company shall maintain and
preserve, and cause each of its Subsidiaries to maintain and preserve, its existence, rights and
privileges, and become or remain, and cause each of its Subsidiaries to become or remain, duly
qualified and in good standing in each jurisdiction in which the character of the properties owned
or leased by it or in which the transaction of its business makes such qualification necessary.

                       (f) Maintenance of Properties, Etc. The Company shall maintain and
preserve, and cause each of its Subsidiaries to maintain and preserve, all of its properties which
are necessary or useful in the proper conduct of its business in good working order and condition,
ordinary wear and tear excepted, and comply, and cause each of its Subsidiaries to comply, at all
times with the provisions of all leases to which it is a party as lessee or under which it occupies
property, so as to prevent any loss or forfeiture thereof or thereunder.

                       (g) Maintenance of Insurance. The Company shall maintain, and cause each
of its Subsidiaries to maintain insurance with responsible and reputable insurance companies or
associations (including, without limitation, comprehensive general liability, hazard, rent and
business interruption insurance) with respect to its properties (including all real properties leased
or owned by it) and business, in such amounts and covering such risks as is required by any
governmental authority having jurisdiction with respect thereto or as is carried generally in
accordance with sound business practice by companies in similar businesses similarly situated.

                        (h) Transactions with Affiliates. The Company shall not, nor shall it permit
any of its Subsidiaries to, enter into, renew, extend or be a party to, any transaction or series of
related transactions (including, without limitation, the purchase, sale, lease, transfer or exchange
of property or assets of any kind or the rendering of services of any kind) with any Affiliate,
except in the ordinary course of business in a manner and to an extent consistent with past
practice and necessary or desirable for the prudent operation of its business, for fair consideration
and on terms no less favorable to it or its Subsidiaries than would be obtainable in a comparable
arm's length transaction with a Person that is not an Affiliate thereof.

                       (i) Corporate Changes. The Company shall not change its corporate name,
legal form or jurisdiction of formation without twenty (20) days’ prior written notice to Holder.
Company shall not enter into or be party to a Fundamental Transaction unless in violation of
Section 6 hereof. Company shall not relocate its chief executive office or its principal place of
business unless it has provided prior written notice to Holder.

                       (j) Reserved.

                       (k) Charter Amendments. The Company shall not amend its charter
documents, including, without limitation, its certificate of incorporation and bylaws, in any manner
that materially and adversely affects any rights of the Holder.

                      (l) Repurchase. The Company shall not repay, repurchase or offer to repay,
repurchase or otherwise acquire more than a ------
                                            de minimis number of shares of its Common Stock


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or common stock equivalents other than as to the Conversion Shares as permitted or required under
the Transaction Documents.

                      (m) Redemption. The Company shall not redeem, defease, repurchase,
repay or make any payments in respect of, by the payment of cash or cash equivalents (in whole
or in part, whether by way of open market purchases, tender offers, private transactions or
otherwise), all or any portion of any Indebtedness (other than the Note if on a pro-rata basis),
whether by way of payment in respect of principal of (or premium, if any) or interest on, such
Indebtedness, the foregoing restriction shall also apply to Permitted Indebtedness from and after
the occurrence of an Event of Default.

                         (n) Declaration. The Company shall not declare or make any dividend or
other distribution of its assets or rights to acquire its assets to holders of shares of Common Stock,
by way of return of capital or otherwise including, without limitation, any distribution of cash,
stock or other securities, property or options by way of a dividend, spin off, reclassification,
corporate rearrangement, scheme of arrangement or other similar transaction.

                        (o) The Company shall not enter into any agreement with respect to any of
the foregoing.

              (13)     TRANSFER. This Note and any shares of Common Stock issued upon
conversion of this Note may be offered, sold, assigned or transferred according to the Purchase
Agreement.

                 (14)   REISSUANCE OF THIS NOTE.

                     (a) Transfer. If this Note is to be transferred, the Holder shall instruct the
Company who the new Holder will be and this Note will be automatically cancelled. The
Company will issue and deliver the new Note within two (2) days of such notice.

                        (b) Lost, Stolen or Mutilated Note. Upon receipt by the Company of
evidence reasonably satisfactory to the Company of the loss, theft, destruction or mutilation of this
Note, and, in the case of loss, theft or destruction, of any indemnification undertaking by the Holder
to the Company in customary form and, in the case of mutilation, upon surrender and cancellation
of this Note, the Company shall execute and deliver to the Holder a new Note (in accordance with
Section 14(d)) representing the then outstanding Principal amount of the Note.

                      (c) Note Exchangeable for Different Denominations. This Note is
exchangeable, upon the surrender hereof by the Holder at the principal office of the Company, for
a new Note or Notes (in accordance with Section 14(d) representing in the aggregate the
outstanding Principal of this Note, and each such new Note will represent such portion of such
outstanding Principal as is designated by the Holder at the time of such surrender.

                      (d) Issuance of New Notes. Whenever the Company is required to issue a
new Note pursuant to the terms of this Note, such new Note (i) shall be of like tenor with this Note,
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(ii) shall represent, as indicated on the face of such new Note, the Principal remaining outstanding
(or in the case of a new Note being issued pursuant to Section 14(a) or Section 14(c), the
Principal designated by the Holder which, when added to the principal represented by the other
new Notes issued in connection with such issuance, does not exceed the Principal remaining
outstanding under this Note immediately prior to such issuance of new Notes), (iii) shall have an
issuance date, as indicated on the face of such new Note, which is the same as the Issuance Date
of
(iv)this
      shall
         Note,
            have the same rights and conditions as this Note, and (v) shall represent accrued and
unpaid Interest on the Principal and Interest of this Note, from the Issuance Date.

                (15) REMEDIES, CHARACTERIZATIONS, OTHER OBLIGATIONS,
BREACHES AND INJUNCTIVE RELIEF. The remedies provided in this Note shall be
cumulative and in addition to all other remedies available under this Note and any of the other
Transaction Documents, at law or in equity (including a decree of specific performance and/or
other injunctive relief), and nothing herein shall limit the Holder's right to pursue actual and
consequential damages for any failure by the Company to comply with the terms of this Note.
Amounts set forth or provided for herein with respect to payments, conversion, redemption and
the like (and the computation thereof) shall be the amounts to be received by the Holder and shall
not, except as expressly provided herein, be subject to any other obligation of the Company (or the
performance thereof). The Company acknowledges that a breach by it of its obligations hereunder
will cause irreparable harm to the Holder and that the remedy at law for any such breach may be
inadequate. The Company therefore agrees that, in the event of any such breach or threatened
breach, the Holder shall be entitled, in addition to all other available remedies, to an injunction
restraining any breach, without the necessity of showing economic loss and without any bond or
other security being required.

                (16) PAYMENT OF COLLECTION, ENFORCEMENT AND OTHER COSTS. If
(a) this Note is placed in the hands of an attorney for collection or enforcement or is collected or
enforced through any legal proceeding or the Holder otherwise takes action to collect amounts due
under this Note or to enforce the provisions of this Note or (b) there occurs any bankruptcy,
reorganization, receivership of the Company or other proceedings affecting Company creditors'
rights and involving a claim under this Note, then the Company shall pay the costs and expenses
incurred by the Holder for such collection, enforcement or action or in connection with such
bankruptcy, reorganization, receivership or other proceeding, including, but not limited to,
attorneys' fees and disbursements.

                (17) CONSTRUCTION; HEADINGS. This Note shall be deemed to be jointly
drafted by the Company and the Holder and shall not be construed against any person as the drafter
hereof. The headings of this Note are for convenience of reference and shall not form part of, or
affect the interpretation of, this Note.

                (18) FAILURE OR INDULGENCE NOT WAIVER. No failure or delay on the part
of the Holder in the exercise of any power, right or privilege hereunder shall operate as a waiver
thereof, nor shall any single or partial exercise of any such power, right or privilege preclude other
or further exercise thereof or of any other right, power or privilege.


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               (19) DISPUTE RESOLUTION. In the case of a dispute as to the determination of
the arithmetic calculation of the Conversion Rate, the Conversion Price or any Redemption Price,
the Company shall submit the disputed determinations or arithmetic calculations via facsimile or
electronic mail within one (1) Business Days of receipt, or deemed receipt, of the Conversion
Notice or Redemption Notice or other event giving rise to such dispute, as the case may be, to the
Holder. If the Holder and the Company are unable to agree upon such determination or
calculation within two (2) Business Days of such disputed determination or arithmetic
calculation being submitted to the Holder, then the Company shall, within two (2) Business
Days submit via facsimile or electronic mail the disputed arithmetic calculation of the
Conversion Rate, Conversion Price or any Redemption Price to an independent, outside
accountant, selected by the Holder and approved by the Company, such approval not to be
unreasonably withheld, conditioned or delayed. The Company, at the Company's expense, shall
cause the accountant to perform the determinations or calculations and notify the Company and
the Holder of the results no later than five (5) Business Days from the time it receives the
disputed determinations or calculations. Such accountant's determination or calculation shall be
binding upon all parties absent demonstrable error.
               (20) NOTICES; PAYMENTS.

                        (a) Notices. All notices, demands, requests, consents, approvals, and other
communications required or permitted hereunder shall be in writing and, unless otherwise
specified herein, shall be (i) personally served, (ii) deposited in the mail, registered or certified,
return receipt requested, postage prepaid, (iii) delivered by reputable air courier service with
charges prepaid, or (iv) transmitted by hand delivery, telegram, facsimile, or electronic mail,
addressed as set forth below or to such other address as such party shall have specified most
recently by written notice. Any notice or other communication required or permitted to be given
hereunder shall be deemed effective (a) upon hand delivery or delivery by facsimile, with accurate
confirmation generated by the transmitting facsimile machine, at the address or number designated
below (if delivered on a business day during normal business hours where such notice is to be
received), or the first business day following such delivery (if delivered other than on a business
day during normal business hours where such notice is to be received), or (b) upon receipt, when
sent by electronic mail (provided confirmation of transmission is electronically generated and keep
on file by the sending party), or (c) on the second business day following the date of mailing by
express courier service, fully prepaid, addressed to such address, or upon actual receipt of such
mailing, whichever shall first occur. The addresses for such communications shall be: (i) if to
Borrower, to: Proton Green LLC at 4531 Park Lane, Dallas, Texas 75220, Steven E. Looper,
sel@protongreen.com; (ii) if to the Holder, to: the address and fax number indicated on the
Purchase Agreement. Without limiting the generality of the foregoing, the Company shall give
written notice to the Holder (i) immediately upon any adjustment of the Conversion Price, setting
forth in reasonable detail, and certifying, the calculation of such adjustment and (ii) at least twenty
(20) days prior to the date on which the Company closes its books or takes a record (A) with
respect to any dividend or distribution upon the Common Stock, (B) with respect to any pro rata
subscription offer to holders of Common Stock or (C) for determining rights to vote with respect
to any Fundamental Transaction, dissolution or liquidation, provided in each case that such
information shall be made known to the public prior to or in conjunction with such notice being
provided to the Holder.
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                       (b) Payments. Whenever any payment of cash is to be made by the
Company to any Person pursuant to this Note, such payment shall be made in lawful money of
the United States of America by a check drawn on the account of the Company and sent via
overnight courier service to such Person at such address as previously provided to the Company
in writing; provided, that the Holder may elect to receive a payment of cash via wire transfer of
immediately available funds by providing the Company with prior written notice setting out such
request and the Holder's wire transfer instructions. Whenever any amount expressed to be due by
the terms of this Note is due on any day, which is not a Business Day, the same shall instead be
due on the next succeeding day, which is a Business Day.

              (21) CANCELLATION. After all Principal and other amounts at any time owed
on this Note have been paid in full, this Note shall automatically be deemed canceled, shall
be surrendered to the Company for cancellation and shall not be reissued.

               (22) WAIVER OF NOTICE. To the extent permitted by law, the Company hereby
waives demand, notice, protest and all other demands and notices in connection with the delivery,
acceptance, performance, default or enforcement of this Note.

                 (23) GOVERNING LAW; JURISDICTION; JURY TRIAL. All questions
concerning the construction, validity, enforcement and interpretation of this Note shall be
governed by and construed and enforced in accordance with the internal laws of the State of New
York, without regard to the principles of conflicts of law thereof. The Company agrees that all
legal proceedings concerning the interpretations, enforcement and defense of the transactions
contemplated by this Note (whether brought against the Company, the Holder or their respective
affiliates, directors, officers, shareholders, employees or agents) shall be commenced exclusively
in the state and federal courts sitting in the City of New York, County of New York. The
Company hereby irrevocably submits to the exclusive jurisdiction of the state and federal courts
sitting in the City of New York, Borough of Manhattan for the adjudication of any dispute
hereunder or in connection herewith or with any transaction contemplated hereby or discussed
herein, and hereby irrevocably waives, and agrees not to assert in any suit, action or proceeding,
any claim that it is not personally subject to the jurisdiction of any such court, that such suit,
action or proceeding is improper or is an inconvenient venue for such proceeding. The
Company hereby irrevocably waives personal service of process and consents to process being
served in any such suit, action or proceeding by mailing a copy thereof via registered or certified
mail or overnight delivery (with evidence of delivery) to it at the address in effect for notices to it
under the Purchase Agreement and agrees that such service shall constitute good and sufficient
service of process and notice thereof. Nothing contained herein shall be deemed to limit in any
way any right to serve process in any other manner permitted by law. If the Company or a Holder
shall commence an action or proceeding to enforce any provisions of the Note, then the
prevailing party in such action or proceeding shall be reimbursed by the other party for its
reasonable attorneys’ fees and other costs and expenses incurred with the investigation,
preparation and prosecution of such action or proceeding. IN ANY ACTION, SUIT, OR
PROCEEDING IN ANY JURISDICTION BROUGHT BY ANY PARTY AGAINST
ANY OTHER PARTY, THE COMPANY KNOWINGLY AND INTENTIONALLY,
TO THE GREATEST EXTENT PERMITTED
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BY APPLICABLE LAW, HEREBY ABSOLUTELY, UNCONDITIONALLY,
IRREVOCABLY AND EXPRESSLY WAIVES FOREVER TRIAL BY JURY.

                (24) SEVERABILITY. If any provision of this Note is prohibited by law or
otherwise determined to be invalid or unenforceable by a court of competent jurisdiction, the
provision that would otherwise be prohibited, invalid or unenforceable shall be deemed amended
to apply to the broadest extent that it would be valid and enforceable, and the invalidity or
unenforceability of such provision shall not affect the validity of the remaining provisions of this
Note so long as this Note as so modified continues to express, without material change, the original
intentions of the parties as to the subject matter hereof and the prohibited nature, invalidity or
unenforceability of the provision(s) in question does not substantially impair the respective
expectations or reciprocal obligations of the parties or the practical realization of the benefits that
would otherwise be conferred upon the parties. The parties will endeavor in good faith negotiations
to replace the prohibited, invalid or unenforceable provision(s) with a valid provision(s), the effect
of which comes as close as possible to that of the prohibited, invalid or unenforceable provision(s).

               (25) DISCLOSURE. Upon receipt or delivery by the Company of any notice in
accordance with the terms of this Note, unless the Company has in good faith determined that the
matters relating to such notice do not constitute material, nonpublic information relating to the
Company or its Subsidiaries, the Company shall within one (1) Business Day after any such receipt
or delivery publicly disclose such material, nonpublic information on a Current Report on Form
6-K or otherwise. In the event that the Company believes that a notice contains material, nonpublic
information relating to the Company or its Subsidiaries, the Company so shall indicate to such
Holder contemporaneously with delivery of such notice, and in the absence of any such indication,
the Holder shall be allowed to presume that all matters relating to such notice do not constitute
material, nonpublic information relating to the Company or its Subsidiaries.

                (26) CERTAIN DEFINITIONS. For purposes of this Note, the following terms
shall have the following meanings:

                         (a) “Affiliate” means, with respect to any Person, any other Person that
directly or indirectly controls, is controlled by, or is under common control with, such Person, it
being understood for purposes of this definition that “control” of a Person means the power directly
or indirectly either to vote 10% or more of the stock having ordinary voting power for the election
of directors of such Person or direct or cause the direction of the management and policies of such
Person whether by contract or otherwise.

                       (b) “Attribution Parties” means, collectively, the following Persons and
entities: (i) any investment vehicle, including, any funds, feeder funds or managed accounts,
currently, or from time to time after the Issuance Date, directly or indirectly managed or advised
by the Holder's investment manager or any of its Affiliates or principals, (ii) any direct or indirect
Affiliates of the Holder or any of the foregoing, (iii) any Person acting or who could be deemed to
be acting as a Group together with the Holder or any of the foregoing and (iv) any other Persons
whose beneficial ownership of the Company's Common Stock would or could be aggregated with


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the Holder's and the other Attribution Parties for purposes of Regulation 13D-G of the Exchange
Act.

                        (c) “Bloomberg” means Bloomberg Financial Markets.

                        (d) “Closing Date” shall have the meaning ascribed to such term in the
Purchase Agreement.

                         (e) “Closing Bid Price” and “Closing Sale Price” means, for any security
as of any date, the last closing bid price and last closing trade price, respectively, for such security
on the Principal Market, as reported by Bloomberg, or, if the Principal Market begins to operate
on an extended hours basis and does not designate the closing bid price or the closing trade price,
as the case may be, then the last bid price or last trade price, respectively, of such security prior to
4:00 p.m., New York Time, as reported by Bloomberg, or, if the Principal Market is not the
principal securities exchange or trading market for such security, the last closing bid price or last
trade price, respectively, of such security on the principal securities exchange or trading market
where such security is listed or quoted for trading as reported by Bloomberg, or if the foregoing
do not apply, the last closing bid price or last trade price, respectively, of such security in the over-
the-counter market on the electronic bulletin board for such security as reported by Bloomberg,
or, if no closing bid price or last trade price, respectively, is reported for such security by
Bloomberg, the average of the bid prices, or the ask prices, respectively, of any market makers for
such security as reported in the OTC Link or “pink sheets” by OTC Markets Group Inc. (formerly
Pink OTC Markets Inc.). If the Closing Bid Price or the Closing Sale Price cannot be calculated
for a security on a particular date on any of the foregoing bases, the Closing Bid Price or the
Closing Sale Price, as the case may be, of such security on such date shall be the fair market value
as mutually determined by the Company and the Holder. If the Company and the Holder are unable
to agree upon the fair market value of such security, then such dispute shall be resolved pursuant
to Section 19. All such determinations to be appropriately adjusted for any stock dividend, stock
split, stock combination, reclassification or similar transaction during the applicable calculation
period.

                       (f) “Common Stock” the common stock of the Company, par value $0.001
per share, and any other class of securities into which such securities may hereafter be reclassified
or changed.

                      (g) “Convertible Securities” means any stock or securities (other than
Options) directly or indirectly convertible into or exercisable or exchangeable for shares of
Common Stock.

                        (h) “Default Interest Rate” means 18% per annum.

                        (i) “Equity Interests” means (a) all shares of capital stock (whether
denominated as common capital stock or preferred capital stock), equity interests, beneficial,
partnership or membership interests, joint venture interests, participations or other ownership or
profit interests in or equivalents (regardless of how designated) of or in a Person (other than an
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individual), whether voting or non-voting and (b) all securities convertible into or exchangeable
for any of the foregoing and all warrants, options or other rights to purchase, subscribe for or
otherwise acquire any of the foregoing, whether or not presently convertible, exchangeable or
exercisable.

                     (j) “Exchange Act” means the Securities Exchange Act of 1934, as
amended, and the rules and regulations promulgated thereunder.

                        (k) “Fundamental Transaction” means (A) that the Company shall,
directly or indirectly, including through Subsidiaries, Affiliates or otherwise, in one or more
related transactions, (i) consolidate or merge with or into (whether or not the Company is the
surviving corporation) another Subject Entity, or (ii) sell, assign, transfer, convey or otherwise
dispose of all or substantially all of the properties or assets of the Company or any of its “significant
subsidiaries” (as defined in Rule 1-02 of Regulation S-X) to one or more Subject Entities, or (iii)
make, or allow one or more Subject Entities to make, or allow the Company to be subject to or
have its Common Stock be subject to or party to one or more Subject Entities making, a purchase,
tender or exchange offer that is accepted by the holders of at least either (x) 50% of the
outstanding shares of Common Stock, (y) 50% of the outstanding shares of Common Stock
calculated as if any shares of Common Stock held by all Subject Entities making or party to, or
Affiliated with any Subject Entities making or party to, such purchase, tender or exchange offer
were not outstanding; or (z) such number of shares of Common Stock such that all Subject
Entities making or party to, or Affiliated with any Subject Entity making or party to, such
purchase, tender or exchange offer, become collectively the beneficial owners (as defined in Rule
13d-3 under the Exchange Act) of at least 50% of the outstanding shares of Common Stock, or
(iv) consummate a stock purchase agreement or other business combination (including,
without limitation, a reorganization, recapitalization, spin-off or scheme of arrangement) with
one or more Subject Entities whereby such Subject Entities, individually or in the aggregate,
acquire, either (x) at least 50% of the outstanding shares of Common Stock, (y) at least 50% of
the outstanding shares of Common Stock calculated as if any shares of Common Stock held by all
the Subject Entities making or party to, or Affiliated with any Subject Entity making or party to,
such stock purchase agreement or other business combination were not outstanding; or (z) such
number of shares of Common Stock such that the Subject Entities become collectively the
beneficial owners (as defined in Rule 13d-3 under the Exchange Act) of at least 50% of the
outstanding shares of Common Stock, or (v) reorganize, recapitalize or reclassify its Common
Stock, (B) that the Company shall, directly or indirectly, including through Subsidiaries,
Affiliates or otherwise, in one or more related transactions allow any Subject Entity individually
or the Subject Entities in the aggregate to be or become the “beneficial owner” (as defined
in Rule 13d-3 under the Exchange Act), directly or indirectly, whether through acquisition,
purchase, assignment, conveyance, tender, tender offer, exchange, reduction in outstanding
shares of Common Stock, merger, consolidation, business combination, spin-off, scheme of
arrangement, reorganization, recapitalization or reclassification or otherwise in any manner
whatsoever, of either (x) at least 50% of the aggregate ordinary voting power represented by
issued and outstanding Common Stock, (y) at least 50% of the aggregate ordinary voting power
represented by issued and outstanding Common Stock not held by all such Subject Entities as of
the date of this Note calculated as if any shares of Common Stock held by all such Subject
Entities were not outstanding, or (z) a percentage of the aggregate ordinary voting power
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represented by issued and outstanding shares of Common Stock or other equity securities of the
Company sufficient to allow such Subject Entities to effect a statutory short form merger or other
transaction requiring other stockholders of the Company to surrender their shares of Common
Stock without approval of the stockholders of the Company or (C) directly or indirectly,
including through Subsidiaries, Affiliates or otherwise, in one or more related transactions, the
issuance of or the entering into any other instrument or transaction structured in a manner to
circumvent, or that circumvents, the intent of this definition in which case this definition shall be
construed and implemented in a manner otherwise than in strict conformity with the terms of
this definition to the extent necessary to correct this definition or any portion of this
definition which may be defective or inconsistent with the intended treatment of such
instrument or transaction.
                       (l) “GAAP” means United States generally accepted accounting principles,
consistently applied.

                     (m) “Group” means a “group” as that term is used in Regulation 13D-G of
the Exchange Act and as defined in Rule 13d-5 thereunder.

                      (n) “Holiday” means a day other than a Business Day or on which trading
does not take place on the Principal Market.

                       (o) RESERVED

                       (p) “Market Price” shall mean the lowest Closing Bid Price on the Closing
Date.
                       (q) “OID” shall mean the Original Issue Discount, which is 35%.

                       (r) “Notes” means this Note and the Other Notes.

                     (s) “Options” means any rights, warrants or options to subscribe for or
purchase shares of Common Stock or Convertible Securities.

                        (t) “Other Notes” means (i) the Amended and Restated Promissory
Convertible Note, dated as of the date hereof, made by the Company in favor of Alpha Carta, Ltd.
in the principal amount of $1,846,153.84 (the “AC Note”), and (ii) the Amended and Restated
Promissory Convertible Note, dated as of the date hereof, made by the Company in favor of Alpha
Carta, Ltd. in the principal amount of $4,307,692 (the “2022 AC Note”).

                       (u) “Parent Entity” of a Person means an entity that, directly or indirectly,
controls the applicable Person, including such entity whose common capital stock or equivalent
equity security is quoted or listed on a Trading Market (or, if so elected by the Holder, any other
market, exchange or quotation system), or, if there is more than one such Person or such entity,
the Person or entity designated by the Holder or in the absence of such designation, such Person
or such entity with the largest public market capitalization as of the date of consummation of the
Fundamental Transaction.


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                      (v) “Permitted Indebtedness” means (i) Indebtedness evidenced by this
Note and the Other Notes; (ii) debt incurred to make acquisitions; (iii) trade payables incurred in
the ordinary course of business consistent with past practice, (iv) unsecured indebtedness not in
excess of $1,000,000 in the aggregate, and (v) Indebtedness secured by Permitted Liens.

                         (w) “Permitted Liens” means (i) any Lien for taxes not yet due or
delinquent or being contested in good faith by appropriate proceedings for which adequate reserves
have been established in accordance with GAAP, (ii) any statutory Lien arising in the ordinary
course of business by operation of law with respect to a liability that is not yet due or delinquent,
(iii) any Lien created by operation of law, such as materialmen's liens, mechanics' liens and other
similar liens, arising in the ordinary course of business with respect to a liability that is not yet due
or delinquent or that are being contested in good faith by appropriate proceedings, (iv) Liens (A)
upon or in any equipment acquired or held by the Company or any of its Subsidiaries to secure the
purchase price of such equipment or Indebtedness incurred solely for the purpose of financing the
acquisition or lease of such equipment, or (B) existing on such equipment at the time of its
acquisition, provided that the Lien is confined solely to the property so acquired and improvements
thereon, and the proceeds of such equipment, (v) Liens incurred in connection with the extension,
renewal or refinancing of the Indebtedness secured by Liens of the type described in clause (iv)
above, provided that any extension, renewal or replacement Lien shall be limited to the property
encumbered by the existing Lien and the principal amount of the Indebtedness being extended,
renewed or refinanced does not increase, (vi) leases or subleases and licenses and sublicenses
granted to others in the ordinary course of the Company's business, not interfering in any material
respect with the business of the Company and its Subsidiaries taken as a whole, (vii) Liens in favor
of customs and revenue authorities arising as a matter of law to secure payments of custom duties
in connection with the importation of goods, (viii) Liens arising from judgments, decrees or
attachments in circumstances not constituting an Event of Default under Section 4(a)(viii) and (ix)
liens listed on Schedule 27(v) hereto, and (ix) Liens arising pursuant to the terms of the Notes.

                        (x) “Principal Market” means the OTCQB tier of the OTC Markets.

                    (y) “Redemption Dates” means, collectively, the Event of Default
Redemption Dates, and the Optional Redemption Dates, each of the foregoing, individually, a
Redemption Date.

                     (z) “Redemption Notices” means, collectively, the Event of Default
Redemption Notices, and the Optional Redemption Notices, each of the foregoing, individually, a
Redemption Notice.

                       (aa) “Redemption Price” means, 125% of the outstanding principal amount
of the Note together with accrued Interest thereon, which after an Event of Default shall be
calculated at the Default Rate.

                    (bb) “Related Fund” means, with respect to any Person, a fund or account
managed by such Person or an Affiliate of such Person.


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                       (cc) “Required Holders” means any two (2) Holders of the Notes.

                       (dd) “Rule 144” shall have the meaning ascribed to such term in the
Purchase Agreement.

                       (ee) “SEC” means the United States Securities and Exchange Commission.

                       (ff) “Securities Act” means the Securities Act of 1933, as amended, and the
rules and regulations promulgated thereunder.

                       (gg) “Subject Entity” means any Person, Persons or Group or any Affiliate
or associate of any such Person, Persons or Group.

                        hh) “Successor Entity” means one or more Person or Persons (or, if so
elected by the Holder, the Company or Parent Entity) formed by, resulting from or surviving any
Fundamental Transaction or one or more Person or Persons (or, if so elected by the Holder, the
Company or the Parent Entity) with which such Fundamental Transaction shall have been entered
into.
                        (ii) “Trading Market” means any of the following markets or exchanges
on which the Common Stock is listed or quoted for trading on the date in question: the NYSE
American, the Nasdaq Capital Market, the Nasdaq Global Market, the Nasdaq Global Select
Market, the New York Stock Exchange, OTCQB or OTCQX (or any successors to any of the
foregoing).
                        (jj) “VWAP” means, for any date, the price determined by the first of the
following clauses that applies: (a) if the Common Stock is then listed or quoted on a Trading
Market, the daily volume weighted average price of the Common Stock for such date (or the
nearest preceding date) on the Trading Market on which the Common Stock is then listed or quoted
as reported by Bloomberg L.P. (based on a Trading Day from 9:30 a.m. New York City time to
4:02 p.m. New York City time); (b) if the Common Stock is not then listed or quoted for trading
on a Trading Market and if prices for the Common Stock are then reported on the OTC Pink (or a
similar organization or agency succeeding to its functions of reporting prices), the most recent bid
price per share of the Common Stock so reported; or (c) in all other cases, the fair market value of
a share of Common Stock as determined by an independent appraiser selected in good faith by the
Holders of a majority in interest of the Note then outstanding and reasonably acceptable to the
Company, the fees and expenses of which shall be paid by the Company.


                                    [Signature Page Follows]




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              IN WITNESS WHEREOF, the Company has caused this Second Am.ended and
Restated Note to be duly executed as of the 18th day of February, 2022.


                                               ProtonGreenLLC,
                                               formerlyknown as Plateau
                                               Carbon, LLC

                                               By:         lix74,
                                               N~me: Jl.i:e-vLu               'Id. co'J(}c,._
                                               Title:   hl4-vQ<                ,,,__     U
                                                                  .........   '''t,,nj   ~




AGREED AND APPROVED:


KIPS BAY SELECT LP


By: __________              _
  Name
  Title:




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              IN WITNESS WHEREOF, the Company has caused this Second Amended and
Restated Note to be duly executed as of the 18th day of February, 2022.


                                                              Proton Green LLC,
                                                              formerly known as Plateau
                                                              Carbon, LLC

                                                              By: _______________________
                                                              Name:
                                                              Title:


AGREED AND APPROVED:


KIPS BAY SELECT LP


By:____________________________
  Name: Roman Rogol
  Title: CFO




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                                          EXHIBIT I
                                      PROTON GREEN LLC
                                      CONVERSION NOTICE

Reference is made to the Second Amended and Restated Promissory Convertible Note (the
“Note”) issued to Kips Bay Select LP (together with its designee or registered assigns,
the “Holder”) by Proton Green LLC (formerly known as Plateau Carbon, LLC) (the
“Company”). In accordance with and pursuant to the Note, the undersigned hereby elects to
convert the Conversion Amount (as defined in the Note) of the Note indicated below into shares
of Common Stock of the Company, par value $ 0.0001 per share (the “Common Stock”) of the
Company, as of the date specified below.

         Date of
         Conversion:

         Aggregate Conversion Amount to be
         converted:

Please confirm the following information:

         Conversion Price:


         Number of shares of Common Stock to
         be issued:

Please issue the Common Stock into which the Note is being converted in the following name and
to the following address:

         Issue to:

         Facsimile Number and Electronic

         Mail:

         Authorization:
                      By:
                             Title:

Dated:
         Account
         Number:
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     (if electronic book entry transfer)
     Transaction Code
     Number:
     (if electronic book entry transfer)




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                            EXHIBIEXHIBIT M                                        Execution Version


NEITHER THE ISSUANCE AND SALE OF THE SECURITIES REPRESENTED BY
THIS CERTIFICATE NOR THE SECURITIES INTO WHICH THESE SECURITIES
ARE CONVERTIBLE HAVE BEEN REGISTERED UNDER THE SECURITIES ACT OF
1933, AS AMENDED, OR APPLICABLE STATE SECURITIES LAWS. THE
SECURITIES MAY NOT BE OFFERED FOR SALE, SOLD, TRANSFERRED OR
ASSIGNED (I) IN THE ABSENCE OF (A) AN EFFECTIVE REGISTRATION
STATEMENT FOR THE SECURITIES UNDER THE SECURITIES ACT OF 1933, AS
AMENDED, OR (B) AN OPINION OF COUNSEL SELECTED BY THE HOLDER, IN A
GENERALLY ACCEPTABLE FORM, THAT REGISTRATION IS NOT REQUIRED
UNDER SAID ACT, OR (II) UNLESS SOLD PURSUANT TO RULE 144 OR RULE 144A
UNDER SAID ACT. NOTWITHSTANDING THE FOREGOING, THE SECURITIES
MAY BE PLEDGED IN CONNECTION WITH A BONA FIDE MARGIN ACCOUNT OR
OTHER LOAN OR FINANCING ARRANGEMENT SECURED BY THE SECURITIES.
ANY TRANSFEREE OF THIS NOTE SHOULD CAREFULLY REVIEW THE TERMS
OF THIS NOTE. THE PRINCIPAL AMOUNT REPRESENTED BY THIS NOTE AND,
ACCORDINGLY, THE SECURITIES ISSUABLE UPON CONVERSION HEREOF MAY
BE LESS THAN THE AMOUNTS SET FORTH ON THE FACE HEREOF.

Reference is hereby made to the Promissory Convertible Note, dated as of December 23, 2021,
made by the Company in favor of Alpha Carta, Ltd. in the principal amount of $1,846,153.84 (as
amended, the “Original Note”). The Company and the Holder (as defined below) hereby agree
that the Original Note shall be superseded, amended and restated to read in its entirety as follows:

                                      PROTON GREEN LLC

          AMENDED AND RESTATED PROMISSORY CONVERTIBLE NOTE

Issuance Date: December 23, 2021                      Principal Amount: U.S. $1,846,153.84
Date of Note: February 18, 2022

               FOR VALUE RECEIVED, Proton Green LLC (formerly known as Plateau
Carbon, LLC) (the “Company”) pursuant to this Amended and Restated Promissory Convertible
Note (the “Note”), hereby promises to pay to Alpha Carta, Ltd., its designee or registered assigns
(the “Holder”), in cash, the principal amount of US $1,846,153.84 (as reduced pursuant to the
terms hereof pursuant to redemption, conversion or otherwise, the “Principal” or the “Principal
Amount”, after giving effect to a 35% original issue discount) on April 7, 2022 (the “Maturity
Date”), subject to earlier acceleration, conversion, redemption or otherwise (in each case in
accordance with the terms hereof). Certain capitalized terms used herein are defined in Section 26.
This Note is issued pursuant to that certain Securities Purchase Agreement dated December 23,
2021, by and among the Company and the Holder (the “Purchase Agreement”), and capitalized
terms not defined herein will have the meanings set forth in the Purchase Agreement.

               (1) PAYMENTS OF PRINCIPAL; AMENDMENT FEE; PREPAYMENT.

             (a)     On the Maturity Date, the Company shall pay to the Holder (i) the Principal
Amount in cash, together with (ii) Interest (as defined below) thereon calculated from the date
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hereof in accordance with the provisions of this Note, plus (iii) an amendment and extension fee
in the amount of $150,000.00 (the “Amendment Fee”), provided, however, that the Holder shall
have the right in its sole discretion to be repaid with 100% of the proceeds (“Proceeds”) of the
following: (1) sale of the Company’s assets, (2) any merger, sale or other transaction resulting in
the holders of the Company’s Common Stock prior to such merger or other transaction ceasing to
own at least 50% of the Common Stock, (3) issuances of the Company’s Debt, and/or (4)
issuances of the Company’s equity. Notwithstanding the foregoing, (i) in the event that on the
Maturity Date the Company does not have sufficient funds to repay this Note and the Other
Notes in full, the Company shall be prohibited from repaying the Principal Amount, Interest and
Amendment Fee of this Note in full and shall instead repay the Holders of each of the Notes a pro
rata portion of the Principal Amount, Interest and Amendment Fee of each of the Notes based on
the proportion that each of the Notes bears to the aggregate Principal Amount, Interest and
Amendment Fee of all of the Notes, and (ii) unless a Holder of either of the Other Notes declines
its right to be repaid with Proceeds, any Proceeds shall be applied to repay a pro rata portion of
the Principal Amount, Interest and Amendment Fee of each of the Notes based on the proportion
that each of the Notes bears to the aggregate Principal Amount, Interest and Amendment Fee of
all of the Notes. All payments shall be applied first to the Amendment Fee, then to accrued
Interest and thereafter to the Principal Amount.

               (b)     Interest shall accrue on the unpaid Principal Amount outstanding until the
Maturity Date at a rate equal to one and one-half percent (1.5%) per month. The accrued interest
on the Principal Amount of this Note shall not compound, and is referred to herein as the
“Interest”. Such Interest shall be computed for the actual number of days elapsed in a month
consisting of 28, 30 or 31 days, as the case may be.

              (c)      The Company may, at any time and from time to time without premium or
penalty, prepay all or any portion of the outstanding Principal Amount of, and Interest on, and
Amendment Fee of, this Note. Any partial payment will be credited first to the Amendment Fee,
then to accrued and unpaid Interest and the balance, if any, to the then outstanding Principal
Amount.

               (2)     RANKING; SECURITY.

              (a)    The parties agree that this Note shall rank (i) pari passu with the
indebtedness under the Other Notes and (ii) senior to all other existing and future debt of the
Company.

                (b)     Payment of this Note and all other obligations, fees, and expenses due to
the Holder pursuant to this Note and the Purchase Agreement (the “Secured Obligations”) will
be secured at all times by (i) valid, enforceable first priority mortgages and/or deeds of trust on
and covering all real property interests presently owned and hereafter acquired by the Company,
and all assets and personal property relating thereto (the “Mortgaged Properties”), and (ii) valid,
enforceable first priority security interests on and covering all of the other assets of the Company
(the “Other Assets”).


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                 (c)     Within five (5) business days of a request by the Holder, the Company
shall deliver to the Holder (i) mortgages and/or deeds of trust, in appropriate and recordable form
under Arizona law and reasonably satisfactory in form and substance to the Holder, executed
by the Company, with respect to the Mortgaged Properties (“Deeds of Trust”), which shall create
a first priority lien on such Mortgaged Properties and which shall be promptly recorded in the
recorder’s office of the appropriate county, and (ii) appropriate instruments granting valid,
enforceable first priority security interests on and covering all of the Other Assets, in
appropriate and recordable form and reasonably satisfactory in form and substance to the Holder,
executed by the Company, with respect to the Other Assets (the “Other Instruments” and,
collectively with the Deeds of Trust, the “Security Documents”). Thereafter, the Company shall
cause the Mortgaged Properties now owned or hereafter acquired by it to be subject at all times to
a first priority, perfected lien in favor of the Holder to secure the Secured Obligations, and the
Company shall provide any filings and deliveries reasonably requested by the Holder in
connection therewith to perfect the security interests therein, all in form and substance
reasonably satisfactory to the Holder.

                (d)     The Holder acknowledges that the security interests granted in the
Mortgaged Properties and the Other Assets to the Holder to secure the Secured Obligations are
also being granted to the holders of the Others Notes to secure the obligations of the Company
under such Other Notes, and that such all of such security interests shall be for the ratable benefit
of the Holders of all of the Notes. The form and substance of the Security Documents shall
reflect such ratable benefit term.

                (3) CONVERSION OF NOTE. Following the Issuance Date, as set out above, this
Note shall be convertible into shares of Common Stock on the terms and conditions set forth in
this Section 3.

                     (a) Optional Conversion Right. Holder has the right to convert all or part of
the Principal Amount at the Company’s valuation of $250,000,000.00 into fully paid and
nonassessable shares of Common Stock in accordance with Section 3(c), at the Conversion Rate
(as defined below) (the “Conversion Date”). The Company shall not issue any fraction of a share
of Common Stock upon any conversion. If the issuance would result in the issuance of a fraction
of a share of Common Stock, the Company shall round such fraction of a share of Common Stock
up to the nearest whole share. The Company shall pay any and all transfer, stamp and similar
taxes that may be payable with respect to the issuance and delivery of Common Stock upon
conversion of any Conversion Amount. The Holder shall have the right to deliver an effective
conversion notice at any time until 11:59 pm on the chosen date and it shall be immediately
effective.

                      (b) Conversion Rate. The number of shares of Common Stock issuable upon
conversion of any Conversion Amount pursuant to Section 3(a) shall be determined by dividing
(x) such Conversion Amount by  (i) (y)
                                    “Conversion  Amount”
                                       the Conversion Price (the
                                                             means
                                                                 “Conversion Rate”).
                                                                    the sum of the portion of the
        Principal to be converted, redeemed or otherwise with respect to which this determination
        is being made.


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                            (ii) “Conversion Price” means $0.0599. Subsequent to the
     effective date of the registration statement registering for resale the Conversions Shares
     and the Warrant Shares pursuant to the Purchase Agreement, if the closing sale price of the
     Common Stock averages less than the then Conversion Price over a period of ten (10)
     consecutive trading days, the Conversion Price shall reset to such average price. If the 10-
     day volume weighted average price of the Common Stock continues to be less than the
     Conversion Price then the Conversion Price should reset to such 10-day average price.

                (c)   Mechanics of Optional Conversion and Adjustment:

                           (i)     Registration; Book-Entry. The Company shall maintain a
                                   register (the “Register”) for the recordation of the holder of
                                   the Note and the Principal amount of the Note held by the
                                   holder (the “Registered Note”). The entries in the Register,
                                   made in good faith, shall be conclusive and binding for all
                                   purposes absent manifest error. The Company and the holder
                                   of the Note shall treat each Person whose name is recorded
                                   in the Register as the owner of the Note for all purposes,
                                   including, without limitation, the right to receive payments
                                   of Principal, if any, hereunder, notwithstanding notice to the
                                   contrary. Upon its receipt of a request to assign or sell all or
                                   part of the Registered Note by the Holder, the Company shall
                                   record the information contained therein in the Register and
                                   issue one or more new Registered Notes in the same
                                   aggregate Principal amount as the Principal amount of the
                                   surrendered Registered Note to the designated assignee or
                                   transferee pursuant to Section 10. Notwithstanding anything
                                   to the contrary in this Section 3(c)(i), the Holder may assign
                                   any Note or any portion thereof to an Affiliate of such Holder
                                   or a Related Fund of such Holder without delivering a
                                   request to assign or sell such Note to the Company and the
                                   recordation of such assignment or sale in the Register (a
                                   “Related Party Assignment”); provided, that (x) the
                                   Company may continue to deal solely with such assigning or
                                   selling Holder unless and until such Holder has delivered a
                                   request to assign or sell such Note or portion thereof to the
                                   Company for recordation in the Register; (y) the failure of
                                   such assigning or selling Holder to deliver a request to assign
                                   or sell such Note or portion thereof to the Company shall not
                                   affect the legality, validity, or binding effect of such
                                   assignment or sale and (z) such assigning or selling Holder
                                   shall, acting solely for this purpose as a non-fiduciary agent
                                   of the Company, maintain a register (the “Related Party
                                   Register”) comparable to the Register on behalf of the
                                   Company, and any such assignment or sale shall be effective
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                                   upon recordation of such assignment or sale in the Related
                                   Party Register. Notwithstanding anything to the contrary set
                                   forth herein, upon conversion of any portion of this Note in
                                   accordance with the terms hereof, the Holder shall not be
                                   required to physically surrender this Note to the Company
                                   unless the Holder has provided the Company with prior
                                   written notice (which notice may be included in a
                                   Conversion Notice) requesting reissuance of this Note upon
                                   physical surrender of this Note. The Holder and the
                                   Company shall maintain records showing the Principal,
                                   converted and the dates of such conversions or shall use such
                                   other method, reasonably satisfactory to the Holder and the
                                   Company, so as not to require physical surrender of this Note
                                   upon conversion.

                           (ii) Intentionally omitted.

                        (iii) Holder may convert any or all of this Note into shares of
     Common Stock at any time.

               (d)     Limitations on Conversions.

                         (i) Beneficial Ownership. In case that the Holder becomes subject to the
            filing or reporting obligations under Regulation 13D-G of the Exchange Act due to
            (i) the conversion of this Note, or any other share issuance hereunder, or (ii) the
            changes to the beneficial ownership of the Holder (together with the Attribution
            Parties) in the Company, including but not limited to the changes to such beneficial
            ownership due to the conversion or share issuance hereunder, the Holder shall
            timely file such schedules or forms with the United States Securities and Exchange
            Commission (the “Commission”) as required under Regulation 13D-G of the
            Exchange Act. For purposes of this paragraph, beneficial ownership and all
            calculations (including, without limitation, with respect to calculations of
            percentage ownership) shall be determined in accordance with Regulation 13D-G
            and the rules and regulations promulgated thereunder. The obligations contained in
            this paragraph shall apply to a successor Holder of this Note. For any reason at any
            time, upon the written or oral request of the Holder, the Company shall within one
            (1) Business Day confirm orally and in writing to the Holder the number of shares
            of Common Stock then outstanding, including by virtue of any prior conversion or
            exercise of convertible or exercisable securities into Common Stock, including,
            without limitation, pursuant to this Note or securities issued pursuant to the
            Purchase Agreement.

                       (ii) Principal Market Regulation. Unless permitted by the applicable
            rules and regulations of the Principal Market, the Company shall not issue any
            shares of Common Stock upon conversion of this Note if the issuance of such shares
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               of Common Stock would exceed the aggregate number of shares of Common Stock
               which the Company may issue upon exercise or conversion (as the case may be) of
               the Note without breaching the Company’s obligations under the rules or
               regulations of the Principal Market (the number of shares which may be issued
               without violating such rules and regulations, the “Exchange Cap”).
               Notwithstanding the foregoing, such limitation shall not apply in the event that the
               Company (A) obtains the approval of its stockholders as required by the applicable
               rules of the Principal Market for issuances of shares of Common Stock in excess of
               such amount or (B) obtains a written opinion from outside counsel to the Company
               that such approval is not required, which opinion shall be reasonably satisfactory
               to the Holder. In the event that any Holder shall sell or otherwise transfer any of
               such Holder’s Note, the Exchange Cap restrictions set forth herein shall continue
               to apply to the Note and such transferee.

                       (e) Disputes. In the event of a dispute as to the number of shares of Common
Stock issuable to the Holder in connection with a conversion of this Note, the Company shall issue
to the Holder the number of shares of Common Stock not in dispute and resolve such dispute in
accordance with Section 16.

                     (f) Automatic Conversion. In the event the Company completes a
Fundamental Transaction or completes a listing of its Common Stock onto a national stock
exchange, Holder agrees to convert the OID into Common Stock of the Company at the Conversion
Price. The remaining Principal Amount, Amendment Fee and Interest will remain outstanding,
unless the Holder elects to convert such Principal Amount, Amendment Fee and Interest into
Common Stock of the Company.

               (4)     The Company hereby covenants and agrees as follows:

                       (a) Sale of Assets. During the thirty (30) days from the date of this Note,
                           with the exception of moving certain of its assets to any of its
                           subsidiaries, the Company shall not sell any material assets.

                       (b) Additional Debt. While this Note is outstanding, the Company shall not
                           incur any additional indebtedness for borrowed money, other than any
                           indebtedness that is Permitted Indebtedness.

               (5)     RIGHTS UPON EVENT OF DEFAULT.

                        (a) Event of Default. Each of the following events shall constitute an “Event
of Default”; provided, however, that, except in the case of the Events of Default listed in Sections
5(a)(i), or 5(a)(ix) below, the Company shall have five (5) business days after notice of default
from the Holder to cure such Event of Default unless a lesser number of days is required pursuant
to the provisions of this Section 5.



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                            (i) Failure to Pay Principal. The Company fails to pay the Principal,
     Amendment Fee or Interest due under this Note or any of the Other Notes at the Maturity
     Date (or the maturity date of any of the Other Notes, if the maturity date under the Other
     Notes is different from the Maturity Date), liquidated damages and other amounts thereon
     when due on the Note or any of the Other Notes, whether at maturity, upon acceleration or
     otherwise.

                             (ii) Conversion and the Shares. The Company (i) fails to issue
     Conversion Shares to the Holder (or announces or threatens in writing that it will not honor
     its obligation to do so) upon exercise by the Holder of the conversion rights of the Holder
     in accordance with the terms of the Note, (ii) fails to transfer or cause its transfer agent to
     transfer (issue) (electronically or in certificated form) any certificate for the Conversion
     Shares issuable to the Holder upon conversion of or otherwise pursuant to the Note as and
     when required by the Note, or (iii) the Company directs its transfer agent not to transfer or
     delays, impairs, and/or hinders its transfer agent in transferring (or issuing) (electronically
     or in certificated form) any certificate for the Conversion Shares issuable to the Holder
     upon conversion of or otherwise pursuant to the Note as and when required by the Note, or
     fails to remove (or directs its transfer agent not to remove or impairs, delays, and/or hinders
     its transfer agent from removing) any restrictive legend (or to withdraw any stop transfer
     instructions in respect thereof) on any certificate for any Conversion Shares issued to the
     Holder upon conversion of or otherwise pursuant to the Note as and when required by the
     Note (or makes any written announcement, statement or threat that it does not intend to
     honor the obligations described in this paragraph) and any such failure shall continue
     uncured (or any written announcement, statement or threat not to honor its obligations shall
     not be rescinded in writing) for five (5) business days after the Holder shall have delivered
     a Notice of Conversion. It is an obligation of the Company to remain current in its
     obligations to its transfer agent. It shall be an Event of Default of the Note, if a conversion
     of the Note is delayed, hindered or frustrated due to a balance owed by the Company to its
     transfer agent. If at the option of the Holder, the Holder advances any funds to the
     Company’s transfer agent in order to process a conversion, such advanced funds shall be
     paid by the Company to the Holder within forty eight (48) hours of a demand from the
     Holder. If Borrower is unable to do so, they shall have an opportunity to cure within five
     (5) business days.

                            (iii) Breach of Agreements and Covenants. The Company breaches
     any material agreement, covenant or other material term or condition contained in the
     Purchase Agreement, the Note or in any agreement, statement or certificate given in writing
     pursuant hereto or in connection herewith or therewith, and such breach results in a material
     adverse effect on the business or assets of the Company.

                           (iv) Breach of Representations and Warranties. Any representation
     or warranty of the Company made in the Purchase Agreement or the Note, or in any
     agreement, statement or certificate given in writing pursuant hereto or in connection
     herewith or therewith shall be false or misleading in any material respect when made and
     the breach of which has (or with the passage of time will have) a Material Adverse Effect
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     on the rights of the Holder with respect to the Note or the Purchase Agreement. In the event
     of such a breach, the Company shall have an opportunity to cure within two (2) business
     days.

                          (v) Receiver or Trustee. The Company or any subsidiary of the
     Company shall make an assignment for the benefit of creditors, or apply for or consent to
     the appointment of a receiver or trustee for it or for a substantial part of its property or
     business, or such a receiver or trustee shall otherwise be appointed. Under such
     circumstances, the Company shall have an opportunity to cure within sixty (60) days.

                            (vi) Judgments. Any money judgment, writ or similar process shall
     be entered or filed against the Company or any subsidiary of the Company or any of its
     property or other assets for more than $100,000, and shall remain unvacated, unbonded or
     unstayed for a period of twenty (20) days unless otherwise consented to by the Holder,
     which consent will not be unreasonably withheld.

                           (vii) Bankruptcy. Bankruptcy, insolvency, reorganization or
     liquidation proceedings or other proceedings, voluntary or involuntary, for relief under any
     bankruptcy law or any law for the relief of debtors shall be instituted by or against the
     Company or any subsidiary of the Company. Under such circumstances, the Company shall
     have an opportunity to cure within sixty (60) days.

                            (viii) Delisting or Trading of Common Stock. The Company shall
     fail to maintain the listing or quotation of its Common Stock minimally on a Trading
     Market.

                            (ix) Failure to Comply with the Exchange Act. The Company shall
     fail to comply with the reporting requirements of the Exchange Act and/or the Company
     shall cease to be subject to the reporting requirements of the Exchange Act.

                          (x) Liquidation. Any dissolution, liquidation, or winding up of
     Borrower or any substantial portion of its business or assets.

                           (xi) Cessation of Operations. Any cessation of operations by
     Borrower or Borrower admits it is otherwise generally unable to pay its debts as such debts
     become due, provided, however, that any disclosure of the Company’s ability to continue
     as a “going concern” shall not be an admission that the Company cannot pay its debts as
     they become due.

                            (xii) Intentionally omitted.

                            (xiii) Intentionally omitted.




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                           (xiv) Other Obligations. The occurrence of any default under any
     agreement or obligation of the Company that is not cured within ten (10) days that could
     reasonably be expected to have a Material Adverse Effect.

                            (xv) Default under Transaction Documents or Other Material
     Agreement. A default or event of default (subject to any grace or cure period provided in
     the applicable agreement, document or instrument) shall occur under (A) this Note, the
     warrant or the securities purchase agreement or any of the other agreements entered into
     by the parties related to the purchase of this Note (collectively, the “Transaction
     Documents”), or (B) the Other Notes or any other material agreement, lease, document or
     instrument to which Company or any Subsidiary is obligated (and not covered by clause
     (vi) below), which in the case of subsection (B) would reasonably be expected to have a
     Material Adverse Effect.

                           (xvi) Default under Mortgage or Other Agreement of Indebtedness.
     Company or any Subsidiary shall default on any of its obligations under any mortgage,
     credit agreement or other facility, indenture agreement, factoring agreement or other
     instrument under which there may be issued, or by which there may be secured or
     evidenced, any indebtedness for borrowed money or money due under any long term
     leasing or factoring arrangement that (a) involves an obligation greater than $100,000,
     whether such indebtedness now exists or shall hereafter be created, and (b) results in such
     indebtedness becoming or being declared due and payable prior to the date on which it
     would otherwise become due and payable.

                           (xvii) Intentionally omitted.

                           (xviii) Failure to Meet the Requirements under Rule 144. Company
     does not meet the current public information requirements under Rule 144.

                            (xix) Failure to Maintain Intellectual Property. The failure by
     Company or any material Subsidiary to maintain any material intellectual property rights,
     personal, real property, equipment, leases or other assets which are necessary to conduct
     its business (whether now or in the future) and such breach is not cured with twenty (20)
     days after written notice to the Company from the Holder.

                           (xx) Trading Suspension. A Commission or judicial stop trade order
     or suspension from a Trading Market.

                           (xxi) Intentionally omitted.

                          (xxii) Failure to Provide Required Notification of a Material Event.
     A failure by Company to notify Holder of any material event of which Company is
     obligated to notify Holder pursuant to the terms of this Note or any other Transaction
     Document.


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                                (xxiii) Invalidity or Unenforceability of Transaction Documents.
        Any material provision of any Transaction Document shall at any time for any reason
        (other than pursuant to the express terms thereof) cease to be valid and binding on or
        enforceable against the Company, or the validity or enforceability thereof shall be
        contested by Company, or a proceeding shall be commenced by Company or any
        governmental authority having jurisdiction over Company or Holder, seeking to establish
        the invalidity or unenforceability thereof, or Company shall deny in writing that it has any
        liability or obligation purported to be created under any Transaction Document.

                                (xxiv) Intentionally omitted.

                         (b) Redemption Right. At any time after the Holder becoming aware of an
Event of Default, the Required Holders may require the Company to redeem (an “Event of Default
Redemption”) all or any portion of the Notes by delivering written notice thereof (the “Event of
Default Redemption Notice”) to the Company, which Event of Default Redemption Notice shall
indicate the portion of this Note and the Other Notes the Required Holders are electing to require
the Company to redeem. Each portion of this Note and the Other Notes subject to redemption by
the Company pursuant to this Section 5(b) shall be redeemed by the Company in cash by wire
transfer of immediately available funds at a price equal to (i) the Principal Amount, plus (ii) all
Interest then accrued on the Principal Amount from the date of the Note to the Event of Default,
plus (iii) the Amendment Fee, plus (iv) interest on the Principal Amount calculated from the Event
of Default at the greater of the Default Interest Rate or the maximum rate permitted under
applicable law (the “Event of Default Redemption Price”), plus (v) liquidated damages of
$750,000, plus (vi) an amount in cash equal to 1% of the Event of Default Redemption Price for
each 30 day period during which redemptions fail to be made; provided, however, in the event that
the Company does not have sufficient funds to pay 100% of the relevant Event of Default
Redemption Price to the Holders of all of the Notes, the Company shall pay a pro rata portion of
the Event of Default Redemption Price to each such Holder based on the proportion that the
Principal Amount of each of the Notes bears to the aggregate Principal Amount of all of the Notes.
To the extent redemptions required by this Section 5(b) are deemed or determined by a court of
competent jurisdiction to be prepayments of the Note by the Company, such redemptions shall be
deemed to be voluntary prepayments. Notwithstanding anything to the contrary in this Section 5,
but subject to Section 3(b)(ii) and 3(d), until the Event of Default Redemption Price payable in
respect of each of the Notes (together with any interest thereon) is paid in full, the Conversion
Amount submitted for redemption under this Section 5(b) (together with any interest thereon) may
be converted, in whole or in part, by the Holder into Common Stock pursuant to Section 3. The
parties hereto agree that in the event of the Company's redemption of any portion of the Note under
this Section 5(b), the Holder's damages would be uncertain and difficult to estimate because of the
parties' inability to predict future interest rates and the uncertainty of the availability of a suitable
substitute investment opportunity for the Holder. Accordingly, any Event of Default redemption
premium due under this Section 5(b) is intended by the parties to be, and shall be deemed, a
reasonable estimate of the Holder's actual loss of its investment opportunity and not as a penalty.
                 (6)     RIGHTS UPON FUNDAMENTAL TRANSACTION.



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                       (a) If, at any time while this Note is outstanding, (i) the Company effects a
Fundamental Transaction, then, upon any subsequent conversion of this Note, the Holder shall
have the right to receive, for each Conversion Share that would have been issuable upon such
conversion immediately prior to the occurrence of such Fundamental Transaction, the same kind
and amount of securities, cash or property as it would have been entitled to receive upon the
occurrence of such Fundamental Transaction if it had been, immediately prior to such Fundamental
Transaction, the holder of one (1) share of Common Stock (the “Alternate Consideration”). For
purposes of any such conversion, the determination of the Conversion Price shall be appropriately
adjusted to apply to such Alternate Consideration based on the amount of Alternate Consideration
issuable in respect of one (1) share of Common Stock in such Fundamental Transaction, and the
Company shall apportion the Conversion Price among the Alternate Consideration in a
reasonable manner reflecting the relative value of any different components of the Alternate
Consideration. If holders of Common Stock are given any choice as to the securities, cash or
property to be received in a Fundamental Transaction, then the Holder shall be given the same
choice as to the Alternate Consideration it receives upon any conversion of this Debenture
following such Fundamental Transaction. To the extent necessary to effectuate the foregoing
provisions, any successor to the Company or surviving entity in such Fundamental Transaction
shall issue to the Holder a new debenture consistent with the foregoing provisions and
evidencing the Holder’s right to convert such debenture into Alternate Consideration. The
terms of any agreement pursuant to which a Fundamental Transaction is effected shall include
terms requiring any such successor or surviving entity to comply with the provisions of this
Section 6(a) and insuring that this Note (or any such replacement security) will be similarly
adjusted upon any subsequent transaction analogous to a Fundamental Transaction.

          (7) DISTRIBUTION OF ASSETS; RIGHTS UPON ISSUANCE OF PURCHASE
RIGHTS AND OTHER CORPORATE EVENTS.

                       (a) Distribution of Assets. If the Company shall declare or make any
dividend or other distributions of its assets (or rights to acquire its assets) to any or all holders of
shares of Common Stock, by way of return of capital or otherwise (including without limitation,
any distribution of cash, stock or other securities, property, options, evidence of Indebtedness or
any other assets by way of a dividend, spin off, reclassification, corporate rearrangement, scheme
of arrangement or other similar transaction) (the “Distributions”), then the Holder will be
entitled to such Distributions as if the Holder had held the number of shares of Common Stock
acquirable upon complete conversion of this Note (without taking into account any limitations or
restrictions on the convertibility of this Note) immediately prior to the date on which a record is
taken for such Distribution or, if no such record is taken, the date as of which the record
holders of Common Stock are to be determined for such Distributions and the portion of such
Distribution shall be held in abeyance for the Holder.

                       (b) Purchase Rights. If at any time the Company grants, issues or sells any
Options, Convertible Securities or rights to purchase stock, warrants, securities or other property
pro rata to the record holders of any class of Common Stock (the “Purchase Rights”), then the
Holder will be entitled to acquire or receive, as applicable, upon the terms applicable to such
Purchase Rights, the aggregate Purchase Rights which the Holder could have acquired if the
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Holder had held the number of shares of Common Stock acquirable upon complete conversion of
this Note (without taking into account any limitations or restrictions on the convertibility of this
Note) immediately prior to the date on which a record is taken for the grant, issuance or sale of
such Purchase Rights, or, if no such record is taken, the date as of which the record holders of
shares of Common Stock are to be determined for the grant, issue or sale of such Purchase Rights.

                       (c) Other Corporate Events. In addition to and not in substitution for any
other rights hereunder, prior to the occurrence or consummation of any Fundamental Transaction
pursuant to which holders of shares of Common Stock are entitled to receive securities, cash,
assets or other property with respect to or in exchange for shares of Common Stock (a
“Corporate Event”), the Company shall make appropriate provision to ensure that, and
any applicable Successor Entity or Successor Entities shall ensure that, and it shall be a required
condition to the occurrence or consummation of such Corporate Event that, the Holder will
thereafter have the right to receive upon conversion of this Note at any time after the occurrence
or consummation of the Corporate Event, shares of Common Stock or Successor Capital Stock
or, if so elected by the Holder, cash in lieu of the shares of Common Stock (or other
securities, cash, assets or other property) purchasable upon the conversion of this Note prior to
such Corporate Event, such shares of stock, securities, cash, assets or any other property
whatsoever (including warrants or other purchase or subscription rights and any shares of
Common Stock) which the Holder would have been entitled to receive upon the occurrence or
consummation of such Corporate Event or the record, eligibility or other determination date for
the event resulting in such Corporate Event, had this Note been converted immediately prior to
such Corporate Event or the record, eligibility or other determination date for the event
resulting in such Corporate Event (without regard to any limitations on conversion of this Note).
Provision made pursuant to the preceding sentence shall be in a form and substance satisfactory
to the Holder. The provisions of this Section 7 shall apply similarly and equally to successive
Corporate Events.
                (8)    RIGHTS UPON ISSUANCE OF OTHER SECURITIES.

                (A) Adjustment of Conversion Price upon Subdivision or Combination of Common
       Stock. If the Company at any time on or after the Issuance Date subdivides (by any stock
       split, stock dividend, recapitalization or otherwise) one or more classes of its outstanding
       shares of Common Stock into a greater number of shares, the Conversion Price in effect
       immediately prior to such subdivision will be proportionately reduced. If the Company at
       any time on or after the Issuance Date combines (by combination, reverse stock split or
       otherwise) one or more classes of its outstanding shares of Common Stock into a smaller
       number of shares, the Conversion Price in effect immediately prior to such combination
       will be proportionately increased.

              (B) Voluntary Adjustment by Company. The Company may at any time during the
       term of this Note, with the prior written consent of the Holder, reduce the then current
       Conversion Price to any amount and for any period of time deemed appropriate by the
       Board of Directors of the Company.



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               (9) NONCIRCUMVENTION. The Company hereby covenants and agrees that the
Company will not, by amendment of its Certificate of Incorporation, Bylaws or through any
reorganization, transfer of assets, consolidation, merger, scheme of arrangement, dissolution,
issue or sale of securities, or any other voluntary action, avoid or seek to avoid the
observance or performance of any of the terms of this Note, and will at all times in good faith
carry out all of the provisions of this Note and take all action as may be required to protect the
rights of the Holder of this Note.

               (10)    Intentionally omitted.

               (11) VOTING RIGHTS. The Holder shall have no voting rights as the holder of
this Note, except as required by law and as expressly provided in this Note.

               (12)    COVENANTS.

                       (a) Incurrence of Indebtedness. So long as this Note is outstanding, the
Company shall not, and the Company shall not permit any of its Subsidiaries to, directly or
indirectly, incur or guarantee, assume or suffer to exist any Indebtedness, other than Permitted
Indebtedness.

                        (b) Existence of Liens. So long as this Note is outstanding, the Company
shall not, and the Company shall not permit any of its Subsidiaries to, directly or indirectly, allow
or suffer to exist any Liens other than Permitted Liens.

                       (c) Change in Nature of Business. The Company shall not make, or permit
any of its Subsidiaries to make, any change in the nature of its business. The Company shall not
modify its corporate structure or purpose.

                        (d) Intellectual Property. The Company shall not, and the Company shall
not permit any of its Subsidiaries, directly or indirectly, to encumber or allow any Liens on, any
of its own or its licensed copyright rights, copyright applications, copyright registrations and like
protections in each work of authorship and derivative work, whether published or unpublished,
any patents, patent applications and like protections, including improvements, divisions,
continuations, renewals, reissues, extensions, and continuations-in-part of the same, trademarks,
service marks and, to the extent permitted under applicable law, any applications therefor, whether
registered or not, and the goodwill of the business of the Company and its Subsidiaries connected
with and symbolized thereby, know-how, operating manuals, trade secret rights, rights to
unpatented inventions, and any claims for damage by way of any past, present, or future
infringement of any of the foregoing, other than Permitted Liens.

                        (e) Preservation of Existence, Etc. The Company shall maintain and
preserve, and cause each of its Subsidiaries to maintain and preserve, its existence, rights and
privileges, and become or remain, and cause each of its Subsidiaries to become or remain, duly
qualified and in good standing in each jurisdiction in which the character of the properties owned
or leased by it or in which the transaction of its business makes such qualification necessary.
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                       (f) Maintenance of Properties, Etc. The Company shall maintain and
preserve, and cause each of its Subsidiaries to maintain and preserve, all of its properties which
are necessary or useful in the proper conduct of its business in good working order and condition,
ordinary wear and tear excepted, and comply, and cause each of its Subsidiaries to comply, at all
times with the provisions of all leases to which it is a party as lessee or under which it occupies
property, so as to prevent any loss or forfeiture thereof or thereunder.

                       (g) Maintenance of Insurance. The Company shall maintain, and cause each
of its Subsidiaries to maintain insurance with responsible and reputable insurance companies or
associations (including, without limitation, comprehensive general liability, hazard, rent and
business interruption insurance) with respect to its properties (including all real properties leased
or owned by it) and business, in such amounts and covering such risks as is required by any
governmental authority having jurisdiction with respect thereto or as is carried generally in
accordance with sound business practice by companies in similar businesses similarly situated.

                       (h) Transactions with Affiliates. The Company shall not, nor shall it permit
any of its Subsidiaries to, enter into, renew, extend or be a party to, any transaction or series of
related transactions (including, without limitation, the purchase, sale, lease, transfer or exchange
of property or assets of any kind or the rendering of services of any kind) with any Affiliate,
except in the ordinary course of business in a manner and to an extent consistent with past
practice and necessary or desirable for the prudent operation of its business, for fair consideration
and on terms no less favorable to it or its Subsidiaries than would be obtainable in a comparable
arm's length transaction with a Person that is not an Affiliate thereof.

                       (i) Corporate Changes. The Company shall not change its corporate name,
legal form or jurisdiction of formation without twenty (20) days’ prior written notice to Holder.
Company shall not enter into or be party to a Fundamental Transaction unless in violation of
Section 6 hereof. Company shall not relocate its chief executive office or its principal place of
business unless it has provided prior written notice to Holder.

                       (j) Reserved.

                       (k) Charter Amendments. The Company shall not amend its charter
documents, including, without limitation, its certificate of incorporation and bylaws, in any manner
that materially and adversely affects any rights of the Holder.

                      (l) Repurchase. The Company shall not repay, repurchase or offer to repay,
repurchase or otherwise acquire more than a ------
                                              de minimis number of shares of its Common Stock
or common stock equivalents other than as to the Conversion Shares as permitted or required under
the Transaction Documents.

                     (m) Redemption. The Company shall not redeem, defease, repurchase,
repay or make any payments in respect of, by the payment of cash or cash equivalents (in whole
or in part, whether by way of open market purchases, tender offers, private transactions or
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otherwise), all or any portion of any Indebtedness (other than the Note if on a pro-rata basis),
whether by way of payment in respect of principal of (or premium, if any) or interest on, such
Indebtedness, the foregoing restriction shall also apply to Permitted Indebtedness from and after
the occurrence of an Event of Default.

                        (n) Declaration. The Company shall not declare or make any dividend or
other distribution of its assets or rights to acquire its assets to holders of shares of Common
Stock, by way of return of capital or otherwise including, without limitation, any distribution
of cash, stock or other securities, property or options by way of a dividend, spin off,
reclassification, corporate rearrangement, scheme of arrangement or other similar transaction.

                        (o) The Company shall not enter into any agreement with respect to any of
the foregoing.

              (13)     TRANSFER. This Note and any shares of Common Stock issued upon
conversion of this Note may be offered, sold, assigned or transferred according to the Purchase
Agreement.

                 (14)   REISSUANCE OF THIS NOTE.

                     (a) Transfer. If this Note is to be transferred, the Holder shall instruct the
Company who the new Holder will be and this Note will be automatically cancelled. The
Company will issue and deliver the new Note within two (2) days of such notice.

                        (b) Lost, Stolen or Mutilated Note. Upon receipt by the Company of
evidence reasonably satisfactory to the Company of the loss, theft, destruction or mutilation of this
Note, and, in the case of loss, theft or destruction, of any indemnification undertaking by the Holder
to the Company in customary form and, in the case of mutilation, upon surrender and cancellation
of this Note, the Company shall execute and deliver to the Holder a new Note (in accordance with
Section 14(d)) representing the then outstanding Principal amount of the Note.

                      (c) Note Exchangeable for Different Denominations. This Note is
exchangeable, upon the surrender hereof by the Holder at the principal office of the Company, for
a new Note or Notes (in accordance with Section 14(d) representing in the aggregate the
outstanding Principal of this Note, and each such new Note will represent such portion of such
outstanding Principal as is designated by the Holder at the time of such surrender.

                          (d) Issuance of New Notes. Whenever the Company is required to issue a
new Note pursuant to the terms of this Note, such new Note (i) shall be of like tenor with this Note,
(ii) shall represent, as indicated on the face of such new Note, the Principal remaining outstanding
(or in the case of a new Note being issued pursuant to Section 14(a) or Section 14(c), the Principal
designated by the Holder which, when added to the principal represented by the other new Notes
issued in connection with such issuance, does not exceed the Principal remaining outstanding
under this Note immediately prior to such issuance of new Notes), (iii) shall have an issuance date,
as indicated on the face of such new Note, which is the same as the Issuance Date of this Note,
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(iv) shall have the same rights and conditions as this Note, and (v) shall represent accrued and
unpaid Interest on the Principal and Interest of this Note, from the Issuance Date.

                (15) REMEDIES, CHARACTERIZATIONS, OTHER OBLIGATIONS,
BREACHES AND INJUNCTIVE RELIEF. The remedies provided in this Note shall be
cumulative and in addition to all other remedies available under this Note and any of the other
Transaction Documents, at law or in equity (including a decree of specific performance and/or
other injunctive relief), and nothing herein shall limit the Holder's right to pursue actual and
consequential damages for any failure by the Company to comply with the terms of this Note.
Amounts set forth or provided for herein with respect to payments, conversion, redemption and
the like (and the computation thereof) shall be the amounts to be received by the Holder and shall
not, except as expressly provided herein, be subject to any other obligation of the Company (or the
performance thereof). The Company acknowledges that a breach by it of its obligations hereunder
will cause irreparable harm to the Holder and that the remedy at law for any such breach may be
inadequate. The Company therefore agrees that, in the event of any such breach or threatened
breach, the Holder shall be entitled, in addition to all other available remedies, to an injunction
restraining any breach, without the necessity of showing economic loss and without any bond or
other security being required.

                (16) PAYMENT OF COLLECTION, ENFORCEMENT AND OTHER COSTS. If
(a) this Note is placed in the hands of an attorney for collection or enforcement or is collected or
enforced through any legal proceeding or the Holder otherwise takes action to collect amounts due
under this Note or to enforce the provisions of this Note or (b) there occurs any bankruptcy,
reorganization, receivership of the Company or other proceedings affecting Company creditors'
rights and involving a claim under this Note, then the Company shall pay the costs and expenses
incurred by the Holder for such collection, enforcement or action or in connection with such
bankruptcy, reorganization, receivership or other proceeding, including, but not limited to,
attorneys' fees and disbursements.

                (17) CONSTRUCTION; HEADINGS. This Note shall be deemed to be jointly
drafted by the Company and the Holder and shall not be construed against any person as the drafter
hereof. The headings of this Note are for convenience of reference and shall not form part of, or
affect the interpretation of, this Note.

                (18) FAILURE OR INDULGENCE NOT WAIVER. No failure or delay on the part
of the Holder in the exercise of any power, right or privilege hereunder shall operate as a waiver
thereof, nor shall any single or partial exercise of any such power, right or privilege preclude other
or further exercise thereof or of any other right, power or privilege.

                (19) DISPUTE RESOLUTION. In the case of a dispute as to the determination of
the arithmetic calculation of the Conversion Rate, the Conversion Price or any Redemption Price,
the Company shall submit the disputed determinations or arithmetic calculations via facsimile or
electronic mail within one (1) Business Days of receipt, or deemed receipt, of the Conversion
Notice or Redemption Notice or other event giving rise to such dispute, as the case may be, to the
Holder. If the Holder and the Company are unable to agree upon such determination or calculation
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within two (2) Business Days of such disputed determination or arithmetic calculation being
submitted to the Holder, then the Company shall, within two (2) Business Days submit
via facsimile or electronic mail the disputed arithmetic calculation of the Conversion Rate,
Conversion Price or any Redemption Price to an independent, outside accountant, selected by the
Holder and approved by the Company, such approval not to be unreasonably withheld,
conditioned or delayed. The Company, at the Company's expense, shall cause the accountant to
perform the determinations or calculations and notify the Company and the Holder of the results
no later than five (5) Business Days from the time it receives the disputed determinations or
calculations. Such accountant's determination or calculation shall be binding upon all parties
absent demonstrable error.
                (20) NOTICES; PAYMENTS.

                        (a) Notices. All notices, demands, requests, consents, approvals, and other
communications required or permitted hereunder shall be in writing and, unless otherwise
specified herein, shall be (i) personally served, (ii) deposited in the mail, registered or certified,
return receipt requested, postage prepaid, (iii) delivered by reputable air courier service with
charges prepaid, or (iv) transmitted by hand delivery, telegram, facsimile, or electronic mail,
addressed as set forth below or to such other address as such party shall have specified most
recently by written notice. Any notice or other communication required or permitted to be given
hereunder shall be deemed effective (a) upon hand delivery or delivery by facsimile, with accurate
confirmation generated by the transmitting facsimile machine, at the address or number designated
below (if delivered on a business day during normal business hours where such notice is to be
received), or the first business day following such delivery (if delivered other than on a business
day during normal business hours where such notice is to be received), or (b) upon receipt, when
sent by electronic mail (provided confirmation of transmission is electronically generated and keep
on file by the sending party), or (c) on the second business day following the date of mailing by
express courier service, fully prepaid, addressed to such address, or upon actual receipt of such
mailing, whichever shall first occur. The addresses for such communications shall be: (i) if to
Borrower, to: Proton Green LLC at 4531 Park Lane, Dallas, Texas 75220, Steven E. Looper,
sel@protongreen.com; (ii) if to the Holder, to: the address and fax number indicated on the
Purchase Agreement. Without limiting the generality of the foregoing, the Company shall give
written notice to the Holder (i) immediately upon any adjustment of the Conversion Price, setting
forth in reasonable detail, and certifying, the calculation of such adjustment and (ii) at least twenty
(20) days prior to the date on which the Company closes its books or takes a record (A) with
respect to any dividend or distribution upon the Common Stock, (B) with respect to any pro rata
subscription offer to holders of Common Stock or (C) for determining rights to vote with respect
to any Fundamental Transaction, dissolution or liquidation, provided in each case that such
information shall be made known to the public prior to or in conjunction with such notice being
provided to the Holder.

                       (b) Payments. Whenever any payment of cash is to be made by the
Company to any Person pursuant to this Note, such payment shall be made in lawful money of the
United States of America by a check drawn on the account of the Company and sent via overnight
courier service to such Person at such address as previously provided to the Company in writing;
provided, that the Holder may elect to receive a payment of cash via wire transfer of immediately
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available funds by providing the Company with prior written notice setting out such request and
the Holder's wire transfer instructions. Whenever any amount expressed to be due by the terms of
this Note is due on any day, which is not a Business Day, the same shall instead be due on the
next succeeding day, which is a Business Day.

              (21) CANCELLATION. After all Principal and other amounts at any time owed
on this Note have been paid in full, this Note shall automatically be deemed canceled, shall
be surrendered to the Company for cancellation and shall not be reissued.

               (22) WAIVER OF NOTICE. To the extent permitted by law, the Company hereby
waives demand, notice, protest and all other demands and notices in connection with the delivery,
acceptance, performance, default or enforcement of this Note.

                 (23) GOVERNING LAW; JURISDICTION; JURY TRIAL. All questions
concerning the construction, validity, enforcement and interpretation of this Note shall be
governed by and construed and enforced in accordance with the internal laws of the State of New
York, without regard to the principles of conflicts of law thereof. The Company agrees that all
legal proceedings concerning the interpretations, enforcement and defense of the transactions
contemplated by this Note (whether brought against the Company, the Holder or their respective
affiliates, directors, officers, shareholders, employees or agents) shall be commenced exclusively
in the state and federal courts sitting in the City of New York, County of New York. The
Company hereby irrevocably submits to the exclusive jurisdiction of the state and federal courts
sitting in the City of New York, Borough of Manhattan for the adjudication of any dispute
hereunder or in connection herewith or with any transaction contemplated hereby or discussed
herein, and hereby irrevocably waives, and agrees not to assert in any suit, action or proceeding,
any claim that it is not personally subject to the jurisdiction of any such court, that such suit,
action or proceeding is improper or is an inconvenient venue for such proceeding. The
Company hereby irrevocably waives personal service of process and consents to process being
served in any such suit, action or proceeding by mailing a copy thereof via registered or certified
mail or overnight delivery (with evidence of delivery) to it at the address in effect for notices to it
under the Purchase Agreement and agrees that such service shall constitute good and sufficient
service of process and notice thereof. Nothing contained herein shall be deemed to limit in any
way any right to serve process in any other manner permitted by law. If the Company or a Holder
shall commence an action or proceeding to enforce any provisions of the Note, then the
prevailing party in such action or proceeding shall be reimbursed by the other party for its
reasonable attorneys’ fees and other costs and expenses incurred with the investigation,
preparation and prosecution of such action or proceeding. IN ANY ACTION, SUIT, OR
PROCEEDING IN ANY JURISDICTION BROUGHT BY ANY PARTY AGAINST
ANY OTHER PARTY, THE COMPANY KNOWINGLY AND INTENTIONALLY,
TO THE GREATEST EXTENT PERMITTED BY                                      APPLICABLE            LAW,
HEREBY             ABSOLUTELY,              UNCONDITIONALLY, IRREVOCABLY AND
EXPRESSLY WAIVES FOREVER TRIAL BY JURY.
                 (24) SEVERABILITY. If any provision of this Note is prohibited by law or
otherwise determined to be invalid or unenforceable by a court of competent jurisdiction, the
provision that would otherwise be prohibited, invalid or unenforceable shall be deemed amended
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to apply to the broadest extent that it would be valid and enforceable, and the invalidity or
unenforceability of such provision shall not affect the validity of the remaining provisions of this
Note so long as this Note as so modified continues to express, without material change, the
original intentions of the parties as to the subject matter hereof and the prohibited nature,
invalidity or unenforceability of the provision(s) in question does not substantially impair
the respective expectations or reciprocal obligations of the parties or the practical realization of
the benefits that would otherwise be conferred upon the parties. The parties will endeavor in good
faith negotiations to replace the prohibited, invalid or unenforceable provision(s) with a valid
provision(s), the effect of which comes as close as possible to that of the prohibited, invalid or
unenforceable provision(s).

               (25) DISCLOSURE. Upon receipt or delivery by the Company of any notice in
accordance with the terms of this Note, unless the Company has in good faith determined that the
matters relating to such notice do not constitute material, nonpublic information relating to the
Company or its Subsidiaries, the Company shall within one (1) Business Day after any such

Form
information  relating to the Company or its Subsidiaries, the Company so shall indicate to such
Holder contemporaneously with delivery of such notice, and in the absence of any such indication,
the Holder shall be allowed to presume that all matters relating to such notice do not constitute
material, nonpublic information relating to the Company or its Subsidiaries.

                (26) CERTAIN DEFINITIONS. For purposes of this Note, the following terms
shall have the following meanings:

                         (a) “Affiliate” means, with respect to any Person, any other Person that
directly or indirectly controls, is controlled by, or is under common control with, such Person, it
being understood for purposes of this definition that “control” of a Person means the power directly
or indirectly either to vote 10% or more of the stock having ordinary voting power for the election
of directors of such Person or direct or cause the direction of the management and policies of such
Person whether by contract or otherwise.

                       (b) “Attribution Parties” means, collectively, the following Persons and
entities: (i) any investment vehicle, including, any funds, feeder funds or managed accounts,
currently, or from time to time after the Issuance Date, directly or indirectly managed or advised
by the Holder's investment manager or any of its Affiliates or principals, (ii) any direct or indirect
Affiliates of the Holder or any of the foregoing, (iii) any Person acting or who could be deemed to
be acting as a Group together with the Holder or any of the foregoing and (iv) any other Persons
whose beneficial ownership of the Company's Common Stock would or could be aggregated with
the Holder's and the other Attribution Parties for purposes of Regulation 13D-G of the Exchange
Act.

                       (c) “Bloomberg” means Bloomberg Financial Markets.

                       (d) “Closing Date” shall have the meaning ascribed to such term in the
Purchase Agreement.
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                        (e) “Closing Bid Price” and “Closing Sale Price” means, for any security
as of any date, the last closing bid price and last closing trade price, respectively, for such security
on the Principal Market, as reported by Bloomberg, or, if the Principal Market begins to operate
on an extended hours basis and does not designate the closing bid price or the closing trade price,
as the case may be, then the last bid price or last trade price, respectively, of such security prior to
4:00 p.m., New York Time, as reported by Bloomberg, or, if the Principal Market is not the
principal securities exchange or trading market for such security, the last closing bid price or last
trade price, respectively, of such security on the principal securities exchange or trading market
where such security is listed or quoted for trading as reported by Bloomberg, or if the foregoing
do not apply, the last closing bid price or last trade price, respectively, of such security in the
over-the-counter market on the electronic bulletin board for such security as reported by
Bloomberg, or, if no closing bid price or last trade price, respectively, is reported for such
security by Bloomberg, the average of the bid prices, or the ask prices, respectively, of any
market makers for such security as reported in the OTC Link or “pink sheets” by OTC Markets
Group Inc. (formerly Pink OTC Markets Inc.). If the Closing Bid Price or the Closing Sale Price
cannot be calculated for a security on a particular date on any of the foregoing bases, the
Closing Bid Price or the Closing Sale Price, as the case may be, of such security on such date
shall be the fair market value as mutually determined by the Company and the Holder. If the
Company and the Holder are unable to agree upon the fair market value of such security, then
such dispute shall be resolved pursuant to Section 19. All such determinations to be appropriately
adjusted for any stock dividend, stock split, stock combination, reclassification or similar
transaction during the applicable calculation period.

                      (f) “Common Stock” the common stock of the Company, par value $0.001
per share, and any other class of securities into which such securities may hereafter be reclassified
or changed.

                      (g) “Convertible Securities” means any stock or securities (other than
Options) directly or indirectly convertible into or exercisable or exchangeable for shares of
Common Stock.

                       (h) “Default Interest Rate” means 18% per annum.

                        (i) “Equity Interests” means (a) all shares of capital stock (whether
denominated as common capital stock or preferred capital stock), equity interests, beneficial,
partnership or membership interests, joint venture interests, participations or other ownership or
profit interests in or equivalents (regardless of how designated) of or in a Person (other than an
individual), whether voting or non-voting and (b) all securities convertible into or exchangeable
for any of the foregoing and all warrants, options or other rights to purchase, subscribe for or
otherwise acquire any of the foregoing, whether or not presently convertible, exchangeable or
exercisable.

                     (j) “Exchange Act” means the Securities Exchange Act of 1934, as
amended, and the rules and regulations promulgated thereunder.
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                        (k) “Fundamental Transaction” means (A) that the Company shall,
directly or indirectly, including through Subsidiaries, Affiliates or otherwise, in one or more
related transactions, (i) consolidate or merge with or into (whether or not the Company is the
surviving corporation) another Subject Entity, or (ii) sell, assign, transfer, convey or otherwise
dispose of all or substantially all of the properties or assets of the Company or any of its “significant
subsidiaries” (as defined in Rule 1-02 of Regulation S-X) to one or more Subject Entities, or (iii)
make, or allow one or more Subject Entities to make, or allow the Company to be subject to or
have its Common Stock be subject to or party to one or more Subject Entities making, a purchase,
tender or exchange offer that is accepted by the holders of at least either (x) 50% of the
outstanding shares of Common Stock, (y) 50% of the outstanding shares of Common Stock
calculated as if any shares of Common Stock held by all Subject Entities making or party to, or
Affiliated with any Subject Entities making or party to, such purchase, tender or exchange offer
were not outstanding; or (z) such number of shares of Common Stock such that all Subject
Entities making or party to, or Affiliated with any Subject Entity making or party to, such
purchase, tender or exchange offer, become collectively the beneficial owners (as defined in Rule
13d-3 under the Exchange Act) of at least 50% of the outstanding shares of Common Stock, or
(iv) consummate a stock purchase agreement or other business combination (including,
without limitation, a reorganization, recapitalization, spin-off or scheme of arrangement) with
one or more Subject Entities whereby such Subject Entities, individually or in the aggregate,
acquire, either (x) at least 50% of the outstanding shares of Common Stock, (y) at least 50% of
the outstanding shares of Common Stock calculated as if any shares of Common Stock held by all
the Subject Entities making or party to, or Affiliated with any Subject Entity making or party to,
such stock purchase agreement or other business combination were not outstanding; or (z) such
number of shares of Common Stock such that the Subject Entities become collectively the
beneficial owners (as defined in Rule 13d-3 under the Exchange Act) of at least 50% of the
outstanding shares of Common Stock, or (v) reorganize, recapitalize or reclassify its Common
Stock, (B) that the Company shall, directly or indirectly, including through Subsidiaries,
Affiliates or otherwise, in one or more related transactions allow any Subject Entity individually
or the Subject Entities in the aggregate to be or become the “beneficial owner” (as defined
in Rule 13d-3 under the Exchange Act), directly or indirectly, whether through acquisition,
purchase, assignment, conveyance, tender, tender offer, exchange, reduction in outstanding
shares of Common Stock, merger, consolidation, business combination, spin-off, scheme of
arrangement, reorganization, recapitalization or reclassification or otherwise in any manner
whatsoever, of either (x) at least 50% of the aggregate ordinary voting power represented by
issued and outstanding Common Stock, (y) at least 50% of the aggregate ordinary voting power
represented by issued and outstanding Common Stock not held by all such Subject Entities as of
the date of this Note calculated as if any shares of Common Stock held by all such Subject
Entities were not outstanding, or (z) a percentage of the aggregate ordinary voting power
represented by issued and outstanding shares of Common Stock or other equity securities of the
Company sufficient to allow such Subject Entities to effect a statutory short form merger or other
transaction requiring other stockholders of the Company to surrender their shares of Common
Stock without approval of the stockholders of the Company or (C) directly or indirectly,
including through Subsidiaries, Affiliates or otherwise, in one or more related transactions, the
issuance of or the entering into any other instrument or transaction structured in a manner to
circumvent, or that circumvents, the intent of this definition in which case this definition shall be
construed and
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implemented in a manner otherwise than in strict conformity with the terms of this definition to
the extent necessary to correct this definition or any portion of this definition which may be
defective or inconsistent with the intended treatment of such instrument or transaction.

                        (l) “GAAP” means United States generally accepted accounting principles,
consistently applied.

                     (m) “Group” means a “group” as that term is used in Regulation 13D-G of
the Exchange Act and as defined in Rule 13d-5 thereunder.

                      (n) “Holiday” means a day other than a Business Day or on which trading
does not take place on the Principal Market.

                        (o) RESERVED

                        (p) “Market Price” shall mean the lowest Closing Bid Price on the Closing
Date.
                        (q) “Notes” means this Note and the Other Notes.

                        (r) “OID” shall mean the Original Issue Discount, which is 35%.

                     (s) “Options” means any rights, warrants or options to subscribe for or
purchase shares of Common Stock or Convertible Securities.

                       (t) “Other Notes” means (i) the Second Amended and Restated Promissory
Convertible Note, dated as of the date hereof, made by the Company in favor of Kips Bay Select
LP in the principal amount of $3,513,469.00 (the “Kips Bay Note”), and (ii) the Amended and
Restated Promissory Convertible Note, dated as of the date hereof, made by the Company in favor
of Alpha Carta, Ltd. in the principal amount of $4,307,692.31 (the “AC Note”).

                       (u) “Parent Entity” of a Person means an entity that, directly or indirectly,
controls the applicable Person, including such entity whose common capital stock or equivalent
equity security is quoted or listed on a Trading Market (or, if so elected by the Holder, any other
market, exchange or quotation system), or, if there is more than one such Person or such entity,
the Person or entity designated by the Holder or in the absence of such designation, such Person
or such entity with the largest public market capitalization as of the date of consummation of the
Fundamental Transaction.

                      (v) “Permitted Indebtedness” means (i) Indebtedness evidenced by this
Note and the Other Notes; (ii) debt incurred to make acquisitions; (iii) trade payables incurred in
the ordinary course of business consistent with past practice, (iv) unsecured indebtedness not in
excess of $1,000,000 in the aggregate, and (v) Indebtedness secured by Permitted Liens.

                      (w) “Permitted Liens” means (i) any Lien for taxes not yet due or
delinquent or being contested in good faith by appropriate proceedings for which adequate reserves
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have been established in accordance with GAAP, (ii) any statutory Lien arising in the ordinary
course of business by operation of law with respect to a liability that is not yet due or delinquent,
(iii) any Lien created by operation of law, such as materialmen's liens, mechanics' liens and other
similar liens, arising in the ordinary course of business with respect to a liability that is not yet due
or delinquent or that are being contested in good faith by appropriate proceedings, (iv) Liens (A)
upon or in any equipment acquired or held by the Company or any of its Subsidiaries to secure the
purchase price of such equipment or Indebtedness incurred solely for the purpose of financing the
acquisition or lease of such equipment, or (B) existing on such equipment at the time of its
acquisition, provided that the Lien is confined solely to the property so acquired and improvements
thereon, and the proceeds of such equipment, (v) Liens incurred in connection with the extension,
renewal or refinancing of the Indebtedness secured by Liens of the type described in clause (iv)
above, provided that any extension, renewal or replacement Lien shall be limited to the property
encumbered by the existing Lien and the principal amount of the Indebtedness being extended,
renewed or refinanced does not increase, (vi) leases or subleases and licenses and sublicenses
granted to others in the ordinary course of the Company's business, not interfering in any material
respect with the business of the Company and its Subsidiaries taken as a whole, (vii) Liens in favor
of customs and revenue authorities arising as a matter of law to secure payments of custom duties
in connection with the importation of goods, (viii) Liens arising from judgments, decrees or
attachments in circumstances not constituting an Event of Default under Section 4(a)(viii) and (ix)
liens listed on Schedule 27(v) hereto, and (ix) Liens arising pursuant to the terms of the Notes.

                        (x) “Principal Market” means the OTCQB tier of the OTC Markets.

                    (y) “Redemption Dates” means, collectively, the Event of Default
Redemption Dates, and the Optional Redemption Dates, each of the foregoing, individually, a
Redemption Date.

                     (z) “Redemption Notices” means, collectively, the Event of Default
Redemption Notices, and the Optional Redemption Notices, each of the foregoing, individually, a
Redemption Notice.

                       (aa) “Redemption Price” means, 125% of the outstanding principal amount
of the Note together with accrued interest thereon, which after an Event of Default shall be
calculated at the Default Rate.

                    (bb) “Related Fund” means, with respect to any Person, a fund or account
managed by such Person or an Affiliate of such Person.

                        (cc) “Required Holders” means any two (2) Holders of the Notes.

                        (dd) “Rule 144” shall have the meaning ascribed to such term in the
Purchase Agreement.

                        (ee) “SEC” means the United States Securities and Exchange Commission.


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                       (ff) “Securities Act” means the Securities Act of 1933, as amended, and the
rules and regulations promulgated thereunder.

                       (gg) “Subject Entity” means any Person, Persons or Group or any Affiliate
or associate of any such Person, Persons or Group.

                       (hh) “Successor Entity” means one or more Person or Persons (or, if so
elected by the Holder, the Company or Parent Entity) formed by, resulting from or surviving any
Fundamental Transaction or one or more Person or Persons (or, if so elected by the Holder, the
Company or the Parent Entity) with which such Fundamental Transaction shall have been entered
into.
                       (ii) “Trading Market” means any of the following markets or exchanges
on which the Common Stock is listed or quoted for trading on the date in question: the NYSE
American, the Nasdaq Capital Market, the Nasdaq Global Market, the Nasdaq Global Select
Market, the New York Stock Exchange, OTCQB or OTCQX (or any successors to any of the
foregoing).
                       (jj) “VWAP” means, for any date, the price determined by the first of the
following clauses that applies: (a) if the Common Stock is then listed or quoted on a Trading
Market, the daily volume weighted average price of the Common Stock for such date (or the
nearest preceding date) on the Trading Market on which the Common Stock is then listed or
quoted as reported by Bloomberg L.P. (based on a Trading Day from 9:30 a.m. New York City
time to 4:02 p.m. New York City time); (b) if the Common Stock is not then listed or quoted for
trading on a Trading Market and if prices for the Common Stock are then reported on the OTC
Pink (or a similar organization or agency succeeding to its functions of reporting prices), the most
recent bid price per share of the Common Stock so reported; or (c) in all other cases, the fair
market value of a share of Common Stock as determined by an independent appraiser selected in
good faith by the Holders of a majority in interest of the Note then outstanding and reasonably
acceptable to the Company, the fees and expenses of which shall be paid by the Company.


                                     [Signature Page Follows]




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               IN WITNESS WHEREOF, the Company has caused this Amended and Restated
Note to be duly executed as of the 18th day of February. 2022.


                                                ProtonGreenLLC,
                                                formerly known as Plateau
                                                Carbon, LLC

                                                By:
                                                Name. (/(•
                                                             ~
                                                 .  •  d/~,-e;J             £   ~rA
                                                Title:   /114-..../9'<,,...,\     ?J,,~~


AGREEDAND APPROVED:


ALPHA CARTA, LTD.

By: __________               _
  Name
  Title:




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               IN WITNESS WHEREOF, the Company has caused this Amended and Restated
Note to be duly executed as of the 18th day of February, 2022.


                                                Proton Green LLC,
                                                formerly known as Plateau
                                                Carbon, LLC

                                                By: _______________________
                                                Name:
                                                Title:


AGREED AND APPROVED:


ALPHA CARTA, LTD.
         l

By:____________________________
  Name Mark Azzopardi
  Title: Director




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                                           EXHIBIT I
                                       PROTON GREEN LLC
                                       CONVERSION NOTICE

Reference is made to the Amended and Restated Promissory Convertible Note (the “Note”)
issued to Alpha Carta, Ltd. (together with is designee or registered assigns, the “Holder”) by
Proton Green LLC (formerly known as Plateau Carbon, LLC) (the “Company”). In accordance
with and pursuant to the Note, the undersigned hereby elects to convert the Conversion Amount
(as defined in the Note) of the Note indicated below into shares of Common Stock of the
Company, par value $ 0.0001 per share (the “Common Stock”) of the Company, as of the date
specified below.
        Date of
        Conversion:

         Aggregate Conversion Amount to be
         converted:

Please confirm the following information:

         Conversion Price:


         Number of shares of Common Stock to
         be issued:

Please issue the Common Stock into which the Note is being converted in the following name and
to the following address:

         Issue to:

         Facsimile Number and Electronic

         Mail:

         Authorization:
                      By:
                              Title:

Dated:
         Account
         Number:
         (if electronic book entry transfer)


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     Transaction Code
     Number:
     (if electronic book entry transfer)




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                                   EXHIBIT N
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                                                                                   Execution Version


NEITHER THE ISSUANCE AND SALE OF THE SECURITIES REPRESENTED BY
THIS CERTIFICATE NOR THE SECURITIES INTO WHICH THESE SECURITIES
ARE CONVERTIBLE HAVE BEEN REGISTERED UNDER THE SECURITIES ACT OF
1933, AS AMENDED, OR APPLICABLE STATE SECURITIES LAWS. THE
SECURITIES MAY NOT BE OFFERED FOR SALE, SOLD, TRANSFERRED OR
ASSIGNED (I) IN THE ABSENCE OF (A) AN EFFECTIVE REGISTRATION
STATEMENT FOR THE SECURITIES UNDER THE SECURITIES ACT OF 1933, AS
AMENDED, OR (B) AN OPINION OF COUNSEL SELECTED BY THE HOLDER, IN A
GENERALLY ACCEPTABLE FORM, THAT REGISTRATION IS NOT REQUIRED
UNDER SAID ACT, OR (II) UNLESS SOLD PURSUANT TO RULE 144 OR RULE 144A
UNDER SAID ACT. NOTWITHSTANDING THE FOREGOING, THE SECURITIES
MAY BE PLEDGED IN CONNECTION WITH A BONA FIDE MARGIN ACCOUNT OR
OTHER LOAN OR FINANCING ARRANGEMENT SECURED BY THE SECURITIES.
ANY TRANSFEREE OF THIS NOTE SHOULD CAREFULLY REVIEW THE TERMS
OF THIS NOTE. THE PRINCIPAL AMOUNT REPRESENTED BY THIS NOTE AND,
ACCORDINGLY, THE SECURITIES ISSUABLE UPON CONVERSION HEREOF MAY
BE LESS THAN THE AMOUNTS SET FORTH ON THE FACE HEREOF.

Reference is hereby made to the Promissory Convertible Note, dated as of January 11, 2022, made
by the Company in favor of Alpha Carta, Ltd. in the principal amount of $4,307,692.31 (as
amended, the “Original Note”). The Company and the Holder (as defined below) hereby agree
that the Original Note shall be superseded, amended and restated to read in its entirety as follows:

                                      PROTON GREEN LLC

          AMENDED AND RESTATED PROMISSORY CONVERTIBLE NOTE

Issuance Date: January 11, 2022                       Principal Amount: U.S. $4,307,692.31
Date of Note: February 18, 2022

                FOR VALUE RECEIVED, Proton Green LLC (formerly known as Plateau
Carbon, LLC) (the “Company”) pursuant to this Amended and Restated Promissory Convertible
Note (the “Note”), hereby promises to pay to Alpha Carta, Ltd., its designee or registered assigns
(the “Holder”), in cash, the principal amount of US $4,307,692.31 (as reduced pursuant to the
terms hereof pursuant to redemption, conversion or otherwise, the “Principal” or the “Principal
Amount”, after giving effect to a 35% original issue discount) on April 7, 2022 (the “Maturity
Date”), subject to earlier acceleration, conversion, redemption or otherwise (in each case in
accordance with the terms hereof). Certain capitalized terms used herein are defined in Section 26.
This Note is issued pursuant to that certain Securities Purchase Agreement dated January 11, 2022,
by and among the Company and the Holder (the “Purchase Agreement”), and capitalized terms
not defined herein will have the meanings set forth in the Purchase Agreement.

               (1) PAYMENTS OF PRINCIPAL; AMENDMENT FEE; PREPAYMENT.

             (a)     On the Maturity Date, the Company shall pay to the Holder (i) the Principal
Amount in cash, together with (ii) Interest (as defined below) thereon calculated from the date
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hereof in accordance with the provisions of this Note, plus (iii) an amendment and extension fee
in the amount of $150,000.00 (the “Amendment Fee”), provided, however, that the Holder shall
have the right in its sole discretion to be repaid with 100% of the proceeds (“Proceeds”) of the
following: (1) sale of the Company’s assets, (2) any merger, sale or other transaction resulting in
the holders of the Company’s Common Stock prior to such merger or other transaction ceasing to
own at least 50% of the Common Stock, (3) issuances of the Company’s Debt, and/or (4)
issuances of the Company’s equity. Notwithstanding the foregoing, (i) in the event that on the
Maturity Date the Company does not have sufficient funds to repay this Note and the Other
Notes in full, the Company shall be prohibited from repaying the Principal Amount, Interest and
Amendment Fee of this Note in full and shall instead repay the Holders of each of the Notes a pro
rata portion of the Principal Amount, Interest and Amendment Fee of each of the Notes based on
the proportion that each of the Notes bears to the aggregate Principal Amount, Interest and
Amendment Fee of all of the Notes, and (ii) unless a Holder of either of the Other Notes declines
its right to be repaid with Proceeds, any Proceeds shall be applied to repay a pro rata portion of
the Principal Amount, Interest and Amendment Fee of each of the Notes based on the proportion
that each of the Notes bears to the aggregate Principal Amount, Interest and Amendment Fee of
all of the Notes. All payments shall be applied first to the Amendment Fee, then to accrued
Interest and thereafter to the Principal Amount.

               (b)     Interest shall accrue on the unpaid Principal Amount outstanding until the
Maturity Date at a rate equal to one and one-half percent (1.5%) per month. The accrued interest
on the Principal Amount of this Note shall not compound, and is referred to herein as the
“Interest”. Such Interest shall be computed for the actual number of days elapsed in a month
consisting of 28, 30 or 31 days, as the case may be.

              (c)      The Company may, at any time and from time to time without premium or
penalty, prepay all or any portion of the outstanding Principal Amount of, and Interest on, and
Amendment Fee of this Note. Any partial payment will be credited first to the Amendment Fee,
then to accrued and unpaid Interest and the balance, if any, to the then outstanding Principal
Amount.

               (2)     RANKING; SECURITY.

              (a)    The parties agree that this Note shall rank (i) pari passu with the
indebtedness under the Other Notes and (ii) senior to all other existing and future debt of the
Company.

                (b)     Payment of this Note and all other obligations, fees, and expenses due to
the Holder pursuant to this Note and the Purchase Agreement (the “Secured Obligations”) will
be secured at all times by (i) valid, enforceable first priority mortgages and/or deeds of trust on
and covering all real property interests presently owned and hereafter acquired by the Company,
and all assets and personal property relating thereto (the “Mortgaged Properties”), and (ii) valid,
enforceable first priority security interests on and covering all of the other assets of the Company
(the “Other Assets”).


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                 (c)     Within five (5) business days of a request by the Holder, the Company
shall deliver to the Holder (i) mortgages and/or deeds of trust, in appropriate and recordable form
under Arizona law and reasonably satisfactory in form and substance to the Holder, executed
by the Company, with respect to the Mortgaged Properties (“Deeds of Trust”), which shall create
a first priority lien on such Mortgaged Properties and which shall be promptly recorded in the
recorder’s office of the appropriate county, and (ii) appropriate instruments granting valid,
enforceable first priority security interests on and covering all of the Other Assets, in
appropriate and recordable form and reasonably satisfactory in form and substance to the Holder,
executed by the Company, with respect to the Other Assets (the “Other Instruments” and,
collectively with the Deeds of Trust, the “Security Documents”). Thereafter, the Company shall
cause the Mortgaged Properties now owned or hereafter acquired by it to be subject at all times to
a first priority, perfected lien in favor of the Holder to secure the Secured Obligations, and the
Company shall provide any filings and deliveries reasonably requested by the Holder in
connection therewith to perfect the security interests therein, all in form and substance
reasonably satisfactory to the Holder.

               (d)      The Holder acknowledges that the security interests granted in the
Mortgaged Properties and the Other Assets to the Holder to secure the Secured Obligations are
also being granted to the holders of the Others Notes to secure the obligations of the Company
under such Other Notes, and that such all of such security interests shall be for the ratable benefit
of the Holders of all of the Notes. The form and substance of the Security Documents shall reflect
such ratable benefit term.

                (3) CONVERSION OF NOTE. Following the Issuance Date, as set out above, this
Note shall be convertible into shares of Common Stock on the terms and conditions set forth in
this Section 3.

                     (a) Optional Conversion Right. Holder has the right to convert all or part of
the Principal Amount at the Company’s valuation of $250,000,000.00 into fully paid and
nonassessable shares of Common Stock in accordance with Section 3(c), at the Conversion Rate
(as defined below) (the “Conversion Date”). The Company shall not issue any fraction of a share
of Common Stock upon any conversion. If the issuance would result in the issuance of a fraction
of a share of Common Stock, the Company shall round such fraction of a share of Common Stock
up to the nearest whole share. The Company shall pay any and all transfer, stamp and similar
taxes that may be payable with respect to the issuance and delivery of Common Stock upon
conversion of any Conversion Amount. The Holder shall have the right to deliver an effective
conversion notice at any time until 11:59 pm on the chosen date and it shall be immediately
effective.

                      (b) Conversion Rate. The number of shares of Common Stock issuable upon
conversion of any Conversion Amount pursuant to Section 3(a) shall be determined by dividing
(x) such Conversion Amount by  (i) (y)
                                    “Conversion  Amount”
                                       the Conversion Price (the
                                                             means
                                                                 “Conversion Rate”).
                                                                    the sum of the p
        Principal to be converted, redeemed or otherwise with respect to which this determination
        is being made.

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                            (ii) “Conversion Price” means $0.0599. Subsequent to the
     effective date of the registration statement registering for resale the Conversions Shares
     and the Warrant Shares pursuant to the Purchase Agreement, if the closing sale price of the
     Common Stock averages less than the then Conversion Price over a period of ten (10)
     consecutive trading days, the Conversion Price shall reset to such average price. If the 10-
     day volume weighted average price of the Common Stock continues to be less than the
     Conversion Price then the Conversion Price should reset to such 10-day average price.

                (c)   Mechanics of Optional Conversion and Adjustment:

                           (i)     Registration; Book-Entry. The Company shall maintain a
                                   register (the “Register”) for the recordation of the holder of
                                   the Note and the Principal amount of the Note held by the
                                   holder (the “Registered Note”). The entries in the Register,
                                   made in good faith, shall be conclusive and binding for all
                                   purposes absent manifest error. The Company and the holder
                                   of the Note shall treat each Person whose name is recorded
                                   in the Register as the owner of the Note for all purposes,
                                   including, without limitation, the right to receive payments
                                   of Principal, if any, hereunder, notwithstanding notice to the
                                   contrary. Upon its receipt of a request to assign or sell all or
                                   part of the Registered Note by the Holder, the Company shall
                                   record the information contained therein in the Register and
                                   issue one or more new Registered Notes in the same
                                   aggregate Principal amount as the Principal amount of the
                                   surrendered Registered Note to the designated assignee or
                                   transferee pursuant to Section 10. Notwithstanding anything
                                   to the contrary in this Section 3(c)(i), the Holder may assign
                                   any Note or any portion thereof to an Affiliate of such Holder
                                   or a Related Fund of such Holder without delivering a
                                   request to assign or sell such Note to the Company and the
                                   recordation of such assignment or sale in the Register (a
                                   “Related Party Assignment”); provided, that (x) the
                                   Company may continue to deal solely with such assigning or
                                   selling Holder unless and until such Holder has delivered a
                                   request to assign or sell such Note or portion thereof to the
                                   Company for recordation in the Register; (y) the failure of
                                   such assigning or selling Holder to deliver a request to assign
                                   or sell such Note or portion thereof to the Company shall not
                                   affect the legality, validity, or binding effect of such
                                   assignment or sale and (z) such assigning or selling Holder
                                   shall, acting solely for this purpose as a non-fiduciary agent
                                   of the Company, maintain a register (the “Related Party
                                   Register”) comparable to the Register on behalf of the
                                   Company, and any such assignment or sale shall be effective
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                                   upon recordation of such assignment or sale in the Related
                                   Party Register. Notwithstanding anything to the contrary set
                                   forth herein, upon conversion of any portion of this Note in
                                   accordance with the terms hereof, the Holder shall not be
                                   required to physically surrender this Note to the Company
                                   unless the Holder has provided the Company with prior
                                   written notice (which notice may be included in a
                                   Conversion Notice) requesting reissuance of this Note upon
                                   physical surrender of this Note. The Holder and the
                                   Company shall maintain records showing the Principal,
                                   converted and the dates of such conversions or shall use such
                                   other method, reasonably satisfactory to the Holder and the
                                   Company, so as not to require physical surrender of this Note
                                   upon conversion.

                           (ii) Intentionally omitted.

                        (iii) Holder may convert any or all of this Note into shares of
     Common Stock at any time.

               (d)     Limitations on Conversions.

                         (i) Beneficial Ownership. In case that the Holder becomes subject to the
            filing or reporting obligations under Regulation 13D-G of the Exchange Act due to
            (i) the conversion of this Note, or any other share issuance hereunder, or (ii) the
            changes to the beneficial ownership of the Holder (together with the Attribution
            Parties) in the Company, including but not limited to the changes to such beneficial
            ownership due to the conversion or share issuance hereunder, the Holder shall
            timely file such schedules or forms with the United States Securities and Exchange
            Commission (the “Commission”) as required under Regulation 13D-G of the
            Exchange Act. For purposes of this paragraph, beneficial ownership and all
            calculations (including, without limitation, with respect to calculations of
            percentage ownership) shall be determined in accordance with Regulation 13D-G
            and the rules and regulations promulgated thereunder. The obligations contained in
            this paragraph shall apply to a successor Holder of this Note. For any reason at any
            time, upon the written or oral request of the Holder, the Company shall within one
            (1) Business Day confirm orally and in writing to the Holder the number of shares
            of Common Stock then outstanding, including by virtue of any prior conversion or
            exercise of convertible or exercisable securities into Common Stock, including,
            without limitation, pursuant to this Note or securities issued pursuant to the
            Purchase Agreement.

                       (ii) Principal Market Regulation. Unless permitted by the applicable
            rules and regulations of the Principal Market, the Company shall not issue any
            shares of Common Stock upon conversion of this Note if the issuance of such shares
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               of Common Stock would exceed the aggregate number of shares of Common Stock
               which the Company may issue upon exercise or conversion (as the case may be) of
               the Note without breaching the Company’s obligations under the rules or
               regulations of the Principal Market (the number of shares which may be issued
               without violating such rules and regulations, the “Exchange Cap”).
               Notwithstanding the foregoing, such limitation shall not apply in the event that the
               Company (A) obtains the approval of its stockholders as required by the applicable
               rules of the Principal Market for issuances of shares of Common Stock in excess of
               such amount or (B) obtains a written opinion from outside counsel to the Company
               that such approval is not required, which opinion shall be reasonably satisfactory
               to the Holder. In the event that any Holder shall sell or otherwise transfer any of
               such Holder’s Note, the Exchange Cap restrictions set forth herein shall continue
               to apply to the Note and such transferee.

                       (e) Disputes. In the event of a dispute as to the number of shares of Common
Stock issuable to the Holder in connection with a conversion of this Note, the Company shall issue
to the Holder the number of shares of Common Stock not in dispute and resolve such dispute in
accordance with Section 16.

                     (f) Automatic Conversion. In the event the Company completes a
Fundamental Transaction or completes a listing of its Common Stock onto a national stock
exchange, Holder agrees to convert the OID into Common Stock of the Company at the Conversion
Price. The remaining Principal Amount, Amendment Fee and Interest will remain outstanding,
unless the Holder elects to convert such Principal Amount, Amendment Fee and Interest into
Common Stock of the Company.

               (4)     The Company hereby covenants and agrees as follows:

                       (a) Sale of Assets. During the thirty (30) days from the date of this Note,
                           with the exception of moving certain of its assets to any of its
                           subsidiaries, the Company shall not sell any material assets.

                       (b) Additional Debt. While this Note is outstanding, the Company shall not
                           incur any additional indebtedness for borrowed money, other than any
                           indebtedness that is Permitted Indebtedness.

               (5)     RIGHTS UPON EVENT OF DEFAULT.

                        (a) Event of Default. Each of the following events shall constitute an “Event
of Default”; provided, however, that, except in the case of the Events of Default listed in Sections
5(a)(i), or 5(a)(ix) below, the Company shall have five (5) business days after notice of default
from the Holder to cure such Event of Default unless a lesser number of days is required pursuant
to the provisions of this Section 5.



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                            (i) Failure to Pay Principal. The Company fails to pay the Principal,
     Amendment Fee or Interest due under this Note or any of the Other Notes at the Maturity
     Date (or the maturity date of any of the Other Notes, if the maturity date under the Other
     Notes is different from the Maturity Date), liquidated damages and other amounts thereon
     when due on the Note or any of the Other Notes, whether at maturity, upon acceleration or
     otherwise.

                             (ii) Conversion and the Shares. The Company (i) fails to issue
     Conversion Shares to the Holder (or announces or threatens in writing that it will not honor
     its obligation to do so) upon exercise by the Holder of the conversion rights of the Holder
     in accordance with the terms of the Note, (ii) fails to transfer or cause its transfer agent to
     transfer (issue) (electronically or in certificated form) any certificate for the Conversion
     Shares issuable to the Holder upon conversion of or otherwise pursuant to the Note as and
     when required by the Note, or (iii) the Company directs its transfer agent not to transfer or
     delays, impairs, and/or hinders its transfer agent in transferring (or issuing) (electronically
     or in certificated form) any certificate for the Conversion Shares issuable to the Holder
     upon conversion of or otherwise pursuant to the Note as and when required by the Note, or
     fails to remove (or directs its transfer agent not to remove or impairs, delays, and/or hinders
     its transfer agent from removing) any restrictive legend (or to withdraw any stop transfer
     instructions in respect thereof) on any certificate for any Conversion Shares issued to the
     Holder upon conversion of or otherwise pursuant to the Note as and when required by the
     Note (or makes any written announcement, statement or threat that it does not intend to
     honor the obligations described in this paragraph) and any such failure shall continue
     uncured (or any written announcement, statement or threat not to honor its obligations shall
     not be rescinded in writing) for five (5) business days after the Holder shall have delivered
     a Notice of Conversion. It is an obligation of the Company to remain current in its
     obligations to its transfer agent. It shall be an Event of Default of the Note, if a conversion
     of the Note is delayed, hindered or frustrated due to a balance owed by the Company to its
     transfer agent. If at the option of the Holder, the Holder advances any funds to the
     Company’s transfer agent in order to process a conversion, such advanced funds shall be
     paid by the Company to the Holder within forty eight (48) hours of a demand from the
     Holder. If Borrower is unable to do so, they shall have an opportunity to cure within five
     (5) business days.

                            (iii) Breach of Agreements and Covenants. The Company breaches
     any material agreement, covenant or other material term or condition contained in the
     Purchase Agreement, the Note or in any agreement, statement or certificate given in writing
     pursuant hereto or in connection herewith or therewith, and such breach results in a material
     adverse effect on the business or assets of the Company.

                           (iv) Breach of Representations and Warranties. Any representation
     or warranty of the Company made in the Purchase Agreement or the Note, or in any
     agreement, statement or certificate given in writing pursuant hereto or in connection
     herewith or therewith shall be false or misleading in any material respect when made and
     the breach of which has (or with the passage of time will have) a Material Adverse Effect
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     on the rights of the Holder with respect to the Note or the Purchase Agreement. In the event
     of such a breach, the Company shall have an opportunity to cure within two (2) business
     days.

                          (v) Receiver or Trustee. The Company or any subsidiary of the
     Company shall make an assignment for the benefit of creditors, or apply for or consent to
     the appointment of a receiver or trustee for it or for a substantial part of its property or
     business, or such a receiver or trustee shall otherwise be appointed. Under such
     circumstances, the Company shall have an opportunity to cure within sixty (60) days.

                            (vi) Judgments. Any money judgment, writ or similar process shall
     be entered or filed against the Company or any subsidiary of the Company or any of its
     property or other assets for more than $100,000, and shall remain unvacated, unbonded or
     unstayed for a period of twenty (20) days unless otherwise consented to by the Holder,
     which consent will not be unreasonably withheld.

                           (vii) Bankruptcy. Bankruptcy, insolvency, reorganization or
     liquidation proceedings or other proceedings, voluntary or involuntary, for relief under any
     bankruptcy law or any law for the relief of debtors shall be instituted by or against the
     Company or any subsidiary of the Company. Under such circumstances, the Company shall
     have an opportunity to cure within sixty (60) days.

                            (viii) Delisting or Trading of Common Stock. The Company shall
     fail to maintain the listing or quotation of its Common Stock minimally on a Trading
     Market.

                            (ix) Failure to Comply with the Exchange Act. The Company shall
     fail to comply with the reporting requirements of the Exchange Act and/or the Company
     shall cease to be subject to the reporting requirements of the Exchange Act.

                          (x) Liquidation. Any dissolution, liquidation, or winding up of
     Borrower or any substantial portion of its business or assets.

                           (xi) Cessation of Operations. Any cessation of operations by
     Borrower or Borrower admits it is otherwise generally unable to pay its debts as such debts
     become due, provided, however, that any disclosure of the Company’s ability to continue
     as a “going concern” shall not be an admission that the Company cannot pay its debts as
     they become due.

                            (xii) Intentionally omitted.

                            (xiii) Intentionally omitted.




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                           (xiv) Other Obligations. The occurrence of any default under any
     agreement or obligation of the Company that is not cured within ten (10) days that could
     reasonably be expected to have a Material Adverse Effect.

                            (xv) Default under Transaction Documents or Other Material
     Agreement. A default or event of default (subject to any grace or cure period provided in
     the applicable agreement, document or instrument) shall occur under (A) this Note, the
     warrant or the securities purchase agreement or any of the other agreements entered into
     by the parties related to the purchase of this Note (collectively, the “Transaction
     Documents”), or (B) the Other Notes or any other material agreement, lease, document or
     instrument to which Company or any Subsidiary is obligated (and not covered by clause
     (vi) below), which in the case of subsection (B) would reasonably be expected to have a
     Material Adverse Effect.

                           (xvi) Default under Mortgage or Other Agreement of Indebtedness.
     Company or any Subsidiary shall default on any of its obligations under any mortgage,
     credit agreement or other facility, indenture agreement, factoring agreement or other
     instrument under which there may be issued, or by which there may be secured or
     evidenced, any indebtedness for borrowed money or money due under any long term
     leasing or factoring arrangement that (a) involves an obligation greater than $100,000,
     whether such indebtedness now exists or shall hereafter be created, and (b) results in such
     indebtedness becoming or being declared due and payable prior to the date on which it
     would otherwise become due and payable.

                           (xvii) Intentionally omitted.

                           (xviii) Failure to Meet the Requirements under Rule 144. Company
     does not meet the current public information requirements under Rule 144.

                            (xix) Failure to Maintain Intellectual Property. The failure by
     Company or any material Subsidiary to maintain any material intellectual property rights,
     personal, real property, equipment, leases or other assets which are necessary to conduct
     its business (whether now or in the future) and such breach is not cured with twenty (20)
     days after written notice to the Company from the Holder.

                           (xx) Trading Suspension. A Commission or judicial stop trade order
     or suspension from a Trading Market.

                           (xxi) Intentionally omitted.

                          (xxii) Failure to Provide Required Notification of a Material Event.
     A failure by Company to notify Holder of any material event of which Company is
     obligated to notify Holder pursuant to the terms of this Note or any other Transaction
     Document.


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                                (xxiii) Invalidity or Unenforceability of Transaction Documents.
        Any material provision of any Transaction Document shall at any time for any reason
        (other than pursuant to the express terms thereof) cease to be valid and binding on or
        enforceable against the Company, or the validity or enforceability thereof shall be
        contested by Company, or a proceeding shall be commenced by Company or any
        governmental authority having jurisdiction over Company or Holder, seeking to establish
        the invalidity or unenforceability thereof, or Company shall deny in writing that it has any
        liability or obligation purported to be created under any Transaction Document.

                                (xxiv) Intentionally omitted.

                         (b) Redemption Right. At any time after the Holder becoming aware of an
Event of Default, the Required Holders may require the Company to redeem (an “Event of Default
Redemption”) all or any portion of the Notes by delivering written notice thereof (the “Event of
Default Redemption Notice”) to the Company, which Event of Default Redemption Notice shall
indicate the portion of this Note and the Other Notes the Required Holders are electing to require
the Company to redeem. Each portion of this Note and the Other Notes subject to redemption by
the Company pursuant to this Section 5(b) shall be redeemed by the Company in cash by wire
transfer of immediately available funds at a price equal to (i) the Principal Amount, plus (ii) all
Interest then accrued on the Principal Amount from the date of the Note to the Event of Default,
plus (iii) the Amendment Fee, plus (iv) interest on the Principal Amount calculated from the Event
of Default at the greater of the Default Interest Rate or the maximum rate permitted under
applicable law (the “Event of Default Redemption Price”), plus (v) liquidated damages of
$750,000, plus (vi) an amount in cash equal to 1% of the Event of Default Redemption Price for
each 30 day period during which redemptions fail to be made; provided, however, in the event that
the Company does not have sufficient funds to pay 100% of the relevant Event of Default
Redemption Price to the Holders of all of the Notes, the Company shall pay a pro rata portion of
the Event of Default Redemption Price to each such Holder based on the proportion that the
Principal Amount of each of the Notes bears to the aggregate Principal Amount of all of the Notes.
To the extent redemptions required by this Section 5(b) are deemed or determined by a court of
competent jurisdiction to be prepayments of the Note by the Company, such redemptions shall be
deemed to be voluntary prepayments. Notwithstanding anything to the contrary in this Section 5,
but subject to Section 3(b)(ii) and 3(d), until the Event of Default Redemption Price payable in
respect of each of the Notes (together with any interest thereon) is paid in full, the Conversion
Amount submitted for redemption under this Section 5(b) (together with any interest thereon) may
be converted, in whole or in part, by the Holder into Common Stock pursuant to Section 3. The
parties hereto agree that in the event of the Company's redemption of any portion of the Note under
this Section 5(b), the Holder's damages would be uncertain and difficult to estimate because of the
parties' inability to predict future interest rates and the uncertainty of the availability of a suitable
substitute investment opportunity for the Holder. Accordingly, any Event of Default redemption
premium due under this Section 5(b) is intended by the parties to be, and shall be deemed, a
reasonable estimate of the Holder's actual loss of its investment opportunity and not as a penalty.
                 (6)     RIGHTS UPON FUNDAMENTAL TRANSACTION.



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                       (a) If, at any time while this Note is outstanding, (i) the Company effects a
Fundamental Transaction, then, upon any subsequent conversion of this Note, the Holder shall
have the right to receive, for each Conversion Share that would have been issuable upon such
conversion immediately prior to the occurrence of such Fundamental Transaction, the same kind
and amount of securities, cash or property as it would have been entitled to receive upon the
occurrence of such Fundamental Transaction if it had been, immediately prior to such Fundamental
Transaction, the holder of one (1) share of Common Stock (the “Alternate Consideration”). For
purposes of any such conversion, the determination of the Conversion Price shall be appropriately
adjusted to apply to such Alternate Consideration based on the amount of Alternate Consideration
issuable in respect of one (1) share of Common Stock in such Fundamental Transaction, and the
Company shall apportion the Conversion Price among the Alternate Consideration in a
reasonable manner reflecting the relative value of any different components of the Alternate
Consideration. If holders of Common Stock are given any choice as to the securities, cash or
property to be received in a Fundamental Transaction, then the Holder shall be given the same
choice as to the Alternate Consideration it receives upon any conversion of this Debenture
following such Fundamental Transaction. To the extent necessary to effectuate the foregoing
provisions, any successor to the Company or surviving entity in such Fundamental Transaction
shall issue to the Holder a new debenture consistent with the foregoing provisions and
evidencing the Holder’s right to convert such debenture into Alternate Consideration. The
terms of any agreement pursuant to which a Fundamental Transaction is effected shall include
terms requiring any such successor or surviving entity to comply with the provisions of this
Section 6(a) and insuring that this Note (or any such replacement security) will be similarly
adjusted upon any subsequent transaction analogous to a Fundamental Transaction.

          (7) DISTRIBUTION OF ASSETS; RIGHTS UPON ISSUANCE OF PURCHASE
RIGHTS AND OTHER CORPORATE EVENTS.

                       (a) Distribution of Assets. If the Company shall declare or make any
dividend or other distributions of its assets (or rights to acquire its assets) to any or all holders of
shares of Common Stock, by way of return of capital or otherwise (including without limitation,
any distribution of cash, stock or other securities, property, options, evidence of Indebtedness or
any other assets by way of a dividend, spin off, reclassification, corporate rearrangement, scheme
of arrangement or other similar transaction) (the “Distributions”), then the Holder will be
entitled to such Distributions as if the Holder had held the number of shares of Common Stock
acquirable upon complete conversion of this Note (without taking into account any limitations or
restrictions on the convertibility of this Note) immediately prior to the date on which a record is
taken for such Distribution or, if no such record is taken, the date as of which the record
holders of Common Stock are to be determined for such Distributions and the portion of such
Distribution shall be held in abeyance for the Holder.

                       (b) Purchase Rights. If at any time the Company grants, issues or sells any
Options, Convertible Securities or rights to purchase stock, warrants, securities or other property
pro rata to the record holders of any class of Common Stock (the “Purchase Rights”), then the
Holder will be entitled to acquire or receive, as applicable, upon the terms applicable to such
Purchase Rights, the aggregate Purchase Rights which the Holder could have acquired if the
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Holder had held the number of shares of Common Stock acquirable upon complete conversion of
this Note (without taking into account any limitations or restrictions on the convertibility of this
Note) immediately prior to the date on which a record is taken for the grant, issuance or sale of
such Purchase Rights, or, if no such record is taken, the date as of which the record holders of
shares of Common Stock are to be determined for the grant, issue or sale of such Purchase Rights.

                       (c) Other Corporate Events. In addition to and not in substitution for any
other rights hereunder, prior to the occurrence or consummation of any Fundamental Transaction
pursuant to which holders of shares of Common Stock are entitled to receive securities, cash,
assets or other property with respect to or in exchange for shares of Common Stock (a
“Corporate Event”), the Company shall make appropriate provision to ensure that, and
any applicable Successor Entity or Successor Entities shall ensure that, and it shall be a required
condition to the occurrence or consummation of such Corporate Event that, the Holder will
thereafter have the right to receive upon conversion of this Note at any time after the occurrence
or consummation of the Corporate Event, shares of Common Stock or Successor Capital Stock
or, if so elected by the Holder, cash in lieu of the shares of Common Stock (or other
securities, cash, assets or other property) purchasable upon the conversion of this Note prior to
such Corporate Event, such shares of stock, securities, cash, assets or any other property
whatsoever (including warrants or other purchase or subscription rights and any shares of
Common Stock) which the Holder would have been entitled to receive upon the occurrence or
consummation of such Corporate Event or the record, eligibility or other determination date for
the event resulting in such Corporate Event, had this Note been converted immediately prior to
such Corporate Event or the record, eligibility or other determination date for the event
resulting in such Corporate Event (without regard to any limitations on conversion of this
Note). Provision made pursuant to the preceding sentence shall be in a form and substance
satisfactory to the Holder. The provisions of this Section 7 shall apply similarly and equally to
successive Corporate Events.
                (8)    RIGHTS UPON ISSUANCE OF OTHER SECURITIES.

                (A) Adjustment of Conversion Price upon Subdivision or Combination of Common
       Stock. If the Company at any time on or after the Issuance Date subdivides (by any stock
       split, stock dividend, recapitalization or otherwise) one or more classes of its outstanding
       shares of Common Stock into a greater number of shares, the Conversion Price in effect
       immediately prior to such subdivision will be proportionately reduced. If the Company at
       any time on or after the Issuance Date combines (by combination, reverse stock split or
       otherwise) one or more classes of its outstanding shares of Common Stock into a smaller
       number of shares, the Conversion Price in effect immediately prior to such combination
       will be proportionately increased.

              (B) Voluntary Adjustment by Company. The Company may at any time during the
       term of this Note, with the prior written consent of the Holder, reduce the then current
       Conversion Price to any amount and for any period of time deemed appropriate by the
       Board of Directors of the Company.



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               (9) NONCIRCUMVENTION. The Company hereby covenants and agrees that the
Company will not, by amendment of its Certificate of Incorporation, Bylaws or through any
reorganization, transfer of assets, consolidation, merger, scheme of arrangement, dissolution,
issue or sale of securities, or any other voluntary action, avoid or seek to avoid the
observance or performance of any of the terms of this Note, and will at all times in good faith
carry out all of the provisions of this Note and take all action as may be required to protect the
rights of the Holder of this Note.

               (10)    Intentionally omitted.

               (11) VOTING RIGHTS. The Holder shall have no voting rights as the holder of
this Note, except as required by law and as expressly provided in this Note.

               (12)    COVENANTS.

                       (a) Incurrence of Indebtedness. So long as this Note is outstanding, the
Company shall not, and the Company shall not permit any of its Subsidiaries to, directly or
indirectly, incur or guarantee, assume or suffer to exist any Indebtedness, other than Permitted
Indebtedness.

                        (b) Existence of Liens. So long as this Note is outstanding, the Company
shall not, and the Company shall not permit any of its Subsidiaries to, directly or indirectly, allow
or suffer to exist any Liens other than Permitted Liens.

                       (c) Change in Nature of Business. The Company shall not make, or permit
any of its Subsidiaries to make, any change in the nature of its business. The Company shall not
modify its corporate structure or purpose.

                        (d) Intellectual Property. The Company shall not, and the Company shall
not permit any of its Subsidiaries, directly or indirectly, to encumber or allow any Liens on, any
of its own or its licensed copyright rights, copyright applications, copyright registrations and like
protections in each work of authorship and derivative work, whether published or unpublished,
any patents, patent applications and like protections, including improvements, divisions,
continuations, renewals, reissues, extensions, and continuations-in-part of the same, trademarks,
service marks and, to the extent permitted under applicable law, any applications therefor, whether
registered or not, and the goodwill of the business of the Company and its Subsidiaries connected
with and symbolized thereby, know-how, operating manuals, trade secret rights, rights to
unpatented inventions, and any claims for damage by way of any past, present, or future
infringement of any of the foregoing, other than Permitted Liens.

                        (e) Preservation of Existence, Etc. The Company shall maintain and
preserve, and cause each of its Subsidiaries to maintain and preserve, its existence, rights and
privileges, and become or remain, and cause each of its Subsidiaries to become or remain, duly
qualified and in good standing in each jurisdiction in which the character of the properties owned
or leased by it or in which the transaction of its business makes such qualification necessary.
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                       (f) Maintenance of Properties, Etc. The Company shall maintain and
preserve, and cause each of its Subsidiaries to maintain and preserve, all of its properties which
are necessary or useful in the proper conduct of its business in good working order and condition,
ordinary wear and tear excepted, and comply, and cause each of its Subsidiaries to comply, at all
times with the provisions of all leases to which it is a party as lessee or under which it occupies
property, so as to prevent any loss or forfeiture thereof or thereunder.

                       (g) Maintenance of Insurance. The Company shall maintain, and cause each
of its Subsidiaries to maintain insurance with responsible and reputable insurance companies or
associations (including, without limitation, comprehensive general liability, hazard, rent and
business interruption insurance) with respect to its properties (including all real properties leased
or owned by it) and business, in such amounts and covering such risks as is required by any
governmental authority having jurisdiction with respect thereto or as is carried generally in
accordance with sound business practice by companies in similar businesses similarly situated.

                        (h) Transactions with Affiliates. The Company shall not, nor shall it permit
any of its Subsidiaries to, enter into, renew, extend or be a party to, any transaction or series of
related transactions (including, without limitation, the purchase, sale, lease, transfer or exchange
of property or assets of any kind or the rendering of services of any kind) with any Affiliate,
except in the ordinary course of business in a manner and to an extent consistent with past
practice and necessary or desirable for the prudent operation of its business, for fair consideration
and on terms no less favorable to it or its Subsidiaries than would be obtainable in a comparable
arm's length transaction with a Person that is not an Affiliate thereof.

                       (i) Corporate Changes. The Company shall not change its corporate name,
legal form or jurisdiction of formation without twenty (20) days’ prior written notice to Holder.
Company shall not enter into or be party to a Fundamental Transaction unless in violation of
Section 6 hereof. Company shall not relocate its chief executive office or its principal place of
business unless it has provided prior written notice to Holder.

                       (j) Reserved.

                       (k) Charter Amendments. The Company shall not amend its charter
documents, including, without limitation, its certificate of incorporation and bylaws, in any manner
that materially and adversely affects any rights of the Holder.

                      (l) Repurchase. The Company shall not repay, repurchase or offer to repay,
repurchase or otherwise acquire more than a ------
                                              de minimis number of shares of its Common Stock
or common stock equivalents other than as to the Conversion Shares as permitted or required under
the Transaction Documents.

                     (m) Redemption. The Company shall not redeem, defease, repurchase,
repay or make any payments in respect of, by the payment of cash or cash equivalents (in whole
or in part, whether by way of open market purchases, tender offers, private transactions or
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otherwise), all or any portion of any Indebtedness (other than the Note if on a pro-rata basis),
whether by way of payment in respect of principal of (or premium, if any) or interest on, such
Indebtedness, the foregoing restriction shall also apply to Permitted Indebtedness from and after
the occurrence of an Event of Default.

                        (n) Declaration. The Company shall not declare or make any dividend or
other distribution of its assets or rights to acquire its assets to holders of shares of Common
Stock, by way of return of capital or otherwise including, without limitation, any distribution
of cash, stock or other securities, property or options by way of a dividend, spin off,
reclassification, corporate rearrangement, scheme of arrangement or other similar transaction.

                        (o) The Company shall not enter into any agreement with respect to any of
the foregoing.

              (13)     TRANSFER. This Note and any shares of Common Stock issued upon
conversion of this Note may be offered, sold, assigned or transferred according to the Purchase
Agreement.

                 (14)   REISSUANCE OF THIS NOTE.

                     (a) Transfer. If this Note is to be transferred, the Holder shall instruct the
Company who the new Holder will be and this Note will be automatically cancelled. The
Company will issue and deliver the new Note within two (2) days of such notice.

                        (b) Lost, Stolen or Mutilated Note. Upon receipt by the Company of
evidence reasonably satisfactory to the Company of the loss, theft, destruction or mutilation of this
Note, and, in the case of loss, theft or destruction, of any indemnification undertaking by the Holder
to the Company in customary form and, in the case of mutilation, upon surrender and cancellation
of this Note, the Company shall execute and deliver to the Holder a new Note (in accordance with
Section 14(d)) representing the then outstanding Principal amount of the Note.

                      (c) Note Exchangeable for Different Denominations. This Note is
exchangeable, upon the surrender hereof by the Holder at the principal office of the Company, for
a new Note or Notes (in accordance with Section 14(d) representing in the aggregate the
outstanding Principal of this Note, and each such new Note will represent such portion of such
outstanding Principal as is designated by the Holder at the time of such surrender.

                          (d) Issuance of New Notes. Whenever the Company is required to issue a
new Note pursuant to the terms of this Note, such new Note (i) shall be of like tenor with this Note,
(ii) shall represent, as indicated on the face of such new Note, the Principal remaining outstanding
(or in the case of a new Note being issued pursuant to Section 14(a) or Section 14(c), the Principal
designated by the Holder which, when added to the principal represented by the other new Notes
issued in connection with such issuance, does not exceed the Principal remaining outstanding
under this Note immediately prior to such issuance of new Notes), (iii) shall have an issuance date,
as indicated on the face of such new Note, which is the same as the Issuance Date of this Note,
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(iv) shall have the same rights and conditions as this Note, and (v) shall represent accrued and
unpaid Interest on the Principal and Interest of this Note, from the Issuance Date.

                (15) REMEDIES, CHARACTERIZATIONS, OTHER OBLIGATIONS,
BREACHES AND INJUNCTIVE RELIEF. The remedies provided in this Note shall be
cumulative and in addition to all other remedies available under this Note and any of the other
Transaction Documents, at law or in equity (including a decree of specific performance and/or
other injunctive relief), and nothing herein shall limit the Holder's right to pursue actual and
consequential damages for any failure by the Company to comply with the terms of this Note.
Amounts set forth or provided for herein with respect to payments, conversion, redemption and
the like (and the computation thereof) shall be the amounts to be received by the Holder and shall
not, except as expressly provided herein, be subject to any other obligation of the Company (or the
performance thereof). The Company acknowledges that a breach by it of its obligations hereunder
will cause irreparable harm to the Holder and that the remedy at law for any such breach may be
inadequate. The Company therefore agrees that, in the event of any such breach or threatened
breach, the Holder shall be entitled, in addition to all other available remedies, to an injunction
restraining any breach, without the necessity of showing economic loss and without any bond or
other security being required.

                (16) PAYMENT OF COLLECTION, ENFORCEMENT AND OTHER COSTS. If
(a) this Note is placed in the hands of an attorney for collection or enforcement or is collected or
enforced through any legal proceeding or the Holder otherwise takes action to collect amounts due
under this Note or to enforce the provisions of this Note or (b) there occurs any bankruptcy,
reorganization, receivership of the Company or other proceedings affecting Company creditors'
rights and involving a claim under this Note, then the Company shall pay the costs and expenses
incurred by the Holder for such collection, enforcement or action or in connection with such
bankruptcy, reorganization, receivership or other proceeding, including, but not limited to,
attorneys' fees and disbursements.

                (17) CONSTRUCTION; HEADINGS. This Note shall be deemed to be jointly
drafted by the Company and the Holder and shall not be construed against any person as the drafter
hereof. The headings of this Note are for convenience of reference and shall not form part of, or
affect the interpretation of, this Note.

                (18) FAILURE OR INDULGENCE NOT WAIVER. No failure or delay on the part
of the Holder in the exercise of any power, right or privilege hereunder shall operate as a waiver
thereof, nor shall any single or partial exercise of any such power, right or privilege preclude other
or further exercise thereof or of any other right, power or privilege.

                (19) DISPUTE RESOLUTION. In the case of a dispute as to the determination of
the arithmetic calculation of the Conversion Rate, the Conversion Price or any Redemption Price,
the Company shall submit the disputed determinations or arithmetic calculations via facsimile or
electronic mail within one (1) Business Days of receipt, or deemed receipt, of the Conversion
Notice or Redemption Notice or other event giving rise to such dispute, as the case may be, to the
Holder. If the Holder and the Company are unable to agree upon such determination or calculation
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within two (2) Business Days of such disputed determination or arithmetic calculation being
submitted to the Holder, then the Company shall, within two (2) Business Days submit
via facsimile or electronic mail the disputed arithmetic calculation of the Conversion Rate,
Conversion Price or any Redemption Price to an independent, outside accountant, selected by the
Holder and approved by the Company, such approval not to be unreasonably withheld,
conditioned or delayed. The Company, at the Company's expense, shall cause the accountant to
perform the determinations or calculations and notify the Company and the Holder of the results
no later than five (5) Business Days from the time it receives the disputed determinations or
calculations. Such accountant's determination or calculation shall be binding upon all parties
absent demonstrable error.
                (20) NOTICES; PAYMENTS.

                        (a) Notices. All notices, demands, requests, consents, approvals, and other
communications required or permitted hereunder shall be in writing and, unless otherwise
specified herein, shall be (i) personally served, (ii) deposited in the mail, registered or certified,
return receipt requested, postage prepaid, (iii) delivered by reputable air courier service with
charges prepaid, or (iv) transmitted by hand delivery, telegram, facsimile, or electronic mail,
addressed as set forth below or to such other address as such party shall have specified most
recently by written notice. Any notice or other communication required or permitted to be given
hereunder shall be deemed effective (a) upon hand delivery or delivery by facsimile, with accurate
confirmation generated by the transmitting facsimile machine, at the address or number designated
below (if delivered on a business day during normal business hours where such notice is to be
received), or the first business day following such delivery (if delivered other than on a business
day during normal business hours where such notice is to be received), or (b) upon receipt, when
sent by electronic mail (provided confirmation of transmission is electronically generated and keep
on file by the sending party), or (c) on the second business day following the date of mailing by
express courier service, fully prepaid, addressed to such address, or upon actual receipt of such
mailing, whichever shall first occur. The addresses for such communications shall be: (i) if to
Borrower, to: Proton Green LLC at 4531 Park Lane, Dallas, Texas 75220, Steven E. Looper,
sel@protongreen.com; (ii) if to the Holder, to: the address and fax number indicated on the
Purchase Agreement. Without limiting the generality of the foregoing, the Company shall give
written notice to the Holder (i) immediately upon any adjustment of the Conversion Price, setting
forth in reasonable detail, and certifying, the calculation of such adjustment and (ii) at least twenty
(20) days prior to the date on which the Company closes its books or takes a record (A) with
respect to any dividend or distribution upon the Common Stock, (B) with respect to any pro rata
subscription offer to holders of Common Stock or (C) for determining rights to vote with respect
to any Fundamental Transaction, dissolution or liquidation, provided in each case that such
information shall be made known to the public prior to or in conjunction with such notice being
provided to the Holder.

                       (b) Payments. Whenever any payment of cash is to be made by the
Company to any Person pursuant to this Note, such payment shall be made in lawful money of the
United States of America by a check drawn on the account of the Company and sent via overnight
courier service to such Person at such address as previously provided to the Company in writing;
provided, that the Holder may elect to receive a payment of cash via wire transfer of immediately
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available funds by providing the Company with prior written notice setting out such request and
the Holder's wire transfer instructions. Whenever any amount expressed to be due by the terms of
this Note is due on any day, which is not a Business Day, the same shall instead be due on the
next succeeding day, which is a Business Day.

              (21) CANCELLATION. After all Principal and other amounts at any time owed
on this Note have been paid in full, this Note shall automatically be deemed canceled, shall
be surrendered to the Company for cancellation and shall not be reissued.

               (22) WAIVER OF NOTICE. To the extent permitted by law, the Company hereby
waives demand, notice, protest and all other demands and notices in connection with the delivery,
acceptance, performance, default or enforcement of this Note.

                 (23) GOVERNING LAW; JURISDICTION; JURY TRIAL. All questions
concerning the construction, validity, enforcement and interpretation of this Note shall be
governed by and construed and enforced in accordance with the internal laws of the State of New
York, without regard to the principles of conflicts of law thereof. The Company agrees that all
legal proceedings concerning the interpretations, enforcement and defense of the transactions
contemplated by this Note (whether brought against the Company, the Holder or their respective
affiliates, directors, officers, shareholders, employees or agents) shall be commenced exclusively
in the state and federal courts sitting in the City of New York, County of New York. The
Company hereby irrevocably submits to the exclusive jurisdiction of the state and federal courts
sitting in the City of New York, Borough of Manhattan for the adjudication of any dispute
hereunder or in connection herewith or with any transaction contemplated hereby or discussed
herein, and hereby irrevocably waives, and agrees not to assert in any suit, action or proceeding,
any claim that it is not personally subject to the jurisdiction of any such court, that such suit,
action or proceeding is improper or is an inconvenient venue for such proceeding. The
Company hereby irrevocably waives personal service of process and consents to process being
served in any such suit, action or proceeding by mailing a copy thereof via registered or certified
mail or overnight delivery (with evidence of delivery) to it at the address in effect for notices to it
under the Purchase Agreement and agrees that such service shall constitute good and sufficient
service of process and notice thereof. Nothing contained herein shall be deemed to limit in any
way any right to serve process in any other manner permitted by law. If the Company or a Holder
shall commence an action or proceeding to enforce any provisions of the Note, then the
prevailing party in such action or proceeding shall be reimbursed by the other party for its
reasonable attorneys’ fees and other costs and expenses incurred with the investigation,
preparation and prosecution of such action or proceeding. IN ANY ACTION, SUIT, OR
PROCEEDING IN ANY JURISDICTION BROUGHT BY ANY PARTY AGAINST
ANY OTHER PARTY, THE COMPANY KNOWINGLY AND INTENTIONALLY,
TO THE GREATEST EXTENT PERMITTED BY                                      APPLICABLE            LAW,
HEREBY             ABSOLUTELY,              UNCONDITIONALLY, IRREVOCABLY AND
EXPRESSLY WAIVES FOREVER TRIAL BY JURY.
                 (24) SEVERABILITY. If any provision of this Note is prohibited by law or
otherwise determined to be invalid or unenforceable by a court of competent jurisdiction, the
provision that would otherwise be prohibited, invalid or unenforceable shall be deemed amended
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to apply to the broadest extent that it would be valid and enforceable, and the invalidity or
unenforceability of such provision shall not affect the validity of the remaining provisions of this
Note so long as this Note as so modified continues to express, without material change, the
original intentions of the parties as to the subject matter hereof and the prohibited nature,
invalidity or unenforceability of the provision(s) in question does not substantially impair
the respective expectations or reciprocal obligations of the parties or the practical realization of
the benefits that would otherwise be conferred upon the parties. The parties will endeavor in good
faith negotiations to replace the prohibited, invalid or unenforceable provision(s) with a valid
provision(s), the effect of which comes as close as possible to that of the prohibited, invalid or
unenforceable provision(s).

                (25) DISCLOSURE. Upon receipt or delivery by the Company of any notice in
accordance with the terms of this Note, unless the Company has in good faith determined that the
matters relating to such notice do not constitute material, nonpublic information relating to the
Company or its Subsidiaries, the Company shall within one (1) Business Day after any such
6-K or otherwise.
receipt or deliveryInpublicly
                      the event that thesuch
                              disclose   Company  believes
                                             material,     that a information
                                                       nonpublic   notice contains
                                                                               on amaterial,
                                                                                    Current nonpublic
                                                                                             Report on
information
Form         relating to the Company or its Subsidiaries, the Company so shall indicate to such
Holder contemporaneously with delivery of such notice, and in the absence of any such indication,
the Holder shall be allowed to presume that all matters relating to such notice do not constitute
material, nonpublic information relating to the Company or its Subsidiaries.

                (26) CERTAIN DEFINITIONS. For purposes of this Note, the following terms
shall have the following meanings:

                         (a) “Affiliate” means, with respect to any Person, any other Person that
directly or indirectly controls, is controlled by, or is under common control with, such Person, it
being understood for purposes of this definition that “control” of a Person means the power directly
or indirectly either to vote 10% or more of the stock having ordinary voting power for the election
of directors of such Person or direct or cause the direction of the management and policies of such
Person whether by contract or otherwise.

                       (b) “Attribution Parties” means, collectively, the following Persons and
entities: (i) any investment vehicle, including, any funds, feeder funds or managed accounts,
currently, or from time to time after the Issuance Date, directly or indirectly managed or advised
by the Holder's investment manager or any of its Affiliates or principals, (ii) any direct or indirect
Affiliates of the Holder or any of the foregoing, (iii) any Person acting or who could be deemed to
be acting as a Group together with the Holder or any of the foregoing and (iv) any other Persons
whose beneficial ownership of the Company's Common Stock would or could be aggregated with
the Holder's and the other Attribution Parties for purposes of Regulation 13D-G of the Exchange
Act.

                       (c) “Bloomberg” means Bloomberg Financial Markets.

                       (d) “Closing Date” shall have the meaning ascribed to such term in the
Purchase Agreement.
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                        (e) “Closing Bid Price” and “Closing Sale Price” means, for any security
as of any date, the last closing bid price and last closing trade price, respectively, for such security
on the Principal Market, as reported by Bloomberg, or, if the Principal Market begins to operate
on an extended hours basis and does not designate the closing bid price or the closing trade price,
as the case may be, then the last bid price or last trade price, respectively, of such security prior to
4:00 p.m., New York Time, as reported by Bloomberg, or, if the Principal Market is not the
principal securities exchange or trading market for such security, the last closing bid price or last
trade price, respectively, of such security on the principal securities exchange or trading market
where such security is listed or quoted for trading as reported by Bloomberg, or if the foregoing
do not apply, the last closing bid price or last trade price, respectively, of such security in the
over-the-counter market on the electronic bulletin board for such security as reported by
Bloomberg, or, if no closing bid price or last trade price, respectively, is reported for such
security by Bloomberg, the average of the bid prices, or the ask prices, respectively, of any
market makers for such security as reported in the OTC Link or “pink sheets” by OTC Markets
Group Inc. (formerly Pink OTC Markets Inc.). If the Closing Bid Price or the Closing Sale Price
cannot be calculated for a security on a particular date on any of the foregoing bases, the
Closing Bid Price or the Closing Sale Price, as the case may be, of such security on such date
shall be the fair market value as mutually determined by the Company and the Holder. If the
Company and the Holder are unable to agree upon the fair market value of such security, then
such dispute shall be resolved pursuant to Section 19. All such determinations to be appropriately
adjusted for any stock dividend, stock split, stock combination, reclassification or similar
transaction during the applicable calculation period.

                      (f) “Common Stock” the common stock of the Company, par value $0.001
per share, and any other class of securities into which such securities may hereafter be reclassified
or changed.

                      (g) “Convertible Securities” means any stock or securities (other than
Options) directly or indirectly convertible into or exercisable or exchangeable for shares of
Common Stock.

                       (h) “Default Interest Rate” means 18% per annum.

                        (i) “Equity Interests” means (a) all shares of capital stock (whether
denominated as common capital stock or preferred capital stock), equity interests, beneficial,
partnership or membership interests, joint venture interests, participations or other ownership or
profit interests in or equivalents (regardless of how designated) of or in a Person (other than an
individual), whether voting or non-voting and (b) all securities convertible into or exchangeable
for any of the foregoing and all warrants, options or other rights to purchase, subscribe for or
otherwise acquire any of the foregoing, whether or not presently convertible, exchangeable or
exercisable.

                     (j) “Exchange Act” means the Securities Exchange Act of 1934, as
amended, and the rules and regulations promulgated thereunder.
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                        (k) “Fundamental Transaction” means (A) that the Company shall,
directly or indirectly, including through Subsidiaries, Affiliates or otherwise, in one or more
related transactions, (i) consolidate or merge with or into (whether or not the Company is the
surviving corporation) another Subject Entity, or (ii) sell, assign, transfer, convey or otherwise
dispose of all or substantially all of the properties or assets of the Company or any of its “significant
subsidiaries” (as defined in Rule 1-02 of Regulation S-X) to one or more Subject Entities, or (iii)
make, or allow one or more Subject Entities to make, or allow the Company to be subject to or
have its Common Stock be subject to or party to one or more Subject Entities making, a purchase,
tender or exchange offer that is accepted by the holders of at least either (x) 50% of the
outstanding shares of Common Stock, (y) 50% of the outstanding shares of Common Stock
calculated as if any shares of Common Stock held by all Subject Entities making or party to, or
Affiliated with any Subject Entities making or party to, such purchase, tender or exchange offer
were not outstanding; or (z) such number of shares of Common Stock such that all Subject
Entities making or party to, or Affiliated with any Subject Entity making or party to, such
purchase, tender or exchange offer, become collectively the beneficial owners (as defined in Rule
13d-3 under the Exchange Act) of at least 50% of the outstanding shares of Common Stock, or
(iv) consummate a stock purchase agreement or other business combination (including,
without limitation, a reorganization, recapitalization, spin-off or scheme of arrangement) with
one or more Subject Entities whereby such Subject Entities, individually or in the aggregate,
acquire, either (x) at least 50% of the outstanding shares of Common Stock, (y) at least 50% of
the outstanding shares of Common Stock calculated as if any shares of Common Stock held by all
the Subject Entities making or party to, or Affiliated with any Subject Entity making or party to,
such stock purchase agreement or other business combination were not outstanding; or (z) such
number of shares of Common Stock such that the Subject Entities become collectively the
beneficial owners (as defined in Rule 13d-3 under the Exchange Act) of at least 50% of the
outstanding shares of Common Stock, or (v) reorganize, recapitalize or reclassify its Common
Stock, (B) that the Company shall, directly or indirectly, including through Subsidiaries,
Affiliates or otherwise, in one or more related transactions allow any Subject Entity individually
or the Subject Entities in the aggregate to be or become the “beneficial owner” (as defined
in Rule 13d-3 under the Exchange Act), directly or indirectly, whether through acquisition,
purchase, assignment, conveyance, tender, tender offer, exchange, reduction in outstanding
shares of Common Stock, merger, consolidation, business combination, spin-off, scheme of
arrangement, reorganization, recapitalization or reclassification or otherwise in any manner
whatsoever, of either (x) at least 50% of the aggregate ordinary voting power represented by
issued and outstanding Common Stock, (y) at least 50% of the aggregate ordinary voting power
represented by issued and outstanding Common Stock not held by all such Subject Entities as of
the date of this Note calculated as if any shares of Common Stock held by all such Subject
Entities were not outstanding, or (z) a percentage of the aggregate ordinary voting power
represented by issued and outstanding shares of Common Stock or other equity securities of the
Company sufficient to allow such Subject Entities to effect a statutory short form merger or other
transaction requiring other stockholders of the Company to surrender their shares of Common
Stock without approval of the stockholders of the Company or (C) directly or indirectly,
including through Subsidiaries, Affiliates or otherwise, in one or more related transactions, the
issuance of or the entering into any other instrument or transaction structured in a manner to
circumvent, or that circumvents, the intent of this definition in which case this definition shall be
construed and
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implemented in a manner otherwise than in strict conformity with the terms of this definition to
the extent necessary to correct this definition or any portion of this definition which may be
defective or inconsistent with the intended treatment of such instrument or transaction.

                        (l) “GAAP” means United States generally accepted accounting principles,
consistently applied.

                     (m) “Group” means a “group” as that term is used in Regulation 13D-G of
the Exchange Act and as defined in Rule 13d-5 thereunder.

                      (n) “Holiday” means a day other than a Business Day or on which trading
does not take place on the Principal Market.

                        (o) RESERVED

                        (p) “Market Price” shall mean the lowest Closing Bid Price on the Closing
Date.
                        (q) “Notes” means this Note and the Other Notes.

                        (r) “OID” shall mean the Original Issue Discount, which is 35%.

                     (s) “Options” means any rights, warrants or options to subscribe for or
purchase shares of Common Stock or Convertible Securities.

                       (t) “Other Notes” means (i) the Second Amended and Restated Promissory
Convertible Note, dated as of the date hereof, made by the Company in favor of Kips Bay Select
LP in the principal amount of $3,513,469.00 (the “Kips Bay Note”), and (ii) the Amended and
Restated Promissory Convertible Note, dated as of the date hereof, made by the Company in favor
of Alpha Carta, Ltd. in the principal amount of $1,846,153.84 (the “AC Note”).

                       (u) “Parent Entity” of a Person means an entity that, directly or indirectly,
controls the applicable Person, including such entity whose common capital stock or equivalent
equity security is quoted or listed on a Trading Market (or, if so elected by the Holder, any other
market, exchange or quotation system), or, if there is more than one such Person or such entity,
the Person or entity designated by the Holder or in the absence of such designation, such Person
or such entity with the largest public market capitalization as of the date of consummation of the
Fundamental Transaction.

                      (v) “Permitted Indebtedness” means (i) Indebtedness evidenced by this
Note and the Other Notes; (ii) debt incurred to make acquisitions; (iii) trade payables incurred in
the ordinary course of business consistent with past practice, (iv) unsecured indebtedness not in
excess of $1,000,000 in the aggregate, and (v) Indebtedness secured by Permitted Liens.

                      (w) “Permitted Liens” means (i) any Lien for taxes not yet due or
delinquent or being contested in good faith by appropriate proceedings for which adequate reserves
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have been established in accordance with GAAP, (ii) any statutory Lien arising in the ordinary
course of business by operation of law with respect to a liability that is not yet due or delinquent,
(iii) any Lien created by operation of law, such as materialmen's liens, mechanics' liens and other
similar liens, arising in the ordinary course of business with respect to a liability that is not yet due
or delinquent or that are being contested in good faith by appropriate proceedings, (iv) Liens (A)
upon or in any equipment acquired or held by the Company or any of its Subsidiaries to secure the
purchase price of such equipment or Indebtedness incurred solely for the purpose of financing the
acquisition or lease of such equipment, or (B) existing on such equipment at the time of its
acquisition, provided that the Lien is confined solely to the property so acquired and improvements
thereon, and the proceeds of such equipment, (v) Liens incurred in connection with the extension,
renewal or refinancing of the Indebtedness secured by Liens of the type described in clause (iv)
above, provided that any extension, renewal or replacement Lien shall be limited to the property
encumbered by the existing Lien and the principal amount of the Indebtedness being extended,
renewed or refinanced does not increase, (vi) leases or subleases and licenses and sublicenses
granted to others in the ordinary course of the Company's business, not interfering in any material
respect with the business of the Company and its Subsidiaries taken as a whole, (vii) Liens in favor
of customs and revenue authorities arising as a matter of law to secure payments of custom duties
in connection with the importation of goods, (viii) Liens arising from judgments, decrees or
attachments in circumstances not constituting an Event of Default under Section 4(a)(viii) and (ix)
liens listed on Schedule 27(v) hereto, and (ix) Liens arising pursuant to the terms of the Notes.

                        (x) “Principal Market” means the OTCQB tier of the OTC Markets.

                    (y) “Redemption Dates” means, collectively, the Event of Default
Redemption Dates, and the Optional Redemption Dates, each of the foregoing, individually, a
Redemption Date.

                     (z) “Redemption Notices” means, collectively, the Event of Default
Redemption Notices, and the Optional Redemption Notices, each of the foregoing, individually, a
Redemption Notice.

                       (aa) “Redemption Price” means, 125% of the outstanding principal amount
of the Note together with accrued Interest thereon, which after an Event of Default shall be
calculated at the Default Rate.

                    (bb) “Related Fund” means, with respect to any Person, a fund or account
managed by such Person or an Affiliate of such Person.

                        (cc) “Required Holders” means any two (2) Holders of the Notes.

                        (dd) “Rule 144” shall have the meaning ascribed to such term in the
Purchase Agreement.

                        (ee) “SEC” means the United States Securities and Exchange Commission.


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                       (ff) “Securities Act” means the Securities Act of 1933, as amended, and the
rules and regulations promulgated thereunder.

                       (gg) “Subject Entity” means any Person, Persons or Group or any Affiliate
or associate of any such Person, Persons or Group.

                       (hh) “Successor Entity” means one or more Person or Persons (or, if so
elected by the Holder, the Company or Parent Entity) formed by, resulting from or surviving any
Fundamental Transaction or one or more Person or Persons (or, if so elected by the Holder, the
Company or the Parent Entity) with which such Fundamental Transaction shall have been entered
into.
                       (ii) “Trading Market” means any of the following markets or exchanges
on which the Common Stock is listed or quoted for trading on the date in question: the NYSE
American, the Nasdaq Capital Market, the Nasdaq Global Market, the Nasdaq Global Select
Market, the New York Stock Exchange, OTCQB or OTCQX (or any successors to any of the
foregoing).
                       (jj) “VWAP” means, for any date, the price determined by the first of the
following clauses that applies: (a) if the Common Stock is then listed or quoted on a Trading
Market, the daily volume weighted average price of the Common Stock for such date (or the
nearest preceding date) on the Trading Market on which the Common Stock is then listed or
quoted as reported by Bloomberg L.P. (based on a Trading Day from 9:30 a.m. New York City
time to 4:02 p.m. New York City time); (b) if the Common Stock is not then listed or quoted for
trading on a Trading Market and if prices for the Common Stock are then reported on the OTC
Pink (or a similar organization or agency succeeding to its functions of reporting prices), the most
recent bid price per share of the Common Stock so reported; or (c) in all other cases, the fair
market value of a share of Common Stock as determined by an independent appraiser selected in
good faith by the Holders of a majority in interest of the Note then outstanding and reasonably
acceptable to the Company, the fees and expenses of which shall be paid by the Company.


                                     [Signature Page Follows]




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                IN WITNESS WHEREOF, the Company has caused this Note to be duly executed
as of the Issuance Date set out above.


                                                   ProtonGreen LLC~
                                                   formerly known as Plateau
                                                   Carbon, LLC

                                                   By:~
                                                   N~e:~.                          c..0 vt-
                                                   T1tle:   ~11,,-Q   c,,. ..,n   /h   ~oe_




AGREED AND APPROVED:


ALPHA CARTA, LTD.


By:.___________                  _
  Name
  Title:




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                IN WITNESS WHEREOF, the Company has caused this Note to be duly executed
as of the Issuance Date set out above.


                                                   Proton Green LLC,
                                                   formerly known as Plateau
                                                   Carbon, LLC

                                                   By: _______________________
                                                   Name:
                                                   Title:



AGREED AND APPROVED:


ALPHA CARTA, LTD.
        l

By:____________________________
  Name Mark Azzopardi
  Title: Director




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                                           EXHIBIT I
                                       PROTON GREEN LLC
                                       CONVERSION NOTICE

Reference is made to the Amended and Restated Promissory Convertible Note (the “Note”)
issued to Alpha Carta, Ltd. (together with is designee or registered assigns, the “Holder”) by
Proton Green LLC (formerly known as Plateau Carbon, LLC) (the “Company”). In accordance
with and pursuant to the Note, the undersigned hereby elects to convert the Conversion Amount
(as defined in the Note) of the Note indicated below into shares of Common Stock of the
Company, par value $ 0.0001 per share (the “Common Stock”) of the Company, as of the date
specified below.
        Date of
        Conversion:

         Aggregate Conversion Amount to be
         converted:

Please confirm the following information:

         Conversion Price:


         Number of shares of Common Stock to
         be issued:

Please issue the Common Stock into which the Note is being converted in the following name and
to the following address:

         Issue to:

         Facsimile Number and Electronic

         Mail:

         Authorization:
                      By:
                              Title:

Dated:
         Account
         Number:
         (if electronic book entry transfer)


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     Transaction Code
     Number:
     (if electronic book entry transfer)




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                             EXHIBITEXHIBIT O

                                  PROFESSIONAL SERVICES AGREEMENT


       THIS AGREEMENT is between Alpha Carta Limited, and its subsidiaries and/or affiliates (collectively, the
“Company”) and BNW FAMILY OFFICE LLC, a Delaware limited liability company (the “Contractor”).

1.        ENGAGEMENT OF SERVICES. The Company may from time-to-time issue Project Assignments in the form
attached to this Agreement as Exhibit A. Subject to the terms of this Agreement, the Contractor will, to the best of its
ability, render the services set forth in the Project Assignments accepted by the Contractor (the “Projects”) by the
completion dates set forth therein. The manner and means by which the Contractor chooses to complete the Projects
are in the Contractor's sole discretion and control. The Contractor agrees to exercise the highest degree of
professionalism, and to utilize its expertise and creative talents in completing such Projects. The Contractor agrees to
provide its own equipment, tools, and other materials at its own expense. The Company will make its facilities and
equipment available to the Contractor when necessary. The Contractor shall perform the services necessary to
complete the Projects in a timely and professional manner consistent with industry standards, and at a location, place,
and time that the Contractor deems appropriate. The Contractor may not subcontract or otherwise delegate its
obligations under this Agreement without the Company's prior written consent. If the Contractor is not a natural
person, then before any employee or consultant of the Contractor performs services in connection with this Agreement,
the employee or consultant and the Contractor must have entered into a written agreement expressly for the benefit of
the Company and containing provisions substantially equivalent to this section and to Section 4 below.

2.        COMPENSATION. The Company will pay the Contractor a fee for services rendered under this Agreement as
set forth in Exhibit A, which sets forth the Project Assignment(s) undertaken by the Contractor. The Contractor will
be reimbursed for any reasonable expenses incurred in connection with the performance of services under this
Agreement provided that the Contractor obtains prior approval from the Company and submits verification of such
expenses as the Company may require. Upon termination of this Agreement for any reason, the Contractor will be
paid fees and expenses on a proportional basis as stated in the Project Assignment(s) for work, which is then in
progress, up to and including the effective date of such termination.

3.        INDEPENDENT CONTRACTOR RELATIONSHIP. The Contractor’s relationship with the Company will be that
of an independent contractor and nothing in this Agreement should be construed to create a partnership, joint venture,
or employer-employee relationship. The Contractor is not the agent of the Company and is not authorized to make
any representation, contract, or commitment on behalf of the Company. The Contractor will not be entitled to any of
the benefits that the Company may make available to its employees, such as group insurance, profit-sharing, or
retirement benefits. The Contractor will be solely responsible for all tax returns and payments required to be filed
with or made to any federal, state, or local tax authority with respect to the Contractor’s performance of services and
receipt of fees under this Agreement. The Company will regularly report amounts paid to the Contractor by filing a
Form 1099-MISC with the Internal Revenue Service as required by law. The Company will not withhold or make
payments for social security; make unemployment insurance or disability insurance contributions; or obtain worker’s
compensation insurance on the Contractor’s behalf. The Contractor agrees to accept exclusive liability for complying
with all applicable state and federal laws governing self-employed individuals, including obligations such as payment
of taxes, social security, disability, and other contributions based on fees paid to the Contractor, its agents, or
employees under this Agreement. The Contractor hereby agrees to indemnify and hold the Company harmless against
any and all such taxes or contributions, including penalties and interest.

4.       PROPRIETARY INFORMATION OBLIGATIONS AND INTELLECTUAL PROPERTY RIGHTS.

          4.1        Proprietary Information. The Contractor agrees, during the term of this Agreement and thereafter,
that it will take all steps reasonably necessary to hold the Company’s Proprietary Information in trust and confidence,
will not use Proprietary Information in any manner or for any purpose not expressly set forth in this Agreement, and
will not disclose any such Proprietary Information to any third party without first obtaining the Company’s express
written consent. By way of illustration but not limitation, “Proprietary Information” includes (a) trade secrets,
inventions, mask works, ideas, processes, formulas, source and object codes, data, programs, other works of
authorship, know-how, improvements, discoveries, developments, designs and techniques (hereinafter collectively
referred to as “Inventions”); (b) information regarding financial information, research, investment and fund strategies,
investors, marketing, business plans, budgets, suppliers and customers; and (c) information regarding the skills and
compensation of other employees and consultants of the Company. Notwithstanding the other provisions of this
Agreement, nothing received by the Contractor will be considered to be the Company’s Proprietary Information if
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(1) it has been published or is otherwise readily available to the public other than by a breach of this Agreement; (2) it
has been rightfully received by the Contractor from a third party without confidential limitations; (3) it has been
independently developed for the Contractor by personnel or agents having no access to the Company’s Proprietary
Information; or (4) it was known to the Contractor prior to its first receipt from the Company.

          4.2      Third Party Information. The Contractor understands that the Company has received and will in
the future receive from third parties confidential or proprietary information (“Third Party Information”) subject to a
duty on the Company’s part to maintain the confidentiality of such information and use it only for certain limited
purposes. The Contractor agrees to hold Third Party Information in confidence and not to disclose to anyone (other
than the Company’s personnel who need to know such information in connection with their work for the Company)
or to use, except in connection with the Contractor’s work for the Company, Third Party Information unless expressly
authorized in writing by an officer of the Company.

         4.3       No Conflict of Interest. The Contractor agrees, during the term of this Agreement, not to accept
work substantially similar to the Contractor’s work under this Agreement, without the Company’s prior written
consent. The Contractor warrants that, to the best of the Contractor’s knowledge, there is no other existing contract or
duty on the Contractor’s part that would conflict with or would be inconsistent with this Agreement, unless a copy of
such contract or a description of such duty is attached to this Agreement as Exhibit B. The Contractor further agrees
not to disclose to the Company, bring onto the Company’s premises, or induce the Company to use any confidential
information that belongs to anyone other than the Company or the Contractor.

5.        CONTRACTOR REPRESENTATIONS AND WARRANTIES. The Contractor hereby represents and warrants that
(a) the Company work product will be an original work of the Contractor; (b) the Contractor has full right and power
to enter into and perform this Agreement without the consent of any third party; and (c) should the Company permit
the Contractor to use any of the Company’s equipment, tools, or facilities during the term of this Agreement, such
permission shall be gratuitous and the Contractor shall be responsible for any injury or damage arising out of use of
such equipment, tools, or facilities.

6.        INDEMNIFICATION. The Company will indemnify, defend, and hold harmless the Contractor from any and
all claims, losses, liabilities, damages, expenses and costs (including attorneys’ fees and court costs) that result from
the Contractor’s engagement hereunder and/or provision of services under this Agreement, provided that such claims
are not the result of the Contractor’s breach of this Agreement, bad faith, willful misconduct, or gross negligence, and
provided further that the Contractor gives the Company written notice of any claim and the Company has the right to
participate in the defense of any such claim at its expense. The Contractor will indemnify and hold harmless the
Company, its officers, directors, employees, and agents from any and all claims, losses, liabilities, damages, expenses
and costs (including attorneys’ fees and court costs) that result from a breach or alleged breach of any obligation of or
agreement by the Contractor in this Agreement, provided that the Company gives the Contractor written notice of any
such claim and the Contractor has the right to participate in the defense of any such claim at its expense.

7.       TERMINATION.

         7.1      Termination by the Company. The Company may terminate this Agreement at its convenience
and without any breach by the Contractor upon ninety days (90) days’ prior written notice to the Contractor. The
Company may also terminate this Agreement immediately in its sole discretion upon the Contractor’s material breach
of Section 4 or Section 7.3, provided the Company has given the Contractor seven (7) days’ advance written notice
within which to cure such breach.

         7.2      Termination by the Contractor. The Contractor may terminate this Agreement at any time upon
ninety (90) days’ prior written notice to the Company.

         7.3       Noninterference with Business. During and for a period of one year immediately following
termination of this Agreement by either party, the Contractor agrees not to solicit or induce any employee, independent
contractor, client, or customer to terminate or breach an employment, contractual or other relationship with the
Company.




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         7.4      Return of Company Property. Upon termination of the Agreement or earlier as requested by the
Company, the Contractor will deliver to the Company any and all documents, together with all copies thereof, and
any other material containing or disclosing any Company work product, Third Party Information, or Proprietary
Information of the Company. The Contractor further agrees that any property situated on the Company's premises
and owned by the Company, including disks and other storage media, filing cabinets, or other work areas, is subject
to inspection by Company personnel at any time with or without notice.

8.       GENERAL PROVISIONS.

         8.1       Governing Law. This Agreement will be governed and construed in accordance with the laws of
the State of Illinois without regard to conflicts of law principles. The Contractor hereby expressly consents to the
personal jurisdiction of the state and federal courts located in Delaware for any lawsuit filed arising from or related to
this Agreement.

          8.2       Severability. In case any one or more of the provisions contained in this Agreement shall, for any
reason, be held to be invalid, illegal, or unenforceable in any respect, such invalidity, illegality, or unenforceability
shall not affect the other provisions of this Agreement, and this Agreement shall be construed as if such invalid, illegal,
or unenforceable provision had never been contained herein. Moreover, if any one or more of the provisions contained
in this Agreement shall for any reason be held to be excessively broad as to duration, geographical scope, activity, or
subject, it shall be construed by limiting and reducing it, so as to be enforceable to the extent compatible with the
applicable law as it shall then appear.

         8.3      No Assignment. This Agreement may not be assigned by the Contractor without the Company’s
prior written consent, and any such attempted assignment shall be void and of no effect.

         8.4      Notices. All notices, requests and other communications under this Agreement must be in writing,
and must be mailed by registered or certified mail, postage prepaid and return-receipt requested, by reputable national
overnight courier, delivery fee prepaid or delivered by hand to the party to whom such notice is required or permitted
to be given. If mailed, any such notice will be considered to have been given five (5) business days after it was mailed,
as evidenced by the postmark. If delivered by hand or overnight courier, any such notice will be considered to have
been given when received by the party to whom notice is given, as evidenced by written and dated receipt of the
receiving party.

          8.5      Injunctive Relief. A breach of any of the promises or agreements contained in this Agreement may
result in irreparable and continuing damage to the Company for which there may be no adequate remedy at law, and
the Company is therefore entitled to seek injunctive relief as well as such other and further relief as may be appropriate.

         8.6      Survival. The following provisions shall survive termination of this Agreement: Section 4,
Section 5, Section 6, and Section 7.3.

        8.7      Publicity. The Contractor agrees not to use any identification or reference to any trade name,
trademark, service mark, or symbol of the Company in any advertising or promotional activities without the
Company’s prior written consent.

         8.8      Waiver. No waiver by the Company of any breach of this Agreement shall be a waiver of any
preceding or succeeding breach. No waiver by the Company of any right under this Agreement shall be construed as
a waiver of any other right. The Company shall not be required to give notice to enforce strict adherence to all terms
of this Agreement.

         9.9      Entire Agreement. This Agreement, together with the Exhibits, is the final, complete, and
exclusive agreement of the parties with respect to the subject matter hereof and supersedes and merges all prior
discussions between us. No modification of or amendment to this Agreement, nor any waiver of any rights under this
Agreement, will be effective unless in writing and signed by the party to be charged. The terms of this Agreement
will govern all Project Assignments and services undertaken by the Contractor for the Company. In the event of any




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conflict between this Agreement and a Project Assignment, the Project Assignment shall control, but only with respect
to the services set forth herein.


         IN WITNESS WHEREOF, the parties have caused this Professional Services Agreement to be executed by their
duly authorized representative.



 COMPANY:                                                    CONTRACTOR:

 ALPHA CARTA LIMITED                                         BNW FAMILY OFFICE LLC, a Delaware limited
                                                             liability company

 By:
 Name: _____________________________________
            Mark Azzopardi                                   By:
 Title: ______________________________________
            Director                                         Name: Robert Brownell
                                                                   Manager, BNW Family Office, LLC
                                                             Its: ________________________________________




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                                                        EXHIBIT A

                                               PROJECT ASSIGNMENT


Services: The Contractor will provide investment advisory and support services.

Payment of Fees. Contractor will receive a monthly rate of $40,000, during the Term of this Agreement. The Company may
pay the Contractor additional fees on a discretionary basis for exceptional services.

       Payment will be issued in arrears via wire transfer or check for services performed during the previous month.

       The Contractor must submit a monthly invoice of time worked for approval by the Company.

       The Contractor agrees to work on a schedule to be mutually agreed upon by the Contractor and the Company, to
        perform such services and to fulfill the Contractor’s obligations under this Agreement.

Term:

       January 1, 2023, through December 31, 2023, subject to renewal or earlier termination (as stated in Section 7 of this
        agreement).

Expenses: The Company will reimburse the Contractor for the following expenses:


       Reasonable out-of-pocket expenses incurred in connection with the provision of services under this Agreement.

       The Contractor shall promptly submit bills or receipts for such expenses to the Company for reimbursement. All
        expenses shall be incurred in accordance with the current policies and guidelines of the Company with respect
        thereto.

NOTE: This Project Assignment is governed by the terms of a Professional Services Agreement in effect between the
      Company and Contractor. In the event that any item in this Project Assignment is inconsistent with that Agreement,
      the terms of this Project Assignment shall govern, but only with respect to the services set forth in this Project
      Assignment.



   Signed:
             The Company                                            The Contractor
